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                  EXHIBIT 1
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                            In The Matter Of:
                            Fair Fight Action v.
                               Raffensperger




                         Dr. Khalilah Brown-Dean
                            December 11, 2019




                          Regency-Brentano, Inc.
                           13 Corporate Square
                                 Suite 140
                          Atlanta, Georgia 30329
                               404.321.3333



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 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
 2                           ATLANTA DIVISION

 3    FAIR FIGHT ACTION, et al.,     )
                                     )
 4              Plaintiffs,          ) CIVIL ACTION FILE
                                     )
 5            vs.                    ) NO. 1:18-cv-05391-SCJ
                                     )
 6    BRAD RAFFENSPERGER, in his     )
      official capacity as Secretary )
 7    of State of Georgia, et al.,   )
                                     )
 8              Defendants.          )

 9

10              Deposition of KHALILAH L. BROWN-DEAN, PH.D.,

11           taken on behalf of the Defendants, pursuant to

12           the stipulations contained herein, reading and

13           signing of the deposition being reserved, taken

14           in accordance with the Federal Rules of Civil

15           Procedure, before Lynn Van Ry, RPR, Certified

16           Court Reporter, at 1180 West Peachtree Street,

17           Atlanta, Georgia, on December 11, 2019,

18           commencing at 9:33 a.m.

19

20

21

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                                                                                 2


 1    APPEARANCES OF COUNSEL:

 2    On behalf of the Plaintiffs:

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 8

 9    On behalf of the Defendants:

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16

17    Also Present:    Laterika Molden, Law Student
18

19                                - - -

20

21

22

23

24

25

                               Regency-Brentano, Inc.
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11        D-2       CV                                                8

12        D-3       11-18-19 Report                                 16

13        D-4       Diverse article titled "Stacey                  36
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14                  First Black Female Governor"

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10        D-16      Joint Center report                          140

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17    (Defendants' Exhibits 1 through 17 were attached

18     to the transcript.)

19

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 1                   MR. BELINFANTE:        This will be the

 2             deposition of Dr. Khalilah Brown-Dean.

 3                   Did I pronounce that right?

 4                   THE WITNESS:       Yes.

 5                   MR. BELINFANTE:        Okay.    It is taken by

 6             Defendant Secretary of State Brad Raffensperger

 7             for the purpose of discovery and all purposes

 8             allowed under the Federal Rules of Civil

 9             Procedure.

10                   Leslie, are you okay agreeing that all

11             objections except those going to privilege and

12             the form of the question and the responsiveness

13             of the answer are reserved until trial or first

14             use of the deposition?

15                   MS. BRYAN:       Yes, that's fine.

16                   MR. BELINFANTE:        Okay, can you swear in

17             the witness, please?
18                    KHALILAH L. BROWN-DEAN, PH.D.,

19           having been first duly sworn, was examined and

20                            testified as follows:

21                                EXAMINATION

22    BY MR. BELINFANTE:

23         Q         Good morning, Professor Brown-Dean.

24         A         Good morning.

25         Q         We met just a moment ago.            My name is

                                 Regency-Brentano, Inc.
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                     Dr. Khalilah Brown-Dean - December 11, 2019                   6


 1    Josh Belinfante.        I'm joined today by Carey Miller.

 2    We represent the Secretary of State and State

 3    defendants in the lawsuit where you've been asked to

 4    testify.

 5                   Some just general rules of depositions.

 6    Have you ever been deposed before?

 7         A         I have not.

 8         Q         Okay.      The most important person in the

 9    room is the court reporter because everything we do

10    here is for that record.         And the worst thing you and

11    I can do is talk over each other.            Same with me and

12    Leslie and anyone else.         So I will certainly do my

13    best not to interrupt you.          I don't anticipate this

14    being an issue, if you could just try not to let -- or

15    let me finish a question and then respond.              That's

16    just easier for the court reporter.

17         A         Uh-huh.
18         Q         Second thing -- and this is the harder

19    one, and I've been deposed, and this is the one that I

20    violate as much as anybody -- when you answer

21    questions, you have to say yes or no, not uh-huh or

22    huh-uh.    And again, that's just for the court reporter

23    on the record.

24                   If you want to take a break at any time,

25    that's fine, just let me know.           My only request is

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 1    that if I've asked a question, you answer the

 2    question, and then we take a break from there.

 3                   And last, I am honestly not trying to

 4    confuse you with any questions I ask or ask in any

 5    kind of misleading way, so if you don't understand a

 6    question, just let me know, and I'll try to rephrase

 7    it.

 8          A        Okay.

 9          Q        Is that all of that agreeable to you?

10          A        Yes.

11          Q        All right.     I'm going to -- and looks

12    like we've only got one copy, Leslie.

13                   MS. BRYAN:     That's fine.

14                       (Thereupon, marked for identification,

15           Defendants' Exhibit D-1.)
16    BY MR. BELINFANTE:

17          Q        But I'll attach as Exhibit 1 -- I'll show

18    you what is Exhibit 1, which is our notice -- second

19    amended notice of your deposition.          Have you seen that

20    document before, Professor?

21          A        No, I have not.

22          Q        Okay.    How did you learn that you were

23    going to be deposed today?

24          A        I received an e-mail from the plaintiffs'

25    attorneys.

                               Regency-Brentano, Inc.
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 1          Q        Okay.    Who were you in contact with,

 2    which attorney, do you know?

 3          A        I believe it was Chandler that sent me

 4    the e-mail.

 5          Q        All right.     And can you spell your name

 6    for the record?

 7          A        Sure, it's K-H-A-L-I-L-A-H.          Do you need

 8    the last name as well?

 9          Q        Yes, please.

10          A        Brown, B-R-O-W-N, hyphen, D-E-A-N.

11                       (Thereupon, marked for identification,

12           Defendants' Exhibit D-2.)
13    BY MR. BELINFANTE:

14          Q        All right, I'm going to show you what

15    we've marked as Defendants' Exhibit 2, which is a copy

16    of your CV.    Is this a current copy of your curriculum

17    vitae?

18          A        Yes, it is.

19          Q        All right.     And it was attached to your

20    expert report; correct?

21          A        Yes.

22          Q        Have there been any additions since we

23    received your report in November, the amended report?

24          A        No.

25          Q        Okay.    You have on here, and it's on page

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 1    2, under education in 1999, Summer Institute in

 2    Political Psychology?

 3          A        Yes.

 4          Q        What is the Summer Institute?

 5          A        It is a joint training at the time

 6    between The Ohio State University and the University

 7    of California to expose both academics and

 8    practitioners to the dynamics of political psychology.

 9          Q        Tell me, what is political psychology?

10          A        Political psychology is a study of both

11    the affect, so the emotional part of politics, as well

12    as the intellectual part, so how do people feel about

13    the political process, why do they make the choices

14    that they do within that field.

15          Q        And how long was that program?

16          A        It was a four-week program.

17          Q        Was it -- you go through the program and
18    get a certificate, or was there any grading involved

19    or anything?

20          A        So there was not grading.            It was a

21    project.    So it was daily coursework, daily meeting

22    with professors.        There was a group project for the

23    summer, and upon successful completion a certificate

24    was awarded.

25          Q        Okay.      And you received your master's

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                     Dr. Khalilah Brown-Dean - December 11, 2019                10


 1    from The Ohio State University; correct?

 2          A        Yes, I did.

 3          Q        We're still a little bitter at UGA about

 4    our quarterback, but congratulations on your season.

 5          A        Thank you very much.

 6          Q        Tell me, what was your master's thesis

 7    about or on?

 8          A        My master's thesis was about felon

 9    disenfranchisement.

10          Q        In your master's thesis, did you spend

11    any time on Georgia law?

12          A        No.

13          Q        All right, and how about your doctoral

14    thesis?

15          A        My doctoral thesis was also about felon

16    disenfranchisement.

17          Q        And what was -- tell me, just summarize
18    your doctoral thesis if you could.

19          A        So the doctoral thesis looked at the

20    development of disenfranchisement laws since the

21    founding of the United States.           It looked at key

22    changes in those laws and also current challenges or

23    current for the time in 2003 that it was written.

24          Q        And when you say disenfranchisement laws

25    in the United States, are you being -- is that

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 1    specific to felon disenfranchisement laws?

 2          A        So the dissertation looked overall, what

 3    are the rules in place that determine who can vote.

 4    And the key piece of that dissertation was how felon

 5    disenfranchisement fits into that broader picture.

 6          Q        I see.    And did any part of your doctoral

 7    thesis focus on Georgia law?

 8          A        It did.    So it looked at the South, and

 9    Georgia was a part of that examination.

10          Q        Okay.    And what time period roughly did

11    it consider for that portion that considered the

12    South?

13          A        So there were two different periods, so

14    one looking at post-reconstruction, one looking at the

15    civil rights movement from the early -- mid 1950s

16    through early 1970s.

17          Q        Okay.    Tell me about under your
18    postgraduate training, the 2017 Tufts University

19    gerrymandering expert witness training.            What was

20    that?

21          A        So that program was bringing together

22    academics, so in terms of professors as well as

23    teachers and researchers to better understand various

24    dynamics of gerrymandering.        That expert witness

25    training was to help participants in that program

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 1    understand how to make their scholarship relevant to

 2    audiences beyond academics.

 3          Q        And who would those audiences be?

 4          A        It depended on who was in the program.

 5    For some people that audience would be their students

 6    in terms of high school students.           For others in the

 7    program, it was journalists and media.             For others it

 8    was policymakers.       So it really depended on who was in

 9    the program.

10          Q        I see.     Was one of the aims of the

11    program -- I mean your name certainly would seem to

12    indicate this -- to prepare someone to be an expert

13    witness in gerrymandering cases?

14          A        It was to prepare people to figure out

15    how to translate their research.          So again, it

16    depended on who was in the program.

17          Q        Okay.     And how long was that training?
18          A        The total program was six days.

19          Q        All right.      Was there a certificate

20    issued at the end of that?

21          A        No, there was not.

22          Q        All right.      Now, you are currently at

23    Quinnipiac University; correct?

24          A        Yes.

25          Q        And you are an associate professor there?

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 1          A        Yes.

 2          Q        And you are tenured; is that right?

 3          A        Yes.

 4          Q        At Quinnipiac, do they have different

 5    levels of professor?

 6          A        Yes, they do.

 7          Q        Okay.    And what is the entry level, if

 8    you will, the starting level?

 9          A        Well, it depends on the person in

10    question.    For most, the entry level is assistant.

11          Q        All right.     And then is associate next?

12          A        Yes.

13          Q        And then is there one after associate?

14          A        Full professor.

15          Q        And what is the difference between an

16    associate professor and a full professor?

17          A        So there are tenured and untenured
18    associate professors.       The difference between

19    associate and full is a new review process.                And what

20    that entails varies based on your field at the

21    university.

22          Q        I see.    And you're in the political

23    science department; correct?

24          A        I am.

25          Q        What does your new review process in the

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 1    political science department require to make that move

 2    from associate professor to full professor?

 3          A        So a professor would apply for that

 4    review, depending on where they are in their program,

 5    and then that would happen at the departmental level,

 6    then the college level, and then the overall

 7    university level.

 8          Q        I see.      And do you have to provide -- is

 9    it similar to a doctoral thesis?           Is there a written

10    product that comes with it?

11          A        No.      So you would provide your CV, you

12    would provide any publications or research that you've

13    completed as a part of that, evaluations of your

14    teaching, and then recommendation letters.

15          Q        Okay.      And the Quinnipiac University, is

16    it one campus or several?

17          A        We're on three campuses.
18          Q        Okay, and you're at the one on Hamden?

19          A        Yes.

20          Q        Okay, is that the main campus?

21          A        That is the main campus.

22          Q        Okay.      Have you applied for full

23    professorship at Quinnipiac?

24          A        I have not.

25          Q        Okay.      And prior to your time at

                                 Regency-Brentano, Inc.
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 1    Quinnipiac, you were at Yale; correct?

 2          A        Correct.

 3          Q        And here I see that you were an assistant

 4    professor at Yale?

 5          A        Yes.

 6          Q        Is that the -- I realize that people

 7    could come in at different levels, but is assistant

 8    professor kind of an entry level, if you will?

 9          A        For most people.

10          Q        Right.

11          A        But again, it varies, based on the

12    candidate.

13          Q        And would the next level at Yale be an

14    associate professor?

15          A        Yale has a different process.

16          Q        Okay.    Tell me about that.

17          A        So many people go from assistant
18    professor to full professor.         Yale does not have a

19    standard tenure process like most of the colleges and

20    universities.

21          Q        Are full professors at Yale always

22    tenured?

23          A        Yes.

24          Q        And how does one move from an assistant

25    professor to a full professor at Yale?

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 1          A        So one goes through a review process

 2    where again would present information on their

 3    teaching, their scholarship.         They would then solicit

 4    outside references to, you know, be a reference for

 5    that particular candidate.

 6          Q        Okay.    And did you apply for associate

 7    professorship at Yale?

 8          A        I did not.

 9          Q        All right, let's take a look at your

10    report, which we'll mark as Exhibit 3.

11                       (Thereupon, marked for identification,

12           Defendants' Exhibit D-3.)
13    BY MR. BELINFANTE:

14          Q        I've got it clipped.        It may be easier if

15    you want, we can I'm sure get it stapled, but however

16    you want to use it.

17          A        Thank you.

18          Q        And this is the one that was filed on

19    November 18th.     Is that an accurate copy of the

20    report?

21          A        Yes.

22          Q        Okay.    Could you turn to page 2 of the

23    report?

24          A        Yes.

25          Q        In the first paragraph, about midway

                               Regency-Brentano, Inc.
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 1    through, in describing your background, it says I

 2    studied historical and contemporary institutional

 3    dynamics surrounding voting rights in the United

 4    States.    Do you see that?

 5          A        Yes.

 6          Q        What do you mean by institutional

 7    dynamics?

 8          A        So voting rights in this context in terms

 9    of what I mean here is not just about the individual

10    decisions that one makes about whether to vote or not.

11    Institutional dynamics relate to the opportunities

12    that people have, who is in charge of administering

13    those opportunities, and also the differences from

14    local to state to federal.

15          Q        Okay.    And do you teach on institutional

16    dynamics on voting rights?

17          A        I do.
18          Q        And do you teach currently on that topic?

19          A        I do.

20          Q        Okay, and in the coursework there, do you

21    focus on Georgia law at all?

22          A        Georgia is a part of what I do.             It's not

23    the call-out for what I do, but it is a part of what I

24    do, yes.

25          Q        Okay.    How representative -- in terms of

                               Regency-Brentano, Inc.
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 1    Georgia being a part of what you do, can you flesh

 2    that out for me a little more, just tell me what you

 3    mean by that?

 4          A        Could you say more about what you mean by

 5    fleshing that out?

 6          Q        Sure.    You know, in my college days, I

 7    mean you could -- I could see taking a class where

 8    Georgia is mentioned at one end of the spectrum in a

 9    footnote, in an assignment you gave me.             I don't think

10    you're talking about that.        I could see on the other

11    end of the spectrum we spend an entire day lecturing

12    about Georgia's history and voting.           So I'm just

13    trying to figure out somewhere between there how does

14    Georgia come up in your classes on institutional

15    dynamics?

16          A        Georgia comes up in the classes -- we're

17    definitely more in the middle of that spectrum that
18    you just mentioned.      Georgia comes up in understanding

19    history and understanding federalism.             And often when

20    I talk about Georgia, it is in the context of Southern

21    politics.

22          Q        I see.    And when you talk about Georgia

23    and Southern politics, what time frame are you looking

24    at?

25          A        Well, we look at various time frames.               It

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 1    depends on where we are in the course, so if we're

 2    looking at reconstruction and post-reconstruction, if

 3    we're looking at the founding of the country, if we're

 4    looking at civil rights movement, if we're looking at

 5    contemporary U.S. politics.

 6          Q        Okay, and define contemporary for me.

 7          A        So contemporary in the context of how I

 8    teach the course is from 1990 to forward.

 9          Q        I see, okay.      Let's go back to your CV if

10    we could, page 2 again, under academic awards, grants,

11    and fellowships.

12          A        Yes.

13          Q        My questions are going to be right now

14    about the Open Society Foundations grants.

15          A        Yes.

16          Q        You received a grant, if I'm reading this

17    correctly, in 2009, 2010, and 2011; is that correct?
18          A        Yes, yes.

19          Q        And the three grants total 200,000?

20          A        It was a three-year time period.

21          Q        I see, okay.      And so when you applied,

22    you were applying for a three-year grant?

23          A        Yes.

24          Q        Okay, and the total of that grant was

25    200,000?

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 1          A        Yes.

 2          Q        Open Society is a George Soros affiliated

 3    group; is that correct?

 4          A        It is.

 5          Q        Okay.    And your research for Open Society

 6    was to look at voter registration and mobilization

 7    strategies in five areas of Connecticut?

 8          A        Yes.

 9          Q        In your 2018 through 2016 Provost's

10    Innovation Grants --

11          A        Yes.

12          Q        -- what was that used to study?

13          A        So those innovation grants relate to

14    teaching, to understand how to have students do more

15    applied learning, so not just in classroom.                 So those

16    particular grants were to allow my students to create

17    media projects around a topic of their choosing based
18    on the course that we were in.           The earliest grant --

19    that was for '17 and '18.        2016 looked at diversity

20    initiatives at the university.

21          Q        I see, okay.      And for your research

22    grants from 2018 to '12, the Quinnipiac University

23    College of Arts and Sciences faculty research grants,

24    can you tell me what those were for?

25          A        Sure.    So two of those years looked at

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                     Dr. Khalilah Brown-Dean - December 11, 2019                21


 1    voting rights efforts across the United States, so

 2    looking at ways that communities were mobilizing to

 3    understand civic engagement and also beyond elections.

 4    The most recent two grants of that research grant

 5    series was research as part of my book.

 6          Q        Your book, the Identity Politics book?

 7          A        Yes.

 8          Q        Okay.    And when you say the first ones

 9    were -- and I'm trying to use the right words --

10    voting rights efforts to mobilize and understand

11    elections?

12          A        Yes.

13          Q        What do you mean by that?

14          A        So there was an effort on our campus at

15    the time to get more college students involved in

16    politics and involved in elections.           And so part of

17    that research was to look at why young people do or do
18    not choose to participate and whether student groups

19    were being involved in those efforts.

20          Q        Okay, did that focus on Connecticut or

21    Quinnipiac?

22          A        The part of that -- the first part of it

23    looked at Quinnipiac University, and then it expanded

24    out to Connecticut overall.

25          Q        I see.    So Georgia was not a part of

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 1    that?

 2          A        Georgia was not.

 3          Q        All right, in your research and teaching

 4    interests, which begins on page 3, it goes over to 4,

 5    one of the topics is civic engagement.            What do you

 6    mean by that?

 7          A        Civic engagement is the ways in which

 8    people express their political views not just through

 9    voting but through music and popular culture, by

10    running for public office, by supporting candidates,

11    or by organizing in other ways to express their

12    political views.

13          Q        Okay.    So that's not, for example,

14    focused on election administration?

15          A        No, that is not.

16          Q        And then you have voting rights and

17    representation?
18          A        Yes.

19          Q        What do you include in that?

20          A        So within voting rights and

21    representation, I look at not just how citizens

22    interact in that way but also how public officials,

23    how election officials are involved in that as well,

24    so what are the challenges and opportunities that

25    people have to participate in the political process

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 1    via voting, and also representation, being office

 2    holding, and administration.

 3          Q        And within that do you look at election

 4    administration?

 5          A        I do, within the voting rights and

 6    representation.

 7          Q        And do you look at -- do you study

 8    Georgia -- other than to prepare your report in this

 9    case, have you studied Georgia in your interest in

10    voting rights and representation?

11          A        I have in the past.        So the most recent

12    time I taught this class I did not.

13          Q        The most recent time you taught the class

14    --

15          A        That I taught that particular class, I

16    did not single out Georgia.

17          Q        I see, okay.      When was the last time you
18    taught that class?

19          A        This particular class, the last time I

20    taught was 2012.

21          Q        Okay.    And is it an undergraduate class

22    or a graduate class?

23          A        It is a hybrid class, so we have

24    upper-level undergraduates.

25          Q        Got it.    Those are always fun because

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 1    they were always in the morning when I went to school.

 2    Grad students could get up in the morning.

 3    Undergraduates had challenges.

 4          A        Uh-huh.

 5          Q        Public policy and leadership, is that a

 6    class you teach as well?

 7          A        It is.

 8          Q        And if I were to take a look at the

 9    syllabus of that class, what does it teach generally?

10          A        So it is helping students understand what

11    public service entails, the various opportunities for

12    that, and how people who participate in public

13    leadership, whether elected or appointed, how they

14    navigate key public policy challenges in the United

15    States.

16          Q        Okay.    And in the context of that

17    course -- and it is a course; correct?
18          A        It is.

19          Q        Okay.    Do you look at Georgia election

20    administration?

21          A        I do not.

22          Q        Okay.    And I've gone through certainly

23    not all, but I've read your CV on the scholarship,

24    I've not read all of the book.           And clearly you've

25    spent a lot of time and effort researching issues of

                               Regency-Brentano, Inc.
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 1    felon disenfranchisement and felon voting.             How much

 2    of your scholarship in -- and can you point me to

 3    perhaps an article on election administration outside

 4    of the context of felon disenfranchisement?

 5          A        So the book chapter that is listed on

 6    page 4, the 2015 "Felon Disenfranchisement Ten Years

 7    After Bush v. Gore," that particular chapter looks at

 8    election administration overall and then centers felon

 9    disenfranchisement as a policy area or key area of

10    navigating that.

11          Q        And within that one, that was written by

12    you and then edited by Mr. Alvarez and Mr. Grofman; is

13    that correct?

14          A        Yes.

15          Q        Okay.    And what did you conclude in that

16    article, if anything, on election administration other

17    than felon disenfranchisement?
18          A        So the key conclusion of that chapter was

19    the need to consider how federalism shapes election

20    administration, the need to balance state interests

21    against federal.

22          Q        And tell me what a state -- where would a

23    state interest -- and I realize this is a broad

24    question.    Where would a state interest differ from

25    federal interest in terms of balloting?

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 1          A        So in terms of balloting, states get to

 2    design those ballots and states get to decide the

 3    time, place, and manner of elections.             And so within

 4    that chapter I talk about that, the need to understand

 5    those state level decisions and also the broader

 6    national and federal context of that decision-making.

 7          Q        Okay.    And is there much dedication to

 8    Georgia in that chapter?

 9          A        It is not.

10          Q        Okay.    Other than that one, is there an

11    article that -- or scholarship that you've

12    published -- let me back up one second.

13                   That chapter, is that considered a

14    peer-reviewed chapter?

15          A        It is, yes.

16          Q        Okay.    And other than that one, can you

17    point me to where you focused on, for peer review,
18    peer review materials, election administration outside

19    of the context of felon disenfranchisement?

20          A        That would be the key piece for

21    peer-reviewed.

22          Q        All right.     Going back to your teaching,

23    how many courses do you teach in a given semester?

24          A        It varies --

25          Q        Sure.

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 1          A        -- from semester to semester.           This

 2    semester I'm teaching two courses.

 3          Q        Okay.    Do you know what you're doing next

 4    semester?

 5          A        Two courses for next semester.

 6          Q        Okay.    How many classes have you taught

 7    that focus exclusively on election administration?

 8          A        I have taught two courses that focus

 9    exclusively on election administration.            That would be

10    the voting rights and representation course.               And that

11    has changed in terms of how it's been taught.

12          Q        Can you explain how it's changed?

13          A        So the first iterations of that course

14    were a reading course where basically the students,

15    gave them readings, and we discussed those readings.

16    The newest iteration of that course is more of a

17    lecture discussion based course.
18          Q        All right.     And in that course -- and I

19    probably asked this before, forgive me, but in that

20    course, have you focused on Georgia at any particular

21    time?

22          A        Yes, but not exclusively.

23          Q        Okay.    And this is what we were talking

24    about before, historically in the three periods?

25          A        Yes.

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 1          Q        Got it, okay.      And when you look at --

 2    and I'll leave it to I think your phrase was

 3    contemporary period, 1990 forward.

 4          A        Uh-huh.

 5          Q        And when you look at Georgia, what did

 6    you look at specifically in regards to Georgia policy

 7    in that course from 1990 forward?

 8          A        So one of the key things that we looked

 9    at within that course are how Georgia as well as other

10    Southern states that have seen demographic shifts, how

11    those states have responded in terms of mandates

12    around Section 203 of the Voting Rights Act of 1965 as

13    well as more -- more contemporary questions around

14    eligibility and access within Georgia as well as other

15    states.

16          Q        So in that class and in that course do

17    you focus on, for Georgia, and again, in this window
18    of 1990 forward, responsibilities of public officials?

19    And by that specifically I mean the role of the

20    secretary of state versus that of county officials

21    versus that of municipal officials.

22          A        Within that course I focus on the various

23    responsibilities and how they vary based on level of

24    government and also what happens when those levels

25    overlap or diverge.      And again, the sort of center and

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 1    point there is about federalism within that course and

 2    related.

 3          Q        Okay.    And do you assign any readings on

 4    Georgia for that course?

 5          A        Not on Georgia -- well, I have a reading

 6    by Charles Bullock that I assign, and that is a part

 7    of understanding how these things vary over time.

 8          Q        Okay.    And do you know which article from

 9    Professor Bullock?

10          A        Not off the top of my head.

11          Q        And does it discuss the role of the

12    secretary of state, or is it more his kind of here's

13    how politics are playing out in Georgia?

14          A        It's not just about politics --

15          Q        Sure.

16          A        -- in general -- in Georgia, but it is

17    not focused on the secretary of state in Georgia.
18          Q        Okay.    All right, looking at policy

19    papers and other publications, are these

20    peer-reviewed, the ones that are listed here?

21          A        Some of them are.

22          Q        Some are?

23          A        Yes.

24          Q        Okay.    And I guess my question is, just

25    generally, what were the different -- when you created

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 1    your CV, some ended up in this category, some ended up

 2    in -- or is policy papers a subsection of scholarship

 3    and research publications?

 4          A        It is.

 5          Q        I see, okay.       All right.        Do any of those

 6    works that are listed under policy papers and other

 7    publications focus on Georgia?

 8          A        So the 2015 publication on page 5, "Fifty

 9    Years of the Voting Rights Act:           The State of Race in

10    Politics," that does have Georgia as a part of that.

11          Q        And what does it conclude about Georgia?

12          A        So it concludes -- I look -- we look

13    overall.    We look at various states, we look at

14    various regions.        It concludes overall that the Voting

15    Rights Act of 1965 did have a substantial impact on

16    the key areas that we examine, being registration,

17    turnout, policy responsiveness, and representation.
18          Q        Okay.      Does it focus at all on

19    administration vis-a-vis the secretary of state

20    or county --

21          A        Not via the secretary of state.               It looks

22    at election administration overall, broadly.

23          Q        Okay.      And is that one for the Joint

24    Center, was that peer-reviewed?

25          A        It was not peer-reviewed to the same

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 1    standard that it would be for an academic publication.

 2          Q        Okay.    Now, your degrees are -- I mean

 3    you have a master's and a Ph.D. in political science;

 4    correct?

 5          A        Correct.

 6          Q        You do not have a law degree; is that

 7    right?

 8          A        I do not.

 9          Q        Okay, and are you currently enrolled in

10    any law school?

11          A        I am not.

12          Q        Okay.    Bless you.       Have you -- prior to

13    providing your report in this case, have you ever

14    provided a report for purposes of litigation?

15          A        I have not.

16          Q        Okay.    And you've testified earlier

17    you've not been deposed before?
18          A        Correct.

19          Q        Have you testified in any case involving

20    voting or government generally?

21          A        Testified, no, in a case, no.

22          Q        Have you been a consulting expert in any

23    case involving elections?

24          A        I have not.

25          Q        And do you know what I mean by consulting

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 1    expert?

 2          A        Yes.

 3          Q        Okay.    Have you read the complaint in

 4    this case?

 5          A        I've read the amended complaint.

 6          Q        All right.     And when did you read the

 7    amended complaint, roughly?

 8          A        Yesterday.

 9          Q        Okay.    So you did not read it when you

10    provided your report?

11          A        No.

12          Q        Okay.    And when did you receive -- first

13    receive the amended complaint?

14          A        Yesterday.

15          Q        I see, okay.      And so is your -- tell me

16    generally in your words, what is this case about?

17          A        So I -- for my report I didn't focus on
18    what the case was about.       I just focused on the

19    question that I was asked to research.

20          Q        But sitting here today, can you tell me

21    generally what your, in your words, what is this case

22    about?

23          A        Based on what I read yesterday, I think

24    this case is about Georgia voters and their access to

25    voting.

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 1          Q        Okay.    You do not form an opinion as to

 2    the merits of the case, in other words, whether the

 3    claims are accurate or not; is that right?

 4          A        No, I do not.

 5          Q        All right.     And you say in your report --

 6    and you can go back to that, which is exhibit -- is it

 7    3?

 8                   MR. MILLER:     3.

 9                   MR. BELINFANTE:       Okay.

10    BY MR. BELINFANTE:

11          Q        On page 3 -- that you were contacted on

12    June 11 of this year under assignment; is that

13    correct?

14          A        Yes.

15          Q        Okay, do you remember who contacted you?

16          A        I believe it was Mr. Chandler who

17    contacted me.
18          Q        Did you know Mr. Chandler prior to this?

19          A        I did not.

20          Q        Did Mr. Chandler provide you with any

21    underlying facts about the litigation?

22          A        No.

23          Q        But he's the one that gave you the topic

24    that people would like you to look at?

25          A        Yes.

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 1          Q        And what did he say he would like you to

 2    study and issue a report on?

 3          A        I was asked to address the role of the

 4    Georgia Secretary of State within election

 5    administration and enforcement.

 6          Q        All right.     Did he ask you to make any

 7    assumptions --

 8          A        No.

 9          Q        -- in your research?        Okay.    And would

10    you generally -- was Mr. Chandler your point of

11    contact?

12          A        He was.

13          Q        Okay.    And would you communicate largely

14    by phone or by e-mail?

15          A        By e-mail.

16          Q        Okay.    Were there -- and I'm not asking

17    what was in them, but other than the two reports that
18    we have, the August 1 and the November 1, were there

19    drafts of the report?

20          A        I did draft the report, yes.

21          Q        And did you send drafts to Mr. Chandler?

22          A        I sent two drafts to Mr. Chandler.

23          Q        And did Mr. Chandler provide you with any

24    comments on those drafts?

25          A        No.

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 1          Q        Okay.    What led you to issue a revised

 2    report in November?

 3          A        So there was an update around the

 4    equipment that was used, and so I updated that report

 5    to reflect those changes.        So it increased the number

 6    of provisions related, and so the November update

 7    focuses on that.

 8          Q        All right.     Was there anything else --

 9    because I mean there's textual changes, too, and we

10    can get into those.      But were you looking -- I mean

11    other than the equipment, was there a reason that you

12    updated your report?

13          A        No, so that's the only changes there.

14          Q        All right.     Have you met Stacey Abrams?

15          A        I have not.

16          Q        Okay.    You did follow her race for

17    governor, though; correct?
18          A        Yes.

19          Q        And I think you describe yourself as a

20    political junkie; is that right?

21          A        Yes.

22          Q        And do you recall describing her as a,

23    quote, exemplar of public officials who can connect

24    grassroots mobilization with a strategic vision and an

25    ambitious political agenda?

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 1          A        I believe that was -- I was quoted in an

 2    article.

 3          Q        That's right.

 4          A        Uh-huh.

 5          Q        What did you mean by strategic vision?

 6          A        So in that particular article the

 7    reporter asked me can candidates just run or do they

 8    need to have a platform to run.

 9          Q        And what did you mean by strategic vision

10    there?    And I'll just give you the article too.

11          A        Okay.

12          Q        I'm not trying to play hide the ball.

13                       (Thereupon, marked for identification,

14           Defendants' Exhibit D-4.)
15    BY MR. BELINFANTE:

16          Q        I'll show you what I've marked as Exhibit

17    4.

18          A        Thank you.     So what I was referencing

19    there was the idea of a strategic vision being that

20    candidates need to not just talk in generalities but

21    have a plan for what they want to do and how they

22    would do it.

23          Q        And at this time can you recall what you

24    thought Ms. Abrams' plan was?

25          A        The plan that I was referencing in

                               Regency-Brentano, Inc.
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 1    particular here was around student loan debt and

 2    college affordability.

 3          Q        Is that the same when you describe her

 4    ambitious political agenda, is that roughly the same?

 5          A        Yes, yes.     It's not roughly the same, it

 6    is the same.

 7          Q        I see, okay.      Did you make any financial

 8    contributions to Ms. Abrams' campaign?

 9          A        I did not.

10          Q        Have you made political contributions in

11    the past five years?

12          A        I have.

13          Q        Have you made any to members of the

14    Democratic Party?

15          A        I have made to a candidate who is a

16    member of the Democratic Party, he's a personal

17    friend, yes.
18          Q        Okay.    Any to any members of the

19    Republican Party, any candidates?

20          A        No.

21          Q        And you don't in your report express an

22    opinion on whether Georgia engaged in intentional

23    voter disenfranchisement in the 2018 gubernatorial

24    election?

25          A        No, I do not make an opinion.

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1           Q        We talked about this a moment ago.              You

2     recently published a book on identity policy; is that

3     correct?

4           A        Yes.

5                        (Thereupon, marked for identification,

6            Defendants' Exhibit D-5.)
 7    BY MR. BELINFANTE:

 8          Q        I will show you what I've marked as

 9    Exhibit 5.

10          A        Thank you.

11          Q        What I've tried to do when I -- there's

12    only a few of these -- I'll have the cover of the

13    book, copyright page, so we're all on the same page,

14    in terms of what I'm showing you.          This is page 113

15    and 114 of your book; is that right?

16          A        Yes.

17          Q        All right.     My question is about the last

18    paragraph on page 113.

19          A        Yes.

20          Q        There it's where you mention Ms. Abrams

21    has run for governor, as well as Andrew Gillum and Ben

22    Jealous in Florida and Maryland, respectively.                Do you

23    see that?

24          A        Yes.

25          Q        You write that all three fell short in

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 1    elections clouded by allegations of voter suppression

 2    and racial bias.        Do you see that?

 3          A        Yes.

 4          Q        Okay.      And as I went back, the citation

 5    for Georgia at least is Lopez 2018.            Do you -- I don't

 6    have the -- I mean I have the book, we can take a look

 7    at it, but I'll represent to you that that was an

 8    article in Vox.     I believe his name is German Lopez.

 9          A        Okay.

10          Q        Is that familiar to you at all?

11          A        I would have to look at the actual

12    citation.

13          Q        Okay, sure.

14          A        Yes.

15          Q        Okay.      Is it fair, if I'm reading this,

16    when you state that the election was clouded by

17    allegations of voter suppression, that is -- is there
18    anything you base that on other than the Lopez

19    article?

20          A        Well, I based it on the two citations

21    that are there, and it's also why I say allegations.

22          Q        Right.      But if the Thrush and Peters

23    article, for example, does not discuss Georgia and

24    Lopez does, is it safe to presume --

25          A        I would need to reference, yes.

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1           Q        Okay, all right, we may be able to help

2     with that.    I'll show you what we'll mark as Exhibit

3     6, which is page 231.

4                        (Thereupon, marked for identification,

5            Defendants' Exhibit D-6.)
 6    BY MR. BELINFANTE:

 7          Q        My question is on a statement in the

 8    second full paragraph that begins with the 116th

 9    Congress from page 231.

10          A        Yes.

11          Q        There you say in the second-to-last

12    sentence, And yet the persistence of voter suppression

13    and disenfranchisement in places such as Georgia,

14    Florida, Nevada, Ohio, and Pennsylvania reminds us

15    that mobilization breeds countermobilization.                Do you

16    see that?

17          A        Yes.

18          Q        Okay.    But again, you're not offering any

19    opinion in this case on that statement?

20          A        No, no.

21          Q        Okay.    But it's fair to say if you put it

22    in your book, that you believe that to be an accurate

23    statement?

24          A        Yes.

25          Q        Okay.    All right, let's go back to your

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 1    report, which is Exhibit 3.        Would you agree with me

 2    that the focus, though, of the Identity Politics book

 3    is not Georgia?

 4          A        No, it is not.

 5          Q        Okay.    And the book in fact does not make

 6    any analysis on the role of the secretary of state in

 7    Georgia elections, does it?

 8          A        It does not.

 9          Q        Have you made any financial contributions

10    to Fair Fight Action or any --

11          A        I have not.

12          Q        Okay.    Are you familiar with Fair Fight

13    Action?

14          A        Yes, I've heard of Fair Fight.

15          Q        Okay.    Do you have an opinion as to

16    whether it fights for legal equality?

17          A        I believe --
18                   MS. BRYAN:     Objection to form.

19    BY MR. BELINFANTE:

20          Q        Let me ask this way.        Do you believe that

21    part of its mission is to fight for legal equality?

22          A        I don't know.

23          Q        Did you attend the 2016 Democratic

24    National Convention?

25          A        I did not.

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 1           Q       I'll represent to you in your book you

 2    describe a scene where Secretary Clinton comes onto

 3    the stage at the convention.          Was that just from

 4    watching it on TV?

 5           A       Yes.

 6           Q       Now, obviously you, I mean you rightly, I

 7    think, consider yourself a scholar; is that fair to

 8    say?

 9           A       Yes.

10           Q       Okay.      And you have written that

11    academics generally are trained to approach topics

12    from a detached objective and often quantitative

13    perspective; is that right?

14           A       Yes.

15           Q       But you view your role as something more

16    than that; isn't that right?

17           A       No.
18           Q       Okay.      Do you consider yourself a scholar

19    activist?

20           A       No.      I think it depends on what I'm

21    doing.

22           Q       Okay.      So sometimes you're a scholar

23    activist, sometimes you're not?

24           A       No, I think --

25           Q       And I'm not trying to be cute.                I'm just

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 1    trying to figure it out.

 2          A        I have been described as a scholar

 3    activist.    That is not how I define myself.

 4          Q        Okay.    Do you urge others to engage in

 5    activism?

 6          A        Yes.

 7          Q        Do you consider yourself an activist?

 8          A        No.

 9          Q        I'll show you what we'll mark as Exhibit

10    7.

11                       (Thereupon, marked for identification,

12           Defendants' Exhibit D-7.)
13    BY MR. BELINFANTE:

14          Q        This is an article you wrote in April of

15    2018; is that correct?

16          A        Yes.

17          Q        And at some point -- and forgive me for

18    not knowing exactly -- you refer to yourself as

19    writing blogs.       Do you deem the Diverse education

20    articles to be your blogs, or is that something

21    different?

22          A        This is considered a blog because Diverse

23    does not have columns.

24          Q        I see.     Is Diverse published in writing,

25    or is it exclusively online?

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 1          A        It is published both --

 2          Q        Okay.

 3          A        -- in print and online.

 4          Q        In print and online, okay.          Let me turn

 5    your attention to page 3, the last page of it.                And

 6    feel free to read as much of this as you want.                My

 7    question is about the last sentence of the article,

 8    let's commit to scholarship and activism that empowers

 9    rather than shames.

10          A        Yes.

11          Q        Okay.    So there you are urging, as you

12    said, persons to commit to activism; correct?

13          A        No, what I am saying is that for those

14    who pursue scholarship or for those who pursue

15    activism, that that work should focus on empowering

16    rather than shaming.      I'm not conflating the two.

17          Q        I see.    So you're drawing a distinction
18    there between scholarship and activism?

19          A        Yes.

20          Q        I see, okay.

21                       (Thereupon, marked for identification,

22           Defendants' Exhibit D-8.)
23    BY MR. BELINFANTE:

24          Q        All right, I'll show you what I've marked

25    as Exhibit 8.     This is an article you wrote for

                               Regency-Brentano, Inc.
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 1    Diverse in March of 2018; is that right?

 2          A        Yes.

 3          Q        Let me turn your attention to page 3.

 4    And if you want to read the whole thing, certainly

 5    feel free.    My questions will be about the first full

 6    paragraph on page 3.      Have you had a chance to read

 7    it?

 8          A        Yes, uh-huh.

 9          Q        I'm sorry to be asking about a difficult

10    subject, when your cousin was murdered.            But there you

11    write that Brian's murder shifted my gaze from a

12    detached social scientist analyzing mass incarceration

13    data to an engaged scholar-activist demanding systemic

14    reform that prioritizes justice for victims and

15    families.    Do you see that?

16          A        Yes.

17          Q        What did you mean there by scholar
18    activist?

19          A        So that relates to how that was

20    defined -- if I can take a moment, please.

21          Q        Sure.

22          A        I didn't expect to address this.              I'm

23    sorry.

24          Q        No, no, no, I'm sorry myself.

25          A        This particular piece relates to how what

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 1    we were doing to honor Brian's memory was described to

 2    us, that it was described as you're not just a family,

 3    you're an activist because you're advocating for your

 4    family member.     So this for me was a way of defining

 5    what families could do to honor their loved ones.

 6          Q        Okay.    And that would be, in your case,

 7    to use your gifts as a scholar to do what?

 8          A        To help the language of what I do as a

 9    scholar, to make my scholarship accessible beyond the

10    classroom and beyond the academy, to maintain the

11    integrity of that scholarship but use a language that

12    could be accessible beyond those who went to a

13    graduate program.

14          Q        Okay.    Does your scholarship now look at

15    systemic reform generally?

16          A        In certain aspects, yes.

17          Q        Does it look at systemic reform in
18    election administration outside of the context of

19    felon voting?

20          A        Yes.

21          Q        Okay.    And that would be based on what

22    we've already talked about; correct?

23          A        Yes.

24          Q        I'll show you one more article.             We'll

25    mark this as Exhibit 9.

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1                         (Thereupon, marked for identification,

2            Defendants' Exhibit D-9.)
 3    BY MR. BELINFANTE:

 4           Q         Is it fair to say that you don't agree

 5    with the policies of the current presidential

 6    administration?

 7                     MS. BRYAN:    Objection to form.

 8                     I'm sorry, could I have that again?

 9    BY MR. BELINFANTE:

10           Q         Is it fair to say you don't agree with

11    the policies of the current presidential

12    administration?

13                     MS. BRYAN:    With respect to what?

14                     MR. BELINFANTE:      I don't know.         I mean

15               I'm asking broadly.

16           A         No, I don't think that would be fair to

17    say.

18    BY MR. BELINFANTE:

19           Q         Okay.   Let's look at this article on --

20    this is an article you penned in March of 2018 for

21    Diverse as well?

22           A         Yes.

23           Q         Okay.   In the first sentence, third

24    paragraph, As the White House becomes more -- excuse

25    me.    As the White House becomes a revolving --

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 1          A        Excuse me.

 2          Q        Yes.

 3          A        You're on page 1?

 4          Q        Yes, ma'am.

 5          A        Okay, thank you.

 6          Q        Uh-huh.    Are you there in that

 7    first paragraph?

 8          A        Yes, I am.

 9          Q        All right.     It reads, As the White House

10    becomes a revolving door of appointees kicked off the

11    island of misfit toys, our democracy seems to be in a

12    death spiral of chaos.       Do you see that?

13          A        Yes, I do.

14          Q        Why do you refer to the White House as

15    the island of misfit toys?

16          A        It actually referenced a statement that

17    was made by the president at the time about the people
18    that he was removing from their positions not being in

19    alignment with that vision, with his vision, and the

20    best interests of the country.

21          Q        Did the president use the phrase island

22    of misfit toys?

23          A        He did not.

24          Q        Okay.    So are you describing there the

25    White House as an island of misfit toys?

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 1          A        No.

 2          Q        Okay, then how does that phrase even work

 3    in that sentence?

 4          A        Well, it works in the sentence in terms

 5    of those who were not doing what they were appointed

 6    to do as determined by the president.

 7          Q        But it says they were kicked off the

 8    island of misfit toys.       What is the island of misfit

 9    toys in that sentence?

10          A        Well, the people that I was referencing

11    in that sentence are no longer within public office.

12    They are doing things that have nothing to do with

13    public service.      That's what I reference when I say

14    the island of misfit toys.

15          Q        And so the island in that sentence is

16    public service in the White House; correct?

17          A        Yes.
18          Q        Okay.    What did you mean in our democracy

19    seems to be in a death spiral of chaos?

20          A        What I mean in that sentence is that the

21    country seems incredibly divided, that there is a lack

22    of agreement in many areas, and that's chaotic.

23          Q        Okay.    Turning the page to page 2 of the

24    article, in the last paragraph before the numbered

25    paragraphs, so the third from the top -- or from the

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 1    bottom, it says, Political panic seems like a natural

 2    response to our current state of affairs that rivals

 3    any House of Cards meets 1984 plot twist.              What did

 4    you mean by that in terms of House of Cards meets

 5    1984?

 6          A        House of Cards, referencing the show.

 7    There is always a state of chaos within that show,

 8    that there is no agreement in any area, and that once

 9    people get comfortable there seems to be some new

10    controversy or some new challenge.            So that's what I

11    mean by that.

12          Q        Okay.      And what about the current state

13    of political affairs reminds you of 1984?              And I

14    presume there you mean the book by George Orwell?

15          A        I do.

16          Q        Okay.

17          A        The idea that we are seeing people across
18    the political spectrum questioning government and

19    questioning government involvement in their lives.

20          Q        Okay.      So you're not referring to the

21    White House as a big brother figure?

22          A        No.      I'm referencing government and

23    politics overall in reference to how the public is

24    expressing itself.

25          Q        You encourage folks in point 2, secure

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 1    the bag?

 2          A        Yes.

 3          Q        The third sentence begins on the bottom

 4    of page 2 out of 3, to invest in collective success by

 5    donating to organizations such as the NAACP Legal

 6    Defense Fund, the Lawyers' Committee for Civil Rights,

 7    and the Black Youth Project.         What is it about those

 8    groups, the NAACP, Legal Defense Fund, and the

 9    Lawyers' Committee for Civil Rights, those two, that

10    earned your support and encouragement?

11          A        It referenced an earlier conversation

12    that was being had amongst Diverse readers about

13    wanting to support organizations that were not

14    partisan in nature and that were focusing on issues

15    and not people and candidates.

16          Q        Okay.    And what issues does the NAACP

17    Legal Defense Fund focus on that you found worth
18    encouraging people to support?

19          A        At issue in this particular article in

20    that time period of when it was written was a broader

21    discussion about public education and about access to

22    public education.

23          Q        All right, and how about the Lawyers'

24    Committee for Civil Rights?

25          A        The Lawyers' Committee for Civil Rights

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 1    was also working on education, on public education in

 2    particular, the debate about charter schools and

 3    funding.

 4          Q        All right, so this was not a reference to

 5    election-based litigation?

 6          A        No, no.

 7          Q        All right.     In number 3 there, which

 8    begins with the heading educate, the second sentence,

 9    you write, Push professional associations to invest in

10    public scholarship that can bridge the gap between

11    academics, activists, legislators, and concerned

12    citizens.    Support those willing to take their insight

13    beyond the academy without losing sight of

14    intellectual rigor and integrity.          Do you see that?

15          A        Yes.

16          Q        What do you mean by bridge the gap

17    between academics, and I'll ask here, and activists?
18          A        So I think that academics often work in

19    silos.    And what I was saying here, to bridge the gap

20    is to have conversations, not just with other

21    academics, but with people beyond the academy.

22          Q        And do you frequently engage in

23    conversations with activists?

24          A        I engage in conversations with lots of

25    people as a professor.

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 1          Q        Sure.    Do you work with activists to

 2    further their goals?

 3          A        I do not.

 4          Q        How about with legislators?

 5          A        I have.

 6          Q        Okay.    And what issues have you worked

 7    with legislators to advance?

 8          A        On the death penalty and also public

 9    education, access to education.

10          Q        All right.     And do you consider yourself

11    someone who is willing to take your insight beyond the

12    academy without losing sight of intellectual rigor and

13    integrity?

14          A        Very much so.

15          Q        Okay.    And would that include shaping

16    policy?

17          A        That's not my focus.        But if that is a
18    part of what happens, it's -- my focus is on the

19    scholarship that I do, maintaining that rigor and

20    integrity and making that scholarship, or

21    disseminating that scholarship.

22          Q        Okay.    Let me show you what we'll mark as

23    Exhibit 10.

24                       (Thereupon, marked for identification,

25           Defendants' Exhibit D-10.)

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 1    BY MR. BELINFANTE:

 2          Q        My question is here on page 2, the

 3    second-to-last paragraph that begins with voter

 4    turnout in midterm contests.

 5          A        Yes.

 6          Q        The last two sentences of that paragraph

 7    read, Within hours of the Supreme Court's decision to

 8    gut the Voting Rights Act of 1965 in Shelby versus

 9    Holder, these states adopted new restrictions on early

10    voting, photo identification, and reduced the number

11    of polling places in certain communities.            Do you see

12    that?

13          A        Yes.

14          Q        To your knowledge, did Georgia adopt

15    photo identification laws before the Shelby decision?

16          A        I couldn't speak on that.

17          Q        Okay.    To your knowledge does Georgia --
18    or do you have an opinion on whether the state of

19    Georgia as opposed to local governments reduces the

20    number of polling places in certain communities?

21                   MS. BRYAN:     Objection to form.

22                   Go ahead.

23          A        I don't have an opinion.

24    BY MR. BELINFANTE:

25          Q        Okay.    And by that -- and I'll just ask a

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 1    different way so we're all clear.          Do you have an

 2    opinion on whether the state government, specifically

 3    the secretary of state, or a local government, county

 4    government, causes a polling place to close or be

 5    consolidated in the state of Georgia?

 6           A       I don't have an opinion on that.

 7           Q       Okay.    If you wanted to take a break, now

 8    may be a good time.      We've been going an hour.            I can

 9    keep going or we can take a break, totally up to

10    y'all.

11           A       I would like to take a break.

12           Q       Sure, sure.

13           A       Thank you.

14                            (Recess from 10:32 to 10:40 a.m.)

15    BY MR. BELINFANTE:

16           Q       Professor, I've got one more question for

17    you about Exhibit 10, which is the "The Stakes is
18    High" article.

19           A       Yes.

20           Q       And if I could just draw your attention

21    back to that same -- second-to-last paragraph on page

22    2 --

23           A       Yes.

24           Q       -- discussing Shelby.        You say there

25    that, again, within hours of the Supreme Court's

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 1    decision to gut the Voting Rights Act of 1965 in

 2    Shelby v. Holder, these states adopted new

 3    restrictions on early voting.         Do you have an opinion

 4    on whether Georgia adopted new restrictions on early

 5    voting?

 6           A       I don't have an opinion.

 7           Q       Okay, do you know whether it did or did

 8    not?

 9           A       I wouldn't be able to speak to it.

10           Q       Okay.    Going back to your report, I'll

11    just ask you some questions about it generally.                In

12    preparing your report, did you speak, other than the

13    plaintiffs -- an attorney with the plaintiffs' legal

14    team, did you speak to anyone in Georgia when

15    preparing your report?

16           A       I did not.

17           Q       Okay.    Did you speak with anyone from the
18    Lawyers' Committee for Civil Rights?

19           A       I did not.

20           Q       Okay.    Did anyone assist you write the

21    report?

22           A       No.

23           Q       When you performed the work that

24    ultimately led to the report, had you read any

25    depositions taken in this case?

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 1          A        I had not.

 2          Q        Have you today read any of the

 3    depositions?

 4          A        No.

 5          Q        Did you discuss the report with anyone

 6    who is not a lawyer associated with the plaintiffs?

 7          A        No.

 8          Q        Did you have anyone other than

 9    Plaintiffs' counsel review the report before?

10          A        No.

11          Q        Okay.    And did you consider any documents

12    other than those cited in the report?

13          A        No.

14          Q        Okay.    And this is a duplicative

15    question, but it's what we do.           Did you consider any

16    documents to your knowledge that were produced in

17    discovery in this case?
18          A        I'm not sure how to respond to that.

19          Q        Okay.    I'm not asking what the documents

20    might be, but did Plaintiff's counsel provide you with

21    any documents for your work in your report?

22          A        The table of statutes that we have that

23    was the first three columns were provided to me.

24          Q        Provided to you, okay.

25          A        Yes.

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 1          Q        Can you point to me in your

 2    November '18 report where you provide your complete

 3    statements of all opinions expressed in the report?

 4          A        On page 3.

 5          Q        Okay.    Is that the summary of opinions?

 6          A        Yes.

 7          Q        Okay.    And your opinions are based on the

 8    law; correct?

 9          A        It is based --

10                   MS. BRYAN:     Objection to form.

11                   You can answer the question if you can.

12          A        I'm sorry, could you repeat the question

13    again?

14    BY MR. BELINFANTE:

15          Q        Sure.    I'll ask it slightly differently.

16    Are your opinions based on Georgia law?

17          A        Not solely based on Georgia law.
18          Q        That's correct.       Are your opinions based

19    on Georgia and federal law?

20          A        Yes.

21          Q        Okay.    And you are offering an opinion on

22    what the law requires; is that correct?

23                   MS. BRYAN:     Objection to form.

24          A        No.

25    BY MR. BELINFANTE:

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 1          Q        Okay.      Tell me what you're offering an

 2    opinion on -- well, I'll strike that and come back to

 3    it.

 4                   Do you in this report seek to articulate

 5    the legal obligations of the secretary of state in

 6    Georgia as it relates to elections?

 7          A        No.

 8          Q        Okay.      So what are you -- what are you

 9    opining on as it relates to the secretary of state?

10          A        So what I am reflecting in my report and

11    in my opinions is that these provisions aren't just

12    legal, that there are also broader considerations that

13    affect not just what legal statutes say but what those

14    implementations are as well.

15          Q        Are you opining on what statutes say?

16          A        No.

17          Q        So in the chart of the 150-some-odd
18    statutes, you're not giving an opinion on what those

19    statutes mean?

20          A        No.      What I do in that chart is classify

21    how those statutes connect to those duties.

22          Q        And tell me what you mean by a duty.

23          A        So each of those statutes contained -- or

24    provisions contained in the chart outline the text

25    from those provisions.        And so what I did was

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 1    categorize based on interaction with candidates, with

 2    voters, and with election officials.

 3          Q        And to make that categorization, you had

 4    to determine what those statutes mean; correct?

 5          A        No.

 6          Q        Okay.    Then how did you categorize

 7    without knowing what the statute meant?

 8          A        So what I did was look at the text of the

 9    statutes.    I compared the text of those statutes with

10    the provisions that are included as you see in the

11    report, in the National Voter Registration Act, the

12    Help America Vote Act, and also the Voting Rights Act

13    of 1965.

14          Q        All right, so when you take a statute, a

15    Georgia statute, and you categorize it, tell me what

16    your three categories were again.

17          A        So category one is interaction with
18    candidates, both declared candidates and potential

19    candidates.    Category two is interaction with voters.

20    Category three is interactions with other election

21    officials.

22          Q        And is it your opinion -- or is it your

23    testimony that your opinion is limited to how the

24    Georgia statutes interplay with the three federal

25    statutes you've identified?

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 1          A        Could you repeat the question, please?

 2          Q        Sure.    Is it your testimony that your

 3    opinion is limited to how the Georgia statutes you've

 4    identified interact with or interplay with the three

 5    federal statutes you've identified?

 6          A        Yes.

 7          Q        Okay.    So you're not opining anything on

 8    Georgia law -- let me rephrase that.

 9                   You're not giving an opinion on anything

10    involving Georgia statutes that do not in some way

11    touch on the Help America Vote Act, the National Voter

12    Registration Act, or the Voting Rights Act of 1965?

13          A        Yes.

14          Q        I'm going to mark for you the report that

15    was filed with the Court on August 15 of this year,

16    which I may refer to as the August report or the first

17    report.
18                       (Thereupon, marked for identification,

19           Defendants' Exhibit D-11.)
20                   MS. BRYAN:     What number is this?

21                   MR. MILLER:     11.

22                   MR. BELINFANTE:       11.

23    BY MR. BELINFANTE:

24          Q        And I would ask you to turn to -- and to

25    have the current report, the November '18 report,

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 1    available.    And just turn to page 3 of the August

 2    report and also have with you page 3 of the November

 3    report.

 4                   It appears that your opinion number 1,

 5    starting with the right to vote, did not change from

 6    August to November; is that correct?

 7          A        Correct.

 8          Q        All right.      And the second opinion did

 9    not change in substance either; is that correct?

10          A        Correct.

11          Q        All right.      But the third opinion did

12    change; right?

13          A        Correct.

14          Q        All right.      Let's start with defining

15    some of the terms that are in that third opinion.

16    What do you mean by a subnational government?                Is that

17    state and local governments or just state?
18          A        State, local, county.

19          Q        Okay.    And what do you mean by harmful

20    election -- excuse me, harmful electoral practices?

21          A        So anything that impedes upon access to

22    free and fair elections.

23          Q        All right.      Do you have an opinion on

24    whether a photo I.D. law impedes on free and fair

25    elections?

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 1          A        I don't have an opinion on that.

 2          Q        Okay.    Do you have an opinion on

 3    Georgia's process of what Georgia officials call HAVA

 4    match, what the plaintiffs refer to as exact match, do

 5    you have an opinion on that policy?

 6          A        I don't have an opinion on that.

 7          Q        Okay.    And do you have an opinion on what

 8    Georgia refers to as voter roll maintenance and what

 9    the plaintiffs refer to as purges?

10          A        I don't have an opinion on that.

11          Q        Okay.    You also say there that

12    secretaries need to reconcile undue barriers.                What do

13    you mean by that?

14          A        So I say there that secretaries of state

15    or whoever is appointed as the chief election

16    official, because it varies by state to state and

17    territory to territory, has a responsibility to
18    oversee that to make sure that there are not barriers

19    to free and fair elections, and if so, to address

20    that.

21          Q        And how does the Georgia Secretary --

22    let's hypothetically speaking say the Georgia

23    Secretary of State identifies what he or she deems to

24    be an undue barrier to vote.         Do you have an opinion

25    on how the Georgia Secretary of State is to reconcile

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 1    that undue barrier?

 2          A        I don't have an opinion on the

 3    hypothetical.

 4          Q        Okay.     Would you agree with me that

 5    something can be an undue burden but still not be

 6    unlawful?

 7          A        It is possible.

 8          Q        Okay.     And is it your opinion that chief

 9    election officers are required to reconcile undue

10    barriers even if those barriers do not violate a

11    federal or state law, or do you have an opinion?

12          A        I don't have an opinion.

13          Q        Okay.     What prompted you to change your

14    conclusion from the August report to the November

15    report specifically on number 3?

16          A        So I don't think there is a change in

17    conclusion there.       What I did do was edit to tighten
18    language so that it wasn't as clunky.

19          Q        Okay.     So is it your opinion that the

20    substance of the two reports is the same?

21          A        Yes.

22          Q        Okay.     Let's take a look at that.           In the

23    earlier version, the August version, you opine that it

24    is even more important that the chief election officer

25    carry out their responsibilities to address and

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 1    reconcile undue barriers to voting.           Do you see that?

 2          A        Uh-huh.

 3          Q        Yet in the November report it shifts, and

 4    you write that it is the primary responsibility to

 5    prevent subnational governments from implementing

 6    harmful electoral practices shifted from the federal

 7    government, represented by the attorney general and

 8    the department of justice, to state governments.                Do

 9    you see that?

10          A        Uh-huh.

11          Q        And you're saying that's the same?

12          A        Yes, because the phrase in the August

13    report of even more important aligns with the phrase

14    on the November report of shifting from federal to

15    state government.

16          Q        Okay.    Is it your opinion that the

17    secretary of state of Georgia has a legal obligation
18    to prevent subnational governments from implementing

19    harmful electoral practices?

20          A        I don't have an opinion.

21          Q        Okay.    So when you say then that the

22    secretary -- well, would you agree that your report

23    says that the secretary of state of Georgia as the

24    chief election officer has a responsibility to prevent

25    subnational governments from implementing harmful

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 1    electoral practices, you agree with that; correct?

 2          A        Yes, yes.

 3          Q        So what is the basis of that

 4    responsibility?     What is the source of it, so to

 5    speak?

 6          A        So in terms of the role of the chief

 7    election officer and that responsibility, I reference

 8    the responsibilities that are included both in the

 9    National Voter Registration Act as well as the Help

10    America Vote Act of those responsibilities of the

11    chief election officer to do so.

12          Q        So those are obligations that arise out

13    of statutory law then; correct?

14          A        Yes.

15          Q        Okay.    Is your opinion then limited to --

16    let me -- strike that.

17                   Is your opinion that the chief election
18    officers of states have obligations created by federal

19    statutes to enforce those federal statutes in their

20    state?    And those statutes, I mean the NVRA, HAVA, and

21    the Voting Rights Act of 1965.

22          A        Yes.

23          Q        Okay.    Do you have an opinion on the

24    secretary of state's obligation in Georgia to enforce

25    Georgia election law?

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 1          A        Yes.

 2          Q        Okay, and what is that opinion?

 3          A        So that opinion then is reflected in the

 4    report --

 5          Q        Show me where it talks about --

 6          A        -- about --

 7          Q        Go ahead, I'm sorry.

 8          A        I'm sorry.

 9          Q        No, no, go ahead, I interrupted you.

10          A        So in point 4 about the chief election

11    officer bearing primary responsibility, that's where

12    it would be reflected.

13          Q        And that's to protect voter access to

14    federal elections.      So your opinion is limited to

15    federal elections; is that correct?

16          A        So my opinion is limited in terms of

17    access to federal elections at the local, county, and
18    state level because the Help America Vote Act, the

19    National Voter Registration Act focuses in on access

20    to federal election.

21          Q        So you're not expressing an opinion on

22    the secretary of state's duties or obligations as it

23    relates to a purely state or local election?

24          A        I am focused in on the federal election

25    access as prescribed.

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 1          Q        Okay.     So then isn't point 4 duplicative

 2    of point 3 in that the secretary's obligations all

 3    flow from those federal laws, the Help America Vote

 4    Act, the NVRA, and the Voting Rights Act?

 5          A        I don't think that it's duplicative.              I

 6    think that it elaborates on the prior point.

 7          Q        But if the basis of the secretary's

 8    obligation are those three federal statutes, where do

 9    you opine that the secretary has an obligation to

10    enforce state laws, including the state constitution

11    and regulations, in elections?

12          A        So the basis for my opinion is looking at

13    those three provisions, Voting Rights Act of 1965, the

14    Help America Vote Act, and the National Voter

15    Registration Act.       That is the basis of where I focus.

16    It does not state that the role is limited there.                My

17    focus in terms of the research that I did was looking
18    at those key provisions in addition to.            So looking at

19    what is the federal framework and then how does that

20    flow at the subnational levels.

21          Q        Let me give you another hypothetical.

22    Let's say Georgia passes a law that says all poll

23    workers have to wear blue shirts.           Would you agree

24    with me that that does not implicate anything under

25    the Voting Rights Act, HAVA, or the NVRA?

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 1          A        I think it would depend on how that was

 2    being carried out.      So if I could draw your attention

 3    where I talk in the report about not superseding any

 4    of those requirements that happen at the federal level

 5    or making sure that decisions that are made at the

 6    local and state level, so I guess page 19 of the

 7    August report.

 8          Q        Of the August report?

 9          A        Yes, where I talk about at the top of

10    that page of the chief election officer.            So for

11    example, when measures are passed by the legislature,

12    the duty would fall upon election administrators to

13    carry them out in accordance with those guidelines.

14          Q        Right.

15          A        So that's where I would focus, that as

16    long as whatever decision was being made was in

17    accordance with those guidelines and consistent across
18    those guidelines.

19          Q        So going back to my hypothetical, let's

20    just presume for the purpose of the question that

21    there's nothing in the NVRA, HAVA, or the Voting

22    Rights Act of 1965 that addresses dress codes at

23    polling places.     And I don't think there is, but let's

24    just presume that that's the case.

25                   MS. BRYAN:     For poll workers?

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 1                    MR. BELINFANTE:       For poll workers, yes,

 2              not people wearing campaign shirts and so on,

 3              but for poll workers.

 4    BY MR. BELINFANTE:

 5          Q         Let's just presume that, and there's a

 6    state law that says poll workers have to wear blue

 7    shirts.

 8                    Do you have an opinion on whether the

 9    secretary is in charge of enforcing that law vis-a-vis

10    poll workers based on state law, or do you have an

11    opinion -- yeah, and I'll leave it at that.

12          A         I don't have an opinion on that.

13          Q         Okay.     And more generally, then, if the

14    Georgia statute at issue does not touch on something

15    in either the NVRA, HAVA, or the Voting Rights Act of

16    1965, you don't have an opinion on it; is that

17    correct?
18          A         No.     I limited the scope to this.

19          Q         Okay.     I think I may have asked a funny

20    question, which I think I understand your answer and I

21    think we're on the same page, but I think it may read

22    differently.

23                    MR. BELINFANTE:       Can you read back to me

24              my question?

25                    I think you said no, and I think what you

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 1              were trying to say is yes, but I want to

 2              clarify just based on how I asked it.

 3                    (Whereupon, the court reporter read back

 4              the previous question and answer.)

 5          A         I'm sorry, I don't have an opinion on

 6    that.

 7    BY MR. BELINFANTE:

 8          Q         You don't have an opinion on a situation

 9    where the Georgia statute, even if it's in the

10    election code, does not touch upon anything in HAVA,

11    the NVRA, or the Voting Rights Act?

12          A         No, I do not.

13          Q         Okay.   Your opinion in point 3, has that

14    been published in anything that is subject to peer

15    review?

16          A         May I ask which version you're referring

17    to --
18          Q         Sure, that's fine.

19          A         -- just so we're consistent?

20          Q         November's report.

21          A         It is not.

22          Q         And your opinion that is set forth in

23    point 4 of your November report, which is Exhibit 2, I

24    believe, has that been subject to peer review?

25          A         It is not.

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 1          Q        When you say that -- and I'm on the

 2    November report.        When you say that the -- and I may

 3    have asked this before.         If I did, forgive me.         When

 4    you say that the chief election officer has a primary

 5    responsibility, is the basis of that responsibility

 6    HAVA, the NVRA, and the Voting Acts Right of 1965?

 7          A        Yes.

 8          Q        Okay.      And what did you base that opinion

 9    on?   And I'll break that up.         Did you base it on any

10    decisions from a court of law?

11          A        No, I did not.

12          Q        Did you base it on a Georgia statute?

13          A        May -- can I take a step back --

14          Q        Sure.

15          A        -- to the first question that you asked?

16          Q        Sure.

17          A        In terms of the decision of a court of
18    law, it was based on the Shelby County decision, but

19    not a subsequent court decision, just to clarify.

20          Q        All right.       So is it your opinion then

21    that the Shelby decision imposed a primary

22    responsibility on chief election officers in states?

23          A        Yes, because my opinion is that the

24    Shelby County decision, by removing that federal

25    oversight then shifted that primary responsibility.

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 1          Q        Okay.    Is it your opinion that that's

 2    something that could be found in the text of the

 3    opinion itself, or is it that it is an effect of the

 4    opinion?

 5          A        It is an effect of the opinion.

 6          Q        All right.     And has that conclusion been

 7    subjected to peer review?

 8          A        No, it has not.

 9          Q        All right.     Do you have any -- and when

10    you make that conclusion, on what authority are you

11    relying?

12          A        So I'm basing it on the research that we

13    conducted.    You see it in the 2015 report, the

14    research that we conducted there in terms of how

15    voters have reconciled any issues that they had as

16    well as how other states and election administrators

17    have addressed that responsibility.
18          Q        In the 2015 report, the one for the Joint

19    Center for Political and Economic Studies?

20          A        It is.

21          Q        Okay.    And is that conclusion, when you

22    say in how elected leaders have reached that

23    conclusion, does that include Georgia elected

24    officials?

25          A        Elected and appointed officials, yes.

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 1          Q        Okay.    And what has been done by a

 2    Georgia elected or appointed official to indicate to

 3    you agreement with the statement that the chief

 4    election officer has the primary responsibility

 5    post-Holder to prevent subnational governments from

 6    implementing harmful electoral practices?

 7          A        I can't address that.

 8          Q        Okay.    And let me ask this.        When you

 9    talk about harmful electoral practices in your opinion

10    number 3, are you referring to violations of the three

11    federal statutes, HAVA, NVRA, and Voting Rights Act of

12    1965?

13          A        I am referring to things that impede upon

14    access to free and fair elections as prescribed by

15    those three.

16          Q        Okay.    So if something is harmful but not

17    prohibited by those three statutes, it's not included
18    in your opinion?

19          A        I'm only focusing on -- yes.

20          Q        All right.     Are you including

21    constitutional analysis or constitutional violations

22    in what could constitute a harmful electoral practice?

23          A        I am not analyzing constitutional law.

24          Q        You are not offering an opinion on

25    whether there has been voter disenfranchisement in

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 1    Georgia's 2018 election; correct?

 2          A        I am not.

 3          Q        And you're not offering an opinion on the

 4    role of the state election board in Georgia elections,

 5    are you?

 6          A        I am not.

 7          Q        All right.     You're not offering an

 8    opinion on voter technology used in Georgia?

 9          A        I am not.

10          Q        No opinion on closing of poll locations

11    in Georgia?

12          A        I am not.

13          Q        All right.     Let's go to your report.           I'm

14    in November -- and just presume, unless I tell you

15    otherwise, we're talking about the November report --

16    under federalism and the right to vote, page 7, second

17    full paragraph.
18          A        Yes.

19          Q        Midway through you write, In most states

20    and territories, the day-to-day duties of election

21    administration are shared between local authorities

22    and state officials.      Do you see that?

23          A        Yes, I do.

24          Q        Is it your opinion that that is also true

25    of Georgia?

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 1          A        Yes.

 2          Q        All right.     Do you have an opinion as to

 3    where that line is drawn between what is a state duty

 4    and what is a local authority duty in Georgia

 5    elections?

 6          A        I do not have an opinion on that.

 7          Q        Would you agree with me that it would

 8    depend on state statutes to decide what is a state

 9    responsibility and what is a local responsibility?

10          A        I would agree that that would be one of

11    the determinants.

12          Q        And the others would be the federal

13    statutes, at least that you've named?

14          A        Yes.

15          Q        All right.     Anything else?

16          A        Often it depends on practice.            So it

17    varies based on that.
18          Q        Practice could be if kind of we've always

19    done it this way even if it's not codified, that would

20    be something that would --

21          A        That could be practice.            Funding could

22    also be a part of that practice.

23          Q        All right.     Do you know who in Georgia is

24    required to send out absentee ballots?

25          A        I am not.

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 1          Q        Do you know what the role of Georgia

 2    counties are in terms of voter registration?

 3          A        So I through the research in the report

 4    have looked at how counties have been a sort of

 5    localized hub for registration.

 6          Q        Okay.    And tell me, what is the role of

 7    the county government in registering voters in

 8    Georgia?

 9          A        I can't speak to that.

10          Q        All right.     Let's go to citizenship,

11    federalism, and state discretion, page 10.             You write

12    at the -- well, at the paragraph on page 10, I think

13    it's the second full sentence, the preclearance

14    provision required that states and jurisdictions with

15    a documented history of discrimination, section 5,

16    submit proposed electoral changes to the federal

17    officials before they could take effect.
18                   Do you see that?

19          A        Yes.

20          Q        All right.     In your opinion -- or do you

21    have an opinion on not the legal significance but --

22    let me ask it this way.

23                   What is the significance to you if a

24    practice submitted by a state is precleared by the

25    federal government?      What does that tell you?

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 1          A        It tells me that if it has been

 2    precleared by the federal government, that it can take

 3    effect.

 4          Q        Okay.    And what does the federal

 5    government examine when deciding in pre-Shelby days

 6    whether to preclear a state election practice?

 7          A        It varies.      It varies based on who's

 8    staffing that division.        It varies based on what's

 9    been submitted and what's at question -- or what's in

10    question in that case.

11          Q        Do you know if there is a set criteria

12    that they evaluate to determine whether to preclear --

13          A        I can't address that.

14          Q        Okay.    And do you have an opinion if

15    something has been precleared, is that indicative to

16    you that the election practice does not lead to voter

17    disenfranchisement?
18          A        I don't have an opinion.

19          Q        All right.      Do you know a gentleman named

20    Tom Perez or know of him?

21          A        Yes, I do.

22          Q        Okay.    And I believe Mr. Perez is now --

23    I don't know if he's still, but at one time he was

24    head of the Democratic National Committee; correct?

25          A        Correct.

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 1          Q        And prior to that he was the secretary of

 2    labor under President Obama?

 3          A        Yes.

 4          Q        And prior to that, he was in the

 5    department of justice civil rights division; right?

 6          A        I don't know that piece of his career.

 7          Q        Okay.    Do you have any concern that the

 8    justice department under Attorney General Holder did

 9    not take its responsibilities or duties under the

10    Voting Rights Act seriously?

11          A        I couldn't address that question.

12          Q        Okay.    No opinion on it?

13          A        No.

14          Q        You said that part of what goes into a

15    preclearance analysis depends on who's there.                Is that

16    fair?

17          A        Yes.
18          Q        Okay.    What do you mean by that?

19          A        Well, I think that it varies based on who

20    is leading the oversight, or leading the effort.

21          Q        And do you have any concerns that

22    persons -- or do you have an opinion on during

23    President Obama's administration how they might view

24    preclearance differently than the George W. Bush

25    administration?

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 1          A        I don't have an opinion on that.

 2          Q        Do you have any concerns that the justice

 3    department under President Obama fulfilled its

 4    obligations under the Voting Right Act of 1965?

 5          A        I don't have an opinion on that.

 6          Q        Okay.    So is it fair to say then that

 7    your opinion is that different administrations may

 8    view the Act differently or interpret it differently

 9    but you don't have an opinion on how one

10    administration interpreted it differently from

11    another, is that --

12          A        Yes.

13          Q        Okay.    Is it fair to say, though, that

14    you have confidence in the section 5 preclearance

15    process?

16                   MS. BRYAN:     Objection to form.

17                   MR. BELINFANTE:       Let me rephrase.
18    BY MR. BELINFANTE:

19          Q        Do you think that the section 5

20    preclearance process was good policy?

21          A        I don't think I can evaluate -- I don't

22    have an opinion on that.

23          Q        Okay.    Independent of what's in your

24    report, do you have a personal opinion as to whether

25    section 5 preclearance was good policy?

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 1          A        I don't.

 2          Q        Okay.    And your report does not take an

 3    opinion on whether section 5 was good policy or bad

 4    policy?

 5          A        It does not.

 6          Q        All right, let's go to page 12 where you

 7    start the discussion of the National Voter

 8    Registration Act of 1993.

 9          A        Yes.

10          Q        We agree, don't we, that one of the

11    obligations states have under the NVRA is to maintain

12    a list of all eligible voters; correct?

13                   MS. BRYAN:      Objection to form.

14    BY MR. BELINFANTE:

15          Q        Do you agree with me that one of the

16    obligations imposed by the NVRA is that states must

17    maintain a list of eligible voters?
18          A        Yes.

19          Q        Eligible and registered, I should say.

20          A        Registered.

21          Q        Yes.

22          A        Yes.

23          Q        And at least in -- and if you could go to

24    your August report, footnote 44 cites Code Section 52,

25    and it's on page 13, 52 U.S.C.A. Section 20507.

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 1    That's in the National Voter Registration Act;

 2    correct?

 3          A        Yes.

 4          Q        All right.     Do you know -- if you look at

 5    your report in November, footnotes 42, 43, and 44 all

 6    cite to different sections of the NVRA --

 7          A        Yes.

 8          Q        -- section 10, section 6, section 8.              Do

 9    you know if Code Section 52 U.S.C.A. 20507 is included

10    in one of those sections?

11          A        I would not be able to determine that.

12          Q        All right.     In your November report, on

13    page 13, in the last sentence of the first paragraph,

14    not the first full one, it says the Act's provisions

15    apply to 44 states, including Georgia and the District

16    of Columbia.     Do you see that?

17          A        Yes.
18          Q        Do you know why some states are subject

19    to those provisions of the NVRA and some are not?

20          A        I am not.     I wouldn't be able to address

21    it.

22          Q        Okay.    Would you agree with me that the

23    secretary of state of Georgia's obligations under the

24    NVRA can be found within the text of that statute and

25    its regulations and any court decision that has

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 1    applied them?

 2          A        I don't know that I can -- can you

 3    restate your question?

 4          Q        Sure.    And let me try to ask it a much

 5    easier way.

 6                   If something is not -- the NVRA, in order

 7    -- let me start.

 8                   In order for the NVRA to impose an

 9    obligation on the Georgia Secretary of State, it has

10    to be found in the text of that statute, in regulation

11    promulgated pursuant to that statute, or in a court

12    case of proper jurisdiction interpreting or applying

13    that statute or regulation; correct?

14          A        Yes.

15          Q        Okay.    So you can't say that the -- you

16    would agree with me that the NVRA doesn't impose an

17    obligation on the secretary of state to help voters
18    register generally, it has to be based on what is

19    actually in the statute as interpreted by the

20    executive branch regulations and the judicial branch

21    of cases; correct?

22                   MS. BRYAN:     Objection to form.

23    BY MR. BELINFANTE:

24          Q        Do you understand the question I'm

25    asking?

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 1          A        I do, but I want to clarify --

 2          Q        Please do.

 3          A        -- that the points that I'm making here

 4    is about what the provisions are for the chief

 5    election official, however each state or territory

 6    identifies who that person is.

 7          Q        Right.    And so I'll presume with you that

 8    Georgia has identified the secretary as the chief

 9    election officer for purposes of NVRA.

10                   Is it your opinion that that imposes a

11    general obligation on the chief election officer, or

12    does any obligation have to be found in the text of a

13    statute, regulation, or court case?

14          A        I would say that it imposes a general

15    obligation.

16          Q        Okay, what is the basis of that opinion?

17          A        So looking at the requirements that are
18    set forth on page 12 --

19          Q        Are you in the November or the --

20          A        In the August report.

21          Q        Okay, got it.

22          A        We could go to November if that's

23    preferred.

24          Q        This is fine.

25          A        Okay.

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 1          Q        If you still agree with it.

 2          A        Yes.

 3          Q        Okay.    All right.

 4          A        Looking at the requirements that are

 5    there on page 12 and 13 about the responsibilities.

 6    So on page 13, that first full paragraph, midway

 7    through, the chief state election official of a state

 8    shall make the forms described available for

 9    distribution with particular emphasis on making them

10    available.    That I think speaks to the question of the

11    provision.

12          Q        Okay.    But that goes to my point.            You're

13    there citing provisions of the law that impose an

14    obligation.    There's nothing in the NVRA that makes

15    the chief election officer of the state the sole

16    election official for purposes of election policy;

17    correct?
18          A        No.

19          Q        All right.     And is that also true of

20    HAVA?

21          A        Yes.

22          Q        And is that also true of the Voting

23    Rights Act of 1965?

24          A        It is.

25          Q        All right.     You cite in -- and we can go

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 1    back to the November report, although it's in both --

 2    the Charles Wesley Woods Foundation decision?

 3          A        Could you direct me to the page?

 4          Q        Sure, page 13.

 5          A        Thank you.

 6          Q        Uh-huh.    Was that decision provided to

 7    you, or did you pull it yourself?

 8          A        I pulled that decision.

 9          Q        Okay.    And would that be true for the

10    other cases that are cited in your report?

11          A        Yes.

12          Q        Okay.    Let's talk about the Help America

13    Vote Act provision or parts of your report.

14          A        Are we staying in November?

15          Q        Yes, yes.

16          A        Okay, thank you.

17          Q        Thank you.     All right, page 14, you
18    describe part of the purpose of the Help America Vote

19    Act, or HAVA, in that first full paragraph as

20    providing money to the Election Assistance Commission

21    to allow states to carry out the following provisions

22    -- and here I'm quoting -- the creation and

23    maintenance of a computerized state voter registration

24    system, the replacement of punch card and lever voting

25    machines, the distribution of provisional ballots to

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 1    residents whose registrations are questioned, and

 2    enhanced access for voters with disabilities, and

 3    assistance in developing plans to secure voting

 4    systems.

 5                   Do you see that?

 6          A        Yes.

 7          Q        All right.      And you do not express an

 8    opinion on the efficacy of Georgia to comply with

 9    those items; is that right?

10          A        Correct.

11          Q        And do you express an opinion on whether

12    it is the obligation of the chief election officer in

13    Georgia or local election officials to provide

14    residents with provisional ballots?

15          A        I don't offer an opinion.

16          Q        All right.      And just for the record, too,

17    you do not provide an opinion on the efficacy of the
18    Georgia Secretary of State's efforts to train election

19    officials?

20          A        I do not.

21          Q        All right.      And you do not provide an

22    opinion on whether it is the obligation of the chief

23    election officer here, the Georgia Secretary of State,

24    to train local poll workers; correct?

25          A        I do not offer an opinion.

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 1          Q        All right.      Now, when a state must -- you

 2    would agree with me that both the NVRA and HAVA

 3    require states to designate someone to be the chief

 4    election officer; correct?

 5          A        Correct.

 6          Q        All right.      And that designation is for

 7    HAVA purposes under HAVA only; right?

 8          A        So --

 9          Q        Let me -- go ahead, I'm sorry.

10          A        I'm sorry, if you could restate.

11          Q        Yeah, I'll try to restate it.           So when

12    HAVA says you have to designate someone to be your

13    chief election officer, that is to fulfill the

14    obligations imposed by HAVA; right?

15          A        Correct.

16          Q        Okay.    It doesn't reach anything outside

17    of HAVA?
18          A        Correct.

19          Q        All right.      So I could be the chief

20    election officer for purposes of HAVA, that could be

21    one person, but it could be actually a different

22    person who's the chief election officer for the NVRA;

23    is that right?

24          A        It would -- right, it would depend on the

25    jurisdiction.

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 1          Q        Okay.    And, you know, somebody could be

 2    the chief election officer for purposes of HAVA, but

 3    in city and county elections, for example, and

 4    exclusively city and county elections, there would not

 5    even be a chief election officer; is that right?

 6          A        Depending on the state or territory.

 7          Q        Correct.

 8          A        Uh-huh.

 9          Q        The federal law doesn't require there to

10    be a chief election officer in cases that are not

11    federal elections; is that right?

12          A        Correct.

13          Q        All right.      And going back to the EAC

14    grants that you discuss in the report, those EAC

15    grants are authorized by HAVA; correct?

16          A        Correct.

17          Q        And they are four things only that are
18    covered by HAVA; is that right?

19          A        Correct.

20          Q        Okay, so I couldn't use an EAC grant, for

21    example, to build a polling location, or polling --

22    yeah, polling location.

23          A        It only relates to things prescribed by

24    HAVA.

25          Q        And the letters that you cite in your

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 1    report going back and forth between the Georgia

 2    Secretary of State and the EAC, those relate to EAC

 3    grants for HAVA purposes; right?

 4          A        Yes.

 5          Q        All right.      Your report on page 17 in

 6    November begins the discussion of Shelby County versus

 7    Holder.

 8          A        Correct.

 9          Q        You described in one of the articles we

10    talked about earlier that the Shelby County decision

11    gutted section 5; is that right?

12          A        Correct.

13          Q        But yet you're not taking an opinion on

14    whether that was good or bad policy?

15          A        No, I'm not.

16          Q        Let's look at page 18 of your November

17    report.    And I think this is basically the opinion you
18    reach in number 3, second full paragraph, the sentence

19    beginning second.

20          A        Okay.

21          Q        That sentence is effectively your opinion

22    that we discussed earlier that was number 3 in the

23    summary?

24          A        Correct.

25          Q        Okay.    There's a little bit different

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 1    language.    I just want to make sure I understand it.

 2    When you say on this page 18 that it's the

 3    responsibility of state election officials to monitor

 4    electoral practices, are you talking about monitoring

 5    only those practices that could violate HAVA, the

 6    NVRA, or the Voting Rights Act of 1965?

 7          A        Yes.

 8          Q        All right.     The next sentence there says

 9    local officials continue to play a key role in

10    executing various election administration functions in

11    accordance with the mandates of state law and

12    constitutional authority.        Do you see that?

13          A        Yes.

14          Q        And that sentence is specific to Georgia;

15    right?

16          A        No, it is not.

17          Q        Okay.    But it would apply to Georgia?
18          A        It would.

19          Q        All right.     In fact, there you refer to

20    attachment K, which I don't know if I have given you.

21    Oh, it's in your August report, I believe, as

22    attachment K, which is Exhibit 2 -- no, 3.

23                   MR. MILLER:     No, August 4 is 11.

24    BY MR. BELINFANTE:

25          Q        August 4 is 11, sorry.         In Exhibit 11

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 1    there should be an attachment page, which is the

 2    Augusta, Richmond County --

 3          A        Yes, I have it.       Thank you.

 4          Q        Uh-huh.    Was this document provided to

 5    you, or did you find it?

 6          A        It was not.     I found it.

 7          Q        Okay.    Is it online?

 8          A        It is.

 9          Q        All right.     And if you'll turn to page 2

10    of the document, which if you look at the top, it has

11    the case number and all that.         It's page 139 of 158.

12    Do you see that?

13          A        Yes.

14          Q        All right.     It says on the right the

15    duties of the board in that column.

16          A        Yes.

17          Q        Do you have an opinion as to whether this
18    is correct or not?

19          A        I do not have an opinion on that.

20          Q        Let's go back to your report, page 19.

21          A        Are we back to November?

22          Q        November.

23          A        Okay, thank you.

24          Q        The first full paragraph, first sentence

25    reads, however, this local discretion does not

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 1    supersede the primary responsibility that now falls

 2    upon state election officials to ensure that no

 3    procedure, device, or practice adopted at the state or

 4    local level impairs the rights and protections

 5    afforded at the federal level.           Do you see that?

 6          A        Yes.

 7          Q        And the rights and protections afforded

 8    at the federal level, you're talking about the Voting

 9    Rights Act, HAVA, and the NVRA; correct?

10          A        Yes.     And could I just make a point here?

11          Q        Absolutely.

12          A        When I'm speaking there, the rights and

13    protections, I'm speaking of the Voting Rights Act of

14    1965, HAVA, the National Voter Registration Act, as

15    well as those three constitutional amendments that I

16    reference in the document, the two in particular, 14th

17    and 15th.
18          Q        14th and 15th Amendments?

19          A        Yes.

20          Q        Okay.     So I notice there you don't --

21    there's no citation.       And so what is the basis of your

22    statement that the secretary of state -- well,

23    let's -- we agree that for HAVA purposes and NVRA, the

24    secretary is the chief election officer?

25          A        Uh-huh.

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 1          Q        What is the basis of your opinion that

 2    the secretary of state of Georgia has primary

 3    authority for enforcing the United States

 4    Constitution's 14th and 15th Amendment as it relates

 5    to elections?

 6          A        So the basis for that is that the federal

 7    government and states have always worked together when

 8    it comes to access to voting and voting rights.                Given

 9    the removal of that primary -- or that federal

10    oversight function related to section 5.            As opposed

11    to having two lines of defense or protection, there is

12    now one line of defense.       And based on that

13    identification of who is the chief elections officer,

14    then for Georgia, by identifying the secretary of

15    state as the chief election officer, then that's why I

16    say that duty falls upon that office.

17          Q        But the designation of chief election
18    officer is for NVRA and HAVA; right?

19          A        It is.

20          Q        Okay.    So why does that then carry over

21    to allegations involving the Voting Rights Act or the

22    United States Constitution?

23          A        So the language of the Constitution as

24    well as the language of the Voting Rights Act of 1965

25    addresses that relationship between state governments

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 1    and federal governments.

 2          Q        I don't disagree there.            I guess my

 3    question is more specific.        Why is it that the

 4    secretary of state of Georgia is the one that is

 5    primarily charged with enforcing the United States

 6    Constitution?

 7          A        So if I could find the piece of it here,

 8    if you'd give me a moment, please, I will reference

 9    it.

10          Q        Absolutely.

11          A        There's a piece of the report where I

12    mention the top-down structure for Georgia and how

13    that relates to these sort of shared functions as well

14    as responsibility.

15          Q        For purposes, because I want you to be

16    able to find it, what we'll do is I may come back to

17    that one after we take a break, and I would just ask
18    during the break if you can find what you're referring

19    to.

20          A        Okay.

21          Q        That way we're not -- I'm not taking up

22    your time to look for it here.

23          A        May I make note of that?

24          Q        Absolutely.     Sure.     You probably don't

25    want to write on the actual exhibit.              I'm sure counsel

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 1    or we can give you a piece of legal paper or Post-It

 2    note, whichever.

 3          A        Thank you.

 4          Q        Thank you.     So let me ask you this

 5    hypothetical.     Let's say that a Georgia county enacts

 6    a new voting practice that would previously be covered

 7    by section 5, not anymore.        Let's say that the

 8    secretary of state of Georgia concludes that that new

 9    voting practice, whether moving a polling location or

10    anything that's covered -- and I'll limit this one to

11    the Voting Rights Act -- that it would in fact violate

12    the Voting Rights Act.

13                   Do you have an opinion on what the

14    secretary of state is to do to remedy that situation?

15          A        I don't have an opinion about that.

16          Q        Do you have an opinion as to whether the

17    secretary has an obligation to affirmatively stop that
18    county from acting in a particular manner?

19          A        I don't have an opinion on that.

20          Q        All right.     And you don't have any

21    opinions in your report about the state election

22    board; correct?

23          A        I do not.

24          Q        All right.     So when you say that the

25    primary responsibility falls on the secretary of state

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 1    or the chief election officer -- well, let me ask it

 2    this way.    Let me ask this.       Page 19 when you say the

 3    local discretion does not supersede the primary

 4    responsibility that now falls on state election

 5    officials to ensure no procedure, device, or practice

 6    impairs the rights at the federal level, et cetera, do

 7    you believe that that is exclusively the secretary of

 8    state?

 9          A        I think it depends on how that position

10    is formulated.

11          Q        All right.

12          A        So that's why -- again, as I say in the

13    report, that notion of federalism is key here.

14          Q        And so for -- let's presume for the sake

15    of argument that I agree with you, that for purposes

16    of HAVA and the NVRA, the secretary is the chief

17    election officer.       So let's put those aside.
18                   Constitutional violations, Voting Rights

19    Act violations, is it your opinion -- I'm just truly

20    trying to figure this out -- that that primary

21    responsibility in the state of Georgia is the

22    secretary of state, or could it be a county official

23    that has a primary responsibility for making sure that

24    no procedure, device, or practice adopted at that

25    local level impairs the rights and protections

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 1     afforded at the federal level?

 2           A        I believe there's an oversight function

 3     there.

 4           Q        Okay, and what is the basis of that

 5     opinion?

 6           A        So the basis of that opinion is looking

 7     at the structure in Georgia that is there within the

 8     report in terms, again, back to that top-down

 9     structure, the idea of having shared responsibilities.

10           Q        And that's based on the statutes that you

11     cite in the chart; correct?

12           A        Correct.

13           Q        And did you go through the Georgia code

14     and pull those statutes yourself, or were they pulled

15     for you?

16           A        The table was provided -- the first two,

17     as I said -- the first three columns of the table were
18     provided for me.

19           Q        All right.       So you read those statutes

20     and based your analysis on what the statutes said?

21           A        I used that as a foundation.            So I went

22     beyond that to do my own research as well.

23           Q        All right, let's take a look at one of

24     those statutes.        I'll mark it Exhibit 12, which is

25     cited on page 19 of the November report.             It's Code

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1      Section 21-2-50.2.

2                         (Thereupon, marked for identification,

3             Defendants' Exhibit D-12.)
 4     BY MR. BELINFANTE:

 5           Q        Have you read this statute before?

 6           A        Yes.

 7           Q        Okay.    And this is the statute where

 8     Georgia designates the secretary as the chief election

 9     officer for purposes of HAVA; correct?

10           A        Correct.

11           Q        All right.      Would you agree with me that

12     it doesn't do anything -- it doesn't impose any other

13     obligation on the secretary of state in this statute?

14           A        Correct.

15           Q        All right.      If you'll turn to page 20 of

16     your November report, it starts the discussion about

17     Georgia election administration and authority.                At the

18     time that you wrote this report, and we could go back

19     to August, had you read legislation that passed the

20     Georgia General Assembly in the 2019 session known as

21     House Bill 316?

22           A        I had not read 316.

23           Q        Okay.    Other than the statutes that were

24     provided to you by counsel, did you conduct any

25     independent research on Georgia statutes?

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 1           A        I did not.

 2           Q        Okay.    And did the -- other than the

 3     regulations which were provided to you by counsel, did

 4     you conduct any independent research on Georgia

 5     regulations?

 6           A        I did not in terms of those statutes, no.

 7           Q        Okay.    So on page 20, you write under D,

 8     I conducted an extensive review of Georgia statutes

 9     and regulations to evaluate the following questions.

10     Do you see that?

11           A        Yes.

12           Q        And that extensive review was based

13     exclusively on the statutes and regulations provided

14     to you by counsel; is that right?

15           A        Yes.

16           Q        All right.     It then says based on the

17     review, you identified a total of 156 duties and
18     responsibilities connecting the secretary of state to

19     election administration.       Do you see that?

20           A        That's correct.

21           Q        All right.     And that's based on you

22     reading the statutes and regulations that were

23     provided to you?

24           A        Yes.

25           Q        All right.     Would you agree with me that

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 1     a lot of times regulations can just promulgate a

 2     statutory duty, in other words, if a statute says poll

 3     workers have to wear a blue shirt, then there will be

 4     a corresponding regulation that says poll workers have

 5     to wear a blue shirt?       Do you agree that that happens?

 6           A        It's possible.

 7           Q        Okay.    Did you find that to be the case

 8     in Georgia?

 9           A        I couldn't address that.

10           Q        All right.     Did you pull the actual

11     statutes that were provided to you by counsel, or did

12     you rely on what was quoted in the charts?

13           A        For some of them I pulled.          So for things

14     that may not have been clear or that seemed to

15     overlap, I pulled those statutes to see the language

16     and also the context of where it fell.

17           Q        Okay.    And in doing so, would you say
18     that the majority of statutes you pulled yourself, or

19     was it less than the majority?

20           A        Could you restate that?

21           Q        Yeah.    You just testified that for some

22     statutes, you actually pulled them to read them

23     completely.

24           A        Yes, yes.

25           Q        My question is of the statutes that were

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 1     provided to you, did you go back and pull a majority

 2     of them or did you rely on the chart only for the

 3     majority?

 4           A        No, I think that slightly less than

 5     majority, but I reviewed quite a few of them to go

 6     back through.

 7           Q        All right.

 8           A        Or to go through the binder.

 9           Q        And for the state regulations, did you go

10     and pull any of those or did you rely solely on what

11     was provided to you in the chart?

12           A        I believe I relied on what was in the

13     chart.

14           Q        Okay.    If a statute -- I'm sorry, if a

15     regulation just adopts the obligation in a statute, my

16     blue shirt example, did you count both of those as

17     obligations in your 156?
18           A        So I made a -- if you look at page 20 of

19     the November report, I did say that these categories

20     often overlapped --

21           Q        Right.

22           A        -- and that they should not be viewed as

23     mutually exclusive.

24           Q        And I think that answers a different

25     question than the one I asked, but that's on me.

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 1           A        Okay, could you restate?

 2           Q        Yeah.    So if you found an example of a

 3     statute and regulation that said the same thing or

 4     imposed the same obligation, did you count both of

 5     them in getting to your total of 156 duties, or was

 6     that deemed one duty even though it was expressed in

 7     two different types of law?

 8           A        So I tried to refine to be clear when

 9     they were distinct duties versus simply restating a

10     duty.

11           Q        All right.     But sitting here today, can

12     you say whether duplicative statutes or regulations

13     were counted each time there was a statute or

14     regulation, or were they counted by duty?

15           A        I would not feel comfortable definitively

16     saying right now at this moment.

17           Q        Okay, that's fair.       For the purpose of
18     your opinion that the secretary of state's obligation

19     has the primary responsibility to ensure that certain

20     federal laws are protected, is it your opinion that

21     the number of obligations or duties matters or that

22     you could do it all in one statute?

23           A        I don't think the number matters in terms

24     of the responsibility.

25           Q        All right.     And you don't have an opinion

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 1     on whether -- you don't have an opinion on which of

 2     the 156 duties and responsibilities that you identify

 3     are actually at issue in this case; correct?

 4           A        No, I do not have an opinion.

 5           Q        All right.       And that's not something you

 6     looked for at all?

 7           A        No.

 8           Q        All right.       Let's go to your August

 9     report, page 20.

10           A        August, page 20, okay.

11           Q        The last paragraph on that page talks

12     about the SOS as being the chair of the state election

13     board and what the state election board is statutorily

14     required to do.        Do you see that?

15           A        Yes.

16           Q        That paragraph did not make it into your

17     November report.        Do you know why?
18           A        I do not.

19           Q        All right.       For purposes of this case, is

20     it fair for me to presume that you are not offering an

21     opinion on the state election board?

22           A        I am not.

23           Q        Okay.      Is it also fair for me to presume

24     that you are not offering an opinion on the secretary

25     of state's role regarding the state election board?

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 1           A        I am not.

 2           Q        All right.      Let's look at page 21 of your

 3     report, November report.        Under the role of secretary

 4     of state, that first paragraph --

 5           A        Yes.

 6           Q        -- has one citation; correct?

 7           A        Yes.

 8           Q        And that's to the secretary's website?

 9           A        Correct.

10           Q        You would agree with me, though, that the

11     secretary's website imposes no legal obligation on the

12     secretary; correct?

13           A        I would not be able to determine that.

14           Q        All right.      Do you believe that the

15     secretary's website imposes any obligation on the

16     secretary to act or not act in a particular manner?

17           A        I don't have an opinion on that.
18           Q        All right.      So this section then that

19     cites the website, it's more -- what is the value

20     of -- or what is the purpose of this paragraph?

21           A        Well, the purpose of that paragraph was

22     to show what information is publicly available about

23     the role of the secretary of state.           And rather than

24     making that kind of determination, I went to that

25     website to see what is publicly available.

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 1           Q        All right, so that -- but the website did

 2     not factor into any of your opinions; is that correct?

 3           A        It did not.

 4           Q        All right.     You then go into the chief

 5     election officer section and talk about the My Voter

 6     Page?

 7           A        Yes.

 8           Q        And what is the relevance of -- or how

 9     does My Voter Page fit into your opinions?

10           A        It does not fit into my opinion.              I offer

11     that piece, again, with the first sentence, that the

12     office of the secretary of state acts as a key

13     resource for voters in the state of Georgia and

14     referencing that portal as an example of that

15     resource.

16           Q        All right.     And so is it your opinion

17     then that -- does the My Voter Page inform your
18     opinions on specifically numbers 3 and 4 about the

19     responsibilities of the secretary of state in Georgia?

20           A        If you look at page 22 of that report

21     where I say that it also contains links to the state's

22     voter ID requirements, the Vote Safe Program, and

23     forms to report allegations of voter fraud, I think

24     that was important to include.

25           Q        But does the My Voter Page impose any

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 1     responsibility on the secretary of state?

 2           A         I don't have an opinion on whether it

 3     imposes a responsibility.

 4           Q         Okay.   Do you have an opinion as to

 5     whether courts -- I'll be more specific.

 6                     Do you have an opinion as to whether

 7     federal courts should provide any deference to a state

 8     agency -- and include the secretary of state's office

 9     in that -- the state agency's interpretation of a

10     statute?

11           A         I don't have an opinion.

12                     MS. BRYAN:     Objection to form.

13     BY MR. BELINFANTE:

14           Q         All right.     Do you have an opinion as to

15     whether federal courts should or do offer any

16     deference to a state agency's interpretation of a

17     state regulation?
18           A         I don't have a --

19                     MS. BRYAN:     Objection to form.          I don't

20               think we're here to discuss Chevron deference.

21     BY MR. BELINFANTE:

22           Q         You can answer to the extent -- I don't

23     know if the court reporter got your answer.

24           A         I don't have an opinion.

25           Q         Okay, thanks.      All right, page 21 -- and

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 1     that may be the August.        Here we are.        Yeah, sorry,

 2     let's go back to November, page 22.           You say that

 3     several provisions in the Official Code of Georgia and

 4     the official compilation of the rules and regulations

 5     of the state of Georgia identify the secretary of

 6     state as the chief election official.              Do you see

 7     that?

 8           A        Yes.

 9           Q        Okay.    Then it goes on to quote Code

10     Section 21-2-50.2; right?

11           A        Yes.

12           Q        And that's the one we talked about

13     earlier, which is Exhibit 12; correct?

14           A        Correct.

15           Q        And that statute addresses only HAVA;

16     isn't that right?

17           A        Correct.
18           Q        All right.      So when you say that several

19     provisions, do you have anything other than -- or that

20     you're relying on other than Code Section 21-2-50.2 to

21     reach the conclusion that several provisions of the

22     code and regulations identify the secretary as the

23     chief election official?

24           A        I would not be able to address it at this

25     time.

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 1           Q         And is chief election official, that's a

 2     term found in federal law; correct?

 3           A         Well, it varies.

 4                     MS. BRYAN:      Objection to form.          We're

 5               looking at it right here.

 6     BY MR. BELINFANTE:

 7           Q         Okay.    The phrase chief election official

 8     is something that is found in HAVA; right?

 9           A         It varies.

10           Q         Okay.    But HAVA uses the -- HAVA requires

11     states to designate a chief election official; is that

12     right?

13           A         It does.

14           Q         Okay.    Does the Constitution of the

15     United States require states to designate a chief

16     election official?

17           A         I would not be able to address that.
18           Q         All right.      Does the Voting Rights Act of

19     1965 require states to identify chief election

20     officials?

21           A         I would not be able to address that.

22           Q         All right.      So when you say -- I've asked

23     you that, sorry.       This is what happens when the coffee

24     starts to wear off.

25                     Also on page 22, and this is about the

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 1     MVP page again, it's in that first paragraph that's

 2     incomplete --

 3           A        Are we still in November?

 4           Q        Yes, yes.

 5           A        Okay.

 6           Q        The second complete sentence in that

 7     first paragraph says the site's -- referring to MVP --

 8     the site's disclaimer documents that the data provided

 9     by the SOS site is extracted from data provided by the

10     various counties of residence.           Do you see that?

11           A        Yes.

12           Q        Do you know whether the information that

13     is used to populate My Voter Page comes from

14     information first received at the county level or the

15     state level?

16           A        I would not be able to address that.

17           Q        All right.      And do you know how voter
18     registration information is collected in Georgia?                 Did

19     you consider that?

20           A        I did not.

21           Q        All right.      So let's go to page 23 of the

22     November report.       It says, second sentence, in a

23     broader sense, over 100 of the 156 statutes I examined

24     highlight the key role the state's chief election

25     official must play in coordinating, monitoring, and

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 1     overseeing the administrative functions of subordinate

 2     election administrators.          Do you see that?

 3           A           Yes.

 4           Q           Does that refer then to the chart?

 5           A           Yes.

 6           Q           That sentence, I mean.         And you don't

 7     have an opinion as to whether the Georgia Secretary of

 8     State -- and by that I mean the office, not the

 9     individuals -- have lived up to those requirements?

10           A           I don't have an opinion on that.

11           Q           All right.

12           A           May we take a break when you get to a

13     point?

14           Q           Yeah.    Why don't -- I mean I --

15                       MS. BRYAN:     Lunch is here if you just

16               want to go ahead and take a lunch break.

17                       MR. BELINFANTE:       Yeah, why don't we do
18               that.    Why don't we take a lunch break.

19                         (Lunch recess from 11:54 to 12:56 p.m.)

20     BY MR. BELINFANTE:

21           Q           Professor, if I could draw your attention

22     to your November report on page 23.

23           A           Yes.

24           Q           That first paragraph talks about the

25     secretary of state approving certification programs

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 1     for training.    Do you see that?

 2           A        Yes.

 3           Q        And footnote 73 cites to a statute on

 4     that; right?

 5           A        Yes.

 6           Q        And you identify, in fact, quote, that

 7     the secretary approves certification for a series of

 8     types of persons, election superintendents, chief

 9     registrars, absentee ballot clerks, board of elections

10     and registrations, their designee, and that's it.                 Do

11     you see that?

12           A        Yes, I do.

13           Q        Okay.    Do you have an opinion as to

14     whether that statute addresses the training of poll

15     workers?

16           A        I don't have an opinion on that.

17           Q        All right.     Let's look at the first
18     sentence under election oversight, the intrastate and

19     interstate officials.

20           A        Yes.

21           Q        There you say that the secretary of state

22     is required to provide multiple training sessions for

23     aforementioned election officials and has the

24     discretion to waive those training requirements for

25     election officials.      Do you see that?

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 1           A        I do.

 2           Q        All right, if you could turn to -- and

 3     keep that there and turn to in your August report page

 4     23.

 5           A        Yes.

 6           Q        In that same first paragraph under

 7     election oversight, you have the same sentence, but it

 8     cuts off -- I mean it adds an additional clause.                 You

 9     say that the secretary has the discretion to waive

10     training requirements for local election officials, as

11     in the other one.      But this one goes on to say and has

12     the responsibility to ensure that local election

13     officials are adequately training poll workers and

14     others involved in the election process.            Do you see

15     that?

16           A        I do.

17           Q        Is there a reason that clause did not
18     survive into the November report?

19           A        I don't know.

20           Q        And I probably asked this before, but any

21     edits or revisions that are present in the November

22     report versus the August report you did yourself;

23     correct?

24           A        Yes.

25           Q        Okay.    And is it fair to say then that

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 1     you're no longer opining that the secretary has the

 2     responsibility to ensure that local election officials

 3     are adequately training poll workers?

 4            A       I'm not addressing that in my opinion.

 5            Q       Okay.    In your review of state statutes,

 6     did you come across Code Section 21-2-99?            And I'll

 7     show it to you once I find the stickers.            There they

 8     are.    I'll show you what I'll mark as Exhibit 13.

 9            A       Thank you.

10                        (Thereupon, marked for identification,

11             Defendants' Exhibit D-13.)
12     BY MR. BELINFANTE:

13            Q       Thank you.     Have you reviewed this

14     statute before?

15            A       I believe so, but I can't confirm at this

16     time.

17            Q       Okay, that's fair.       And sitting here

18     today and looking at paragraph (a) of that code

19     section, who does -- sitting here today -- let me

20     start over.

21                    Sitting here today looking at paragraph

22     (a) of this code section, who do you believe has the

23     obligation to provide training to poll officers and

24     poll workers?

25            A       I would not be able to determine that.

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 1           Q        Why is that?

 2           A        I don't think that's within the purview

 3     of what I've been -- I would need to review this.

 4           Q        Take your time.       I mean I'm literally

 5     asking about a paragraph, so if you want to -- do you

 6     need anything other than the statute?              Because I'm

 7     only asking about that statute.

 8           A        This section says that the election

 9     superintendent shall provide adequate training.                I

10     don't see anything in here that says the only or

11     anything of that nature, so that's why I would say I

12     would not be able to address that.

13           Q        Okay.    But you would agree with me this

14     statute does not impose an obligation on the secretary

15     of state to provide poll officer and poll worker

16     training, wouldn't you?

17                    MS. BRYAN:      Objection to form.
18     BY MR. BELINFANTE:

19           Q        You can answer.

20           A        I wouldn't be able to address that.

21           Q        And why?

22           A        So from what I just read and from what I

23     just said, that first line saying the election

24     superintendent shall provide, and then later in the

25     paragraph saying that the superintendent shall notify

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 1     the secretary of state.

 2           Q        Right.     But you would -- I mean do you

 3     see anything in this code section that requires the

 4     secretary of state to train poll workers?

 5           A        Not in this section.

 6           Q        Okay.    In your review of Georgia law, did

 7     you find anything that said that the secretary of

 8     state was required to train poll workers?

 9           A        I did not.

10           Q        Is it your opinion that -- are you aware

11     of any general obligation that the secretary would

12     have to train poll workers?

13           A        I am not aware.

14           Q        Okay.    All right, if you look at page 24

15     of your August report -- and it's in that same

16     paragraph we were just talking about that starts on

17     page 23 -- under the block quote that starts on page
18     23, you say another example is that the SOS's official

19     website contains poll worker manuals and videos.                 Do

20     you see that?

21           A        I do.

22           Q        That sentence also did not make it into

23     the November report, from what I saw.              Is there a

24     reason for that?

25           A        It is not, not that I'm aware of.

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 1           Q        And you're not expressing an opinion as

 2     to whether the secretary of state's decision to

 3     provide training materials creates an obligation to

 4     train poll workers?

 5           A        I am not.     And I just wanted to sort of

 6     reiterate.    My opinion is very narrowly focused

 7     because I wanted to focus on the things that I felt

 8     like I could speak to and speak to directly based on

 9     the research and based on the examination overall.                 So

10     I don't address -- I don't have an opinion on that.

11           Q        And those things that your narrow focus

12     was limited to, is it fair to say that your focus was

13     limited to obligations imposed by HAVA, the NVRA, and

14     the Voting Rights Act of 1965?

15           A        The Voting Rights Act of 1965, the

16     constitutional provisions that we previously

17     mentioned, and how those things overlap with the
18     duties and requirements reflected for Georgia.

19           Q        Okay.    I notice you did not say HAVA and

20     NVRA there.    Did you mean to include those?

21           A        Voting Rights Act of -- I was just

22     confirming what you had already said.

23           Q        What I said?      Yes, okay.

24           A        So I'll repeat it, I'm sorry.

25           Q        Sure.

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 1           A        The NVRA, HAVA, the Voting Rights Act of

 2     1965, constitutional provisions, and also those

 3     Georgia regulations.

 4           Q        Okay, all right.       On page 25, you --

 5           A        May I ask which?

 6           Q        I'm sorry, yes, thank you.          The November

 7     report.

 8           A        Okay.    Sorry, I just want to make sure

 9     we're on the same thing.

10           Q        No, no, no, you're doing the right thing.

11           A        Okay.    Page 25?

12           Q        Uh-huh.

13           A        Thank you.

14           Q        The first full paragraph identifies a

15     list of things that the secretary of state has

16     oversight to do.

17           A        Yes.
18           Q        And you're not expressing an opinion on

19     the efficacy of the secretary of state's efforts in

20     those, are you?

21           A        I am not.

22           Q        If you'll flip back to page 25 of your

23     August report, that same paragraph begins with the

24     sentence that SOS has exclusive powers over various

25     details governing the local administration of

                                Regency-Brentano, Inc.
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 1     elections, including, and goes on to list.             Yet in the

 2     November report on page 25 the word exclusive is

 3     missing.   Why did you change that?

 4           A        I think that the difference between the

 5     August and the 11 for me in terms of my work was

 6     trying to sharpen my language and making sure that I

 7     was clear in what I was saying.

 8           Q        Okay.    If we see a conflict like that

 9     where something is in the August report and not in the

10     November, was it your intent that the November report

11     replaces in full the August report?

12           A        Yes.    I don't think that -- there were no

13     substantive differences in terms of the two reports,

14     no substantive difference in my opinion or anything of

15     that nature, so yes.

16           Q        Okay.    But I mean you would agree with me

17     that saying the secretary -- would you agree with me
18     that saying the secretary of state has exclusive

19     oversight is different from saying he has oversight?

20           A        I would agree.

21           Q        Okay.    I'm not trying to play semantics

22     with you, but if we see a situation like that, is it

23     your testimony that we should effectively ignore the

24     August report and focus on the November report?

25           A        I would stand by the November report,

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 1     yes.

 2            Q       Okay, thank you.       In your review of

 3     Georgia statutes, did you -- or in looking at statutes

 4     generally, if a statute expressly imposes an

 5     obligation on the secretary of state, you know,

 6     secretary of state shall train election

 7     superintendents, for example, is it your opinion that

 8     that is something the secretary of state must do?

 9            A       I wouldn't have an opinion on that.

10            Q       All right.     And why wouldn't you have an

11     opinion on that?

12            A       I think that it, again, varies.            It's

13     hard to make a definitive statement to your -- answer

14     to your question.      I think that it is very clear in

15     terms of what the duties of office are and how those

16     duties vary across the three categories that I mention

17     here in terms of candidate, voter, and election
18     official interaction.

19            Q       Okay.    Do you -- if a statute -- let me

20     ask a slightly different question.          If a statute says

21     the county official shall do "X" but does not mention

22     the secretary of state, do you believe that that

23     statute would impose a duty on the secretary of state?

24            A       I think that there are shared duties.               So

25     again, I think it is difficult to take each statute in

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 1     isolation or each provision in isolation because of

 2     those shared overlapping duties.

 3           Q        Is there a duty that the secretary of

 4     state would have that would not appear in statute

 5     regulation or court case applying those in both

 6     federal and state?

 7           A        I wouldn't be able to determine that.

 8           Q        Okay.    And why would you not be able to

 9     determine that?

10           A        I don't think that I have the information

11     before me to be able to make that determination.

12           Q        But you opine that various statutes

13     impose obligations on the secretary; correct?

14           A        They do, yes.

15           Q        Okay.    And so what I guess I'm trying to

16     figure out is if you came across a statute that

17     doesn't mention the secretary of state, says the
18     county shall train poll workers, for example -- not

19     asking you to agree with me or not, but just presume

20     you saw a statute that said that -- would you include

21     that in your list of statutes that imposed duties on

22     the secretary of state?

23           A        If I ran across something -- just to

24     clarify, you said if I ran across something that said

25     the county should do something --

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 1           Q        Yes.

 2           A        -- would I include that in the duties of

 3     the secretary of state?

 4           Q        Yes.

 5           A        No, I would not.

 6           Q        Okay.    And you wouldn't because why?

 7           A        Because if the statute references the

 8     county, then that's where my focus would be for that

 9     statute.

10           Q        All right.     Let's go to page 26.           My

11     question is going to be on 28, but that begins a

12     section on election oversight with federal officials.

13           A        Could you tell me which version?

14           Q        Yes, absolutely, November.

15           A        Okay, thank you.

16           Q        Uh-huh.    Page 28, there's reference to

17     correspondence between the secretary and federal
18     officials regarding what can go on a national voter

19     registration mail application.          Do you see that?

20           A        Yes.

21           Q        And the secretary there is acting in his

22     capacity as the chief election officer for purposes of

23     the NVRA; isn't that right?

24           A        Yes.

25           Q        And so that doesn't speak to any duties

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 1     he has outside of the NVRA; isn't that right?

 2            A       In this particular correspondence, no.

 3            Q       Okay.    All right, if we can go to page

 4     30, your conclusion.

 5            A       Yes.

 6            Q       You say about halfway down, in Georgia

 7     the chief election officer is identified by state

 8     statutes as the secretary of state.           Do you see that?

 9            A       Yes.

10            Q       And we've already covered this ground,

11     but just to be clear, those state statutes that

12     identify the secretary as the chief election officer

13     are those dealing with the NVRA and HAVA; right?

14            A       There's also -- I believe it's -- I don't

15     know if it's in this table, 21-2-50(b).            And I believe

16     that's the section that starts as the state chief

17     election official.
18            Q       Yes, that's right, uh-huh.          Okay.

19            A       So that does not specify HAVA in that

20     provision.

21            Q       All right.     So you're relying on that one

22     too?

23            A       Yes.    In fact, if I could take a step

24     back to come back to the note that you and I had

25     discussed earlier --

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 1           Q         Yes.    I think we were talking about

 2     top-down approach for the secretary of state?

 3           A         You had asked about what other provision

 4     I had relied on or have referenced.

 5           Q         Fair enough, okay.

 6           A         And I think that relates to the question

 7     here in the conclusion that you just asked me.

 8           Q         All right.     And what does that mean to

 9     you, the phrase chief election officer, in Code

10     Section 21-2-50, I believe it was, B?

11           A         Well, my view of that was that it was not

12     just in terms of relationship to HAVA and the NVRA.

13           Q         Okay, but do you have an opinion as to

14     whether Code Section 21-2-50(b) imposes any

15     obligations that are not included in the election

16     code?

17           A         I don't have an opinion on that.
18           Q         Okay.    And that conclusion, that the

19     secretary has broad oversight, enforcement, and

20     responsibilities, you've not published anything on the

21     Georgia Secretary of State?

22           A         I have not.

23                     MR. BELINFANTE:      Don't get your hopes up

24               just because I'm turning in the outline.

25                     MS. BRYAN:     You're starting on the next

                                 Regency-Brentano, Inc.
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1                outline.

2                      MR. BELINFANTE:       No, no, I'm going to a

3                table.

4                      MR. MILLER:      First out of three.

5                           (Thereupon, marked for identification,

6             Defendants' Exhibits D-14 and D-15.)
 7     BY MR. BELINFANTE:

 8           Q            I'm going to hand you both an e-mail and

 9     a document.        The e-mail is -- you may or may not have

10     seen it, which I've marked as Exhibit 14.

11                        MS. BRYAN:   I love it when my e-mails get

12               attached as exhibits.

13                        MR. BELINFANTE:    Yeah, me too.

14     BY MR. BELINFANTE:

15           Q            This is an e-mail I received yesterday.

16     And it attaches to it what I'm going to mark as

17     Exhibit 15, which I believe is the latest version of

18     the table you discussed.         What was different in the

19     version of the table we got yesterday and the one we

20     received with the November report?            Actually, let me

21     back up.     Do you remember if we received a table with

22     the November report, or was it just with the August

23     report?

24           A            I don't know if you received it.          I know

25     I submitted.        I just don't know what you have.

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 1            Q       Did you have a separate table with the

 2     November report or an edited table?

 3            A       So the November report, I believe it was

 4     edited.

 5            Q       That's right, it was, you're right.

 6     Okay, so this is now the third table we've received,

 7     the one that is marked Exhibit 15; correct?               We

 8     received one with the August report, a separate one

 9     with November --

10            A       Yes.

11            Q       -- and then one yesterday?

12            A       Yes.

13            Q       Okay.    What were the changes between the

14     one we received in November and the one we received

15     yesterday?

16            A       I believe the reference was to the voting

17     machines, the DREs, I believe they're called.
18            Q       And is that changes that you made upon

19     review, or was that made in response to something you

20     received?

21            A       I was notified of I think it's called

22     316.

23            Q       House Bill 316?

24            A       House Bill 316.       So I made the revision

25     based on that information.

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 1           Q        I see, okay.      And you were not provided

 2     with House Bill 316 when you first received the table

 3     from counsel; correct?

 4           A        I was not.

 5           Q        Okay.    I'm not going to ask you questions

 6     about all of these, but I do want to ask you a

 7     question about some of them.

 8           A        And you're referring to Exhibit 15?

 9           Q        Exhibit 15, yeah.        Mine is just a

10     different one.

11           A        Thank you.

12           Q        But yeah.     On Exhibit 15, there's

13     reference to Code Section 21-2-50(a)(7), which is on

14     page 2.

15           A        Okay.

16           Q        You see that there on the second page?

17           A        Yes.
18           Q        Okay.    The obligation according to the

19     chart of the secretary is to furnish a certified copy

20     of any document in the secretary of state's custody by

21     virtue of this chapter and to fix and charge a fee to

22     cover the cost of furnishing the same.            Do you see

23     that?

24           A        I do.

25           Q        What made you include that as an

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 1     obligation that fits in as the secretary's obligations

 2     to administer elections generally?

 3           A        So I saw that as part of the interactions

 4     that I see with the -- that I classified with various

 5     entities within that process, that it was not unique

 6     to or exclusive to but was a part of these host of

 7     responsibilities.

 8           Q        Okay.    Isn't it true that providing

 9     documents is not really an election function as

10     opposed to just a ministerial governmental function?

11           A        I'd say that it depends on what the

12     document is that's being requested or provided.

13           Q        Okay.    If he is providing election -- and

14     this statute would certainly cover that.            I mean if

15     somebody asked for a copy of a ballot prepared for

16     Cobb County, for example, this statute would require

17     them to cover it.      Is it your opinion that that duty
18     is an election administration duty?

19           A        I again think it would depend on what the

20     duty is.

21           Q        Okay.    Well, you included it.

22           A        Yes.

23           Q        So you tell me, why is that an election

24     administration duty?

25           A        So to clarify, what I mean is it would

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 1     depend on what is being requested, by whom, and for

 2     what purpose.    So again, as I outline in the report,

 3     there are a number of areas that the secretary of

 4     state works within in terms of, for example, on page

 5     21 of the report, the professional licensing board's

 6     division.

 7           Q        Right.

 8           A        Anything requested of that would not be

 9     related to election administration.

10           Q        Agreed.

11           A        But there are other things that could be.

12           Q        Okay, and I'll concede that this, because

13     it says in the chapter, that that deals with matters

14     that are covered under the election code.             What I'm

15     just trying to determine is, you know, do you view

16     that as an inherent election duty, or is that a

17     ministerial function generally, or is that a
18     distinction without a difference?

19           A        I think it is a function of the secretary

20     of state that covers elections and other areas of

21     responsibility.

22           Q        Okay.    The next one, 21-2-50(a)(8), is

23     just a general statement that the secretary must

24     perform other duties as may be prescribed by law.

25     Would you agree with me that that's not an independent

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 1     duty, that's just an encapsulation of those that are

 2     already in the statute?

 3           A        I think it captures -- I would say that

 4     it captures a multitude of duties.

 5           Q        So there's nothing -- it's counted in

 6     your 150 something, but sitting here today, do you

 7     agree that it does not create an independent duty?

 8                    MS. BRYAN:     Objection to form.

 9     BY MR. BELINFANTE:

10           Q        You can answer if you can.

11           A        Can you -- I mean I'm not sure what

12     you're asking me.

13           Q        I guess my question is that statute was

14     counted in your 15 -- how many did we end up with?

15           A        156.

16           Q        156.    That statute was counted in your

17     156; right?
18           A        Uh-huh.

19           Q        Okay.    But wouldn't you agree with me

20     that that statute doesn't impose an independent

21     obligation?

22           A        No, and what I say on page 20 of the

23     report is that I focus on primary duties within the

24     three categories that I've created as assignment.                 So

25     I am not evaluating degree or, you know, making an

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 1     opinion on that.       I see that as part of the duties.

 2           Q        Well, what duty does this impose that

 3     another statute doesn't?

 4           A        Well, I think you also see in my

 5     categorization that I say the categories often overlap

 6     and shouldn't be considered as mutually exclusive.

 7     And that also means that there is some overlap in the

 8     duties that form and constitute those various.

 9           Q        And I know you testified earlier that the

10     number isn't exactly key to your opinion, but doesn't

11     that inflate the number?        I mean if statute A says the

12     secretary shall print ballots and statute B says the

13     secretary shall, you know, provide or do anything

14     necessary to comply with the code, it's not adding a

15     new obligation on the secretary; right?

16           A        I would disagree that it inflates the

17     number.   I think that having the caveat of seeing that
18     many of these functions do overlap and that they

19     should not be viewed in isolation or in a vacuum, I

20     wouldn't see that as conflation.

21           Q        But it is true that the 21-2-50(a)(8) was

22     included as one of the 156; right?

23           A        It was.

24           Q        Okay.     And do you know of other

25     instances, sitting here today, where you had similar

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 1     statutes that imposed obligations to effectively

 2     follow the law?

 3           A        I would not be able to definitively say

 4     right now.

 5           Q        Okay.    If you can take a look on page 3

 6     of your chart -- actually, never mind.            All right,

 7     sorry, page 4.     There is a regulation cited in the

 8     second-to-last box.      Do you see that?

 9           A        I do.

10           Q        It's 183-1-6-.02(5)(c).

11           A        Yes, thank you.

12           Q        There it says the secretary may develop

13     and provide to the board of registrars manuals for

14     this instruction.      Do you have an opinion if the word

15     "may" imposes an obligation or not?

16           A        Could you specify?       I'm not sure what

17     you're --
18           Q        Yeah.    When you're reviewing statutes and

19     trying to determine if they actually impose a -- well,

20     one of the things you did for your report is to review

21     a series of statutes and regulations that were

22     provided to you by counsel; correct?

23           A        Uh-huh.

24           Q        And in that review, you were trying to

25     determine if the statute or regulation actually

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 1     imposed an obligation on the secretary of state; is

 2     that right?

 3           A        So what I'm looking at, if you look at

 4     page 20 of my report and you look at point 3) under D

 5     and accordingly, what powers and responsibilities, I

 6     think that the wording of powers and responsibilities

 7     is different from obligation in terms of my approach

 8     here.

 9           Q        That's fair.       But then in the next

10     sentence after that, you say based on this review, I

11     identified a total of 156 duties and responsibilities

12     connecting the secretary of state to election

13     administration.        So let's back up then.       Is there a

14     difference between powers and responsibilities and

15     duties and responsibilities?

16           A        No, but I think there's a difference

17     between powers and obligations.
18           Q        All right.       What do you mean by the word

19     duty then?

20           A        So a duty would be an action.            It would

21     be a power as well.        And also, I see it as being

22     linked to responsibility.         I think an obligation is

23     different there.

24           Q        Okay.      So someone -- the secretary of the

25     state of Georgia could have a duty in your opinion

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 1     that is simply an ability to exercise power, but that

 2     would be different from a mandate to exercise power;

 3     is that right?

 4           A        So if I could reference to the section

 5     that you just cited on page 4 --

 6           Q        Yes.

 7           A        -- the may develop and provide, that

 8     would be an example I think of the difference between

 9     a power and an obligation.

10           Q        Okay.    But I'm -- and I get that as it

11     relates to paren 3 up there, but I'm focused on the

12     sentence where you say that you identified a total of

13     156 duties and responsibilities.

14           A        Yes.

15           Q        And when you have a regulation or a code

16     section like the one we were talking about,

17     183-1-6-.02(5)(c), does that qualify -- or was it your
18     understanding when you wrote your report that that

19     regulation imposed a duty or a responsibility?

20           A        Yes.

21           Q        Okay.    And that is based on what?

22           A        It is based on my review of this, that by

23     outlining that power of the secretary of state to

24     develop and provide manuals for instruction, it

25     becomes a duty and a responsibility.

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 1           Q        Would you agree with me that the word may

 2     is permissive, in other words, the secretary may have

 3     that power but not the obligation?

 4           A        Yes.

 5           Q        Okay.    And if it is simply a power

 6     without an obligation, you still included it in your

 7     156 duties and responsibilities?

 8           A        I did.

 9           Q        Okay.    And that would be true for all of

10     the statutes and regulations that you reviewed; right?

11     I mean there's nothing unique about that role?

12           A        No, I wouldn't say it's unique about that

13     particular one.

14           Q        All right.      Your initial report talks

15     about DREs, which is a type of voting equipment; is

16     that right?

17           A        Yes.
18           Q        Okay.    And sitting here today, are you

19     aware that Georgia is no longer using -- well, that's

20     not fair.    After a municipal runoff on New Year's Eve,

21     are you aware that Georgia will not be using DREs in

22     the future?

23           A        I am aware that it was a part of

24     discussion, but I don't have an opinion on that.

25           Q        And that was a lot of what you were

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 1     trying to address between the November chart and the

 2     one we received yesterday; correct?

 3           A        Yes.

 4           Q        Okay.    In your review of the secretary's

 5     obligations in Georgia law, did you come across a case

 6     called United States versus Georgia, dealing with

 7     UOCAVA compliance?

 8           A        I can't address that at this time.

 9           Q        Okay.    And do you know what I mean when I

10     say UOCAVA?

11           A        I do not.

12           Q        Okay.    I will represent to you that it's

13     a federal statute dealing with overseas voting.                I

14     can't tell you exactly what UOCAVA stands for.                I

15     should know.    I'm sure we could find it.          If you could

16     turn to page 15 of Exhibit 15, please.

17           A        Okay.
18           Q        And I should have asked this before, and

19     I think you've covered it, but let me just for a

20     minute while I've got it in front of me.            What you

21     received from counsel is this chart with the first

22     column completed and the second column and the third

23     column; is that right?

24           A        Correct.

25           Q        Okay.    So really, your analysis was to

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 1     divide these into the categories that we have on the

 2     far column?

 3           A        That was my addition to this.

 4           Q        Your addition, that's right.          And then

 5     your analysis was to look at that, those statutes and

 6     regulations, and opine on the duties and obligations

 7     of the secretary?

 8           A        In relationship to Voting Rights Act of

 9     1965, HAVA, NVRA, and the constitutional provisions.

10           Q        Okay, thank you.       On that chart there's

11     one entitled voter registration.          It's at 21-2-216(h).

12           A        Okay.

13           Q        What is it here that addresses a duty and

14     responsibility of the secretary of state?

15           A        So what I reference in this particular

16     section there is that the databases are maintained by

17     the secretary of state.
18           Q        Okay.

19           A        And if you look at my report, it also

20     outlines how that information is received by the

21     secretary of state.      So for example, on page 25, that

22     second paragraph about receiving information from

23     federal officials, from state agencies, and also local

24     entities to update the central registration database.

25           Q        Okay.    Looking at that last -- and back

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 1     on page 25 of your November report, do you have an

 2     opinion of who it is that approves a voter

 3     registration application in terms of the secretary or

 4     local officials?

 5           A         I don't have an opinion on that.

 6                     MR. BELINFANTE:      Off the record for a

 7               second.

 8                                  (Brief moment off the record.)

 9     BY MR. BELINFANTE:

10           Q         Okay, can you turn to -- I'm looking for

11     the reference to 21-2-30.        All right, 21-2-30(a) on

12     page 30, the top row.

13           A         Yes.

14           Q         Is the duty and responsibility you're

15     identifying there being a member of the state election

16     board?

17           A         Yes.
18           Q         Okay.

19                          (Brief recess from 1:36 to 1:42 p.m.)

20     BY MR. BELINFANTE:

21           Q         Before I get to Exhibit 16, I think I'd

22     asked why changes were made in the chart from November

23     to yesterday.       There were changes made in the chart

24     from the August report to the November report;

25     correct?

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 1            A         Correct.

 2            Q         All right.      What changes were made there?

 3            A         So I think that also related to 316.              And

 4     I think the changes from November to yesterday or, you

 5     know, that update, was two things that I had not

 6     corrected.      So I think there were two oversights that

 7     still referenced the DREs.

 8            Q         Okay.    Was it your intent to have each

 9     chart reflect Georgia law as you understood it at that

10     time?

11            A         Yes.

12            Q         Okay.    And when you made the substantive

13     changes in the report itself, not the chart, but the

14     report itself, from August to November, what prompted

15     that change?

16            A         In terms of --

17                      MS. BRYAN:      Objection to form.          I think
18                she said she didn't make substantive changes.

19     BY MR. BELINFANTE:

20            Q         All right, before you issued the November

21     report, tell me how you came about coming to a revised

22     report.      Was it something you decided to do on your

23     own?

24            A         Yes.    So I wanted -- as I -- how do I say

25     this.      I'm rather hard on my writing.            And there were

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 1     areas that I felt were clunky and that I had not been

 2     clear.    So I wanted to be able to do that, if it was

 3     possible, for me to be able to be clear in that.

 4           Q        I see, okay.      And was that just based on

 5     you going back and preparing for your deposition?

 6           A        In reviewing it and, you know, looking

 7     through what I had written and looking through what I

 8     had submitted and looking back at that, wanting to

 9     make sure that, you know, it made sense to me with, as

10     we call it, fresh eyes.

11           Q        Understood.     And you are teaching two

12     courses this semester; correct?

13           A        I am.

14           Q        When did this semester begin?

15           A        August, end of August.

16                        (Thereupon, marked for identification,

17            Defendants' Exhibit D-16.)
18     BY MR. BELINFANTE:

19           Q        All right.     Let me ask you to turn your

20     attention to what we've marked as Exhibit 16.

21           A        Okay.

22           Q        That's the Joint Center report you've

23     talked about earlier today, isn't it?

24           A        Yes.

25           Q        All right.     And I believe you testified,

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 1     but please tell me if I'm incorrect, that included in

 2     this report is an analysis about Georgia?

 3           A        It includes a reference to Georgia.

 4           Q        A reference.

 5           A        Yes.

 6           Q        Fair.    Is that reference found on page 7?

 7           A        It's one of the references on page 7.

 8           Q        All right.     Other than references

 9     generally to the South, is there another reference to

10     Georgia specifically in the report?

11           A        I would need to look back through it.

12           Q        All right.     And on page 7 it says that

13     North Carolina and other states have attempted to roll

14     back early voting on Sunday, and data show black

15     voters accounted for 53 percent of Sunday early voters

16     in North Carolina and Georgia in the 2014 midterm

17     election.
18                    As I read that sentence, that is

19     identifying something only that North Carolina did and

20     that Georgia is included just to show the percentage

21     of black voters on Sunday early voting.            Is that fair?

22           A        Could I have a moment to review this?

23           Q        Absolutely.     Sure.

24           A        Thank you.     And then could you restate

25     your question?

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 1           Q         I guess my question is, now that I've

 2     read it again myself, is that sentence describing an

 3     act the Georgia legislature took or attempted to take,

 4     or is Georgia there just to describe the percentage of

 5     black voters on Sunday voting?

 6           A         It's looking at percentages of early

 7     voters.     It's not referencing anything related to a

 8     legislative effort or attempt.

 9           Q         Got it.    All right.

10                     MR. BELINFANTE:      I know we just took a

11               break, but I think if we can have 5 to 10

12               minutes, I may be done.

13                     MS. BRYAN:     Okay.     I'd like to ask -- I

14               never want to say two or three questions, but I

15               want to ask a couple questions.          Do you want me

16               to do that before you break?

17                     MR. BELINFANTE:      Yeah, why don't you do
18               that, and I'll suspend and then come back.

19                     MS. BRYAN:     Okay.

20                                EXAMINATION

21     BY MS. BRYAN:

22           Q         Dr. Brown-Dean, do you have Exhibit 13

23     there in front of you?

24           A         I do.

25           Q         And this is the statute that

                                 Regency-Brentano, Inc.
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 1     Mr. Belinfante asked you about that says the election

 2     superintendent shall provide training to poll officers

 3     and poll workers?

 4           A         Yes.

 5           Q         Okay.   But if the secretary of state is

 6     the chief election officer in the state of Georgia,

 7     does the secretary of state have overall

 8     responsibility for ensuring that local officials

 9     comply with all federal and state laws?

10           A         Yes.

11                     MR. BELINFANTE:       Object to form.

12     BY MS. BRYAN:

13           Q         And that would include ensuring that

14     local officials comply with the Voting Rights Act and

15     the National -- the NVRA, HAVA, and the 13th, 14th,

16     and 15th Amendments; correct?

17           A         Correct.
18           Q         He also asked you -- may I borrow your

19     book?

20                     MR. MILLER:      Sure.

21     BY MS. BRYAN:

22           Q         He also asked you about some of the

23     duties that are laid out in O.C.G.A. 21-2-50.

24                     MS. BRYAN:      And I guess I need to go to

25               the pocket part?

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 1                     MR. BELINFANTE:      No, that's the 2019

 2               edition.

 3     BY MS. BRYAN:

 4           Q         And he specifically asked you about

 5     subparagraph (a)(8), which says that the secretary of

 6     state shall perform all duties which shall include the

 7     following.     And subsection (8) is to perform such

 8     other duties as may be prescribed by law; correct?

 9           A         Yes.

10           Q         Does that law, the way you review the

11     statute, include the Voting Rights Act, the Help

12     America Vote Act, the NVRA, and the constitutional

13     amendments that we've discussed?

14           A         Yes.

15           Q         So if a local official -- he also asked

16     you about registering voters.         If a local official had

17     the responsibility to register all voters who are
18     eligible to vote, that is, they're 18, they're

19     residents of the county, they're citizens of the

20     United States, but a particular voter registrar in,

21     say, Chatham County where Savannah is located, if that

22     voter registrar decided that they weren't going to

23     register any Asian Americans, would the secretary of

24     state have power to step in and do something?

25           A         Yes.

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 1           Q         And how would that happen?

 2           A         So it's happened before in other places

 3     where the state official has sued a county or a county

 4     official on behalf of those voters and responsibility

 5     for that.     There have been other cases where the state

 6     official has submitted a complaint to the department

 7     of justice for that kind of intervention in what's

 8     happening in a local or county level.

 9           Q         And just to be clear on the record, if a

10     local registrar in Chatham County made the decision

11     not to register Asian Americans, that would be a

12     violation of their right to vote; correct?

13           A         It would be.

14                     MS. BRYAN:      Okay, thank you, that's it.

15                     MR. BELINFANTE:       Why don't you give us

16               that 10 minutes, and then I can try to do it

17               all at once.
18                     MS. BRYAN:      Okay.

19                            (Brief recess from 1:51 to 1:56 p.m.)

20                              FURTHER EXAMINATION

21     BY MR. BELINFANTE:

22           Q         Professor, you just answered a series of

23     questions from Ms. Bryan, one of which said that as

24     the chief election officer, you opined that the

25     secretary has an overall responsibility, I believe was

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 1     your phrase, to enforce election law.             Is that a fair

 2     restatement of your answer?

 3           A        Yes.

 4           Q        That's not in your opinion -- in your

 5     written report, is it?

 6           A        No.

 7           Q        All right.     In fact, your report focuses

 8     only on federal sources of election law; isn't that

 9     right?

10           A        Yes.    Well, it focuses on the federal

11     sources as well as the state provision in the report.

12           Q        So is it now your opinion that the

13     secretary of state has an overall responsibility to

14     enforce all state election laws?

15           A        No, my opinion remains as stated there in

16     terms of the federal mandates or the Voting Rights Act

17     of 1965, the National Voter Registration Act, HAVA,
18     and those constitutional provisions that are provided

19     per there.

20           Q        Okay, and you don't have an opinion as to

21     whether the failure to train poll workers constitutes

22     a constitutional violation, do you?

23           A        I don't have an opinion.

24           Q        And you don't have an opinion as to

25     whether not providing sufficient resources to a county

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 1     for an election constitutes a constitutional violation

 2     by the state of Georgia, do you?

 3           A        I don't have an opinion.

 4           Q        All right, and same question for the

 5     Voting Rights Act, you don't have an opinion on

 6     whether either of those two things violates the Voting

 7     Rights Act?

 8           A        I don't have an opinion.

 9           Q        All right.     What is the basis of your

10     conclusion in your answer to Ms. Bryan that the

11     secretary has an overall responsibility as the chief

12     election officer to enforce the laws of Georgia, not

13     NVRA, not HAVA?

14           A        So I think in the particular example that

15     was presented to me in terms of not allowing Asian

16     Americans to register to vote in those elections, that

17     is a part of the Voting Rights Act of 1965 in terms
18     of, you know, not looking at particular groups.                And

19     so in that way, it is about that overlap of access to

20     free and fair elections that does not violate those

21     overall provisions in the Constitution and those three

22     other provisions.

23           Q        And in answering that question and that

24     hypothetical specifically, you base that on what

25     you've called as in other places they had sued; do you

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 1     recall that?

 2           A        So when the question was what could a

 3     chief officer do, that was when I referenced.

 4           Q        Okay, what other places were you

 5     referring to?

 6           A        So in Wyoming, for example, when there

 7     was a question about voting access for American Indian

 8     voters living on reservations and off and whether

 9     particular counties had not allowed people to vote

10     based on where they lived and based on their tribal

11     affiliation, that was when the state stepped in to

12     decide whether that was something that should be done,

13     handled locally internally, or whether it would

14     trigger a conversation with DOJ.

15           Q        And what did Wyoming do in that case?

16           A        So the question in Wyoming was whether --

17     well, what Wyoming decided to do was it needed to do
18     nothing because once it raised the question, then the

19     county reconsidered its provision and allowed people

20     to register.

21           Q        Okay.    You don't have an opinion on

22     whether the Constitution or the Voting Rights Act

23     imposes an obligation on the chief election officer of

24     a state to train poll workers; is that correct?

25           A        I don't have an opinion, no.

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1            Q        Do you have an opinion as to whether the

2      requirement within the -- well, let me ask this.                 Do

3      you know if the NVRA requires states to maintain an

4      accurate voter list?

5            A        I would not be able to say with

6      certainty.

7                         (Thereupon, marked for identification,

8             Defendants' Exhibit D-17.)
 9     BY MR. BELINFANTE:

10           Q        I'll show you what we've marked as

11     Exhibit 17.    I believe this statute is cited in at

12     least your August report and it is from the National

13     Voter Registration Act.         I would draw your attention

14     to page 2 of the document, paragraph (4)(A) and (B).

15           A        Yes.

16           Q        And that requires, in just reading right

17     under (A), each state shall conduct a general program

18     that makes a reasonable effort to remove the names of

19     ineligible voters from the official lists of eligible

20     voters by reason of death or change in residence of

21     the registrant.        Do you see that?

22           A        Yes.

23           Q        And would that be an obligation imposed

24     by the NVRA on Georgia's chief elections officer?

25           A        I don't have an opinion on that.              When I

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 1     was looking at this particular statute, if you look

 2     under (1)(D) -- I'm sorry, under (2), where it says

 3     require the appropriate state election official to

 4     send notice to each applicant and all of those that

 5     flow from there, so when I was looking at that and

 6     seeing where that falls, I was referring again to

 7     appropriate state election official based on whatever

 8     the provision is.

 9           Q        Okay.    Well, sitting here today, do you

10     have any -- I mean would you agree with me that this

11     statute imposes on this chief election official of to

12     state the obligation to remove names of ineligible

13     voters from official lists of eligible voters?

14           A        That it -- I would agree that it imposes

15     the responsibility to make a reasonable effort to

16     remove the names.      And I reference that in my report

17     as well.
18           Q        I think we're done.        Thank you,

19     Professor.

20           A        Thank you very much.

21           Q        Unless Ms. Bryan has anymore.

22                    MS. BRYAN:     No, we're done.

23                    MR. BELINFANTE:       All right.     Thank you.

24                    THE WITNESS:      Thank you.

25                            (Deposition concluded at 2:03 p.m.)

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 1                                DISCLOSURE

 2     STATE OF GEORGIA
       COUNTY OF GWINNETT
 3

 4             Deposition of KHALILAH L. BROWN-DEAN, PH.D.

 5            Pursuant to Article 10.B of the Rules and
       Regulations of the Board of Court Reporting of the
 6     Judicial Council of Georgia, I make the following
       disclosure:
 7
              I am a Georgia Certified Court Reporter. I am
 8     here as a representative of Regency-Brentano, Inc.

 9            I am not disqualified for a relationship of
       interest under the provisions of O.C.G.A. 9-11-28(c).
10
              Regency-Brentano, Inc., was contacted by the
11     offices of Josh Belinfante, Esq., to provide court
       reporting services for this deposition.
12
              Regency-Brentano, Inc., will not be taking this
13     deposition under any contract that is prohibited by
       O.C.G.A. §15-14-37 (a) and (b).
14
              Regency-Brentano, Inc., has no exclusive
15     contract to provide reporting services with any party
       to the case, any counsel in the case, or any reporter
16     or reporting agency from whom a referral might have
       been made to cover this deposition.
17
              Regency-Brentano, Inc., will charge its usual
18     and customary rates to all parties in the case, and a
       financial discount will not be given to any party to
19     this litigation.

20             This, the 23rd day of December, 2019.

21

22

23

24
                                      _________________________
25                                    LYNN VAN RY, CCR B-1120

                                Regency-Brentano, Inc.
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 1                        E R R A T A      S H E E T

 2          Pursuant to Rule 30(e) of the Federal Rules of
       Civil Procedure and/or O.C.G.A. 9-11-30(e), any
 3     changes in form or substance which you desire to make
       to your deposition testimony shall be entered upon the
 4     deposition with a statement of the reasons given for
       making them.
 5
            To assist you in making any such corrections,
 6     please use the form below. If supplemental or
       additional pages are necessary, please furnish same
 7     and attach them to this errata sheet.

 8

 9                                 - - -

10
            I, the undersigned, KHALILAH L. BROWN-DEAN,
11     PH.D., do hereby certify that I have read the
       foregoing deposition, and that said transcript is true
12     and accurate, with the exception of the following
       changes noted below, if any:
13

14     Page____/Line_____/Should Read:_______________________

15     ______________________________________________________

16     Reason:_______________________________________________

17
18     Page____/Line_____/Should Read:_______________________

19     ______________________________________________________

20     Reason:_______________________________________________

21

22     Page____/Line_____/Should Read:_______________________

23     ______________________________________________________

24     Reason:_______________________________________________

25

                                Regency-Brentano, Inc.
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 1     Page____/Line_____/Should Read:_______________________

 2     ______________________________________________________

 3     Reason:_______________________________________________

 4

 5     Page____/Line_____/Should Read:_______________________

 6     ______________________________________________________

 7     Reason:_______________________________________________

 8

 9     Page____/Line_____/Should Read:_______________________

10     ______________________________________________________

11     Reason:_______________________________________________

12

13     Page____/Line_____/Should Read:_______________________

14     ______________________________________________________

15     Reason:_______________________________________________

16

17     Page____/Line_____/Should Read:_______________________
18     ______________________________________________________

19     Reason:_______________________________________________

20

21                                   _____________________________
                                     KHALILAH L. BROWN-DEAN, PH.D.
22

23     Sworn to and subscribed before me,

24     _________________________________, Notary Public
       This _____ day of _____________, 20___
25     My Commission Expires:________________

                                Regency-Brentano, Inc.
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 1                        CERTIFICATE OF REPORTER

 2

 3     STATE OF GEORGIA                  )

 4     COUNTY OF GWINNETT                )

 5

 6              I, LYNN VAN RY, the officer before whom the

 7     foregoing deposition was taken, do hereby certify that

 8     the witness whose testimony appears in the foregoing

 9     deposition was duly sworn by me; that the testimony of

10     said witness was taken by me to the best of my ability

11     and thereafter reduced to typewriting under my

12     direction; that I am neither counsel for, related to,

13     nor employed by any of the parties to the action in

14     which this deposition was taken, and further that I

15     am not a relative or employee of any attorney or

16     counsel employed by the parties thereto, nor

17     financially or otherwise interested in the outcome

18     of the action.

19              This, the 23rd day of December, 2019.

20

21

22

23

24                                           ________________________
                                             LYNN VAN RY, CCR, RPR
25                                           CERT. NO. B-1120

                                Regency-Brentano, Inc.
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Raffensperger                                                                                          December 11, 2019

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 FAIR FIGHT ACTION, et al.,

       Plaintiffs

 V.                                                 Civil Action File

 BRAD RAFFENSPERGER, in his official                No. 1:18-cv-05391-SCJ
 Capacity as Secretary of State of Georgia;
 et al.,

       Defendants.

TO: Dr. Khalilah L. Brown-Dean
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    275 Mt. Carmel Avenue
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    Hamden, CT 06518

              SECOND AMENDED NOTICE OF DEPOSITION
                 OF DR. KHALILAH L. BROWN-DEAN

      PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Ru1es of

Civil Procedure, counsel for Defendants Brad Raffensperger, et al., will take the

oral deposition of Dr. Khalilah L. Brown-Dean at the office of Lawrence &

Bundy, LLC, 1180 W Peachtree St., NE #1650, Atlanta, GA 30309 on

December 11, 2019, beginning at 9:30 a.m. and continuing thereafter until

completed.
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      The deposition shall be taken before a Notary Public or some other officer

authorized by law to administer oaths for use at trial. The deposition will be taken

by oral examination with a written and/or sound and visual record made thereof

(e.g., videotape, LiveNote, etc.). The deposition will be taken for the purposes of

cross-examination, discovery, and for all other purposes permitted under the

Federal Rules of Civil Procedure or other applicable law.

      This 10 th day of December, 2019.


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                         CERTIFICATE OF SERVICE

      I hereby certify that, on December 10, 2019, I caused to be served the

foregoing SECOND AMENDED NOTICE OF DEPOSITION OF DR.

KHALILAH L. BROWN-DEAN by sending it via email and U.S. Mail, postage

prepaid, and addressed as follows:

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                                                                                    1¥    EXHIBIT   ~
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                                     Quinnipiac University
                         Department ofPolitical Science and Philosophy
                                    275 Mt. CarmelAvenue
                                           CL-AC3
                                      Hamden, CT 06518
         (203) 582-6406 (Voice)§ (203) 582-3471 (Fax) Khalilah.brown-dean@quinnipiac.edu


PROFESSIONAL EMPLOYMENT

Quinnipiac University
      Advisory Board, Ronald W. Walters Leadership and Public Policy Center at Howard University
      (2019-)

      Advisory Board, Issues in Race and Society journal (2019-)

      Board Chair, The Community Foundation/or Greater New Haven (2019-)

      Member, Quinnipiac University Strategic Plan Committee (2018)

      Member, American Political Science Association Ralph Bunche Summer Institute Advisory
      Committee (2016-)

      Faculty Researcher, Urban League of Southern Connecticut and Quinnipiac University State of
      Urban Connecticut Project (2016-)

      Affiliated Faculty, The Prison Project at Quinnipiac University (2016-)

      Co-Chair, College ofArts and Sciences Faculty Scholarships and Grants Committee (2015-2018)

      Member, College Evaluation (Tenure and Promotion) Committee (2015-2018)

      Co-Coordinator, FrankM. Netter School ofMedicine Health Policy and Advocacy
      Concentration (2015-2016)

      Co-Leader, University Academic Seminar Series and Advisory Board (2013-2014)

      Co-Organizer, Dilemmas of Justice Speakers Series (2013)

      Exploratory Committee, African American Studies Minor/Civil Rights Institute (2013-2014)

      Chair, College of Arts and Sciences Scholars Working Group (2013)

      Associate Professor of Political Science, 2011-Present


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Yale University
        Peter Strauss Family AssistantProfessorofPoliticalScienceandAfricanAmericanStudies
        (2006-2011)

        Director ofUndergraduate Studies for the Department ofAfrican American Studies (2009-2010)

        Assistant Professor of Political Science and African American Studies (2003-2006)


EDUCATION
2003 The Ohio State University,Ph.D.,Political Science

2001 The Ohio State University ,M.A., Political Science

1999 Summer Institute in Political Psychology, Certificate, Political Psychology

1998 The University of Virginia, B.A., Government

POST-GRADUATE TRAINING
2017 Tufts University Metric Geometry and Gerrymandering Summer Program
2017 Tufts University Gerrymandering Expert Witness Training

ACADEMIC AWARDS, GRANTS, AND FELLOWSHIPS
2018, 2017, 2016 Quinnipiac University Provost's Innovation Grants ($15,000)

2018-2012 Quinnipiac University College of Arts and Sciences Faculty Research Grants ($30,000)

2017 Top 25 Women Making a Difference in Higher Education Award, Presented by Diverse: Issues in
Higher Education

2014 National Conference ofBlackPolitical Scientists Julia R. Hight Summer Writing Fellowship

201 0National Conference ofBlackPolitical Scientists Rodney Higgins Award for Best Faculty Paper

2009-2011 The Open Society Foundations Justice Advocacy Senior Fellowship ($200,000)

2008-2010 Ford Foundation Difficult Dialogues Initiative ($200,000)

2005 American Political Science Association Best Dissertation Award (Race, Ethnicity, and Politics
Section)

2005 Yale Center for International and Area Studies ($10,000)

2005 Social Science Research Fund($5,000)

2005 Yale University Center for the Study ofAmerican Politics ($50,000)

2005 The College Board/AP Scholars Program Fellow ($7,000)


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AWARDS FOR PUBLIC SCHOLARSHIP AND SERVICE
2017 Game Changer Award in Public Safety and Criminal Justice, Presented by the Connecticut NAACP
State Conference Youth and College Division

2017 Education Award, Presented by the Delta Iota Sigma Chapter of Phi Beta SigmaFratemity,
Incorporated

2016 Fannie Lou Hamer Award for Outstanding Community Service, Presented by the National
Conference of Black Political Scientists

2015 Outstanding Community Leadership Award, Presented by the Connecticut State Martin Luther
King, Jr. Commission

2014 Legacy Award, Presented by the National Association of Blacks in Law Enforcement

Walt Everitt Humanitarian Award, Presented by the Connecticut Network to Abolish the Death Penalty

Forty Under Forty Award, Presented by Connecticut Magazine

2007 Wilma Holmes Tootle Education Advancement Award, Presented by the North Atlantic Region of
Alpha Kappa Alpha Sorority, Incorporated


PRIOR AWARDS AND ACHIEVEMENTS
2002 National ConferenceofBlackPolitical Scientists Sammy R. Y oungBestStudent Conference Paper
Award

2002 The Ohio State University Alumni Grant for Graduate Research and Scholarship ($2,000)

2002 The Ohio State University Madison F. Scott Research Grant ($2,000)

2001 The Ohio State University MadisonF. Scott Research Grant($1,500)

2000 The AmericanPolitical Science Association Advanced Graduate StudentTravel Grant ($5 00)

2000 Carl Albert Center for Congressional Research Stipend ($500)

2000 The Ohio State University Program for the Enhancement of Graduate Studies Summer Research
Fellowship ($4,000)

1999 The Ohio State University MadisonF. Scott Research Grant ($1,500)

1998 The Ohio State UniversityGraduateEnrichmentFellowship ($30,000)

1997 American Political Science Association Ralph Bunche Summer Institute Fellow


RESEARCH AND TEACHING INTERESTS

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Civic Engagement; Racial and Ethnic Politics; Urban Politics and Policy; Voting Rights and
Representation; The Politics ofPunishment and Crime Control Policy; Mass Political Behavior; Political
Psychology; Public Policy and Leadership


SCHOLARSHIP AND RESEARCH PUBLICATIONS
Books
        Brown-Dean, Khalilah 1.September2019. Identity Politics in the United States. London: Polity
Press. ISBN: 9780745654119

        Duffy, Sean, Timothy Dansdill, Jill Shahverdian,AileenDever, Khalilah 1. Brown-Dean, and
Julia Giblin, eds., 2014. The Individual in the Community. Pearson. 8th Edition.

Refereed Book Chapters and Journal Articles
         Brown-Dean, Khalilah L. Forthcoming. "Monumental Promises, Incremental Gains: Criminal
Justice Reform in the Obama Era." InAfler Obama: African American Politics in aPost-ObamaEra. Edited
by Todd C. Shaw, Robert Brown, and Joseph McCormick III. New York, NY: NYU Press.

       Brown-Dean, Khalilah L.2016. "Counting Bodies and Ballots: Prison Gerrymandering and the
Paradox ofUrbanPolitical Representation." In Urban Citizenship and American Democracy. Edited by Amy
Bridges and Michael Javin Fortner. Albany, NY: SUNYPress.

         Brown-Dean, Khalilah L. 2015. "Felon Disenfranchisement Ten Years After Bush v. Gore. "In
Election Administration in the United States: The State a/Reform Ten Years After Bushv. Gore. Co-Edited by
Michael Alvarez and Bernard Grofrnan. Cambridge: Cambridge University Press.

       Brown-Dean, Khalilah 1. andBenjaminE. Jones.2015. "Building Authentic Power: A Study of
the Campaign to Repeal Connecticut's Death Penalty." Politics, Groups, and Identities.

       Alexander-Floyd, Niko! C., Byron D' Andra Orey, and Khalilah L. Brown-Dean. 2015.
"Professional Conferences and the Challenges ofStudying BlackPolitics." PS: PoliticalScience andPolitics.

       Brown-Dean, Khalilah L. 2015. "Emphasizing the Scholar in Public Scholarship." PS: Political
Science and Politics.

       Wilson, David C. and Khalilah 1. Brown-Dean.2012. "Great[er] Expectations: Group Interests,
Deracialization, and Candidate Evaluations." National Political Science Review.

       Brown-Dean, Khalilah. L. 2009. "Do Classes Matter?: Evaluating the Impact of College Courses
on Tolerance." Journal ofthe Institution for Social and Policy Studies.

      Brown-Dean, Khalilah L. 2007. "Permanent Outsiders: Felon Disenfranchisement and the
Breakdown of Black Politics." National Political Science Review.

         Brown-Dean, Khalilah 1. 2005. "Trading Brown for Prison Orange: Reflections on Race and
Justice Fifty Years after Brownv. Board." Journal oftheinstitutionforSocial andPolicyStudies.

POLICY PAPERS AND OTHER PUBLICATIONS



                                                Brown-Dean 4
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       Brown-Dean, Khalilah L. and Don C. Sawyer, III. 2019. "The State of Education in Urban
Connecticut." In The State of Urban Connecticut, edited by Robert Brown, III. New Haven, CT: The Urban
League of Southern Connecticut.

       Brown-Dean, KhalilahL.2018. "Fighting From a Powerless Space: Black Women and the
Criminal Justice System." In State ofBlack Women in the US. and Key States, edited by Avis A. Jones-
DeWeever. Washington, DC: National Coalition on Black Civic Participation.

       Brown-Dean, Khalilah 1.2017. Book Review ofSisters in the Statehouse by Nadia Brown. Journal of
Race, Ethnicity, and Politics.

       Brown-Dean, KhalilahL., ZoltanHajnal, Christina Rivers, and Ismail White.2015. "Fifty Years
ofthe Voting Rights Act: The State ofRace in Politics." Joint Centerfor Political and Economic Studies.

       Brown-Dean,KhalilahL.November2013. "In the Final Analysis: OnNickNelson's
Contributions to the Study of Black Politics." Politics, Groups, and Identities.

        Brown-Dean, KhalilahL.2012. Cited in the Connecticut State Judiciary Committee's Favorable
Report for SB-280: An Act Revising Penalties for Capital Felonies.
https://www.cga.ct.gov/2012/JFR/S/20l2SB-00280-ROOJUD-JFR.htrn

       Brown-Dean, Khalilah 1. 2010. Book Review of The Perils ofFederalism: Race, Poverty, and the Politics
ofCrime Control by Lisa L. Miller. Political Science Quarterly.

        Brown-Dean, Khalilah L. et al. 2008. "Lift Every Voice: Democracy, Voting Rights, and
Electoral Reform." Published in conjunction with the Advisory Committee on Social Witness Policy
(ACSWP) and the Advocacy Committee for Racial Ethnic Concerns (ACREC).


WORKS 1N PROGRESS
Factors Affecting Support for Felon Voting Rights: Personal Beliefs, Felon Attributes, and Political
Context Gournal manuscript with David C. Wilson and TaLisa Carter)

From Pain to Power: Centering Victims' Voices in Criminal Justice Reform Movements (book
manuscript)

Negotiating Voting Rights Policy in the Post-Shelby Era Gournal manuscript)

Whose Lives Matter?: Inmate Labor and Post-Disaster Recovery (with Randolph Burnside)

The Beautiful Struggle: Essays on Politics, Pop Culture, and Political Progress (book manuscript)


PUBLIC SCHOLARSHIP
2019
       Brown-Dean, Khalilah L. "Why Victims of Crime Deserve a Voice." The Hill
       Brown-Dean, Khalilah 1. "Yes Virginia. There is a Choice." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Defining Political Progress." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "On the Meaning of Survival." Diverse: Issues in Higher Education

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       Brown-Dean, Khalilah L. "First STEP or First Stumble?" Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "The Myth of Meritocracy." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "The Fallacy of NOT Seeing Race." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Dr. King Deserves More." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah 1. "Sorority Life as anActofResistance." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Teaching Through Trauma." Diverse: Issues in Higher Education


2018
       Brown-Dean, Khalilah 1. Documentary Feature: "Extinction: The Disappearance ofBlackMale
       Educators."
       Brown-Dean, Khalilah 1. "Civics 101 Podcast: TheFifteenthAmendment."New Hampshire
       Public Radio
       Brown-Dean, Khalilah L. "Giving Thanks Amid Political Unce1tainty." Diverse: Issues in Higher Ed
       Brown-Dean, Khalilah L. "On Citizenship and Voting." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "The Hate We Give: Voting Against Violence." Diverse: Issues in Higher Ed
       Brown-Dean, Khalilah L. "Still Separate, Still Unequal: American Indians and Election 2018."
       Diverse: Issues in Higher Education
       Brown-Dean, Khalilah 1. "Feminism, Womanism, andElection2018." Diverse: Issues in Higher
       Education
       Brown-Dean, Khalilah L. "The Stakes is High." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Aretha Franklin, John McCain, and the Meaning of Legacy." Diverse:
       Issues in Higher Education
       Brown-Dean, KhalilahL. "The Opposite ofProgress." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah 1. "As American as Apple Pie." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "For Colored Folks Who Have Considered Suicide." Diverse: Issues in
       Higher Education
       Brown-Dean, Khalilah L. "Why We Celebrate." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah 1. "Mothering Behind Bars." Diverse: Issues in Higher Education
       Brown-Dean, KhalilahL. "Bill Cosby Isn't aVictim." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "It's Time to Secure the Vote." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "From Pain to Power." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah 1. "Reclaiming the 'Fierce Urgency ofNow' ." Diverse: Issues in Higher
       Education
       Brown-Dean, Khalilah L. "The Politics of Mental Health." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Not Yet Just, Not Yet Free." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Five Things More Effective Than Political Panic." Diverse: Issues in Higher
       Education
       Brown-Dean, Khalilah L. "HonoringBlackHistory Month, In Prison." Diverse: Issues in Higher
       Education
       Brown-Dean, Khalilah L. "In Defense of Youth Organizing." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Ati as Political Resistance." Diverse: Issues in Higher Education

2017
       Brown-Dean, Khalilah 1. Documentary Feature: "Extinction: The Disappearance ofBlackMale
       Educators."

2016
     Brown-Dean, Khalilah L. "Can She Do It? Women in Politics Remain Dogged By Gender
Stereotypes." New York Daily News.

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   Brown-Dean, KhalilahL. "Justice Trump' d? The Path Toward Criminal Justice Reform Post-
Obama." WEAA Radio.

2015
       Brown-Dean, Khalilah L. "Leaving Victims Behind is Unjust." New Haven Register.

2014
       Brown-Dean, Khalilah L. "Saying Farewell to Maya Angelou." Ebony Magazine.

       Brown-Dean, Khalilah L. "Who Fights For Black Girls?" Ebony Magazine.

2013
       Brown-Dean, Khalilah L. Documentary Feature: "The Color of Justice."

       Brown-Dean, Khalilah L. "Kids and Families: The REAL Victims of the GOP Shutdown." Ebony
Magazine.

       Brown-Dean, KhalilahL. "Primary Offers Opportunity to Move New Haven Forward." New Haven
Register.

       Brown-Dean, Khalilah L. "An End to the War on Weed?: Not Likely." Ebony Magazine.

       Brown-Dean, KhalilahL. "What Do the Supreme Court's Decisions Mean For Blacks?" Ebony
Magazine.

2012
    Akinwole-Bandele,LumumbaandKhalilahL.Brown-Dean. "Beyond Troy Davis: Why We
Cannot Wait." Ebony Magazine.

        Brown-Dean, Khalilah L. "Beyond Barack Obama: Is America Ready For a New Political Party?"
Dominion ofNew York Magazine.

2011
         Brown-Dean, Khalilah L. "Are HBCU's Still Relevant?" Uptown Magazine.

         Brown-Dean, Khalilah L. "If Black Men Live Longer in Prison It's Time For Change." TheGrio.


INVITED TALKS AND CONFERENCE PRESENTATIONS
"The400 th Anniversary ofJamestownand the Arrival ofEnslavedAfricans in Virginia." American
Political Science Association Annual Meeting. Washington, DC. August 2019.

"The Future of American Democracy." Quinnipiac University Presidential Inauguration. May 2019.

"A New Vision of Criminal Justice Reform." Quinnipiac University Admissions Preview. March 2019.

"Factors Affecting Support for Felon Voting Rights: Personal Beliefs, Felon Attributes, and Political
Context." David C. Wilson, TaLisa Carter, andKhalilahL. Brown-Dean. National Conference ofBlack
Political Scientists Annual Meeting. Baton Rouge, Louisiana. March 2019.

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"Fighting from a Powerless Space: Women of Color in the Criminal Justice System." Feminism and
Incarceration Conference. University of North Carolina-Greensboro. February 2019.

"The Continuing Struggle for Voting Rights in the United States." Wiggin & Dana Law Firm. February
2019.

"Not Yet Just, Not Yet Free: Black Women, Political Freedom, and the 2018 Midterm Elections."
Connecticut College. October 2018.

"A Letter to the Free: Reimagining Justice and Democracy in the Trump Era." University of Bridgeport
Necessary Voices Lecture Series. February 2018.

"Freedom in the EraofReform." Cheshire (CT) Correctional Institute. February 2018.

"On the Meaning ofJustice and Reform." College ofWilliam and Mary. February 2018.

"A Conversation on Justice and Freedom." University of Connecticut School of Social Work. February
2018.

"RedefiningCivi!RightsPost-Obama.''NMCP AlbuquerqueCivilRightsandDiversityConference.
September 2017.
"The Legacy of the 15th Amendment Post-Shelby." Duke University's Samuel DuBois Cook Center
Research Symposium on the Social and Economic Outcomes of the 13th, 14th, and 15th Amendments.
March 2017.

"Race, Representation, andDisenfranchisement: As American As Apple Pie." Pace University. March
2017.
"The Public Spectacle: Exploring Anger and Political Transformations." William Paterson University.
October 2016.

"The State of Race and Policing in America." Texas A&M University Bush School for Public Service.
September 2016.


"Contemporary Challenges to Voting Rights in the United States." University ofConnecticut. March
2016.
"The Black Predicament and the 2016 Elections." National Conference of Black Political Scientists.
Jackson, Mississippi. March 2016.

"BeyondF erguson: ReimaginingRace and Social Justice in the United States." W alker-HorizonLecture.
Depauw University. February 2016.

"Counter-Emancipation and the Voting Rights Act ofl965 ."University oflllinois-Springfield. June
2015.

"Fifty Years of the Voting Rights Act: The State of Race in American Politics." Selma Public Library for
the 50th Anniversary Celebration of the Bloody Sunday March. March 2015.

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"Why We Cannot Wait: Reclaiming the Fierce Urgency of Now." Claflin College. February 2015.

"Lessons From the Past, Prospects For the Future: Voting Rights Post Shelby v. Holder." US Attorney's
Office. February 2015.

"Beyond Ferguson: Understanding the Nexus oflncarceration and Disenfranchisement." Connecticut
Court Support Services. February 2015.

"The Mass Incarceration of Women of Color." Harvard University. March 2014.

"45 Years: A Retrospective on NCOBPS and the Work of William E. Nelson, Jr." Presented at the
National Conference of Black Political Scientists Annual Meeting. Wilmington, Delaware. March 2014.

"The Role of Community Mobilization Within Social Justice Movements." U.S. Human Rights Network.
December 2013.

"From Painful to Powerful: How Crime Victims Persuaded Legislators to Reform the Death Penalty in
Connecticut and Mary land." Presented atthe AmericanPolitical Science Association Annual Meeting,
Chicago, Illinois. August 2013.

"Public Scholarship vs. Public Intellectualism." Women of Color in Political Science Mini-Conference,
American Political Science Association. Chicago, Illinois. August 2013.

"How the Affected and Underrepresented Are Ending the Death Penalty." Yale University Law School
Rebellious Lawyering Conference. New Haven, Connecticut. February 2013.

"Building Authentic Power: An Examination of Connecticut's Death Penalty Repeal Campaign."
Presented at the Southern Political Science Association Annual Meeting. Orlando, Florida. January 2013.

"The Relationship Between Perceptions of Justice and Grassroots Mobilization." Maryland State
Conference ofNAACP Branches. October 2012.

"Beyond Troy Davis: Understanding the Death Penalty Abolition Movement in the United States."
William Paterson University. September 2012.

"A Tale of Two States: Death Penalty Reform in Connecticut and Maryland." Soros Institute/Open
Society Foundations. July 2012.

"From Pain to Power: A New Model of Social Justice Organizing." National Conference on Race and
Education in Higher Education. May 2012.

"Redefining Citizenship in a 'Post Racial' America." Carter G. Woodson Lecture Series. Central
Connecticut State University. New Britain, CT February 2012.

"Race and Domestic Policy." George Mason University School of Public Policy. October
2011.

"Three-Fifths Revisited: The Census and Inmate Enumeration." Presented at the Drexel Summer

                                             Brown-Dean 9
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Conference on the City. June 2011.

"Concentrating Punishment." Presented at the Princeton University Imprisonment of a Race
Conference. March 2011.

"From Exclusion to Inclusion: Promoting Civic Engagement When Times are Always Hard." Paper
presented at the AmericanPolitical Science Association Annual Meeting, Washington, DC. September
2010.

"Greater Expectations: Perceptions of Racial Group Interests and Candidate Evaluations." (with David
C. Wilson). Paper presented atthe Midwest Political Science AssociationAnnualMeeting, Chicago, IL.
April 2010.

"The Future of Post-Racial Politics." Presented at the "From Slavery to Freedom to the White House:
Race in Twenty-First Century America, A Conference in Honor ofJohn Hope Franklin." Sponsored by
the Duke University School of Law. April 2010.

"Race, Representation, and Punitive Politics." Presented at"The Challenge ofRacial Inequality in aPost-
Racial World: Race, Rights, and Public Policy in the Age of Obama." Sponsored by Rutgers and
Princeton Universities. March 2010.

"Identity Politics in the Age of Obama." 15th Annual Multicultural Lecture Series. University of Rhode
Island. February 2010.

"Identity Politics in the Age of Obama." University ofRochester Two Icons Lecture Series. February
2009.

"Counting Bodies, Not Ballots: The Impact of Mass Incarceration on Political Representation."
Presented at the UCLA Center for the Study of Race and Ethnicity in the Americas. February 2008.

"Reforming the State: Assessing Recent Changes in State Felon Disenfranchisement Laws." Paper
presentedattheAmericanPolitical ScienceAssociationAnnualMeeting, Toronto, Canada. September
2009.

"Race, Crime, and Political Inequality." Presented to The University of North Carolina, Chapel Hill
American Politics Research Group. November 2007.

"Counting Bodies, Not Ballots: The Impact of Mass Incarceration on Political Representation." Paper
presented at the AmericanPolitical Science Association Annual Meeting, Chicago, Illinois. September
2007.
"Once Convicted, Forever Doomed: The Politics of Punishment in the United States." The University
of Michigan Distinguished Speakers Series. September 2007.

"Contemporary Challenges to the Voting Rights Act." Presented for the National Presbyterian Church
Voting Rights and Electoral Reform Committee. Washington, DC April 2007.

"Once Convicted, Forever Doomed: Understanding the Political Consequences of Mass Incarceration."
University of Kentucky. March 2007.



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"Inmate Enumeration and Political Representation: Reynolds v. Sims Revisited." University of Kentucky
Law School. March 2007.

"Race, Religion, and Attitudes Toward Criminal Justice Policy." The University of Texas
Conference on Race, Religion, and Politics. March 2007.

"Race and the Politics of Punishment in the United States." Presented at Oxford University, Nuffield
College. Oxford, England February 2007.

"Voting Rights Policy in the Post-Civil Rights Era." The Ohio State University Law and Democracy
Forum. February 2007.

"African American Communities and the Politics ofincarceration." Presented to the Black Solidarity
Conference, Yale University. New Haven, CT October 2006.

"Fighting from a Powerless Space: The Impact of Criminal Justice Policy on Women of Color." Paper
presented at the AmericanPolitical Science AssociationAnnua!Meeting, Philadelphia, PA. September
2006.

"The Politics ofincarceration." African American Research Collaborative. Philadelphia, PA. August
2006.

"Is the Voting Rights Act Still Relevant?" Morning at Yale Program sponsored by the Association of
Yale Alumni. May 2006.

"Inmate Enumeration and the Return of the Three-Fifths Clause." Paper presented at the National
Conference of Black Political Scientists Annual Meeting, Atlanta, GA. March 2006.

"New Considerations in Redistricting and Minority Representation." Presented atthe "Who Draws the
Lines?: The Politics ofRedistricting Conference:" University ofNorth Carolina at Chapel Hill School of
Law. Chapel Hill, NC February 2006.

"The Race, Education, and Incarceration Nexus." Twentieth Century American Politics and Society
Workshop. Columbia University. November 2005.

"Contemporary Challenges to the Voting Rights Act of 1965." Presented at Virginia State University.
September 2005.

"Race, Crime, and American Political Inequality." Presented at Oxford University, Pembroke College.
Oxford, England. March 2005.

"Trading Brown for Prison Orange: TheLinkBetweenRace, Education, and Incarceration." Reflections:
50 Years after Brown v. Board Symposium. Central Connecticut State University. New Britain, CT.
September 2004.

"Racial Disparities in Sentencing." Panel sponsored by the Greater New Haven NAACP. "Narrowing
the Gap: Reducing Access Inequality for (Ex)Felons." Crime, Inequality, and Justice
Symposium, The Ohio Criminal Justice Research Center. Columbus, OH. August 2004.

"Stolen Democracy: The Consequences of Felon Disenfranchisement Laws for Black and Latino

                                             Brown-Dean 11
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Communities." Florida State of Black Studies Conference, Miami, FL. April 2004.

"Women of Color and the American Prison System," withJ. Perez-Monforti. Paper presented at the
Western Political Science Association Annual Meeting, Portland, OR. March 2004.

"The Impact of Elite Framing on Public Attitudes Toward Disenfranchisement." Paper presented at the
American Political Science Association Annual Meeting, Philadelphia, PA. September 2003.

"Culture, Context, and Competition: Explaining State Variation in Felon Disenfranchisement Laws."
Paper presented at the Midwest Political Science Association Conference, Chicago, Illinois. April 2003.

"Racial Profiling or Racist Profiling?: Perception and Opinion on the Profiling ofArabs and Blacks,"
with Thomas E. Nelson, Ray Block, Jr. and Javonne A. Paul. Paper presented at the American Political
Science Association Annual Meeting, Boston, Massachusetts. September 2002.

"Ignorance or Intolerance?: An Analysis of Public Attitudes Toward Felon Disenfranchisement Laws."
Paper presented at the Edward F. Hayes Graduate Research Forum, Columbus, Ohio. February 2002.

"One Lens, Different Views: An Examination of Public Opinion on Felon Disenfranchisement Laws."
Paper presented at the National Conference ofB!ackPolitical Scientists, Atlanta, Georgia. March 2002.
Recipient of the Sammy R. Young Best Conference Paper Award.

"The Effects of Crisis-Related Imagery on Public Opinion about Racial Profiling," with Ray Block, Jr.
and Javonne A. Paul. Paper presented atthe National Conference ofB!ackPolitical Scientists, Atlanta,
Georgia. March 2002.

"Heritage or Hate?: An Analysis ofPublic Attitudes Toward the Confederate Flag," withB. D"Andra
Orey. Paper presented at the Southern Political Science Association, Atlanta, Georgia. January 2001.

"Shades ofDiscontent: Minority Group Competition and Attitudes Toward the Elian Gonzalez Issue,"
with J. Perez-Monforti. Paper presented at the National Conference of Black Political Scientists,
Richmond, Virginia. Nominatedfor the Sammy R. Young Best Conference Paper Award. March
2001.

"Toeing the Party Line, Toeing the Color Line: African American Women in Congress and the
Impeachment Process." Poster presented at the American Political Science Association Annual Meeting,
Washington, DC. September 2000.

"Stolen Democracy: Felony Disenfranchisement Laws and the Future of Black America," with Javonne
A. Paul. Paper presented at the National Conference of Black Political Scientists, Washington, D.C.
Recipient of the Francis Aumann Award/or the Best Graduate Student Conference Paper. March 2000.

"AfricanAmerican Fem ale Legislators and the Clinton Impeachment Process." Women Transforming
Congress: Gender Analyses of Institutional Life Conference, Carl Albert Center for Congressional
Research. April 2000.

"The Influence ofPolitically Active Black Churches on Community Activism among African
Americans."PosterpresentedattheAmericanPolitica!ScienceAssociationAnnua!Meeting,
Washington, DC. September 1997.


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KEYNOTE ADDRESSES AND PANEL DISCUSSIONS
"Not Yet Just, Not Yet Free: Women and Social Justice." Keynoted address presented to Southern
Connecticut State University Women's Conference. May 2019.
"The Future of Voting Rights in the United States." Keynote address presented to the Sphex Club of
Virginia. May 2019.
"The State ofJusticeReform." Whitneyville United Church of Christ Socia!Justice Symposium. May
2019.
"The State of Urban Connecticut." Urban League of Southern Connecticut and Quinnipiac University.
April 2019.
"School/Gun Violence: An Interdisciplinary Concern." Quinnipiac University School of Education.
April 2018.
"A New Vision ofFreedom and Democracy." Keynote Address presented to the Farmington Valley
Links, Incorporated. Mark Twain House. February 2018.
"To Build the Beloved Community in the Face of Chaos." Annual Martin Luther King, Jr. Breakfast
Keynote Address. Lynchburg, VA. January 2018.
"Women Leading Change: Promoting and Sustaining Women in Leadership Roles." Southern
Connecticut State University Sustainability Initiative. November 2017.
"Gender, Voting, and the Voting Rights Act." Community Foundation for Greater New Haven.
October 2017.
"We Who Believe in Freedom." Keynote Address presented to the Connecticut Department of Children
and Families Region 6 Foster Youth Celebration. May 2017.
"Community Conversation on the Thirteenth Documentary." Greater New Haven Branch of the
NAACP. April 2017.

"Women, Media, and the Gender Lens." University of New Haven Women's Leadership Conference.
April 2017.

"A Day After the Election ... Now What?" Quinnipiac University. November 2016.

"Bridging the Past and the Future: 30 years of the Ralph Bunche Summer Institute and the Intellectual
Legacy of Dr. Ralph Bunche." American Political Science Association. October 2016.

"Chaos or Community?" Southern New England Community Action Conference. September 2016.

"A Community Conversation on Race in America." With Congressman Jim Himes. July 2016.

"Reflections on Voting Rights in the U.S." With Congressman Jim Himes. April 2016.

"To Whom Much is Given." National Association ofNegro Business Women and Professionals Club.
New Haven, CT. March 2016.



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"ReclaimingtheFierce Urgency ofNow."FrontiersintemationalKeynoteAddress. Springfield, Illinois.
January 2016.

"One Person, One Vote: Voting Rights 50 Years Later." Harriett Beecher Stowe Center. November
2015.

"A Call to Leadership." Keynote Address for the North Atlantic Regional Conference of Alpha Kappa
Alpha Sorority, Incorporated's Undergraduate Luncheon. Apri12012.

"Taking the L.E.A.D.: Social Media and Contemporary Youth Movements." Keynote Address for the
C.H.A.P. Youth Leadership Conference. March 2012.

"Post-Racial or Post-Racism? New Directions in the Quest for Equality." Presented to the United States
Department of Agriculture. February 2011.

"Fractured Citizenship and the Politics of Punishment." Presented to inmates at the Cheshire State
Correctional Institution. Sponsored by Wesleyan University Center for Prison Education. May 2010.

 "Managing the Politics of Diversity." Keynote Address for the Virginia Community Dialogue on Race
and Racism. January 2008.

Panelist, "The Politics of Hate." Yale University. New Haven, CT March 2008.

Panelist, "Strategies for Strengthening Your Voice in the Political Process." North Atlantic Regional
Conference of Alpha Kappa Alpha Sorority, Incorporated. March 2008.

"The Political Impact ofAmerican Criminal Justice Policy."Presented at the New York Times Center
New York, NY November 2008.

"Empowerment Through Education." Keynote Address presented for the Links, Incorporated
Scholarship Luncheon. May 2006.

"To Whom Much is Given, Much is Required: The Need for Youth Leadership." Keynote Address
presented to the Hyde Leadership Academy. February 2006.

"Lessons from the Past, Prospects for the Future: Reflections on the Voting Rights Act of 1965."
Association of Yale Alumni. October 2005.

"Dismantling the Hierarchy of Oppression: The Common Political Fate of Black Women and Latinas."
Co-Sponsored by the Xi Omicron Chapter of Alpha Kappa Alpha Sorority, Inc. and Sigma Lambda
Upsilon/Sefioritas Latinas Unidas Sorority, Inc. April 2005.

"Lest WeForget." Keynote Address, African American Women's Summit. March
2005.

"Criminal Justice Expenditures and the Public Health Crisis." Frantz Fanon Lecture Series, Yale
University School of Medicine. February 2005.

"The Spirit of Sankofa." Keynote Address, The New Haven Club. New Haven, CT. February 2005.


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"On Heroism: Honoringthe Legacy ofRosa Parks." Roundtable panelist, Afro-American Cultural
Center at Yale. January 2005.

"For God and For Country: The Role of Religious Values in the 2004 Presidential Election." Yale
University Election Post-Mortem. November 2004.

"The Politics of Power: Public Policy and Justice in the Black Community. "Panel in honor ofthe 35th
Anniversary of the Afro-American Cultural Center at Yale. October 2004.

"Assessing the Limits of Democracy Via Felon Disenfranchisement Laws." Washington University
Department of Political Science, St. Louis, Missouri; Wesleyan University, Middletown, Connecticut.

"Just Being Here Is Not Enough!: Recognizing Your Role in Community Development." Yale
University Afro-American Cultural Center Student Achievement Dinner. May 2004.

International Festival of Art and Ideas. May 2004.

"To Whom Much is Given: Communal Responsibility and the Challenges of Black Politics." Mental
Pabulum Series, Yale University. February 2004.

"Power, Pride, and Patriotism: Reflections on the Political Significance of Veterans" Day." Holcomb
Rock Baptist Church. November 2003.

"Culture, Context, and Competition: Explaining State Variation in FelonDisenfranchisementLaws."
Invited presentations for Yale University, TexasA&MUniversity, Emory University,HunterCollege,
and Indiana University-Indianapolis. 2002.

OTHER CONFERENCE PARTICIPATION
Served as a Section Head, Panelist, Discussant, Chair, and Organizer for numerous panels at national
conferences such as the American Political Science Association, National Conference ofB lack Political
Scientists, Southern Political Science Conference, and Midwest Political Science Conference.

TEACHING EXPERIENCE
Designing Political Inquiry (Undergraduate Lecture/Seminar); Senior Thesis in American Politics
(Undergraduate Seminar); American Political Movements (Undergraduate Lecture/Seminar);
Introduction to American Politics (Undergraduate Lecture); The Politics ofintimacy (Undergraduate
Seminar); The Politics of Community (Undergraduate Seminars); Race, Ethnicity, and Citizenship
(Undergraduate Seminar); Ethnic Politics in the United States (Undergraduate Lecture); Voting Rights
and Representation (Undergraduate Seminar); The Individual and the Community (Undergraduate
Seminar); Power, Politics, and Punishment (Graduate/Undergraduate Seminar); Public Opinion
(Graduate Seminar); RaceandEthnicity inAmericanPolitics (Graduate Seminar); Race andEthnicity in
American Politics (Undergraduate Seminar) African American Politics (Undergraduate Seminar); Black
and Jewish Community Politics (Undergraduate Lecture/Seminar)

FACULTY ADVISING AND SUPERVISION
Responsible for advising approximately 20 undergraduate students in the Quinnipiac University College
of Arts and Sciences each semester
Dissertation Committee Member/Reader: Andra Gillespie (Emory University); Rachel Milstein
Sondheimer (United States Military Academy at West Point); Shatema Threadcraft (Rutgers University);
Joanna Mosser (Drake University)

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Research Supervision: Sheree Bennett and Luke Thompson (Difficult Dialogues Graduate Research
Assistants); Kayla Vinson and Adrea Hernandez (Mellon Mays Undergraduate Fellows); Brandee Blocker
and Christopher Pagliarella (undergraduate research assistant)

PROFESSIONAL MEMBERSHIPS
American Political Science Association; International Society of Political Psychology; Midwest Political
Science Association; National Conference of Black Political Scientists; Pi Sigma Alpha National Political
Science Honor Fraternity; National Association for Ethnic Studies

PROFESSIONAL SERVICE
Executive Council Member, National Conference of Black Political Scientists (2016-2018)
Section Chair, Undergraduate Research Section ofthe National Conference ofB lackPolitical Scientists
(2017)
Board Member, Association for Ethnic Studies/National Association for Ethnic Studies (2015-Present)
Section Chair, Public Opinion and Political Participation Section ofthe National Conference ofBlack
Political Scientists Annual Meeting (2014-2015)
Parliamentarian, National Conference of Black Political Scientists (2014-2016)
Section Head, Race, Ethnicity, and Gender Section ofthe Southern Political Science Association
Conference (2012-2013)
Section Head, Race, Class, andEthnicity Section ofthe MidwestPolitical Science Association
Conference (2011-2012)
Executive Council, Public Policy Section ofthe AmericanPolitical Science Association (2010-2012).
Executive Council, Urban Politics Section of the American Political Science Association (2010-2012).
Executive Council, Race and Ethnic Politics Section ofthe American Political Science Association
(2009-2011).
Research Advisor, The National Presbyterian Church Voting Rights and Electoral Reform Committee
(2006-2009).
Selection Committee, The SouthwestPolitical Science Association's Jewel L. Prestage Award for the
Best Paper on the Intersection of Race, Gender, Ethnicity, and Political Behavior (2006).
Selection Committee, Warren E. Miller Prize for an Outstanding Career and Intellectual
Accomplishment in the field ofElections, Public Opinion, and Voting Behavior (Elections, Public
Opinion, and Voting Behavior Section of the American Political Science Association) (2007).
Conference Director, "Lessons From the Past, Prospects for the Future: Honoring the Fortieth
Anniversary ofthe Voting Rights Act ofl 965." Co-Sponsored by the Yale University Center for
American Politics and Institution for Social and Policy Studies (2004-2005).
Selection Committee, American Political Science Association Ralph Bunche Book Award (2004)
Secretary, Race and Ethnic Politics Section of the American Political Science Association (2003-2005).

REVIEWER
National Science Foundation;AmericanJournal ofPolitical Science; Journal ofRace andP olitics; Law andSocial
Inquiry; '!he Journal ofConflictResolution; Politics and Gender; Journal ofPolitics; Russell Sage; Political Research
Quarterly; Yale University Press; DuBois Review; Political Behavior; Urban Affairs Review; 'I'he Political Chronicle;
Palgrave-McMillan; SOULS Journal; DuBois Review; Politics, Groups, and Identities; Election Law Journal; Journal
ofthe Center for Policy Analysis and Research; Election Law Journal.

MEDIA COMMENTARY
Over 400 media outlets including New York Times; Washington Post; Fox News Radio; Democracy Now;
American Urban Radio Network; WTNH; The Forum; The Hill; CNN; WURD; Minnesota Public Radio;
WHYY; WNPR; CPTV; Ebony.com; Google; NPR; WFSB TV; CBS Radio; AP News; Wall Street Journal.


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RELATED PUBLIC SERVICE
Board Chair, The Community Foundation/or Greater New Haven (2019-)
        -Manages over $570 million in charitable assets and disburses approximately $28.5 million in
        annual grants and scholarships
Board Member, The New Haven Pearls of Excellence Foundation (2018-)
Board Member, The Community Foundation for Greater New Haven (2015-)
        -Chaired the Community Strategy and Knowledge Committee
Appointed Member, 2018 Transition Team for Connecticut Governor Ned Lamont (Women and Girls
Policy)
President, Theta Epsilon Omega Chapter of Alpha Kappa Alpha Sorority, Incorporated (2017-2018)
Board Member, Prison Policy Initiative (2015-2016)


PROFESSIONAL REFERENCES
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Associate Professor of Political Science
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Fair Fight Action, Inc.; ACTION, Inc.; Care in Ebenezer Baptist Church of Atlanta,
Georgia, Inc.; Baconton Missionary Baptist Church, Inc.; Virginia Highland Church,
Inc.; The Sixth Episcopal District, Inc.; and Plaintiffs v. Brad Raffensperger


                                  Expert Report
                            Dr. Khalilah L. Brown-Dean




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                                     EXPERT REPORT
                           KHALILAH L. BROWN-DEAN, Ph.D.
                              Original Report July 19, 2019
                            Revised Report November 15, 2019


BACKGROUND

       I am a tenured Associate Professor of Political Sci~nce at Quinnipiac University. I
received a Bachelor of Arts in Government from the University of Virginia, and a
Master's and Ph.D. in Political Science from The Ohio State University. I received
advanced training in the Tufts University Metric Geometry and Gerrymandering
Summer Program. I specialize in American Politics with an emphasis on elections,
political behavior, and public policy. I study historical and contemporary institutional
dynamics surrounding voting rights in the United States. In 2015, I co-authored a policy
report for the non-partisan, nonprofit, public policy research organization the Joint
Center for Political and Economic Studies titled, "Fifty Years of the Voting Rights Act:
The State of Race in Politics." 1 The report combined extensive archival, quantitative, and
qualitative data to examine the impact of the Voting Rights Act on registration, turnout,
representation, and policy responsiveness.
        My research on various aspects of voting rights, election administration, and
political representation is published in peer-reviewed journals (e.g. Politics, Groups, and
Identities; National Political Science Review), books, and policy reports. In 2015,
Cambridge University Press published a chapter I authored in Election Administration in
the United States: The State of Reform Ten Years After Bush v. Gore that was co-edited by
Michael Alvarez and Bernard Grofman.2 In it I examine the changing landscape of
electoral reform and its impact on civic engagement and institutional accountability. In
September 2019, Polity Press will publish my book Identity Politics in the United States


1Khalilah L. Brown-Dean, Zoltan Hajnal, Christina Rivers, and Ismail White, "Fifty
Years of the Voting Rights Act: The State of Race in Politics" (Washington, DC: Joint
Center for Political and Economic Studies, 2015), available via
http://jointcenter.org/sites/default/filesNRA%20report%2C%208.5.15%20%28540%20pm
%29%28updated%29.pdf.

2   Khalilah L. Brown-Dean, "Felon Disenfranchisement Ten Years After Bush v. Gore." In
Election Administration in the United States: The State of Reform Ten Years After Bush v.
Gore. Co-Edited by Michael Alvarez and Bernard Grofm~ (Cambridge: Cambridge
University Press, 2015).

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that traces historical and contemporary tensions surrounding the rights and privileges
of American citizenship. It concludes that the defining feature of American democracy-
federalism- both shapes and is shaped by Americans' ability to fully exercise the
franchise. I highlight the delicate balance between federal provisions and state
discretion in administering electoral functions. My witness report reflects the research I
have conducted on federalism, voting rights, and election administration since 2003. A
copy of my full CV including publications over the last ten years is included in the
Appendix of this report. I attest to its truth and accuracy. I am being compensated at a
rate of $400/hour in this case. However, my opinions rendered in this report are in no
way influenced by or contingent upon monies owed to me for my services.
ASSIGNMENT

       On June 11 th, I was asked by the plaintiffs' attorneys to address the role of the
Georgia Secretary of State in the domain of election administration and enforcement. I
have not been asked to opine about the specific claims made in this particular case. My
opinions reflect on the office of the Secretary of State, not the individual holding that
position.
SUMMARY OF OPINIONS

      1) The right to vote is enshrined in the Federal Constitution with the primary
         responsibility for enforcement and administrative oversight resting at the state
         level. Federalism, or the division of power, extends to states the unique power to
         set the "time, place, and manneru of elections. Federalism recognizes the
         discretion of subordinate governments, while asserting the primacy of state
         provisions for outlining the duties and responsibilities of various offices and
         officers.
      2) The federal mandates contained in the Voting Rights Act of 1965 (hereafter
         VRA), the National Voter Registration Act of 19933 (hereafter NVRA), and the
         Help America Vote Act of 20024 (hereafter HAVA) affirm the responsibility of
         each state and territory's Chief Election Officer to oversee the process of voter
         participation in federal elections.
      3) In the wake of the Supreme Court's decision in Shelby County v. Holder (2013), the
         primary responsibility to prevent subnational governments from implementing
         harmful electoral practices shifted from the federal government (represented by
         the Attorney General and the Department of Justice) to state governments


3   https://www.justice.gov/crt/national-voter-registration-act-1993-nvra

4   https://www.eac.gov/about/help-america-vote-act/

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       (represented by the Chief Election Officer). Accordingly, the post-Shelby County
       era heightens the Chief Election Officer's responsibility to address and reconcile
       undue barriers to voting within the state where s/he is elected or appointed to
       serve.
    4) Based on the State Constitution, Official Code of Georgia, and the Official
       Compilation of Rules and Regulations of the State of Georgia, the Secretary of
       State is the Chief Election Officer bearing primary responsibility for protecting
       voter access to federal elections at the local, county, and state level. This role is
       affirmed, in practice, by the Secretary of State's formal interactions with voters.,
       candidates, and various local, county, state, and federal officials.


ANALYSES

    A. BaCKGROUND: FEDERALISM AND THE RIGHT TO VOTE
        The United States is comprised of an intricate patchwork of laws and provisions
governing the right to vote. Federalism, defined as the division of power and authority
between a central government and regional governments, is key to understanding the
administration, enforcement, and oversight of voting rights in the U.S.5 In Kentucky, for
example, those convicted of felonies face a lifetime ban on voting while formerly
incarcerated residents of Mississippi may petition members of the state legislature to
have their rights restored.6 Georgia residents must complete their prison sentence, pay
all fines and restitution, and be free from parole and/or probation before they can vote
again. 7 By comparison, Maine and Vermont are the only two states in the U.S. that allow

5J. Morgan Kousser, Colorblind Injustice: Minority Voting Rights and the Undoing of the
Second Reconstruction (Chapel Hill: University of North Carolina Press, 1999).

6Jeff Manza and Christopher Uggen, Locked Out: Feloh Disenfranchisement and American
Democracy (Oxford: Oxford University Press, 2008).

7Article II, Section I, Paragraph 111 of the Georgia State Constitution provides that, "No
person who has been convicted of a felony involving moral turpitude may register,
remain registered, or vote except upon completion of the sentence." Also see O.C.G.A. §
21-2-216(b), "In addition to the qualifications in subsection (a) of this Code section, no
person who has been convicted of a felony involving moral turpitude may register,
remain registered, or vote except upon completion of the sentence and no person who
has been judicially determined to be mentally incompetent may register, remain
registered, or vote unless the disability has been removed."


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prison inmates to vote. Determining to whom voting rights should be extended,8 the
methods for exercising this right/ and how to best navigate a complicated maze of
regulations has been a highly contested calculation since the country's founding. 10
       In drafting the Constitution, the Framers took special care to strengthen the
federal government without impairing the power of state governments that were
already in place. Indeed much of the debate over what form of government would be
most desirable rested on demands to balance federal interests against state traditions. 11
States had the power to limit access to voting based on various characteristics such as
race, gender, property ownership, moral fitness, religious identity, and residency. 12
Virginia, for example, required men to possess at least 50 acres of land without
structures, or 25 acres of land with structures. 13 In other states like Rhode Island,
citizenship- and by extension, voting- was limited to Christians and excluded those who
identified as Catholic or Jewish. 14 Georgia's 1777 state constitution restricted suffrage to


8Bernard Grofman, Lisa Handley, and Richard Niemi, Minority Representation and the
Quest for Voting Equality (Cambridge: Cambridge University Press, 1992).


9 J. Morgan Kousser, The Shaping of Southern Politics: Suffrage Restriction and the

Establishment of the One-Party South, 1880-1910 (New Haven: Yale University Press,
1974).

10Richard C. Vallely, The Two Reconstructions: The Struggle for Black Enfranchisement
(Chicago: University of Chicago Press, 2004).

 Rogers Smith, CfrJic Ideals: Conflicting Visions of Citizenship in American History (New
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Haven: Yale University Press, 1999).
12See Donald W. Rogers, Voting and the Spirit of American Democracy: Essays on the
History of Voting and Voting Rights in America (Champaign, IL: University of Illinois
Press, 1992).

13For a detailed table of suffrage requirements by state from 1776-1790, See Table A.2 of
Alexander Keyssar, The Right to Vote: The Contested History of Democracy in the United
States. (New York: Basic Books, 2009).

 James H. Kettner, The Development of American Citizenship, 1608-1870 (Chapel Hill:
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University of North Carolina Press, 1978).


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white men who "possessed in his own right of 10 pounds value, and liable to pay tax in
this State, or being of any mechanic trade." 15 Those eligible to vote were also required to
have at least six months residency in the state. The variation in voter eligibility
requirements often mapped onto the variation in state demographics. 16
        The new Constitution allowed states to maintain their own eligibility provisions
while guaranteeing that those deemed eligible for full citizenship at the state level,
could participate in federal elections.17 Throughout earlier periods, federal eligibility for
full citizenship explicitly barred certain groups such as American Indians,18 women, 19
enslaved Africans,20 and immigrants from certain countries.21



15Kirk Porter, A History of Suffrage in the United States (Chicago: University of Chicago
Press, 1918).

16   See V.O. Key, Southern Politics in State and Nation (New York: Knopf, 1949).

17Citizenship in the United States is built upon three key conceptions. The first, jus soli,
automatically confers citizenship upon anyone born on U.S. soil. This status did not
apply to African Americans, whether enslaved or free, until the adoption of the
Thirteenth Amendment (1865). The second conception, jus sanguinis, grants citizenship
to those who have at least one parent with U.S. citizenship. The last conception,
naturalization, allows those born elsewhere to pursue citizenship. For a detailed
discussion of the various dimensions of U.S. citizenship see Chapter 2 of Khalilah L.
Brown-Dean, Identity Politics in the United States (Cambridge: Polity Press, 2019).

18See Elk v. Wilkins, 112 U.S. 94 (1884) and Laughlin McDonald, American Indians and the
Fight for Equal Voting Rights (Oklahoma City: University of Oklahoma Press, 2011) for a
detailed understanding of the challenges for defining citizenship and voting rights for
Native Americans.

19See Corrinne McConnaughy, The Woman Suffrage Movement in America: A Reassessment
(Cambridge: Cambridge University Press, 2013).

20See C. Vann Woodward, The Strange Career ofJim Crow (New York: Oxford University
Press, 1974).
21Ron Hayduk, Democracy For All: Restoring Immigrant Voting Rights in the United States
(New York: Routledge Press, 2006).


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       Article 1, Section 4 of the Constitution contains the Elections Clause that
delineates the division of power between the federal government- specifically
Congress~ and the states in the domain of voting rights. It provides that "the Times,
Places, and Manner of holding Elections for Senators and Representatives, shall be
prescribed in each State by the Legislature thereof; but the Congress may at any time by
Law make or alter such Regulations, except to the Place of Chusing (sic) Senators.'' 22
The principle of federalism underlies a bifurcated system allowing each level of
government (federal, state, local/county) to adopt its own provisions related to things
such as voter registration, polling hours, the siting of voting apparatus, the removal of
individuals from voting rolls, and the tabulation of votes.

        The Elections Clause does not specify which state office and/or officer(s) is
responsible for overseeing election administration. Nor does it mandate that each state
or territory adopt a uniform structure or central chain of command to govern how
elections are administered across the state. Rather, it defers to state statutes to outline
this function, task a chief administrator, and define his/her accompanying
responsibilities. In most states and territories, the day-to-day duties of election
administration are shared between local authorities and state officials. To be certain,
local administrators have the most direct contact with voters and potential voters and
most be acutely aware of the laws governing the electoral process. The Constitution
grants Congress the unique and exclusive authority to enact federal laws designed to
ensure state residents have fair and unfettered access to voting. 23 Therefore, it is
necessary to examine state provisions coupled with federal mandates to determine
where the responsibility for elections oversight and enforcement lies.



     B. CITIZENSHIP, FEDERALISM,AND STATE DISCRETION

       Congress adopted three key Amendments designed to carve out broader
protections of citizenship and its accompanying benefits. Together, the Thirteenth,


22The 1813 ratification of the Seventeenth Amendment provided for the direct election
of U.S. Senators.

23See "The Scope of Congressional Authority in Election Administration" (Washington,
DC: General Accounting Office, 2001); Karen Shanton, The State and Local Role in
                                                         11



Election Administration: Duties and Structures" (Washington, DC: Congressional
Research Service, 2019); R. Sam Garrett, 11Federal Role in U.S. Campaigns and Elections:
An Overview" (Washington, DC: Congressional Research Service, 2019).


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Fourteenth, and Fifteenth Amendments abolished slavery, granted citizenship to all
who were born or naturalized in the United States,24 and extended the franchise to
African American males. 25 These new provisions led to a dramatic, yet brief, increase in
the number of previously disenfranchised groups who were registering, voting, and
running for elected office. 26

         The expansion of citizenship and voting rights at the federal level prompted
numerous state constitutional conventions between 1890 and 1910 to adopt new
restrictions. The concern for many state legislators was that these new protections at the
federal level would undermine the distribution of power at the local level. This was
particularly true for communities across the South with sizeable minority communities.
These new federal guarantees of citizenship and voting rights enhanced the potential
for minority groups to convert their numerical presence into political influence. In turn,
the new state guidelines were constructed in such a way that upheld the federal
Constitution's explicit ban on race-based disenfranchisement, while still retaining the
state1 s power to define which groups were desirable as full citizens. To do so, most
states based their disenfranchisement provisions on behaviors and attributes most
commonly associated with certain groups rather than specifying such groups by name.
For example, delegates to Georgia's 1908 constitutional convention adopted a
cumulative poll tax, grandfather clause, and literacy tests that effectively eliminated the
bulk of Black voters and most Whites who were poor. The Georgia state constitution
allowed counties to hold white-only primaries and adopt additional disenfranchising
techniques to meet their local interests. These institutional measures coupled with
documented ~stances of racial violence significantly deterred many residents from


 The 14th Amendment did not explicitly address the unique standing of Native
24

Americans and people of Asian descent who pursued citizenship.

25The Fourteenth Amendment prohibited states from making or enforcing laws that
abridged the privileges and immunities of citizenship and provided that "all persons
born or nationalized in the United States and subject to the jurisdiction thereof, are
citizens of the United States and of the State wherein they reside."

26Much of the focus on the path of American political development has focused on race-
based exclusions that disenfranchised African Americans. It is important to note,
however, that many of the restrictions also limited the number of non-landowning
White men and ethnic immigrants who were barred from voting. Therefore, we see an
overall increase in electoral participation rates across racial/ethnic groups after passage
of the Civil War Amendments.

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even attempting to register. 27 As Figure 1 illustrates, the legacies of these restrictions
effectively eliminated Black voters for nearly 30 years.
        Even as federal legislative and judicial decisions struck down state provisions
such as white-only primaries,28 poll truces, 29 and grandfather clauses,30 they did not
translate into substantial gains in registration and turnout. Local and state elected
officials retained significant power to limit access to voting using both legal and
extralegal means. 31 It wasn't until the passage of the Voting Rights Act of 1965 (VRA)
that the federal government took a more aggressive approach to protecting state
residents against arbitrary barriers imposed at the state and local level.




27See W. Fitzhugh Brundage, Lynching in the New South: Georgia and Virginia, 1880-1930
(Champaign, IL: University of Illinois Press, 1983); Adam Przeworski,"Conquered or
Granted? A History of Suffrage Extensions" British Journal of Political Science Volume 39,
Issue 2 (April 2009, pp. 291M321); Kimberley Johnson, Reforming Jim Crow: Southern
Politics and State in the Age Before Brown (Oxford: Oxford University Press, 2010); Jay
Corzine, James Creech, and Lin Corzine, "Black Concentration and Lynchings in the
South: Testing Blalock's Power-Threat Hypothesis" Social Forces Volume 61, Issue 3 ·
(March 1983, pp. 774-796); Brad Epperly, Christopher Witko, Ryan Strickler, and Paul
White, "Rule by Violence, Rule by Law: Lynching, Jim Crow, and the Continuing
Evolution of Voter Suppression in the U.S." Perspectives on Politics, pp. 1-14
doi:10.1017/Sl537592718003584.

28See United States v. Classic 313 U.S. 299 (1941) and Smith v. Allwright 321 U.S. 649
(1944).

29   The 24th Amendment was ratified in 1964.

30   See Guinn v. United States 238 U.S. 347 (1915).

31The Civil Rights Act of 1957 created a Civil Rights Division within the Department of
Justice. The Division is tasked with providing federal oversight of voting rights
violations. The U.S. Department of Justice filed a total of 71 voting rights lawsuits in the
Deep South before 1965. However, the depth of state discretion allowed local officials to
devise new methods that circumvented these protections and continued to limit civic
participation. See Barry E. Hawk & John J. Kirby, Jr., "Federal Protection of Negro
Voting Rights/' Virginia Law Review 51, no. 6 (Oct, 1965):1093-96.


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        The Act contained numerous provisions for strengthening federal protection of
voting rights. 32 Most notably, the VRA allowed for federal elections monitors and
created an outlet for the federal government (the DOJ) or private parties to bring
lawsuits to prevent racially discriminatory laws and policies from taking effect. The
"preclearance" provision required that states and jurisdictions with a documented
history of discrimination (Section 5) submit proposed electoral changes to federal
officials before they could tal<e effect. 33 The pre clearance provision identified as
covered jurisdictions those areas (all or parts of states) with discriminatory tests or
devices and low turnout or registration in the 1964 presidential election. Section 5
covered nine states (Al~bama, Alaska, Arizona, Georgia, Louisiana, Mississippi, South
Carolina, Texas, and Virginia) in their entirety. Georgia was identified as a covered
jurisdiction on August 7, 1965 based on data from its November 1, 1964 election and its
use of devices such as the poll tax (adopted in 1802), grandfather clause (adopted in
1908), and literacy test (adopted in 1908).34 By shifting the responsibility to states and
localities to prove to federal officials that the proposed changes were not
discriminatory, the preclearance process avoided the delays and expenses of litigation,
and prevented discriminatory laws before they were used in elections. In 1982,
Congress amended the Act to clarify that discriminatory purpose was not required to
bring a lawsuit to invalidate election procedures that result in discrimination.


     C. FEDERAL CHANGES AND HEIGHTENED STATE ACCOUNTABILITY



32Section 2 of the Voting Rights Act is a permanent provision that prohibits "any voting
standard, practice, or procedure that results in the denial or abridgement of the right of
any citizen to vote on account of race, color, or membership in a language minority
group." See https://www.justice.gov/crt/section-2-voting-rights-act.

33The coverage provision was originally scheduled to expire after five years. Congress
extended the provisions and made additional updates to the VRA in 1970, 1975, 1982,
and 2006. The ban on discriminatory devices was made permanent in 1975 in addition
to extending preclearance requirements to areas with large concentrations of certain
language minorities and low registration and turnout rates.

 Determination of the Attorney General Pursuant to Section 4(b)(1) of the Voting
34

Rights Act of 1965, 30 Fed. Reg. 9897-01 (Aug. 7, 1965).


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       The impact of the Voting Rights Act of 1965 was immediate. Its protections
coupled with federal oversight of potential violations translated into increased rates of
registration, turnout, representation, and policy responsiveness for various
communities across the United States (See Figures 1 and 2). This success provided a
foundation for additional federal provisions that increased state responsibility in
ensuring their electoral policies and procedures did not conflict.

Figure 1: Black and White Voter Registration Rates in Louisiana and the Former
Confederate States, 1878-201035




          1878     1880       1890      1900      1!)10       1920        1930    1940    1950     1960     1!)70    1980      1990      2000      2010

           •••❖•• Blacks in Louisiana    •· •:•• ·, Whites in Louisiana     -Blacks In Confederate Slates     ...,._Whites in Conf"d"rat" St•t"s




35Confederate states' data are self-reported turnout of each year's voting age
population. Data from 1956 to 1968 are from the American National Election Study.
Data from 1972 to 2012 are from the United States Census, Current Population Survey,
Voter Supplement File. See Khalilah L. Brown-Dean, Zoltan Hajnal, Christina Rivers,
and Ismail White, "Fifty Years of the Voting Rights Act: The State of Race in Politics"
(Washington, DC: Joint Center for Political and Economic Studies, 2015), available via
http://jointcenter.org/sites/default/filesNRA%20report%2C%208.5.15%20%28540%20pm
%29%28updated%29.pdf.

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Figure 2: Black and White Presidential Election Voter Turnout in Former Confederate
States, 1956-2012. (Percent of Voting Age Population)
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                1956   1960   1961   19611    19'2       1976   1910   191!14   l!liS   1992   1995   2000   200l   2008   201.2




NATIONAL VOTER REGISTRATION ACT
        Congress passed the National Voter Registration Act of 1993 (NVRA)36 to make it
easier for eligible American citizens to register to vote and to streamline the processing
and maintenance of voter registration applications. The NVRA sets requirements for
state compliance in federal elections; not state or local elections. Those requirements
include offering voter registration opportunities at motor vehicle offices,37 social
services offices and agencies that accommodate those with disabilities,38 facilitate mail-

36   42 u.s.c. ,§§ 1973gg-1973gg-10.

 Section 1973gg-3 Simultaneous Application for Voter Registration and Application for
37

Motor Vehicle Driver's License.

38   Section 1973gg-5 Voter Registration Agencies.


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in registration,39 and regulate how registration lists are to be maintained.40 The NVRA
also created a uniform federal registration form that every state and territory is required
to recognize. The Act's provisions apply to 44 states (including Georgia) and the District
of Columbia.41

        The NVRA both affirmed and heightened the responsibility of state election
officials to ensure compliance with federal provisions governing various aspects of
election administration. Section 10 of the Act requires that, "Each State shall designate a
State officer or employee as the chief State election official to be responsible for
coordination of State responsibilities under this Act.1' 42 The NVRA does not mandate
what state officer is responsible for this coordinationj only that each state identify this
individual based on its own constitution. Other parts of the NVRA outline the
responsibilities of the state-designated chief election official, "The chief State election
official of a State shall make the forms described in subsection (a) available for
distribution through governmental and private entities, with particular emphasis on
making them available for organized voter registration programs."43 In addition, "On
the conviction of a person of a felony in a district court of the United States, the United
States attorney shall give written notice of the conviction to the chief State election
official designated under section 10 of the State of the person's residence."44

          In Charles H. Wesley Education Foundation, Inc. v. Cathy Cox et al., 408 F.3d 1349
(11 th Cir. 2005), the Court ruled that the State of Georgia violated the provisions of the
NVRA by rejecting 64 mail-in voter applications bundled and submitted by a local non-

39   Section 1973gg-4 Mail Registration.

40   Section 1973gg-6 Requirements With Respect to Administration of Voter Registration.

 See the amid curiae briefs filed by the State of Georgia and 14 other states
41

accompanying Husted v. Randolph_ U.S. - - 1 138 S.Ct. 1833 (2018) seeking clarification
of state responsibilities in adhering to the National Voter Registration Act.

42   Section 10, National Voter Registration Act.

43   Section 6, National Voter Registration Act.

44See Section 8, Requirements with Respect to Administration of Voter Registration for
the full list of responsibilities for the chief election officer as required by Section 10 of
theNVRA.


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profit organization. 45 Additional challenges to Georgia's compliance with the NVR.A
address the relationship between proof of citizenship and voting and the maintenance
of voter lists. 46 Section 5 of the National Voter Registration Act provides that voter
registration applications may only require the minimum amount of information
necessary for a state to determine applicants' eligibility to register to vote and to
perform its registration duties.


HELP AMERICA VOTE ACT
       In the wake of overwhelming concerns about voter access, voting equipment,
and disenfranchisement allegations during the 2000 Presidential election, the Help
America Vote Act (HAVA) of 2002 provides federal resources to help states and local
governments streamline, strengthen, and enhance election administration. The Act
created a bipartisan, independent Election Assistance Commission (EAC) and allocated
$3.65 billion to help states carry out the following provisions: The creation and
maintenance of a computerized state voter registration system,47 the replacement of
punch card and lever voting machines, 48 the distribution of provisional ballots to
residents whose registrations are questioned,49 enhanced access for voters with
disabilities,50 and assistance in developing plans to secure voting systems. HAVA


45 The lead defendant in that case, Cathy Cox, was the Georgia Secretary of State at the

time.

46 SeeGeorgia Coalition for the People's Agenda, Inc. et al. v. Brian Kemp 347 F. Supp. 3d
1251 (N.D. Ga. 2018); and Morales v. Handel No. 1:08-CV-3172m 2008 WL 9401054 (N.D.
Ga. Oct. 27, 2008) for cases challenging Georgia's compliance with the mandates of the
National Voter Registration Act. In each of those cases the named defendant was acting
in his/her official capacity as Secretary of the State of Georgia.

47   Pub. Law 107-252 § 303(a); 42 U.S.C. § 14853(a).

48 Pub. Law 107-252 § 102(a); 42 U.S.C. § 15302(a). States could be exempted from this

requirement if they received a waiver.

49Pub. Law 107-252 § 302; 42 U.S.C. § 15482. HAVA allows for provisional ballots to be
tabulated according to the provisions established in each state or territory.

50   Pub. Law 107-252 § 301; 42 U.S.C. § 15481.


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required that states replace their voting machines with one of three forms: Direct-
Recording Electronic Voting (DRE), Optical Scans, or Ballot Marking Devices.(BMD).
The State of Georgia, along with 17 other states, opted to create a uniform voting system
where all voting equipment is purchased at the state level.51 Table 1 below illustrates the
types of voting machines used in Georgia during the 2000 election as well as
accompanying information regarding the number of counties using each type of
machine and the estimated number of spoiled ballots.

              Table 1: Georgia Voting Equipment Performance
                           (2000 General Election) 52

 Voting System      Introduced     Counties       Under Vote     Votes Not
                    in Georgia     Using          Percentage     Counted
                                   System

 Paper Ballot       1900           2              3.3            113
 Punch Card         1964           17             4.6            38,065
 Lever Machine      1959           73             4.2            16,926
 Optical-Scan       1986           67             2.7            38,195
  Central Count     --             --             4.2            21,999
  Precinct Count    --             --             4.7            16,196




 Other states with uniform voting systems include Alabama, Alaska, Connecticut,
51

Delaware, Hawaii, Louisiana, Maine, Maryland, Nevada, New Hampshire, New
Mexico, North Dakota, Oklahoma, Rhode Island, South Carolina, Utah, and Vermont.

52Publication of State Plan Pursuant to the Help America Vote Act, 73 Fed. Reg. 54141-
02 (Sept. 18, 2008). Precinct count optical-scans scan paper ballots at the polling place
and provide opportunities for voters to be notified of and correct a ballot error or
receive a new ballot. Central count scans collect ballots that are scanned and counted at
an offsite, central location. This process does not allow individual voters to correct any
errors. I was unable to find data on the number of counties using central or precinct
count scans in 2000. See Charles S. Bullock, III and M.V. Hood, III, "One Person-No
Vote; One Vote; Two Votes: Voting Methods, Ballot Types, and Undervote Frequency in
the 2000 Presidential Election" Social Sciences Quarterly Volume 83, No. 4 (December
2002, pp. 981-993).


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        The provisions of HAVA, via the Election Assistance Commission in particular,
affirm the important interaction between state and local officials involved in election
administration. The EAC's Standards Board is comprised of 55 state elections officials
and 55 local officials. While the EAC provides a range of technical assistance to local
election officials, HAVA' s statutes specify that each State's Chief Election Officer has
primary oversight responsibility in overseeing the proper implementation and
compliance with its provisions. As with the National Voter Registration Act, HAVA
relies on each state or territory to identify a Chief Election Officer. The Federal Register
publishes state plans, pursuant to the Help America Vote Act, as submitted to the
Election Assistance Commission. As part of my research for this case I reviewed the
Federal Registers from 2018 (Vol. 83, No. 104), 2014 (Vol. 79, No. 127), 2010 (Vol. 75, No.
234), 2008 (Vol. 73, No.182), 2006 (Vol. 71, No. 8), and 2004 (Vol. 69, No. 57). The 2018
lists the Chief Election Officer for each state. I examined that document and noted that
the Chief Election Officer for the State of Georgia is listed as the Secretary of State.53 The
information contained in the 2018 Federal Register is consistent with other publications
of the Federal Record I researched for the years listed above.

       I reviewed EAC allocations to states for the same years. In my research of recent
EAC allocations to states, I found that in April 2018 the Georgia Secretary of State's
Office accepted a $10,305,783 grant allocation from the U.S. Election Assistance
Commission to "improve the administration of elections for Federal office, including to
enhance election technology and make election security improvements." 54 The modular



53There is no federal requirement that the Secretary of State serve as the Chief Election
Officer; this designation is specified in each state constitution or charter. In Delaware,
for example, the Chief Election Officer is the Commissioner of Elections while
Kentucky's Chief Elections Officer is the Executive Director of the State Board of
Elections.

5452 U.S. Code§ 20901 specifies that, "Not later than 45 days after October 29, 2002, the
Administrator of General Services (in this subchapter referred to as the
11Administrator") shall establish a program under which the Administrator shall make a


payment to each State in which the chief executive officer of the State, or designee, in
consultation and coordination with the chief State election official, notifies the
Administrator not later than 6 months after October 29, 2002, that the State intends to
use the payment in accordance with this section." See the Attached Memo and Grant
Budget from Chris Harvey, identified as the Elections Director in the Office of Georgia

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budget and federal financial report (see Attachment C) accompanying the grant memo
includes a 5% state match to improve "election security, simplicity, and accessibility"
for a total award of $10,821,072. 55 Some of the proposed uses included purchasing
secure devices that produce a verifiable paper ballot, improving voter registration
database management, and updating the online voter registration page. In April 2018,
then-Secretary of State Brian Kemp established Georgia's Secure, Accessible, and Fair
(SAFE) Elections Commission to srudy and propose options for the state's election
system. I reviewed the report containing the final recommendations the commission
submitted to the General Assembly on January 10, 2019. Page five of the document
notes that, "Georgia implemented its current uniform voting system that uses DRE
systems for in-person voting. Georgia has a 'top-down' election system where ballots
are constructed by the Center for Elections System, which was previously a part of
Kennesaw State University, but is now part of the Office of the Secretary of State."56
Many of report's proposals reflect the provisions covered by HAVA and thus eligible
for funding from the Elections Assistance Commission, and compliance with its
mandates.57


Shelby County v. Holder
      In 2010, election officials from Shelby County, Alabama sued the US Attorney
General to challenge the constitutionality of Sections 4(b) and 5 of the Voting Rights Act


Secretary of State Brian P. Kemp, addressed to Brian Newby, Executive Director of the
U.S. Election Assistance Commission.

ss §15403 of the Help America Vote Act outlines the condition for receipt of funds, "a
state is eligible to receive a requirements payment for a fiscal year if the chief executive
officer of the State, or designee, in consultation and coordination with the chief State
election official, has filed with the Commission a statement certifying that the State is in
compliance with the requirements referred to in subsection (b) of this section."

56See "Secure, Accessible, and Fair Elections (SAFE) Commission Report," submitted to
the General Assembly, January 10, 2019. Commission Co-Chairs Secretary of State
Robyn Crittenden and State Representative Barry A. Fleming.

57

https://sos.ga.gov/index.;ph;p/elections/secure accessible fair elections safe commissi
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_of 1965. In a 5-4 ruling, the Supreme Court struck down the coverage formula (Section
 4) used to identify covered jurisdictions that were previously required to submit
 proposed election rule changes (Section 5) to the Department of Justice, "Coverage
 today is based on decades-old data and eradicated practices. The formula captures
 States by reference to literacy tests and low voter registration and turnout in the 1960s
 and early 1970s. But such tests have been banned nationwide for over 40 years. And
 voter registration and turnout numbers in the covered States have risen dramatically."58
        While the ruling in Shelby County did not eliminate the VRA, it significantly
 weakened federal oversight of election administration. Previously covered jurisdictions
 in Texas, North Carolina, Florida, Mississippi, Alabama, and Georgia introduced new
 measures regulating voter access following the ruling. Shelby County allowed local
 election officials to make decisions such as consolidating polling places, purging voters,
 adopting stricter voter id requirements, changing election dates, and eliminating early
 voting without first submitting those proposed changes for federal review. The ruling
 heightened concerns from some groups that these facially neutral restrictions could
 disproportionately impact minority groups who necessitated the original passage of the
 Voting Rights Act of 1965.59

       Shelby County reaffirmed the importance of federalism outlined in earlier
passages of this report. First, it placed the onus on Congress to exercise its
Constitutional authority to create a rJ.eW Section 4 formula based on more contemporary
data. Second, in the absence of federal authority to prevent discriminatory policies from
taking effect, Shelby County shifted the responsibility to state election officials to both
monitor and remediate electoral practices that undermine the rights enshrined in the
Federal Constitution and protected by other sections (most notably Section 2) of the
Voting Rights Act of 1965. Local officials continue to play a key role in executing
various election administration functions in accordance with the mandates of state law
and constitutional authority. For example, in researching the duties and functions of
various county elec~on boards in Georgia I noted the charge of the Augusta-Richmond
County Board of Elections, "To make and issue rules, regulations, and instructions,




58   Shelby County v. Holder, 133 S.Ct. 2612, 2627-28 (2013).

 See for example, Thurgood Marshall Institute at the NAACP Legal Defense and
59

Education Fund, "Democracy Diminished: State and Local Threats to Voting Post Shelby
County v. Holder" (New York: NAACP LDF, 2018).


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              Dear Secretary Kemp:

                       Thank you for your correspondence dated August 1, 2013 to this office requesting modification
              of instructions relative to Georgia on the national mail voter registration form (Federal Form).

              You requested that EAC revise the Georgia state-specific instructions by making the following changes:

              I. Insertion of an additional bullet after the last bullet in the "Signature" section with the following text:

                  •. Be found eligible to vote by supplying satisfactory ev~dence of U.S. citizenship

              2. Revision ofthe mailing address as follows;

                Elections Division
                Office ofthe Secretary of State
                2 Martin Luther King, Jr. Drive
                Suite 802 Floyd West Tower
                Atlanta, GA 30334




    Finally, I attach copies of correspondence between Secretary Kemp and EAC
Director Newby regarding the state's requests to make changes to Georgia-specific
information on the federal voter registration form related to agency address and proof
of citizenship (Attachments F, G, and H). This correspondence illustrates the important
role Georgia's Chief Election Official plays in overseeing election administration on
behalf of the state's residents.

        The U.S. Election Assistance Commission conducts a biennial Election
Administration and Voting Survey (EAVS) to gather state-level data on various aspects
such as the number of military personnel registering to vote, voting technology, and the
frequency of provisional voting. The comprehensive data is used to ensure compliance
with the various mandates of both HAVA and NVRA and to improve election
administration. The official federal report lists Georgia as one of 38 states in the country
with what it terms a "top-down" voter registrati~m process where the chief election
official "gathers and aggregates information from local jurisdictions' voter registration
databases."87 Each state's election office works in conjunction with local officials to
gather the data, which is then submitted to the EAC. I reviewed the 2018
Comprehensive Report to the 116th Congress that was published in June 2019 to gain a


 See United States Election Assistance Commission, Election Administration and
87                                                                      11



Voting Survey 2018: Comprehensive Report to the 116th Congress," (Silver Spring, MD:
EAC, 2019). https://www.eac.gov/assets/1/6/2018 EAVS Report.pd£.


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list. As specified in Georgia law, the public list does not contain a registered voter's
driver's license number, Social Security number, month and day of birth, site of voter
registration, phone number or email address." 86 The Secretary of State complied with
the federal request while withholding personal information (e.g. social security
numbers, phone numbers, and email addresses) as required by Georgia state law.

        The Appendix to this report includes official memos I researched documenting
interactions between the Secretary of State, acting in his official capacity as the Chief
Election Official, and the Chair of the federal Election Assistance Commission (EAC). Of
note is a series of memos from 2013 and 2014 requesting permission to make changes to
the National Voter Registration Mail Application Form. Although Shelby v. Holder
means that states are no longer required to submit proposed changes for federal
approval, the mandates of the National Voter Registration Act are still intact and
require pre-approval for state changes to the federal information forms and
requirem~nts. A memo (Attachment D) written to Ms. Alice Miller, Acting Executive
Director of the EAC, from Secretary of State Brian P. Kemp dated August 1, 2013 begins
as follows:




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       Attachment E includes Miller's subsequent responses (2) to Secretary Kemp:




86 Coverage of this official press release from the Secretary of State's Office can be found

here https://www.11alive.com/article/news/politics/national-politics/georgia-to-release-
data-to-trump-election-commission/85-453342487

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     . The Office of the Secretary of State also plays a key role in ensuring election
integrity by notifying other states of new Georgia residents' stahls, 11Any person who is
registered to vote in another state and who moves such person's residence from that
state to this state, shall, at the time of making application to register to vote in this state,
provide such information as specified by the Secretary of State in order to notify such
person's former voting jurisdiction of the person's application to.register to vote in this
state and to cancel such person's registration in the former place of residence." 82

        Relatedly, the Secretary of State is the central point of contact for notifying
counties and municipalities within the state of changes to residence, 11Any person, who
is registered to vote in another country or municipality in this state and who moves
such person's residence from that county or municipality to another county or
municipality in this state, at the time of making application to_ register to vote in that
county or municipality, provide such information as specified by the Secretary of State
in order to notify such person's former voting jurisdiction of the person's application to
register to vote in the new place of residence and to cancel such person's registration in
the former place of residence." 83


Election Oversight with Federal Officials
        As the Chief Election Official for the State of Georgia, the Secretary of State
represents the state in official interactions with the federal government related to
election administration. For example, in May 2017, President Donald J. Trump signed
Executive Order 13799 establishing the Presidential Advisory Commission on Election
Integrity to study registration and voting procedures in order "to promote fair and
honest Federal elections.84 " Commission Vice-Chair Kris Kobach sent a request to each
state's chief election official for "publicly-available data from state voter rolls and
feedback on how to improve election integrity."85 The Georgia Secretary of State's Office
responded to this federal request in its official capacity as the state's chief election
officer, "The Georgia Secretary of State's Office will provide the publicly available voter

82   O.C.G.~. § 21-2-218(a).

83   Ibid.

 Executive Order, https://www.whitehouse.gov/presidential-actions/presidential-
84

executive-order-establishment-presidential-advisory-commission-election-integri ty /.

85   Ibid.


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          state laws. These relate to updating voter information and removing ineligible
          persons from the voter lists. 77


          The Secretary of State has oversight powers for various details governing the
local administration of elections including determining the size and shape of the
envelopes used to submit absentee ballots,78 designing and supplying tally sheets,
voting rights posters, oaths of assisted electors, and poll officers. 79 The Secretary of State
receives election results from election superintendents of the various counties and
certifies the votes. Election results for each of Georgia's 159 counties are tabulated and
made available via the Secretary's official website pursuant to O.C.G.A. § 21-2-499. In
addition, "in the case of primaries, elections, and runoffs for county, state, and federal
office, the county election superintendent shall transmit to the Secretary of State the
election returns by precinct for the counf;y in electronic format or by electronic means,
as may be specified by the Secretary of State, within seven days following a primary,
election, or runoff." 80

       The Secretary of State acts as the central point of contact for receiving
information regarding voter eligibility of Georgia residents. The Office receives
information from federal officials (e.g. Georgia residents who have been convicted of
federal felonies and thus ineligible to vote while incarcerated or on parole or probation),
state agencies (e.g. natural resources and the Department of Driver Services), and local
entities (e.g. probate court). The SOS is responsible for using this data to update the
central registration database that local superintendents and election officials use to
verify registrations, "prior to approving the application of a person to register to vote,
the registrars may check the data bases of persons convicted of felonies and deceased
persons maintained by the Secretary of State."81



77p. 4.


7s   O.C.G.A. § 21-2-384(b).

79 O.C.G.A. § 21-2-400(a).


80   Ga. Comp. R. & Regs. 183-1-12-.02(5)(c)(9).

81   O.C.G.A. § 21-2-216(h).


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       My review of the official website for the Secretary of State's Office shows a
wealth of information and resources to assist various state and local agencies (e.g.
public high schools and colleges; the Georgia Department of Natural Resources; and
public libraries) in carrying out the federal voter registration provisions required by the
NVRA. 75 For example, the Election Connection tab contains links to a document for
agencies entitled, "Implementing NVRA in Designated Agencies." The document's
preface states:

          Implementing NVRA in Designated Agencies is to be used as a guide for the
         administration of voter registration conducted by Georgia Agencies under the
         National Voter Registration Act of 1993 (NVRA). This manual is not intended to
         be used as a substitute for the Georgia Constitution, relevant statutes, or
         applicable case law. Whenever there is a question regarding the interpretation of
         information contained in this guide, or of a particular section of the Election
         Code, or any other statute, the user should contact competent legal counsel or the
         Office of the Secretary of State, Elections Division.76


The "Implementing NVRA" guide also outlines the Role of the Secretary of State's
Office:

         The NVRA requires that each state designate a chief election official to be
         responsible for coordination of the state responsibilities under this act.. The
         Secretary of State has been named the chief election official for Georgia. Under
         state law, the Secretary of State is charged with establishing and maintaining a
         statewide voter registration system. The system must be capable of meeting
         federal requirements for maintaining lists of eligible active voters and those
         voters considered inactive. The Secretary of State is responsible for overseeing
         statewide list maintenance activities and functions required under federal and




75   https:/lsos.g:a.gov/index.php/Elections/election c01mection.

76   http://sos.ga.gov/admin/files/Implementing_NVRA_DHS_v .1_2011_.pdf.


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        Together these two provisions create an oversight function of the Secretary of
State in ensuring compliance with the mandates of the Help America Vote Act. In a
broader sense, over 100 of the 156 statutes I examined highlight the key role the State's
Chief Election Official must play in coordinating, monitoring, and overseeing the
administrative functions of subordinate election administrators. For example, the
Secretary of State approves the certification program for "all county and municipal
election superintendents, chief registrars, and absentee ballot clerks or, in the case of a
board of elections or a board of elections and registration, the designee of such board
charged with the daily operations of such board shall become certified by completing a
certification program approved by the Secretary of State by no later than December 31
of the year in which they are appointed. Such program may include instruction on, and
may require the superintendent to demonstrate proficiency in, the operation of the
state's direct recording electronic voting equipment, the operation of the voting
equipment used in such superintendent's jurisdiction, and in state and federal law and
procedures related to elections." 73



Election Oversight with Intrastate and Interstate Officials
       The Secretary of State is required to provide multiple training sessions for the
aforementioned election officials, and has the discretion to waive training requirements
for local election officials:

         A waiver of the requirement of minimum training, either in whole or in part,
         may be granted by the Secretary of State, in the discretion of the Secretary of
         State, upon the presentation of evidence by the election superintendent, registrar,
         or board that the individual was unable to complete such training due to medical
         disability, providential cause, or other reason deemed sufficient by the Secretary
         of State. 74


note, "The specific choices on the methods of complying with the requirements of this
title shall be left to the discretion of the State."

73   O.C.G.A. § 21-2-lOl(a).

74   O.C.G.A. § 21-2-l00(c).

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the SOS's Office. The MVP portal enables Georgia voters to review their voter
registration status, locate early voting and poll locations, check the status of mail-in
                                  '                             .

applications, view sample ballots, and review the status of their provisional ballots. 68
The site's disclaimer documents that the data provided by the SOS site is extracted from
data provided by the various counties of residence. The portal also contains links to the
state's Election Advisory Council, the state's voter identification requirements,69 the
VoteSafe program,7° and a form to report allegations of voter fraud. 71



       Severalprovisions in the Official Code of Georgia and the Official Compilation of
Rules and Regulations of the State of Georgia identify the Secretary of State as the Chief
Election Official. Most notably, O.C.G.A. § 21-2-50.2(a) provides that:

         The Secretary of State, as the chief election official designated under the federal
         Help America Vote Act of 2002, shall be responsible for coordinating the
         obligations of the state under the federal Help America Vote Act of 2002.



Accordingly, O.C.G.A. § 21-2-50.2(b) states:

         As the chief election official, the Secretary of State is authorized to promulgate
         rules and regulations to establish administrative compl~int procedures as
         required under Section 402 of Title IV of the federal Help America Vote Act of
         2002, which prescribes a process to remedy only those grievances filed under
         Title III of such federal act. 72



68   https:llwww.mvp.sos.ga.gov/MVP/mvp.do.

69   O.C.G.A § 21-2-417.

70   https://sos.ga.gov/index.php/elections/votesafe. ·

71   https:llsos.ga.gov /cgi-bin/EMailStopVoterFraud .asp.

72Title III of HAVA refers to the Uniform and Non-Discriminatory Technology and
Administration Requirements. It guarantees provisional ballots to electors whose
registration is disputed, requires appropriate voting systems, mandates a centralized
voter registration database, and allows for absentee ballots. Section 305 is of particular

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officials. An example of Category 3 is "The Secretary of State shall provide the board of
registrars of each county manuals for the use of deputy registrars which include simple
instructions on the rules and procedures for the proper conduct of voter registration.
The form and content of these manuals shall be determined by the Secretary of State.
The board of registrars shall provide each deputy registrar with a copy of the manual." 66

          In Table 3 (see Attachment B) I juxtapose the NVRA, HAVA, and VRA
requirements with the Georgia statutes regulating the duties of the Chief Election
Official. In the space below I highlight some of the major provisions governing the
Secretary of State's responsibilities for election administration.



The Role of the Secretary of State
       The Secretary of State for Georgia is an elected position tasked with numerous
duties such as housing the Professional Licensing Boards Division, implementing and
enforcing the Georgia Uniform Securities Act of 2008, registering charitable
organizations, and of specific interest to this report, "The Elections Division of the
Secretary of State's Office organizes and oversees all election activity, including
voter registration, municipal, state, county, and federal elections. They are
responsible for certification of election results as well as certifying the qualification
of candidates and preparation of ballots and election forms and materials. The
Elections Division provides Great Seal certification for authentication of public
documents for foreign use for non-Hague countries. Along with those duties, the
Elections Division maintains the Statewide Voter Registration Database to ensure
that voter registration lists are current statewide. They are also accountable for
investigating election fraud and enforcing state election laws." 67 (emphasis
added).



Chief Election Officer
      The Office of the Secretary of State acts as a key resource for voters in the State of
Georgia. For example, I analyzed the My Voter Page (MVP) portal that is maintained by

66   Ga. Comp. R. & Regs. 183-1-6-.03(3)(n).

67   https ://sos.ga.gov/index.php/elections.


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consistent with law as deemed necessary for the guidance of poll officers and voter
registration officers." 60

        However, this local discretion does not supersede the primary responsibility that
now falls upon state. election officials to ensure no procedure, device, or practice
adopted at the local or state level, impairs the rights and protections afforded at the
federal level. The Chief Election Officer may exercise this oversight in a number of
ways. For example, the Official Code of Georgia instructs the Secretary of State, "to
develop, program, build, and review ballots for use by counties and municipalities on
direct recording electronic (DRE) voting systems in use in the state."61 Similarly, "the
Secretary of State shall have the authority to issue a final order for complaints filed
under the federal Help America Vote Act of 2002.1162

        Under Shelby County, the Chief Election Officer must now work closely with
other government officials to ensure state residents have fair and consistent access to
the electoral process. When measures are passed by the legislature, for example, the
duty falls upon election administrators to carry them out in accordance with the
previously described federal guidelines. A decision by a state legislature to raise the
minimum voting age to 21, for example, should not be carried out by state election
officials because it imposes a more stringent age qualification than what is required by
the Twenty-Sixth Amendment. However, a state election officer could legally carry out
a legislative plan to lower the minimum age to 17 for state and local elections. It should
be noted that Georgia is one of seven states where election management is handled by
both a Chief Election Official and a State Board. However, the federal mandates of the
National Voter Registration Act and the Help America Vote Act vest authority with the
singular Chief Election Official identified by the state. In Georgia, that official is the
Secretary of State. 63

       In sum, Shelby County significantly heightened the responsibility of each State's
Chief Election Officer to oversee and enforce election administration to ensure state
compliance with the protections embedded in the Federal Constitution and affirmed by

60   See Attachment K.

61   O.C.G.A. § 21-2-S0(a)(lS).

62   O.C.G.A. § 21-2-50.2(c).


63   O.C.G.A. § 21-2-50.2(a).

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the Voting Rights Act of 1965, the National Voter Registration Act, and the Help
America Vote Act. Barring direct federal oversight of compliance, the principle of •
federalism shifts that responsibility to state election officials.


      D. GEORGIA STATE PROVISIONS FOR ELECTION ADMINISTRATION AND AUTHORITY
      With these federal requirements in mind, I conducted an extensive review of
Georgia statutes and regulations to evaluate the following questions:
  1) What, if anything, is the role of the Secretary of State (SOS) with respect to voting
      and elections?
  2) What is the statutory authority identifying the Secretary of State as the Chief
      Election Officer?
  3) And accordingly, what powers and responsibilities are assigned to the Chief
      Election Officer?
    Based on fl:ris review, I identified a total of 156 duties and responsibilities connecting
the Secretary of State to election administration. These 156 duties are found in the
Official Code of Georgia and the Official Compilation of Rules and Regulations of the
State of Georgia. I organized those 156 provisions into three key categories of election
administration: 1) Interaction With Candidates for Public Office 2) Interaction With
Voters, and 3) Interaction With Election Officials. These categories often overlap and
should not be considered as mutually exclusive. Rather, I focus on the primary duties in
each provision when assigning to categories. Table 2 (see Attachment A) contains all
156 provisions, as well ·as my categorizations. There are few, but important statements
outlining the Secretary of State's interactions with (potential) candidates for public
office. An example of Category 1 is the Secretary of State's duty to "receive and
determine the sufficiency of nomination petitions of candidates filing notice of their
candidacy with the Secretary of State in accordance with this chapter." 64 Category 2,
interactions with voters, most closely aligns with educating and protecting voters'
rights. An example of Category 2 is the obligation to "prepare and furnish information
for citizens on voter registration and voting." 65 I noted in my research that the bulk of
Georgia's provisions defining the role of the Secretary of State in election administration
falls under Category 3; defining her/his duties to guide and oversee the actions of local

64   O.C.G.A. § 21-2-50(a)(3).


6s   O.C.G.A. § 21-2-50(a)(13).


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    Taken together the state statutes, memos, press releases, grant acknowledgements,
NVRA implementation guide for state agencies, website resources, federal reports and
bulletins I researched affirm the practical ways the Georgia Secretary of State acts in
his/her official capacity as the Chief Election Official responsible for administering,
enforcing, and reconciling key functions at the local, state, and federal level.




   E. CONCLUSION
    The federal provisions found in the Constitution guarantee that all eligible citizens
have unfettered access to voting in federal elections. The principle of federalism allows
state discretion in defining fair and consistent standards for determining eligibility.
However, the mandates of the National Voter Registration Act and the Help America
Vote Act, coupled with Shelby County v. Holder's removal of federal oversight in
preclearing or preventing potentially harmful electoral changes and procedures amplify
the importance of each state's Chief Election Officer in overseeing election
administration across the entire state. In Georgia, the Chief Election Officer is identified
by state statutes as the Secretary of State. That position is tasked with over 156 duties
establishing broad oversight, enforcement, and correction responsibilities to ensure
Georgia residents may effectively exercise the right to vote. The evidence contained in
this report is consistent with my research into voting rights and election administration
in various states and the nation as a whole.




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        better understanding of the information provided on behalf of the State of Georgia and
        by whom. Unfortunately, several key measures were not provided by Georgia officials
        such as the number of poll workers. Of relevance to my report, however, was the
        official data provided by Georgia's Secretary of State indicating the number and form of
        new voter registration applications and the use and rejection of provisional ballots.
        Tables 4 and 5 below provide this data.88



                                    Table 4: Georgia Voter Registration Applications*


Total         Mail,Fax,   In-Person    Online Motor     Public     Disability Armed Other   Registration Drives- Other Sources   Nol
              Email                           Vehicle   Assistance Services Forces Agencies Advocacy Groups or                   Categorized
                                              Offices   Offices    Office                   Parties

4,498,331     280,957     102,468      357,491 3,596,384 23,6~    30,914     97                                   106,634        0
                                                                                     --
              (6.25%)     (2.28%)      (7,95%) (79.95%) (.53%)    (.69%)     (0%)                                 (2.36%)        0%




        * Indicates requests for which the state did not submit data

                                             Table 5: Georgia Provisional Voting*

         Total             Full Ballots Partial                     Rejected                Other
         Provisional       Counted      Ballots                     Ballots
         Ballots                        Counted
         Submitted

             2t604                  11,905                                 9,699

                                    (55.1%)    -                           (44.9%)


                                               -
        * Indicates requests for which the state did not submit data




        88 Ibid.



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                  LIST OF ATTACHMENTS AND APPENDIXES


ATTACHMENT A: Georgia Statutes Outlining the Secretary of State's Duties (Table 2)

ATTACHMENT B: NVRA, HAVA, and VRA Provisions Addressed by Georgia Statutes
Within Purview of Secretary of State (Table 3)

ATTACHMENT C: 2018 HAVA Election Security Grant A ward Letter from Georgia
Secretary of State to the U.S. Election Assistance Commission (July 10, 2018)

Correspondence between the U.S. Election Assistance Commission and the Georgia
Secretary of State
   - August 1, 2013 ATTACHMENT D
   - August 15, 2013 ATTACHMENT E
   - January 17, 2014 ATTACHMENT F
   - January 29, 2016 ATTACHMENT G
   - September 12, 2016 ATTACHMENT H

ATTACHMENT I: Federal Financial Report for Grant Received by the Georgia
Secretary of State's Office (December 27, 2018)

ATTACHMENT J: Federal Voter Registration Guide and Form with Georgia-Specific
Information

ATTACHMENT K: Augusta-Richmond County Georgia Board of Elections Pamphlet
(March 2018)

APPENDIX A: Brown-Dean.Curriculum Vitae




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APPENDIX A: Curriculum Vitae for Khalilah L. Brown-Dean

ACADEMIC EMPLOYMENT


Quinnipiac University
         Associate Professor of Political Science, 2011-Present

Yale University
         Peter Strauss Family Assistant Professor of Political Science and African American Studies
         (2006-2011)

         Director of Undergraduate Studies for the Department of African American Studies (2009-2010)

         Assistant Professor of Political Science and African American Studies (2003-2006)

EDUCATION


2003 The Ohio State University, Ph.D., Political Science (American Politics and Political Psychology)
Dissertation: "One Lens, Multiple Views: Felon Disenfranchisement Laws and American Political
Inequality" APSA Race, Ethnidty, and Politics Section Best Dissertation Award (2005)

2001 The Ohio State University, M.A., Political Science

1998 The University of Virginia, B.A., Government

ADDITIONAL EDUCATION AND TRAINING


2017 Tufts University Metric Geometry and Gerrymandering Summer Program
2017 Tufts University Gerrymandering Expert Witness Training
1999 Summer Institute in Political Psychology, Certificate, Political Psychology




SCHOLARSHIP AND RESEARCH PUBLICATIONS

Books


         Brown-Dean, Khalilah L. September 2019. Identity Politics in the United States. London: Polity
Press. ISBN: 9780745654119

        Duffy, Sean, Timothy Dansdil.l,Jill Shahverdian, Aileen Dever, Khalilah L. Brown-Dean, and
Julia Giblin, eds., 2014. The Individual in the Community. Pearson. 8th Edition.


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Refereed Articles


       Brown-Dean, Khalilah L. and Benjamin E. Jones. 2015. "Building Authentic Power: A Study of
the Campaign to Repeal Connecticut's Death Penalty." Politics, Groups, and Identities.

       Alexander-Floyd, Nikol C., Byron D'Andra Orey~ and Khalilah L. Brown-Dean. 2015.
"Professional Conferences and the Challenges of Studying Black Politics." PS: Political Science and Politics.

         Brown-Dean, Khalilah L. 2015. "Emphasizing the Scholar in Public Scholarship." PS: Political
Science and Politics.

        Wilson, David C. and Khalilah L. Brown-Dean. 2012. "Great[er] Expectations: Group Interests,
Deracialization, and Candidate Evaluations." National Political Science &view.

       Brown-Dean, Khalilah. L. 2009. "Do Classes Matter?: Evaluating the Impact of College Courses
on Tolerance." Journal ofthe Institution far Social and Poliry Studies.

       Brown-Dean, Khalilah L. 2007. "Permanent Outsiders: Felon Disenfranchisement and the
Breakdown of Black Politics." National Political Science &view.

         Brown-Dean, Khalilah L. 2005. "Trading Brown for Prison Orange: Reflections on Race and
Justice Fifty Years after Brown v. Board." Journal ofthe Institution far Social and Poliry Studies.


Book Chapters


         Brown-Dean, Khalilah L. Forthcoming. "Monumental Promises, Incremental Gains: Criminal
Justice Reform in the Obama Era." In After Obama: African American Politics in a Post-Obama Era. Edited
by Todd C. Shaw, Robert Brown, and Joseph McCormick III. New York, NY: NYU Press.

        Brown-Dean, Khalilah L. 2016. "Counting Bodies and Ballots: Prison Gerrymandering and the
Paradox of Urban Political Representation." In Urban Citizenship and American Democrary. Edited by Amy
Bridges and MichaelJavin Fortner. Albany, NY: SUNYPress.

         Brown-Dean, Khalilah L. 2015. "Felon Disenfranchisement Ten Years After Bush v. Gore." In
Election Administration in the United States: The State ofRBfarm Ten Years After Bush v. Gore. Co-Edited by
Michael Alvarez and Bernard Grofman. Cambridge: Cambridge University Press.

Policy Papers and Other Publications


       Brown-Dean, I<halilah L. and Don C. Sawyer, III. 2019. "The State of Education in Urban
Connecticut." In The State of Urban Connecticut, edited by Robert Brown, III. New Haven, CT: The Urban
League of Southern Connecticut.




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       Brown-Dean, Khalilah L. 2018. "Fighting From a Powerless Space: Black Women and the
Criminal Justice System." In State ofBlack Women in the U.S. and~ States, edited by Avis A.Jones-
DeWeever. Washington, DC: National Coalition on Black Civic Participation.

         Brown-Dean, Khalilah L. 2017. Book Review of Sisters in the Statehouse by Nadia Brown. Joumal of
Race, Ethnicity, and Politics.

        Brown-Dean, Khalilah L., Zoltan Hajnal, Christina Rivers, and Ismail White. 2015. "Fifty Years
of the Voting Rights Act: The State of Race in Politics." Joint Centerfar Political and Economic Studies.

       Brown-Dean, Khalilah L. November 2013. "In the Final Analysis: On Nick Nelson's
Contributions to the Study of Black Politics." Politics, Groups, and Identities.

          Brown-Dean, Khalilah L. 2012. Cited in the Connecticut State Judiciary Committee's Favorable
Report for SB-280: An Act Revising Penalties for Capital Felonies.
https: / /W\vw.cga.ct.gov /2012 /JFR/S /2012SB-00280-R00JUD-:JFR.htm

         Brown-Dean, Khalilah L. 2010. Book Review of The Perils ofFederalism: Race, Pover/)1, and the Politics
of Crime Control by Lisa L. Miller. Political Science Quarterfy.
        Brown-Dean, Khalilah L. et al. 2008. "Llft Every Voice: Democracy, Voting Rights, and
Electoral Reform." Published in conjunction with the Advisory Committee on Social Witness Policy
(ACSWP) and the Advocacy Committee for Racial Ethnic Concerns (ACREC).


WORKS IN PROGRESS



Factors Affecting Support for Felon Voting Rights: Personal Beliefs, Felon Attributes, and Political
Context Gournal manuscript with David C. Wilson and TaLlsa Carter)

Centering Victims' Voices in Criminal Justice Reform Movements (book manuscript)

Negotiating Voting Rights Policy in the Post-Shelby Era Goumal manuscript)

Inmate Labor and Post-Disaster Recovery Gournal manuscript with Randolph Burnside)

ACADEMIC AWARDS, GRANTS, AND FELLOWSHIPS


2018, 2017, 2016 Quinnipiac University Provost's Innovation Grants ($15,000)

2018-2012 Quinnipiac University College of Arts and Sciences Faculty Research Grants ($30,000)

2017 Top 25 Women Making a Difference in Higher Education Award, Presented by Diverse: Issues in
Higher Education

2014 National Conference of Black Political Scientists Julia R. Hight Summer Writing Fellowship


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2010 National Conference of Black Political Scientists Rodney Higgins Award for Best Faculty Paper

2009-2011 The Open Society Foundations Justice Advocacy Senior Fellowship ($200,000)

2008-2010 Ford Foundation Difficult Dialogues Initiative ($200,000)

2005 American Political Science Association Best Dissertation Award (Race, Ethnicity, and Politics
Section)

2005 Yale Center for International and Area Studies ($10,000)

2005 Social Science Research Fund ($5,000)

2005 Yale-University Center for the Study of American Politics ($50,000)

2005 The College Board/AP Scholars Program Fellow ($7,000)


AWARDS FOR PUBLIC SCHOLARSHIP AND SERVICE


2017 Game Changer Award in Public Safety and Criminal Justice, Presented by the Connecticut NAACP
State Conference Youth and College Division

2017 Education Award, Presented by the Delta Iota Sigma Chapter of Phi Beta Sigma Fraternity,
Incorporated                                                                         ·

2016 Fannie Lou Hamer Award for Outstanding Community Service, Presented by the National
Conference of Black Politi.cal Scientists

2015 Outstanding Community Leadership Award, Presented by the Connecticut State Martin Luther
King, Jr. Commission

2014 Legacy Award, Presented by the National Association of Blacks in Law Enforcement

Walt Everitt Humanitarian Award, Presented by the Connecticut Network to Abolish the Death Penalty

Forty Under Forty Award, Presented by Connecticut Magazine

2007 Wilma Holmes Tootle Education Advancement Award, Presented by the North Atlantic Region of
Alpha Kappa Alpha Sorority, Incorporated


PRIOR AWARDS AND ACHIEVEMENTS




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2002 National Conference of Black Political Scientists Sammy R. Young Best Student Conference Paper
Award

2002 The Ohio State University Alumni Grant for Graduate Research and Scholarship ($2,000)

2002 The Ohio State University Madison F. Scott Research Grant ($2,000)

2001 The Ohio State University Madison F. Scott Research Grant ($1,500)

2000 The American Political Science Association Advanced Graduate Student Travel Grant ($500)

2000 Carl Albert Center for Congressional Research Stipend ($500)

2000 The Ohio State University Program for the Enhancement of Graduate Studies Summer Research
Fellowship ($4,000)

1999 The Ohio State University Madison F. Scott Research Grant ($1,500)

1998 The Ohio State University Graduate Enrichment Fellowship ($30,000)

1997 American Political Science Association Ralph Bunche Summer Institute Fellow


RESEARCH AND TEACHING INTERESTS


Civic Engagement; Racial and Ethnic Politics; Urban Politics and Policy; Voting Rights and
Representation; The Politics of Punishment and Crime Control Policy; Mass Political Behavior; Political
Psychology; Public Policy and Leadership




PUBLIC SCHOLARSHIP


2019
       Brown-Dean, I<halilah L. "Why Victims of Crime Deserve a Voice." The Hill
       Brown-Dean, I<halilah L. ''Yes Virginia, There is a Choice." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Defining Political Progress." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "On the Meaning of Survival." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "First STEP or First Stumble?" Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "The Myth of Meritocracy." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "The Fallacy of NOT Seeing Race." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Dr. King Deserves More." Diverse: Issues in Higher Education
       Brown-Dean, K.halilah L. "Sorority Llfe as an Act of Resistance." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Teaching Through Trauma." Diverse: Issues in Higher Education




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 2018
        Brown-Dean, Khalilah L. Documentary Feature: "Extinction: The Disappearance of Black Male
        Educators."
        Brown-Dean, Khalilah L. "Civics 101 Podcast: The Fifteenth Amendment." New Hampshire
        Public Radio
        Brown-Dean, Khalilah L. "Giving Thanks Amid Political Uncertainty." Diverse: Issues in Higher Ed
        Brown-Dean, Khalilah L. "On Citizenship and Voting." Diverse: Issues in Higher Education
        Brown-Dean, Khalilah L. "The Hate We Give: Voting Against Violence." Diverse: Issues in Higher Ed
        Brown-Dean, Khalilah L. "Still Separate, Still Unequal: American Indians and Election 2018."
        Diverse: Issues in Higher Education
        Brown-Dean, Khalilah L. "Feminism, Womanism, and Election 2018." Diverse: Issues in Higher
        Education
        Brown-Dean, Khalilah L. ''The Stakes is High." Diverse: Issues in Higher Education
        Brown-Dean, Khalilah L. "Aretha Franklin, John McCain, and the Meaning of Legacy." Diverse:
        Issues in Higher Education
        Brown-Dean, Khalilah L. "The Opposite of Progress." Diverse: Issues in Higher Education
        Brown-Dean, Khalilah L. "As American as Apple Pie." Diverse: Issues in Higher Education
        Brown-Dean, Khalilah L. "For Colored Folks Who Have Considered Suicide." Diverse: Issues in
       Higher Education
       Brown-Dean, I<halilah L. ''Why We Celebrate." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Mothering Behind Bars." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Bill Cosby Isn't a Victim." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "It's Time to Secure the Vote." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "From Pain to Power." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Reclaiming the 'Fierce Urgency of Now'." Diverse: Issues in Higher
       Education
       Brown-Dean, I<halilah L. "The Politics of Mental Health." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Not Yet Just, Not Yet Free." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Five Things More Effective Than Political Panic." Diverse: Issues in Higher
       Education
       Brown-Dean, I<halilah L. "Honoring Black History Month, In Prison." Diverse: Issues in Higher
       Education
       Brown-Dean, I<halilah L. "In Defense of Youth Organizing." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Art as Political Resistance." Diverse: Issues in Higher Education

2016
     Brown-Dean, I<halilah L. "Can She Do It? Women in Politics Remain Dogged By Gender
Stereotypes." New York Daify News.
     Brown-Dean, I<halilah L. "Justice Trump'd? The Path Toward Criminal Justice Reform Post-
Obama." WEAA Radio.

2015
       Brown-Dean, I<halilah L. "Leaving Victims Behind is Unjust." New Haven &gister.

2014
       Brown-Dean, I<halilah L. "Saying Farewell to Maya Angelou." Ebo'!Y Magazine.
       Brown-Dean, I<halilah L. ''Who Fights For Black Girls?" Ebo1!Jl Magazine.

2013


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       Brown-Dean, Khalilah L. Documentary Feature: "The Color ofJustice."
       Brown-Dean, Khalilah L. "Kids and Families: The REAL Victims of the GOP Shutdown." Ebony
Magazjne.
       Brown-Dean, Khalilah L. "Primary Offers Opportunity to Move New Haven Forward." New Haven
fugister.
       Brown-Dean, Khalilah L. "An End to the War on Weed?: Not Likely." Ebo1!J Magazine.
       Brown-Dean, I<halilah L. ''What Do the Supreme Court's Decisions Mean For Blacks?" Ebo1!)1
Magazjne.

2012
    Akinwole-Bandele, Lumumba and Khalilah L. Brown-Dean. "A Call to Community: Why We
Cannot Wait for the Next Troy Davis." Ebony Magazine.
     Brown-Dean, Khalilah L. "Beyond Barack Obama: Is America Ready For a New Political Party?"
Dominion oJNew York Magazine.

2011
            Brown-Dean, Khalilah L. "Are HBCU's Still Relevant?" Uptown Magazine.
            Brown-Dean, I<halilah L. "If Black Men Live Longer in Prison It's Time For Change." TheGrio.


INVITED TALKS AND PRESENTATIONS


"The 400th Anniversary ofJamestown and the Arrival of Enslaved Africans in Virginia." American
Political Science Association Annual Meeting. Washington, DC. August 2019.

"The Future of American Democracy." Quinnipiac University Presidential Inauguration. May 2019.

"A New Vision of Criminal Justice Reform." Quinnipiac University Admissions Preview. March 2019.

"Factors Affecting Support for Felon Voting Rights: Personal Beliefs, Felon Attributes, and Political
Context." David C. Wilson, TaLisa Carter, and Khalilah L. Brown-Dean. National Conference of Black
Political Scientists Annual Meeting. Baton Rouge, Louisiana. March 2019.

"Fighting from a Powerless Space: Women of Color in the Criminal Justice System." Feminism and
Incarceration Conference. University of North Carolina-Greensboro. February 2019.

 "The Continuing Struggle for Voting Rights in the United States." Wiggin & Dana Law Firm. February
2019.

"Not Yet Just, Not Yet Free: Black Women, Political Freedom, and the 2018 Midterm Elections."
Connecticut College. October 2018.

"A Letter to the Free: ReimaginingJustice and Democracy in the Trump Era." University of Bridgeport
Necessary Voices Lecture Series. February 2018.

"Freedom in the Era of Reform." Cheshire (C1) Correctional Institute. February 2018.

"On the Meaning ofJustice and Reform." College of William and Mary. February 2018.


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 "A Conversation on Justice and Freedom." University of Connecticut School of Social Work. February
 2018.

 "Redefining Civil Rights Post-Obama," NAACP Albuquerque Civil Rights and Diversity Conference.
 September 2017.

 "The Legacy of the 15th Amendment Post-She!f?y. "Duke University's Samuel DuBois Cook Center
 Research Symposium on the Social and Economic Outcomes of the 13th, 14th, and 15th Amendments.
 March 2017.

"Race, Representation, and Disenfranchisement: As American As Apple Pie." Pace University. March
2017.

"The Public Spectacle: Exploring Anger and Political Transformations." William Paterson University.
October 2016.

''The State of Race and Policing in America." Texas A&M University Bush School for Public Service.
September 2016.


"Contemporary Challenges to Voting Rights in the United States." University of Connecticut. March
2016.

"The Black Predicament and the 2016 Elections." National Conference of Black Political Scientists.
Jackson, :M:ississippi. March 2016.

"Beyond Ferguson: Reimagining Race and Social Justice in the United States." Walker-Horizon Lecture.
Depauw University. February 2016.

"Counter-Emancipation and the Voting Rights Act of 1965." University of Illinois-Springfield. June
2015.

"Fifty Years of the Voting Rights Act: The State of Race in American Politics." Selma Public Library for
the 50th Anniversary Celebration of the Bloody Sunday March. March 2015.

"Why We Cannot Wait: Reclaiming the Fierce Urgency of Now." Claflin College. February 2015.

"Lessons From the Past, Prospects For the Future: Voting Rights Post Shelf?y v. Holder." US Attorney's
Office. February 2015.

"Beyond Ferguson: Understanding the Nexus of Incarceration and Disenfranchisement." Connecticut
Court Support Services. February 2015.

''The Mass Incarceration of Women of Color." Harvard University. March 2014.

"45 Years: A Retrospective on NCOBPS and the Work of William E. Nelson,Jr." Presented at the
National Conference of Black Political Scientists Annual Meeting. Wilmington, Delaware. March 2014.




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''The Role of Community Mobilization Within Social Justice Movements." U.S. Human Rights Network.
December 20J3.

"From Painful to Powerful: How Crime Victims Persuaded Legislators to Reform the Death Penalty in
Connecticut and Maryland." Presented at the American Political Science Association Annual Meeting,
Chicago, Illinois. August 2013.

"Public Scholarship vs. Public Intellectualism." Women of Color in Political Science Mini-Conference,
American Political Science Association. Chicago, Illinois. August 2013.

"How the Affected and Underrepresented Are Ending the Death Penalty." Yale University Law School
Rebellious Lawyering Conference. New Haven, Connecticut. February 2013.

"Building Authentic Power: An Examination of Connecticut's Death Penalty Repeal Campaign."
Presented at the Southern Political Science Association Annual Meeting. Orlando, Florida.January 2013.

"The Relationship Between Perceptions of Justice and Grassroots Mobilization." Maryland State
Conference of NAACP Branches. October 2012.

"Beyond Troy Davis: Understanding the Death Penalty Abolition Movement in the United States."
William Paterson University. September 2012.

"A Tale of Two States: Death Penalty Reform in Connecticut and Maryland." Soros Institute/Open
Society Foundations. July 2012.

"From Pain to Power: A New Model of Social Justice Organizing." National Conference on Race and
Education in Higher Education. May 2012.

"Redefining Citizenship in a 'Post Racial' America." Carter G. Woodson Lecture Series. Central
Connecticut State University. New Britain, CT February 2012.

"Race and Domestic Policy." George Mason University School of Public Policy. October
2011.

"Three-Fifths Revisited: The Census and Inmate Enumeration." Presented at the Drexel Summer
Conference on the City. June 2011.

"Concentrating Punishment." Presented at the Princeton University Imprisonment of a Race
Conference. March 2011.

"From Exclusion to Inclusion: Promoting Civic Engagement When Times are Always Hard." Paper
presented at the American Political Science Association Annual Meeting, Washington, DC. September
2010.

"Greater Expectations: Perceptions of Racial Group Interests and Candidate Evaluations." (with David
C. Wilson). Paper presented at the Midwest Political Science Association Annual Meeting, Chicago, IL.
April 2010.




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"The Future of Post-Racial Politics." Presented at the "From Slavery to Freedom to the White House:
Race in Twenty-First Century America, A Conference in Honor of John Hope Franklin." Sponsored by
the Duke University School of Law. April 2010.

"Race, Representation, and Punitive Politics." Presented at "The Challenge of Racial Inequality in a Post-
Racial World: Race, Rights, and Public Policy in the Age of Obama." Sponsored by Rutgers and
Princeton Universities. March 2010.

"Identity Politics in the Age of Obama." 15th Annual Multicultural Lecture Series. University of Rhode
Island. February 2010.

"Identity Politics in the Age of Obama." University of Rochester Two Icons Lecture Series. February
2009.

"Counting Bodies, Not Ballots: The Impact of Mass Incarceration on Political Representation."
Presented at the UCLA Center for the Study of Race and Ethnicity in the Americas. February 2008.

"Reforming the State: Assessing Recent Changes in State Felon Disenfranchisement Laws." Paper
presented at the American Political Science Association Annual Meeting, Toronto, Canada. September
2009.

"Race, Crime, and Political Inequality." Presented to The University of North Carolina, Chapel Hill
American Politics Research Group. November 2007.

"Counting Bodies, Not Ballots: The Impact of Mass Incarceration on Political Representation." Paper
presented at the American Political Science Association Annual Meeting, Chicago, Illinois. September
2007.
"Once Convicted, Forever Doomed: The Politics of Punishment in the United States." The University
of Michigan Distinguished Speakers Series. September 2007.

"Contemporary Challenges to the Voting Rights Act." Presented for the National Presbyterian Church
Voting Rights and Electoral Reform Committee. Washington, DC April 2007.

"Once Convicted, Forever Doomed: Understanding the Political Consequences of Mass Incarceration."
University of Kentucky. March 2007.

"Inmate Enumeration and Political Representation: Rryno!ds v. Sims Revisited." University of Kentucky
Law School. March 2007.

"Race, Religion, and Attitudes Toward Criminal Justice Policy." The University of Texas
Conference on Race, Religion, and Politics. March 2007.

"Race and the Politics of Punishment in the United States." Presented at Oxford University, Nuffield
College. Oxford, England February 2007.

''Voting Rights Policy in the Post-Civil Rights Era." The Ohio State University Law and Democracy
Forum. February 2007.

"African American Communities and the Politics of Incarceration." Presented to the Black Solidarity


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Conference, Yale University. New Haven, CT October 2006.

"Fighting from a Powerless Space: The Impact of Criminal Justice Policy on Women of Color." Paper
presented at the American Political Science Association Annual Meeting, Philadelphia, PA. September
2006.

"The Politics ofincarceration." African American Research Collaborative. Philadelphia, PA. August
2006.

"Is the Voting Rights Act Still Relevant?" Morning at Yale Program sponsored by the Association of
Yale Alumni. May 2006.

"Inmate Enumeration and the Return of the Thtee-Fifths Clause." Paper presented at the National
Conference of Black Political Scientists Annual Meeting, Atlanta, GA. March 2006.

''New Considerations in Redistricting and Minority Representation." Presented at the ''Who Draws the
Lines?: The Politics of Redistricting Conference." University of North Carolina at Chapel Hill School of
Law. Chapel Hill, NC February 2006.

"The Race, Education, and Incarceration Nexus." Twentieth Century American Politics and Society
Workshop. Columbia University. November 2005.

"Contemporary Challenges to the Voting Rights Act of 1965." Presented at Vitginia State University.
September 2005.

"Race, Crime, and American Political Inequality." Presented at Oxford University, Pembroke College.
Oxford, England. March 2005.

"Trading Brown for Prison Orange: The Link Between Race, Education, and Incarceration." Reflections:
50 Years after Brown v. Board Symposium. Central Connecticut State University. New Britain, CT.
September 2004.

"Racial Disparities in Sentencing." Panel sponsored by the Greater New Haven NAACP. "Narrowing
the Gap: Reducing Access Inequality for (Ex)Felons." Crime, Inequality, and Justice
Symposium, The Ohio Criminal Justice Research Center. Columbus, OH. August 2004.

"Stolen Democracy: The Consequences of Felon Disenfranchisement Laws for Black and Latino
Communities." Florida State of Black Studies Conference, Miami, FL. April 2004.

''Women of Color and the American Prison System," with J. Perez-Monforti. Paper presented at the
Western Political Science Association Annual Meeting, Portland, OR. March 2004.

"The Impact of Elite Framing on Public Attitudes Toward Disenfranchisement." Paper presented at the
American Political Science Association Annual Meeting, Philadelphia, PA. September 2003.

"Culture, Context, and Competition: Explaining State Variation in Felon Disenfranchisement Laws."
Paper presented at the Midwest Political Science Association Conference, Chicago, Illinois. April 2003.




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"Racial Profiling or Racist Profiling?: Perception and Opinion on the Profiling of Arabs and Blacks,"
with Thomas E. Nelson, Ray Block, Jr. and J avonne A. Paul. Paper presented at the American Political
Science Association Annual Meeting, Boston, Massachusetts. September 2002.

"Ignorance or Intolerance?: An Analysis of Public Attitudes Toward Felon Disenfranchisement Laws."
Paper presented at the Edward F. Hayes Graduate Research Forum, Columbus, Ohio. February 2002.

"One Lens, Different Views: An Examination of Public Opinion on Felon Disenfranchisement Laws."
Paper presented at the National Conference of Black Political Scientists, Atlanta, Georgia. March 2002.
Recipient ofthe Sammy R. Young Best Conference Paper Award

"The Effects of Crisis-Related Imagery on Public Opinion about Racial Profiling," with Ray Block, Jr.
and J avonne A. Paul. Paper presented at the National Conference of Black Political Scientists, Atlanta,
Georgia. March 2002.

"Heritage or Hate?: An Analysis of Public Attitudes Toward the Confederate Flag," with B. D"Andra
Orey. Paper presented at the Southern Political Science Association, Atlanta, Georgia.January 2001.

"Shades of Discontent: Minority Group Competition and Attitudes Toward the Elian Gonzalez Issue,»
with J. Perez-Monforti. Paper presented at the National Conference of Black Political Scientists,
Richmond, Virginia. Nominated for the Sammy R. Young Best Conference Paper Award March
2001.

"Toeing the Party Line, Toeing the Color Line: African American Women in Congress and the
Impeachment Process." Poster presented at the American Political Science Association Annual Meeting,
Washington, DC. September 2000.

"Stol~n Democracy: Felony Disenfranchisement Laws and the Future of Black America," withJavonne
A. Paul. Paper presented at the National Conference of Black Political Scientists, Washington, D.C.
Recipient of the Francis ./J-umann Awardfar the Best Graduate Student Conference Paper. March 2000.

"African American Female Legislators and the Clinton Impeachment Process." Women Transforming
Congress: Gender Analyses of Institutional Life Conference, Carl Albert Center for Congressional
Research. April 2000.

"The Influence of Politically Active Black Churches on Community Activism among African
Americans." Poster presented at the American Political Science Association Annual Meeting,
Washington, DC. September 1997.

KEYNOTE ADDRESSES AND PANEL DISCUSSIONS



"Not Yet Just, Not Yet Free: Women and Social Justice." Keynoted address presented to Southern
Connecticut State University Women's Conference. May 2019.

"The Future of Voting Rights in the United States." Keynote address presented to the Sphex Club of
Virginia. May 2019.




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"The State ofJustice Reform." Whitneyville United Chutch of Christ Social Justice Symposium. May
W19.                                                   .

"The State of Urban Connecticut." Urban League of Southern Connecticut and Quinnipiac University.
April 2019.

"School/Gun Violence: An Interclisciplinaty Concern." Quinnipiac University School of Education.
April 2018.

"A New Vision of Freedom and Democracy." Keynote Address presented to the Farmington Valley
Links, Incorporated. Mark Twain House. February 2018.

"To Build the Beloved Community in the Face of Chaos." Annual Martin Luther King, Jr. Breakfast
Keynote Address. Lynchburg, VA.January 2018.

''Women Leading Change: Promoting and Sustaining Women in Leadership Roles." Southern
Connecticut State University Sustainability Initiative. November 2017.

"Gender, Voting, and the Voting Rights Act." Community Foundation for Greater New Haven.
October 2017.

''We Who Believe in Freedom." Keynote Address presented to the Connecticut Department of Children
and Families Region 6 Foster Youth Celebration. May 2017.

"Community Conversation on the Thirteenth Documentary." Greater New Haven Branch of the
NAACP. April 2017.

''Women, Media, and the Gender Lens." University of New Haven Women's Leadership Conference.
April 2017.

"A Day After the Election ... Now What?" Quinnipiac University. November 2016.

"Bridging the Past and the Future: 30 years of the Ralph Bunche Summer Institute and the Intellectual
Legacy of Dr. Ralph Bunche." American Political Science Association. October 2016.

"Chaos or Community?" Southern New England Community Action Conference. September 2016.

"A Community Conversation on Race in America." With Congressman Jim Himes. July 2016.

"Reflections on Voting Rights in the U.S." With Congressman Jim Himes. April 2016.

"To Whom Much is Given." National Association of Negro Business Women and Professionals Club.
New Haven, CT. March 2016.

"Reclaiming the Fierce Urgency of Now." Frontiers International Keynote Address. Springfield, Illinois.
January 2016.

"One Person, One Vote: Voting Rights 50 Years Later." Harriett Beecher Stowe Center. November
2015.




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 "A Call to Leadership." Keynote Address for the North Atlantic Regional Conference of Alpha Kappa
 Alpha Sorority, Incorporated's Undergraduate Luncheon. April 2012.

 "Taking the L.E.A.D.: Social Media and Contemporary Youth Movements." Keynote Address for the
 C.H.A.P. Youth Leadership Conference. March 2012.

 "Post-Racial or Post-Racism? New Directions in the Quest for Equality." Presented to the United States
 Department of Agriculture. February 2011.

"Fractured Citizenship and the Politics of Punishment." Presented to inmates at the Cheshire State
Correctional Institution. Sponsored by Wesleyan University Center for Prison Education. May 2010.

 "Managing the Politics of Diversity." Keynote Address for the Virginia Community Dialogue on Race
and Racism.January 2008.

Panelist, "The Politics of Hate." Yale University. New Haven, CT March 2008.

Panelist, "Strategies for Strengthening Your Voice in the Political Process." North Atlantic Regional
Conference of Alpha Kappa Alpha Sorority, Incorporated. March 2008.

"The Political Impact of American Criminal Justice Policy." Presented at the New York Times Center
New York, NY November 2008.

"Empowerment Through Education." Keynote Address presented for the Links, Incorporated
Scholarship Luncheon. May 2006.

"To Whom Much is Given, Much is Required: The Need for Youth Leadership." Keynote Address
presented to the Hyde Leadership Academy. February 2006.

"Lessons from the Past, Prospects for the Future: Reflections on the Voting Rights Act of 1965."
Association of Yale Alumni. October 2005.

"Dismantling the Hierarchy of Oppression: The Common Political Fate of Black Women and Latinas."
Co-Sponsored by the Xi Omicron Chapter of Alpha Kappa Alpha Sorority, Inc. and Sigma Lambda
Upsilon/Senoritas Latinas Unidas Sorority, Inc. April 2005.

''Lest We Forget." Keynote Address, African American Women's Summit. March
2005.

"Criminal Justice Expenditures and the Public Health Crisis." Frantz Farron Lecture Series, Yale
University School of Medicine. February 2005.

"The Spirit of Sankofa." Keynote Address, The New Haven Club. New Haven, CT. February 2005.

"On Heroism: Honoring the Legacy of Rosa Parks." Roundtable panelist, Afro-American Cultural
Center at Yale. January 2005.

"For God and For Country: The Role of Religious Values in the 2004 Presidential Election." Yale
University Election Post-Mortem. November 2004.


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"The Politics of Power: Public Policy and Justice in the Black Community." Panel in honor of the 35th
Anniversary of the Afro-American Cultural Center at Yale. October 2004.

"Assessing the Limits of Democracy Via Felon Disenfranchisement Laws." Washington University
Department of Political Science, St. Louis, Missouri; Wesleyan University, Middletown, Connecticut.

"Just Being Here Is Not Enough!: Recognizing Your Role in Community Development." Yale
University Afro-American Cultural Center Student Achievement Dinner. May 2004.

International Festival of Art and Ideas. May 2004.

"To Whom Much is Given: Communal Responsibility and the Challenges of Black Politics." Mental
Pabulum Series, Yale University. February 2004.

"Power, Pride, and Patriotism: Reflections on the Political Significance of Veterans" Day." Holcomb
Rock Baptist Church. November 2003.                                               ·

"Culture, Context, and Competition: Explaining State Variation in Felon Disenfranchisement Laws."
Invited presentations for Yale University, Texas A&M University, Emory University, Hunter College,
and Indiana University-Indianapolis. 2002.

OTHER CONFERENCE PARTICIPATION


Served as a Section Head, Panelist, Discussant, Chair, and Organizer for numerous panels at national
conferences such as the American Political Science Association, National Conference of Black Political
Scientists, Southern Political Science Conference, and Midwest Political Science Conference.

TEACHING EXPERIENCE


Designing Political Inquiry (Un:dergraduate Lecture/Seminar); Senior Thesis in American Politics
(Undergraduate Seminar); American Political Movements (Undergraduate Lecture/Seminar);
Introduction to American Politics (Undergraduate Lecture); The Politics ofintimacy (Undergraduate
Seminar); The Politics of Community (Undergraduate Seminars); Race, Ethnicity, and Citizenship
(Undergraduate Seminar); Ethnic Politics in the United States (Undergraduate Lecture); Voting Rights
and Representation (Undergraduate Seminar); The Individual and the Community (Undergraduate
Seminar); Power, Politics, and Punishment (Graduate/Undergraduate Seminar); Public Opinion
(Graduate Seminar); Race and Ethnicity in American Politics (Graduate Seminar); Race and Ethnicity in
American Politics (Undergraduate Seminar) African American Politics (Undergraduate Seminar); Black
and Jewish Community Politics (Undergraduate Lecture/Seminar)


FACULTY ADVISING AND SUPERVISION


Responsible for advising approximately 20 undergraduate students in the Quinnipiac University College
of Arts and Sciences each semester                                                                 ·


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Previously advised health policy and advocacy scholars in the Netter School of Medicine
Dissertation Committee Member/Reader: Andra Gillespie (Emory University); Rachel Milstein
Sondheimer (United States Military Academy at West Point); Shatema Threadcraft (Rutgers University);
Joanna Mosser (Drake University)
Research Supervision: Sheree Bennett and Luke Thompson (Difficult Dialogues Graduate Research
Assistants); Kayla Vinson and Adrea Hernandez (Mellon Mays Undergraduate Fellows); Brandee Blocker
and Christopher Pagliarella (undergraduate research assistant)


PROFESSIONAL MEMBERSHIP



American Political Science Association; International_Society of Political Psychology; Midwest Political
Science Association; National Conference of Black Political Scientists; Pi Sigma Alpha National Political
Science Honor Fraternity; National Association for Ethnic Studies

PROFESSIONAL SERVICE

AdvisoryBoar4, Ronald W. Walters Leadership and Public Policy Center (2019-)
Advisory Board, Issues in Race and Socie!J journal (2019-)
Member, American Political Science Association Rules and Elections Committee (2019-)
Chair, National Conference of Black Politi.cal Scientists Fannie Lou Hamer Award Committee (2019-)
Executive Council Member, National Conference of Black Political Scientists (2016-2018)
Member, American Political Science Association Ralph Bunche Summer Institute Advisory Committee
(2016-)
Section Chair, Undergraduate Research Section of the National Conference of Black Political Scientists
(2017)
Board Member, Association for Ethnic Studies/National Association for Ethnic Studies (2015-Present)
Section Chair, Public Opinion and Political Participation Section of the National Conference of Black
Political Scientists Annual Meeting (2014-2015)
Parliamentarian, National Conference of Black Political Scientists (2014-2016)
Section Head, Race, Ethnicity, and Gender Section of the Southern Political Science Association
Conference (2012-2013)
Section Head, Race, Class, and Ethnicity Section of the Midwest Political Science Association
Conference (2011-2012)
Executive Council, Public Policy Section of the American Political Science Association (2010-2012).
Executive Council, Urban Politics Section of the American Politic~ Science Association (2010-2012).
Executive Council, Race and Ethnic Politics Section of the American Politi.cal Science Association
(2009-2011).
Research Advisor, The National Presbyterian Church Voting Rights and Electoral Reform Committee
(2006-2009).
Selection Committee, The Southwest Political Science Association's Jewel L. Prestage Award for the
Best Paper on the Intersection of Race, Gender, Ethnicity, and Political Behavior (2006).
Selection Committee, Warren E. Miller Prize for an Outstanding Career and Intellectual
Accomplishment in the field of Elections, Public Opinion, and Voting Behavior (Elections, Public
Opinion, and Voting Behavior Section of the American Political Science Association) (2007).
Conference Director, "Lessons From the Past, Prospects for the Future: Honoring the Fortieth
Anniversary of the Voting Rights Act of 1965." Co-Sponsored by the Yale University Center for
American Politics and Institution for Social and Policy Studies (2004-2005).


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Selection Committee, American Political Science Association Ralph Bunche Book Award (2004)
Secretary, Race and Ethnic Politics Section of the American Political Science Association (2003-2005).

UNIVERSITY SERVICE

Member, Quinnipiac University Strategic Plan Committee (2018)
Faculty Researcher, Urban League of Southern Connecticut and Quinnipiac University State of Urban
Connecticut Project (2016-)
Affiliated Faculty, The Prison Project at Quinnipiac University (2016-)
Co-Chair, College of Arts and Sciences Faculty Scholarships and Grants Committee (2015-2018)
Member, College Evaluation (Tenure and Promotion) Committee (2015-2018)
Co-Coordinator, Frank M. Netter School of Medicine Health Policy and Advocacy Concentration (2015-
2016)
Co-Leader, University Academic Seminar Series and Advisory Board (2013-2014)
Co-Organizer, Dilemmas ofJustice Speakers Series (2013)
Exploratory Committee, African American Studies Minor/Civil Rights Institute (2013-2014)
Chair, College of Arts and Sciences Scholars Working Group (2013)

REVIEWER


National Science Foundation; American Journal cf Political Science; Journal ef"Race and Politics; Law and Social
Inquiry; The journal if Conflict Resolution; Politics and Gender;Journal cfPolitics; Russell Sage; Political Research
Quarter!J; Yale University Press; DuBois Review; Political Behavior; Urban Affairs Review; The Political Chronicle;
Palgrave-McMillan; SOULS Journal; DuBois Review; Politics) Group~ and Identities; Election Law Journal,']oumal
if the Centerfar Polif)l Ana!Jsis and Research; Election Law Journal
MEDIA COMMENTARY


Over 400 media outlets including New York Times; Washington Post; Fox News Radio; Democracy Now;
American Urban Radio Network; WTNH; The Forum; The Hill,· CNN; WURD; Minnesota Public Radio;
WHYY; WNPR; CPTV; Ebof!Y.com; Google; NPR; WFSB 1V; CBS Radio; AP News; Wall StreetJournal


RELATED PUBLIC SERVICE


Board Chair, The Community Foundation for Greater New Haven (2019-)
Board Member, The New Haven Pearls of Excellence Foundation (2018-)
Board Member, The Community Foundation for Greater New Haven (2015-2021)
Appointed Member, 2018 Transition Team for Connecticut Governor Ned Lamont (Women & Girls
Policy)
President, Theta Epsilon Omega Chapter of Alpha Kappa Alpha Sorority, Incorporated (2017-2018)
Board Member, Prison Policy Initiative (2015-2016)




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                                   TABLE 2: Georgia Statutes Outlining the Secretary of State's Duties
                                               CATEGORY 1: Candidate Interaction
                                                 CATEGORY 2: Voter Interaction
                                            CATEGORY 3: Election Official Interaction

Duty            Text                                                         Source                      Function Classification
Powers and      To determine the forms of nomination petitions, ballots, and O.C.G.A. §-21-2-            Category 1
duties of the   other forms the Secretary of State is required to determine  S0(a)(l)                    Category 3
sos             under this chapter

Powers and      To receive registration statements from political parties and    O.C.GA. § 21-2-         Category 1
duties of the   bodies and to determine their sufficiency prior to f'tling, in   50(a)(2)                Category 3
sos             accordance with this chapter, and to settle any disputes
                concerning such statements;

Powers and      To receive and determine the sufficiency of nomination           O.C.G.A. § 21-2-        Category 1
duties of the   petitions of candidates filing notice of their candidacy with    50(a)(3)
sos             the Secretary of State in accordance with this chapter;

Powers and      To certify to the proper superintendent official lists of all    O.C.G.A. § 21-2-        Category 1
duties of the   the political party candidates who have been certified to the 50(a)(4)                   Category 3
sos             Secretary ~f State as qualified candidates for the succeeding
                primary and to certify to the proper superintendent official
                lists of all the candidates who have f'l1.ed their notices of
                candidacy with the Secretary of State, both such
                certifications to be in substantially the form of the ballots to
                be used in the primary or election. The Secretary of State
                shall add to such form the language to be used in submitting
                any proposed constitutional amendment or other question
                to be voted upon at such election;

Powers and      To furnish to the proper superintendent all blank forms,       O.C.G.A. § 21-2-          Category 3
duties of the   including tally and return sheets, numbered lists of voters,   50(a)(5)
sos             cards of instructions, notices of penalties, instructions for
                marking ballots, tally sheets, precinct returns, recap sheets,
                consolidated returns, oaths of managers and clerks, oaths of
                assisted electors, voters certificates and binders,

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                applications for absentee ballots, envelopes and instruction
                sheets for absentee ballots, and such other supplies as the
                Secretary of State shall deem necessary and advisable from
                time to time, for use in all elections and primaries. Such
                forms shall have printed thereon appropriate instructions
                for their use;

Powers and      To receive from the superintendent the returns of primaries    O.C.G.A. § 21-2-   Category 3
duties of the   and elections and to canvass and compute the votes cast for    50(a)(6)
sos             candidates and upon questions, as required by this chapter;

Powers and      To furnish upon request a certified copy of any document in    O.C.G.A. § 21-2-   Category 1
duties of the   the Secretary of State's custody by virtue of this chapter     50(a)(7)           Category2
sos             and to fix and charge a fee to cover the cost of furnishing                       Category 3
                same;

Powers and      To perform such other duties as may be prescribed by law;      O.C.G.A. § 21-2-   Category 1
duties of the                                                                  50(a)(8)           Category 2
sos                                                                                               Category 3

Powers and      To determine and approve the form of ballots for use in        O.C.G.A. § 21-2-   Category 1
duties of the   special elections;                                             50(a)(9)           Category 2
sos                                                                                               Category 3

Powers and      To prepare and provide a notice to all candidates for federal O.C.G.A. § 21-2-    Category 1
duties of the   or state office advising such candidates of such information, 50(a)(10)           Category 3
sos             to include requirements of this chapter, as may, in the
                discretion of the Secretary of State, be conducive to the fair,
                legal, and orderly conduct of primaries and elections. A
                copy of such notice shall be provided to each superintendent for
                further distribution to candidates for county and militia district
                offices;
                                                                                                               -
Powers and      To conduct training sessions at such places as the Secretary   O.C.G.A. § 21-2-   Category 3
duties of the   of State deems appropriate in each year, for the training of   50(a)(ll)
sos             registrars and superintendents of elections;


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Powers and          To prepare and publish, in the manner provided in this              O.C.G.A. § 21-2-   Category 1
duties of the       chapter, all notices and advertisements in connection with          50(a)(l2)          Category2
sos                 the conduct of elections which may be required by law;                                 Category 3

Powers and          To prepare and furnish information for citizens on voter            O.C.G.A. § 21-2-   Category 2
duties of the       registration and voting;                                            50(a)(l3)
sos
Powers and          To maintain the official list of registered voters for this state   O.C.G.A. § 21-2-   Category 1
duties of the       and the list of inactive voters required by this chapter;           50(a)(14)          Category 2
sos                                                                                                        Category 3

Powers and          To develop, program, build, and review ballots for use by           O.C.G.A. § 21-2-   Category 3
duties of the       counties and municipalities on direct recording electronic          50(a)(15)
sos                 (DRE) voting systems in use in the state.

Extension or        In the event the Governor declares that a state of emergency or   O.C.G.A. § 21-2-     Category 1
postponement of     disaster exists pursuant to Code Section 38-3-51 or a federal     50.1                 Category 2
qualifying          agency declares that a state of emergency or disaster exists, the                      Category 3
periods and         Secretary of State is authorized to postpone or extend the
primaries and       qualifying periods provided in this chapter for the qualification
elections in even   of candidates seeking municipal, county, or state-wide office
of state of         and to postpone the date of any primary, special primary,
emergency or        election, or special election in the affected area.
disaster

Responsibilities    The Secretary of State, as the chief election official         O.C.G.A. § 21-2-        Category 1
underHAVA           designated under the federal Help America Vote Act of          50.2(a)                 Category 2
                    2002, shall be responsible for coordinating the obligations of                         Category 3
                    the state under the federal Help America Vote Act of 2002.

Responsibilities    As the chief election official, the Secretary of State is    O.C.G.A. § 21-2-          Category 1
underHAVA           authorized to promulgate rules and regulations to establish  50.2(b)                   Category2
                    administrative complaint procedures as required under                                  Category 3
                    Section 402 of Title IV of the federal Help America Vote Act
                    of 2002, which prescribes a process to remedy only those
                    grievances filed under Title ill of such federal act.

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Responsibilities   Election related complaints filed with the Secretary of State       O.C.G.A. § 21-2-   Category 1
under RAVA         alleging violations of Title III of the federal Help America Vote   50.2(c)            Category 2
                   Act of2002 shall not be subject to hearing procedures of                               Category 3
                   Chapter 13 of Title 50, the "Georgia Administrative Procedure
                   Act," but shall be resolved pursuant to rules and regulations
                   promulgated under subsection (b) of this Code section whereby
                   the Secretary of State shall have the authority to issue a
                   final order for complaints filed under the federal Help
                   America Vote Act of 2002.

Mail voter         The Secretary of State shall design, publish, and distribute        O.C.G.A. § 21-2-   Category I
registration       voter registration application forms with which a person            223(a)             Category 2
application        may apply to register to vote by completing and mailing the                            Category 3
forms              form to the Secretary of State or to the board of registrars
                   of the person's county of residence. The Secretary of State
                   shall forward the applications that he or she receives to the
                   appropriate county board of registrars to determine the
                   eligibility of the applicant and, if found eligible, to add the
                   applicant's name to the list of electors and to place the
                   applicant in the correct precinct and voting districts.

Instruction and    The Secretary of State may develop and provide to the               Ga. Comp. R. &     Category I
training of        boards of registrars manuals for this instruction. The              Regs. 183-1-6-     Category 2
private entities   Secretary of State may also make such manuals available to the      .02(5)(c)          Category 3
                   public, including via electronic means on the Secretary of
                   State's website. Until such time as the Secretary of State
                   develops such manuals, boards of registrars shall utilize such
                   materials as will meet the training requirements of this rule.

Rules and          The Secretary of State shall provide the board of registrars  Ga. Comp. R. &           Category 3
Regulations for    of each county manuals for the use of deputy registrars       Regs. 183-1-6-
Voter              which include simple instructions on the rules and            .03(3)(n)
Registration by    procedures for the proper conduct of voter registration. The
Registrars and     form and content of these manuals shall be determined by
Deputy             the Secretary of State. The board of registrars shall provide
Registrars         each deputy registrar with a copy of the manual.

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Accessibility for   Polling Places. The election superintendent of each county and     Ga.· Comp. R. &           Category 3
Elderly and         municipality shall conduct, or cause to be conducted, an on-site Regs. 183-1-6-
Disabled Voters     inspection of each polling place located within the county or      .04(5)(a)
                    municipality to determine if the polling place is accessible. This
                    inspection shall be reported to the Secretary of State on
                    forms prepared by the Secretary of State at such times as
                    the Secretary of State shall prescribe. Any polling place
                    found not to be accessible shall either be made accessible prior
                    to its use in a primary or election or shall not be used as a
                    polling place.

Accessibility for   Printed Instructions. The Secretary of State shall provide            Ga. Comp. R. &         Category 3
Elderly and         instructions for use by election superintendents at polling places    Regs. 183-1-6-.04(7)
Disabled Voters     and registrars at voter registration places, printed in large type,
                    to assist visually and hearing impaired electors in voting and
                    registering to vote.

Conduct of          Beginning with the November 2002 General Election, all                Ga. Comp. R. &         Category 1
Elections:          federal, state, and county general primaries and elections,           Regs. 183-1-12-.01     Category 2
Voting              special primaries and elections, and referendums in the State of                             Category 3
Machines--Vote      Georgia shall be conducted at the polls through the use of
Recorders           direct recording electronic (DRE) voting units supplied by
                    the_ Secretary of State or purchased by the counties
                    with the authorization of the Secretary of State. In addition,
                    absentee balloting shall be conducted through the use of optical
                    scan ballots which shall be tabulated on optical scan vote
                    tabulation systems furnished by the Secretary ~f State or
                    purchased by the counties with the authorization of the
                    Secretary of State; provided, however, that the use of direct
                    recording electronic (DRE) voting units is authorized by the
                    Secretary of State for persons desiring to vote by absentee
                    ballot in person.

Direct Recording Acceptance tests. Upon the receipt of each new direct recording          Ga. Comp. R. &         Category 3
Electronic       electronic voting unit (DRE), the election superintendent of             Regs. 183-1-12-
                 the county is responsible to ensure that an acceptance test is           .02(2)(a)

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Voting             performed on the device in accordance with standards
Equipment          issued by the Secretary of State. No DRE unit shall be
                   accepted by the county or placed into service
                   until such time as the unit satisfactorily passes the prescribed
                   acceptance tests.

Direct Recording The election superintendent of the county shall maintain the         Ga.Comp.R.&       Category 3
Electronic       DRE units in accordance with the requirements of this rule,          Regs. 183-1-12-
Voting           the directives of the Secretary of State, and the specifications     .02(2)(b)(1)
Equipment        and requirements of the manufacturer.

Direct Recording   Software security. The software contained in each DRE unit,        Ga. Comp. R. &    Category 3
Electronic         regardless of whether the unit is owned by the county or the       Regs. 183-1-12-
Voting             state, and the software used to program the unit and to            .02(2)(c)
Equipment          tabulate and consolidate election results shall not be
                   modified, upgraded, or changed in any way without the
                   specific approval of the Secretary of State. No other
                   software shall be loaded onto or maintained or used on
                   computers on which the GEMS software is located except as
                   specifically authorized by the Secretary of State.

Direct Recording The GEMS server shall not be moved or relocated for                  Ga. Comp. R. &    Category 3
Electronic       educational or training purposes. Should it become necessary to      Regs.183-1-12-
Voting           relocate the GEMS server or any of its components from one           .02(2)(g)(3)
Equipment        facility to another, the election superintendent shall notify the
                 Secretary of State in writing of the reason for the relocation and
                 the proposed new location. Under no circumstances shall the
                 GEMS server or any of its components be relocated unless
                 and until written authorization for the relocation is received
                 from the Secretary of State except in the event of an
                 emergency situation beyond the control of the election
                 superintendent.

Direct Recording   The poll manager shall sign a receipt for all supervisor cards,    Ga. Comp. R. &    Category 3
Electronic         encoders, voter access cards, memory cards, and DRE unit keys      Regs. 183-1-12-
Voting             assigned. to such poll manager's precinct. Upon returning          .02(2)(g)(4)
Equipment          election sunnlies to the election superintendent's office

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                   following the close of the polls, the poll manager shall account
                   for all such items and shall certify that all such items have been
                   returned or shall describe any missing items and explain why
                   such items have
                   not been returned. The Secretary of State shall prepare and
                   provide a chain of custody sheet for this purpose.

Direct Recording All supervisor cards, encoders, voter access cards, memory          Ga. Comp. R. &         Category 3
Electronic       cards, DRE unit keys, and other equipment assigned to               Regs. 183-1-12-
Voting           designated county election technicians shall be accounted for on .02(2)(g)(5)
Equipment        the night of a primary, election, or runoff and shall be returned
                 to storage. Each technician shall sign a receipt for all such items
                 issued to such technician and,
                 upon returning such items to the election superintendent's office
                 following the close of the polls, the technician shall account for
                 all such items and shall certify that all such items have been
                 returned or shall describe any missing items and explain why
                 such items have not been returned. The Secretary of State
                 shall prepare and provide a chain of custody sheet for this
                 purpose.

Direct Recording The election superintendent shall notify the Secretary of              Ga. Comp. R. &      Category 3
Electronic       State of any instances of unaccounted for DRE units, optical           Regs. 183-1-12-
Voting           scanner devices, voter access cards, supervisor cards, memory          .02(2)(g)(6)
Equipment        cards, DRE unit keys, voting system software, and encoders at
                 the completion of certification by delivering such notification to
                 the Secretary of State when the certified election results are
                 delivered to the Secretary of State.

Direct Recording   After placing the memory card (PCMCIA card) in the DRE               Ga. Comp. R. &      Category 3
Electronic         unit, the DRE unit shall have such internal diagnostic tests         Regs. 183-1-i2-
Voting             performed as shall be directed by the Secretary of State or the      .02(3)(b)(1 )(ii)
Equipment          election superintendent.

Direct Recording The poll officers shall affix a card of instructions for voting        Ga. Comp. R. &      Category 1
Electronic       within each voting booth and shall place at least two printed          Regs. 183-1-12-     Category 2
                 sample ballots and at least two votin~ instructions posters            .02(3)(d)(7)        Category 3

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Voting             approved or provided by the Secretary of State outside the
Equipment          enclosed space at the polling place for the information of the
                   voters. Prior to voters entering the enclosed space, the poll
                   officers may also distribute to such voters a card of
                   instructions for voting on the DRE unit that has been
                   approved or provided by the Secretary of State.

Direct Recording   In the case of primaries, elections, and runoffs for county, state,   Ga. Comp. R. &    Category 3
Electronic         and federal office, the county election superintendent shall          Regs. 183-1-12-
Voting             transmit to the Secretary of State the election returns by            .02(5)(c)(9)
Equipment          precinct for the county in electronic format or by electronic
                   means, as may be specified by the Secretary of State, within
                   seven days following a primary, election, or runoff.

Direct Recording Electronic Transmission of Precinct Results to Central Office.       Ga. Comp. R. &       Category 3
Electronic       The election superintendent shall transmit to the Secretary of       Regs. 183-1-12-
Voting           State unofficial election results for all races for state offices in .02(5)(d)
Equipment        any primary, election, or runoff as soon as possible after the
                 closing of the polls for such primary, election, or runoff. Such
                 results shall be transmitted in a format prescribed by the
                 Secretary of State. At a minimum, the results shall be
                 transmitted upon one third of the precincts reporting results,
                 upon two thirds of the precincts reporting results, and upon all
                 precincts reporting results, including absentee ballots within all
                 precincts. Except upon notice to and consultation with the
                 Secretary of State, no election superintendent shall conclude the
                 tabulation of votes on election night in any primary, election, or
                 runoff in which there are contested races for federal and state
                 offices until and unless all such unofficial results, including
                 absentee ballots, have been transmitted to the Secretary of
                 State.

Direct Recording   In the event of any malfunction or problem with DRE units,            Ga. Comp. R. &    Category 3
Electronic         the county election superintendent shall document the                 Regs. 183-1-12-
Voting             problem and its resolution and shall provide such                     .02(8)(b)
Equipment          information to the Secretary of State. The documentation


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                   shall include a detailed description of the malfunction or
                   problem, the steps taken to correct the malfunction or
                   problem, and the cause of such malfunction or problem if a
                   cause can be determined.

Direct Recording   Use ofEqll:ipment by Municipalities. The county election             Ga. Comp. R. &    Category 3
Electronic         superintendent is authorized to permit any municipality within       Regs. 183-1-12-
Voting             the county to conduct_ its election with the DRE equipment           .02(9)
Equipment          through a written intergovernmental agreement between the
                   county and the municipality; provided that the municipality
                   agrees to maintain and operate the equipment in accordance
                   with law, these rules and regulations, and the manufacturers
                   guidelines and specifications and provided further that the
                   municipality trains all of its election personnel and poll workers
                   in the proper operation and conduct of elections utilizing such
                   equipment through a training program conducted by or
                   approved by the Secretary of State.

Direct Recording   The registrars of each county shall complete the entry of new        Ga. Comp. R. &    Category 3
Electronic         and updated voter registrations on a timely basis as required        Regs. 183-1-12-
Voting             by the Secretary of State and shall notify the Secretary of          .07(4)
Equipment          State upon the completion of all such data entry after a
                   registration deadline.

Direct Recording   Prior to each primary or election as specified by the Secretary      Ga. Comp. R. &    Category 3
Electronic         of State, the county election superintendent shall provide to        Regs. 183-1-12-
Voting             the Secretary of State or his or her designee a final copy of        .07(5)
Equipment          the GEMS database for the county.

Direct Recording The county election ~uperintendent and the registrars shall            Ga. Comp. R. &    Category 3
Electronic       notify the Secretary of State or his or her designee of any            Regs. 183-1-12-
Voting           changes to the voter registration :fUe for the county or the           .07(6)
Equipment        GEMS database that occur after the process for creating
                 ExpressPoll flash cards begins.




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Direct Recording Upon the conclusion of each primary, election, or runoff, the          Ga. Comp. R. &    Category 3
Electronic       poll officers shall return the ExpressPoll units with the other        Regs. 183-1-12-
Voting           election materials from the precinct to the election                   .07(9)
Equipment        superintendent. The registrars and election superintendent
                 shall coordinate the return of the flash cards from the
                 ExpressPoll units to the Secretary of State such that the cards
                 are returned in the same time period as the official election
                 returns.

UseofDRE           On the first day of the absentee voting period, prior to any votes   Ga. Comp. R. &    Category 1
Units for         being cast on the DRE units, the registrars shall verify that the     Regs. 183-1-14-   Category 2
Absentee          seal for each DRE unit is intact and that there is no evidence or     .02(6)            Category 3
Balloting         indication of any tampering with the seal or the unit. The
                  registrars shall verify that the number of the seal matches the
                  number of the seal recorded for that unit
                  when such unit was prepared by the election superintendent for
                  the primary, election, or runoff. If a seal number does not match
                  or if there is any evidence or indication of tampering with the
                  seal or unit, the Secretary of State and the election
                  superintendent shall be immediately notified and such unit
                  shall not be used until such matters are resolved by
                  agreement of the Secretary of State, the election
                  superintendent, and the registrars. The set up shall be
                  performed in public and the public may. view the set up subject
                  to such reasonable rules and regulations as the registrars may
                  deem appropriate to protect the security of the DRE units and to
                  prevent interference with the duties of the registrars, except that
                  the public view shall not be obstructed. The registrars shall run
                  a zero tape on each DRE unit prior to the beginning of absentee
                  voting on such units. The registrars shall, without removing the
                  tape from the unit, verify that all vote registers shown on the
                  zero tape are set to zero and that there are no votes showing on
                  the unit and shall sign the tape in the space provided. If the zero
                  tape does not show that all vote registers are set to zero and that
                  there are votes on the unit, the election superintendent shall be
                  immediately notified and such unit shall not be used until the
                  unit is cleared and the matter is resolved by agreement of the
                  election superintendent and the registrars. After verifying and
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            signing the zero tape, the registrars shall securely lock the tape
            compartment leaving the zero tape in place on the unit and shall
            configure the unit for voting. The registrars shall verify that the
            election counter on each DRE unit is set at zero. If the election
            counter is not set to zero, the election superintendent shall be
            immediately notified and such unit shall not be used until the
            election counter is set to zero and the matter is resolved by
            agreement of the election superintendent and the registrars. The
            registrars shall verify that there is no unauthorized matter
            affixed to the DRE units or present in the cases or voting
            booths. The registrars shall affix a card of instructions for
            voting within each voting booth. Prior to voters.entering the
            voting booth, the registrars may also distribute to such
            voters a card of instructions for voting on the DRE unit that
            has been approved or provided by the Secretary of State.
            Each DRE unit shall be clearly marked with a unique
            designation that is visible on the exterior of the unit.

UseofDRE    At the close of business each day during the absentee voting        Ga. Comp. R. &    Category 3
Units for   period, the registrars shall document the election counter          Regs. 183-1-14-
Absentee    number on the daily recap sheet. Each DRE unit used for in-         .02(8)
Balloting   person absentee voting shall then be turned off and closed. The
            memory card (PCMCIA card) shall remain in the unit at all
            times during the absentee balloting period until the polls
            close on the day of the primary, election, or runoff. Each.DRE
            unit shall then be sealed and the seal number and the time of
            sealing shall be recorded on the daily recap sheet. Each DRE
            unit shall then be secured overnight. In addition, all voter access
            cards shall be securely stored overnight and when not in use. If
            a DRE unit is used to program voter access cards, the registrars
            shall make a notation of the election counter number on the
            daily recap sheet. If su.ch number is not zero, the registrars
            shall notify the Secretary of State immediately and shall
            ascertain the reason for the discrepancy and shall make a
            notation of such discrepancy and the reason for it on the
            daily recap sheet. Such DRE unit shall not be used for
            creation of voter access cards unless and until the unit is
            fully tested and reconfigured and the election counter reset
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            at zero pursuant to procedures established by the Secretary
            of State. The DRE unit shall be turned off and secured for the
            night.

UseofDRE    Each morning during the absentee balloting period, the            Ga. Comp. R. &    Category 3
Units for   registrars shall publicly verify the seal numbers on each DRE     Regs. 183-1-14-
Absentee    unit to be used for absentee voting with the number of the seal   .02(9)
Balloting   recorded on the daily recap sheet from the previous day of
        I   absentee voting and shall verify that the seal and DRE unit do
            not show any signs of tampering. If the seal number
            corresponds to the entry on the daily recap sheet and there is no
            evidence of tampering, the DRE unit shall be opened and turned
            on. If the numbers do not match or there is evidence of
            tampering, the Secretary of State shall be notified
            immediately and the unit shall not be used until such
            discrepancy is resolved to the satisfaction of the Secretary of
            State, the election superintendent, and the registrars. After
            opening and turning on the unit, the registrars shall verify the
            election counter number with the number recorded on the daily
            recap sheet from the previous day of absentee voting. If the
            numbers do not match, the Secretary of State shall be
            immediately notified and the unit shall not be used until
            such discrepancy is resolved to the satisfaction of the
            Secretary of State, the election superintendent, and the
            registrars. The election counter number shall then be entered
            onto the daily recap sheet for that day. If a DRE unit is to be
            used for programming voter access cards, the registrars shall
            open and turn on the power for such unit. The registrars shall
            then verify that the election counter is set on zero. If the
            election counter is not set at zero, the Secretary of State
            shall be immediately notified and the unit shall not be used
            until such discrepancy is resolved to the satisfaction of the
            Secretary of State, the election superintendent, and the
            registrars. A notation shall be made on the daily recap sheet of
            the election counter number and the unit shall be configured to
            create voter access cards.


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Reporting         The registrars of each county shall on the 32nd day prior to         Ga. Comp. R. &    Category 3
Requirements      each statewide general primary and general election submit           Regs. 183-1-14-
for Absentee      to the Secretary of State on a form provided by the                  .04(1)
Ballots           Secretary of State information concerning absentee ballots
                  requested by electors who are entitled to vote by absentee
                  ballot under the federal Uniformed and Overseas Citizens
                  Absentee·Voting Act, 42 U.S.C. § 1973ff, et seq., as
                  amended. Such report shall include the number of absentee
                  ballots requested by each such category of absentee voter, the
                  date on which the absentee ballots were available in the
                  registrars' office, and the date on which the ballots requested by
                  such voters were sent to the voters. The Secretary of State
                  may request further information related to the application
                  for and the transmittal of such ballots.

State Write-In    The Secretary of State shall design a state write-in absentee        Ga. Comp. R. &    Category 1
Absentee Ballot   ballot for use in runoff primaries and runoff elections by an        Regs. 183-1-14-   Category 2
                  elector of this state who resides outside the county or the          .0S(a)            Category 3
                  municipality in which the election is being conducted and is:
                  (1) a member of the armed forces of tli.e United States, a
                  member of the merchant marine of the United States, a member
                  of the commissioned corps of the Public Health Service or the
                  National Oceanic and Atmospheric Administration, or a spouse
                  or dependent of such member residing with or accompanying
                  said member; or (2) A citizen of the United States
                  residing outside the United States.

State Write-In    The Secretary of State shall prepare and print instructions          Ga. Comp. R. &    Category 1
Absentee Ballot   for completing and returning such ballot that shall also be          Regs. 183-1-14-   Category 2
                  enclosed with such ballot. The state write-in absentee ballot,       .0S(d)            Category 3
                  the envelopes for returning it, and the instructions shall be
                  enclosed with the regular absentee ballot, envelopes, and
                  instructions for completing and returning the regular absentee
                  ballot




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State Write-In      Additionally, the Secretary of State and the county                  Ga. Comp. R. &     Category 1
Absentee Ballot     registrars shall provide for the transmission of such blank          Regs.183-1-14-     Category 2
                    ballots by facsimile transmission and electronic mail                .0S(e)             Category 3
                    transmission to electors. Instructions for voting such
                    ballots shall be included on the website and shall accompany
                    any facsimile and electronic mail ballot transmissions. Voted
                    ballots shall not be returned by facsimile or electronic mail.

State Write-In      As soon as practicable after a general primary or general            Ga.Comp.R.&        Category 1
Absentee Ballot     election, the Secretary of State shall cause to be published         Regs. 183-1-14-    Category 2
                    on the official website of the Secretary of State a list of all      .0S(f)             Category 3
                    federal offices and state offices in which there will be a
                    runoff primary or runoff election, as the case may be, along
                    with the names of the candidates who will be on the ballot in
                    such runoff.

State Write-In      If an elector obtains the ballot by facsimile or by downloading      Ga. Comp. R. &     Category 1
Absentee Ballot     from electronic mail or the Secretary of State's website, the        Regs. 183-1-14-    Category 2
                    elector shall return the ballot by mail using two envelopes. The     .0S(g)             Category 3
                    elector shall enclose and seal the ballot in a plain envelope and
                    insert that envelope into another envelope for transmission to
                    the registrars. The elector shall copy and
                    sign the appropriate oath onto the back of the outer envelope.
                    The Secretary of State shall provide a sample envelope and
                    oath form on the Secretary of State's website in such a
                    manner that such form may be used by an elector to print
                    out the forms for the purpose of pasting or attaching such
                    forms to an envelope for returning the ballot or for printing
                    an envelope for returning the ballot.

Secretary of        The Secretary of State is designated as the chief state              O.C.G.A. § 21-2-   Category 1
State designated    election official to coordinate the responsibilities of this state   210                Category 2
chief state         under the National Voter Registration Act of 1993 (P.L. 103-                            Category 3
election official   31) as required by 42 U.S.C. Section 1973gg-8.

Official list of    The Secretary of State shall establish and maintain a list of        O.C.G.A. § 21-2-   Category 1
electors;           all elittlble and qualified rettlstered electors in this state       211(a)             Category 2

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equipment to       which shall be the official list of electors for use in all                             Category 3
access list        elections in this state conducted under this title.

Official list of   The Secretary of State is authorized to procure and provide         O.C.G.A. § 21-2-    Category 3
electors;          all of the necessary equipment to permit the county boards          211(b)(2)
equipment to       of registrars to access and utilize the official list of electors
access list        maintained by the Secretary of State pursuant to this Code
                   section, provided that funds are specifically appropriated by the
                   General Assembly for that purpose. ·

Voter              The Secretary of State shall establish procedures to match · O.C.G.A. § 21-2-           Category 2
registration       an applicant's voter registration information to the         216(g)(7)                  Category 3
                   information contained in the data base maintained by the
                   Department of Driver Services for the verification of the
                   accuracy of the information provided on the application for
                   voter registration, including whether the applicant has
                   provided satisfactory evidence of United States citizenship.

Voter              Prior to approving the application of a person to register to vote, O.C.G.A. § 21-2-    Category 3
registration       the registrars may check the data bases of persons convicted 216(h)
                   of felonies and deceased persons maintained by the
                   Secretary of State.

Change of          Any person, who is registered to vote in another state and who       O.C.G.A. § 21-2-   Category 2
residence of       moves such person's residence from that state to this state, shall, 218(a)              Category 3
elector            at the time of making application to register to vote in this state,
                   provide such information as specified by the Secretary of
                   State in order to notify such person's former voting
                   jurisdiction of the person's application to register to vote in
                   this state and to cancel such person's registration in the
                   former place of residence.

Change of          Any person, who is registered to vote in another county or          O.C.G.A. § 21-2-    Category 2
residence of       municipality in this state and who moves such person's              218(b)              Category 3
elector            residence from that county or municipality to another county or
                   municipality in this state, shall, at the time of making


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               application to register to vote in that county or municipality,
               provide such information as specified by the Secretary of
               State in order to notify such person's former voting
               jurisdiction of the person's application to register to vote in
               the new place of residence and to cancel such person's
               registration in the former place of residence.

Change of      In the event that an elector moves to a residence within the        O.C.G.A. § 21-2-    Category 2
residence of   county or municipality but into a different precinct or who         218(d)              Category 3
elector        moves to a residence in the same precinct but at a different
               address and fails to notify the board of registrars of such fact by
               the fifth Monday prior to an election or primary such elector
               shall vote in the precinct of such elector's former
               residence for such election or primary and for any runoffs
               resulting therefrom. The superintendent of an election shall
               make available at each polling place forms furnished by the
               Secretary of State which shall be completed by each such
               elector to reflect such elector's present legal residence. Such
               forms may also be used to notify the board of registrars of a
               change in an elector's name. The board of registrars shall
               thereafter place the elector in the proper precinct and voting
               districts and correct the list of electors accordingly. If the
               elector is placed in a precinct other than the one in which such
               elector has previously been voting, such elector shall be notified
               of the new polling place by first-class mail.

Change of      In the event that the registration records incorrectly indicate that O.C.G.A. § 21-2-   Category 2
residence of   an elector has moved from an address within a precinct, the          218(g)             Category 3
elector        elector may vote in the precinct upon affirming in writing
               on a form prescribed by the Secretary of State that the
               elector still resides in the precinct at the address previously
               provided to the board of registrars. The registrars shall
               correct the elector's registration record to reflect the correct
               address.




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Registration        The registration cards for use by persons in making application   O.C.G.A. § 21-2-   Category 2
cards; absentee     to register to vote shall be in a form as specified by the        219(a)             Category 3
regulations         Secretary of State, which shall include printed forms, forms
                    made available through electronic means, or otherwise. Except
                    as provided in subsection (b) of this Code section and Code
                    Section 21-2-221.2, only registration cards issued
                    or authorized for use by the Secretary of State or the national
                    voter registration card promulgated under the provisions of the
                    National Voter Registration Act of 1993, 42 U.S.C. Section
                    1973gg-7, shall be accepted for purposes of voter registration.

Registration        The office of the Secretary of State is designated as the         O.C.G.A. § 21-2-   Category 2
cards; absentee     office, under the federal Help America Vote Act, to be            219(f)             Category 3
regulations         responsible for providing information on registration and
                    absentee ballot procedures for use by absent uniformed
                    services and overseas voters, including the use of the federal
                    write-in absentee ballot.

Registration        The Secretary of State shall within 90 days after a general       O.C.G.A. § 21-2-   Category 3
cards; absentee     election in which federal candidates were on the ballot report    219(h)
regulations         to the federal Election Assistance Commission, on such form
                    as may be prescribed by such commission, the combined
                    number of absentee ballots transmitted to absent uniformed
                    services and overseas voters in such election and the
                    combined number of such ballots that were returned by
                    such voters and cast in such election.

Application for    Toe commissioner of driver services and the Secretary of State     O.C.G.A. § 21-2-   Category 3
driver's license;  shall agree upon and design such procedures and ~orms as           22l(b)
service as         will be necessary to comply with this Code section.
application for
voter registration

Application for     Toe Department of Driver Services shall transmit the completed O.C.G.A. § 21-2-      Category 3
driver's license;   applications for voter registration to the Secretary of State at the 22l(e)
service as          conclusion of each business day. The Secretary of State shall
                    forward the applications to the appropriate county board of

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application for    registrars to determine the eligibility of the applicant and, if
voter registration found eligible, to add the applicant's name to the list of
                   electors and to place the applicant in the correct precinct
                   and voting districts.

Application for    The Department of Driver Services shall maintain such                  O.C.G.A. § 21-2-   Category 3
driver, s license; statistical records on the number of registrations and                 221(f)
service as         declinations as requested by the Secretary of State.
application for
voter registration

Application for      The Secretary of State and the commissioner of driver                O.C.G.A. § 21-2-   Category 3
driver, s license;   services shall have the authority to promulgate rules and            221(h)
service as           regulations to provide for the transmission of voter
application for      registration applications and signatures electronically. Such
voter registration   electronically transmitted signatures shall be valid as signatures
                     on the voter registration application and shall be treated in all
                     respects as a manually written original signature and shall be
                     recognized as such in any matter concerning the voter
                     registration application.

Applications for     The Board of Natural Resources and the Secretary of State            0.C.G.A. § 21-2-   Category 3
resident hunting,    shall agree upon and design such procedures and forms as             221.l(b)
fishing, or          will be necessary to comply with this Code section, including
trapping license;    without limitation procedures applicable to processing of
service as           applications received by persons approved as license agents for
application for      the Department of Natural Resources pursuant to
voter registration   Code Section 27-2-2.

Applications for     The Department of Natural Resources shall transmit the               O.C.G.A. § 21-2-   Category 3
resident hunting,    completed applications for voter registration to the Secretary of    221.l(f)
fishing, or          State at the conclusion of each business day. The Secretary of
trapping license;    State shall forward the applications to the appropriate
service as           county board of registrars to determine the eligibility of the
application for      applicant and, if found eligible, to add the applicant's name
voter registration   to the list of electors and to place the applicant in the
                     correct precinct and voting districts.

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Applications for The Department of Natural Resources shall maintain such                  O.C.G.A. § 21-2-   Category 3
resident hunting, statistical records on the number of registrations and                  221.l(g)
fishing, or        declinations as requested by the Secretary of State.
trapping license;
service as
application for
voter registration

Applications for     The Secretary of State and the Board -of Natural Resources           O.C.G.A. § 21-2-   Category 3
resident hunting,    shall have the authority to promulgate rules and regulations         221.l(i)
fishing, or          to provide for the transmission of voter registration
trapping license;    applications and signatures electronically. Such
service as           electronically transmitted signatures shall be valid as signatures
application for      on the voter registration application and shall be treated in all
voter registration   respects as a manually written original signature and shall be
                     recognized as such in any matter concerning the voter
                     registration application.

Electronic voter     A person who is qualified to register to vote in this state and      O.C.G.A. § 21-2-   Category 2
registration         who has a valid Georgia driver's license or identification card      221.2(a)           Category 3
                     may submit a voter registration application on the Internet
                     website· of the Secretary of State. The Secretary of State shall,
                     in conjunction with the Department of Driver Services,
                     design and implement a system to allow for such electronic
                     voter registration.

Electronic voter     Upon the submission of an application through the website            O.C.G.A. § 21-2-   Category 3
registration         pursuant to thls Code section, the software used by the              221.2(c)
                     Secretary of State for processing applications through the
                     website shall provide for immediate verification of all of the
                     following:

                     (1) That the applicant has a valid Georgia driver's license or
                     identification card and that the number for that driver's license
                     or identification card provided by the applicant matches the


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                    number for the applicant's driver's license or identification card
                    that is on file with the Deparlment of Driver Services;

                    (2) That the date of birth provided by the applicant matches the
                    date of birth that is on file with the Deparlment of Driver                                          -
                    Services; and
                    (3) That the applicant is a citizen of the State of Georgia and of
                    the United States and that the information provided by the
                    applicant matches the information on file with the Department
                    of Driver Services.

                    If any of these items do not match or if the application is
                    incomplete, the application shall be void and shall be rejected
                    and the applicant shall be notified of such rejection either
                    electronically or by mail within five days after such application
                    is rejected.

Electronic voter    If all of the items enumerated in subsection (c) of this Code    O.C.G.A. § 21-2-       Category 3
registration        section are verified, the Secretary of State shall obtain an     221.2(d)
                    electronic copy of the applicant's signature from the
                    applicant's driver's license or identification card on file with
                    the Department of Driver Services. The application shall then
                    be processed in the same manner as applications under Code
                    Section 21-2-221. Except as otherwise provided by this Code
                    section, the application shall be deemed to have been made as
                    of the date that the information was provided by the applicant
                    through the Internet website.

Electronic voter    The Secretary of State shall employ security measures to             O.C.G.A. § 21-2-   Category 3
registration        ensure the accuracy and integrity of voter registration              221.2(f)
                    applications submitted electronically pursuant to this Code
                    section.

Offices            In addition to the offices listed in subsection (b) of this Code      O.C.G.A. § 21-2-   Category 2
designated as      section, the Secretary of State shall designate other offices         222(c)             Category 3
voter registration within the state as designated voter registration offices.
agencies

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Offices            Each office shall transmit the completed voter registration        O.C.G.A. § 21-2-     Category 3
designated as      application forms to the Secretary of State at least once per 222(i)
voter registration week., except that, during the 15 days leading up to a
agencies           registration deadline for a primary or election, such applications
                   shall be transmitted to the Secretary of State at the conclusion
                   of each business day. The Secretary of State shall forward
                   the applications to the appropriate county board of
                   registrars to determine the eligibility of the applicant and, if
                   found eligible, to add the applicant's name to the list of
                   electors and to place the applicant in the correct precinct
                   and voting districts.

Offices            Each office shall maintain such statistical records on the           O.C.G.A. § 21-2-   Category 3
designated as      number of registrations and declinations as requested by the         2220)
voter registration Secretary of State.
agencies

Offices            The Secretary of State shall have the authority to                   O.C.G.A. § 21-2-   Category 3
designated as      promulgate rules and regulations to provide for the                  222(1)
voter registration transmission of voter registration applications and
agencies           signatures electronically from public assistance offices,
                   offices which provide state funded programs primarily
                   engaged in providing services to persons with disabilities,
                   and recruitment offices of the armed forces of the United
                   States located within this state. Such electronically
                   transmitted signatures shall be valid as signatures on the voter
                   registration application and shall be treated in all respects as a
                   manually written original signature and shall be recognized as
                   such in any matter concerning the voter registration application.
                                                                                                                        -
Mail voter          The Secretary of State shall design, publish, and distribute        O.C.G.A. § 21-2-   Category 1
registration        voter registration application forms with which a person            223(a)             Category 2
application         may apply to register to vote by completing and mailing the                            Category 3
forms               form to the Secretary of State or to the board of registrars
                    of the person's county of residence. The Secretary of State
                    shall forward the applications that he or she receives to the

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                   appropriate county board of registrars to determine the
                   eligibility of the applicant and, if found eligible, to add the
                   applicant's name to the list of electors and to place the applicant
                   in the correct precinct and voting districts.

Mail voter         The county boards of registrars shall obtain and maintain a           O.C.G.A. § 21-2-   Category 1
registration       supply of mail voter registration application forms for               223(b)             Category 2
application        distribution and for voter registration. In addition, each state,                        Category 3
forms              county, and municipal office, except an office which is a
                   designated voter registration office under Code Section 21-2-
                   222, which has regular contact with the public shall obtain a
                   supply of mail voter registration application forms from the
                   Secretary of State and make such applications available for
                   use by citizens to register to vote.

What data [sic]   It shall be the duty of the Secretary of State to furnish              O.C.G.A. § 21-2-   Category 1
available for     copies of such data as may be collected and maintained on              225(c)             Category 2
public inspection electors whose names appear on the list of electors                                       Category 3
                  maintained by the Secretary of State pursuant to this
                  article, within the limitations provided in this article, on
                  electronic media or computer run list or both.
                  Notwithstanding any other provision of law to the contrary, the
                  Secretary of State shall establish the cost to be charged for such
                  data. The Secretary of State may contract with private vendors
                  to make such data available in accordance with thls subsection.                              ,.
                  Such data may not be used by any person for commercial
                  purposes.

Confidentiality    The Secretary of State shall provide by procedure, rule, or           O.C.G.A. § 21-2-   Category 1
ofvoter            regulation for the mechanism by which such information                225.l(d)           Category 2
addresses          shall be made confidential on the voter registration data                                Category 3
                   base and may provide for forms for use in making such
                   requests and for the use of alternate addresses for electors ·
                   who file requests for the confidentiality of their residence
                   addresses.



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Duties of             Each elector found eligible to be registered to vote by the board O.C.G.A. § 21-2-      Category 2
registrars as to      of registrars shall be issued a card which shall contain the        226(e)              Category 3
determination of      elector's name and address, a block or space for the elector's
eligibility to vote   signature, the date of the elector's registration, the name and
and placement in      location of the elector's polling place or polling places if the
voting district       county and municipal polling places are not the same,
and precinct;         and the designation of the elector's congressional district; state
issuance of cards     Senate district; state House district; county commission district,
to electors           if any; county or independent board of education district, if any;
                      an:d municipal governing authority district, if any, and such
                      other voting districts, if any. On the reverse side of the card,
                      there shall be printed instructions which shall indicate the
                      procedure to be followed in the event of the change of address
                      of the elector. In the event an elector changes residences within
                      the coWity in which an elector is registered to vote, the elector
                      may change such elector's address by returning the card to the
                      board of registrars of such coWity indicating the new address.
                      Upon receipt of such card, the board of registrars shall make the
                      necessary changes in-the elector's registration records and issue
                      a new card to the elector. In the event that an elector's precinct,
                      polling place, or voting district or districts change, a new card
                      shall be issued to the elector reflecting such changes. When the
                      boWidaries of a precinct are changed, all affected electors shall
                      be sent a new card prior to the next primary or election. The
                      form of such cards shall be determined by the Secretary of
                      State. The issuance of such cards shall be sufficient as a
                      notification of the disposition of an application for voter
                      registration Wider this Code section, provided that such cards
                      are sent by nonforwardable, first-class mail.

Duties of             In the event that the registrars are required to issue voters new    O.C.G.A. § 21-2-   Category 3
registrars as to      cards Wider subsection (e) of this Code section due to changes       226(:t)
determination of      in districts or precincts as a result of reapportionment or court
eligibility to vote   order, the registrars may apply to the Secretary of State prior to
and placement in      June 30 of each year for reimbursement of the costs of postage
voting district       with respect to mailing such cards
and precinct;         during the 12 month period ending on JWie 30 of that year. The
                      Secretary of State shall receive all such applications and
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issuance of cards   shall, no later than June 30 of each year, reimburse the
to electors         counties for such costs from funds specifically appropriated
                    for that purpose. In the event that the total amount of the
                    requests for reimbursement exceeds the funds appropriated
                    for reimbursement, the Secretary of State shall reimburse
                    the counties on a pro rata basis. In the event that no funds
                    are specifically appropriated for reimbursement, no such
                    reimbursement shall be made.

Monthly             Unless otherwise notified by the Secretary of State, the       O.C.G.A. § 21-2-        Category 3
transmittal of      Georgia Crime Information Center shall, on or before the       23 l(a)
information to      tenth day of each month, prepare and transmit to the
Secretary of        Secretary of State and The Council of Superior Court Clerks
State and The       of Georgia a complete list of all persons, including dates of
Council of          birth, social security numbers, and other information as
Superior Court      prescribed by the Secretary of State or The Council of
Clerks of           Superior Court Clerks of Georgia, who were convicted of a
Georgia;            felony in this state since the preceding reporting period. The
removal of          Secretary of State or The Council of Superior Court Clerks
persons from list   of Georgia may, by agreement with the commissioner of
of electors         corrections and the commissioner of community
                    supervision, obtain criminal information relating to the
                    conviction, sentencing, and completion of sentencing
                    requirements of felonies. Additionally. the Secretary of State
                    and The Council of Superior Court Clerks of Georgia shall be
                    authorized to obtain such criminal information relating to
                    Georgia electors convicted of a felony in another state, if
                    such information is available.

Monthly             The clerk of the superior court of each county shall, on or         O.C.G.A. § 21-2-   Category 3
transmittal of      before the tenth day of each month, prepare and transmit to the     23 l(a.1)
information to      Secretary of State, in a format prescribed by the Secretary of
Secretary of        State, a complete list of all persons, including addresses, ages,
State and The       and other identifying information as prescribed by the
Council of          Secretary of State, who identify themselves as not being
Superior Court      citizens of the United States during their qualification to serve
Clerks of           as a juror during the preceding calendar month in that county.

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Georgia;
removal of
persons from list
of electors
                                                                                                                        ,




Monthly             The judge of the probate court of each county shall, on or          O.C.G.A. § 21-2-   Category 3
transmittal of      before the tenth day of each month, prepare and transmit to the     231(b)
information to      Secretary of State, in a format prescribed by the Secretary of
Secretary of        State, a complete list of all persons, including addresses, ages,
State and The       and other identifying information as prescribed by the
Council of          Secretary of State, who were declared mentally incompetent
Superior Court      during the preceding calendar month in the county and whose
Clerks of           voting rights were removed.
Georgia;
removal of
persons from list
of electors

Monthly             (1) Upon receipt of the lists described in subsections (a.l) and    O.C.G.A. § 21-2-   Category 3
transmittal of      (b) of this Code, the Secretary of State shall transmit the         23 l(c)
information to      names of such persons whose names appear on the list of
Secretary of        electors to the appropriate county board of registrars who
State and The       shall remove aII such names from the list of electors and
Council of          shall mail a notice of such action and the reason therefor to
Superior Court      the last lmown address of such persons by first-class mail.
Clerks of           (2) Upon receipt of the list described in subsection (a) of
Georgia;            this Code section and the lists of persons convicted of
removal of          felonies in federal courts received pursuant to 52 U.S.C.
persons from list   Section 20507(g), the Secretary of State shall transmit
of electors
                    the names of such persons whose names appear on the
                    lists of electors to the appropriate county board of
                    registrars who shall mail a notice to the last known
                    address of each such person by first-class mail, stating
                    that the board of registrars has received information
                    that such person has been convicted of a felony and will
                    be removed from the list of electors 30 days after the

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                     date of the notice unless such person requests a hearing
                     before the board of registrars on such removal.

Monthly              Unless otherwise notified by the Secretary of State, the local        O.C.G.A. § 21-2-   Category 3
transmittal of       registrar of vital statistics of each county shall, on or before      23l(d)
information to       the tenth day of each month, prepare and transmit to the
Secretary of         Secretary of State, in a format prescribed by the Secretary
State and The        of State, a complete list of all persons, including addresses,
Council of           ages, and other identifying information as prescribed by the
Superior Court       Secretary of State, who died during the preceding calendar
Clerks of            month in the county. The Secretary of State may, by
Georgia;             agreement with the commissioner of public health, obtain such
removal of           information from the state registrar of vital statistics.
persons from list    Additionally, the Secretary of State i& authorized to obtain such
of electors          lists of deceased Georgia electors, if possible, from other states.

Monthly              Upon receipt of the lists described in subsection (d) of this         O.C.G.A. § 21-2-   Category 3
transmittal of       Code section, the Secretary of State or his or her designated         231(e)
information to       agent shall remove all such names of deceased persons from
Secretary of         the list of electors and shall notify the registrar in the
State and The        county where the deceased person was domiciled at the time
Council of           of his or her death.
Superior Court
Clerks of
Georgia;
removal of
persons :from list
of electors

Monthly              The Secretary of State shall provide to The Council of        O.C.G.A. § 21-2-           Category 3
transmittal of       Superior Court Clerks of Georgia not later than the last day  231(g)
information to       of each month all information enumerated in subsections (b)
Secretary of         through (d) of this Code section and Code Section 21-2-232
State and The        and a list of voters who have failed to vote and inactive
Council of           voters, as identified pursuant to Code Sections 21-2-234 and
Superior Court       21-2-235. Such data shall only be used by the council, the
Clerks of            council's vendors, superior court clerks, and iurv clerks for

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Georgia;            maintenance of state-wide master jury lists and county master
removal of          jury lists. Such data shall be provided to the council or its
persons from list   vendors in the electronic format required by the council for
of electors         such :purposes.

Removal of          (1) When an elector of this state moves to another state and O.C.G.A. § 21-2-            Category 3
elector's name      registers to vote and the registration officials in such state 232(b)
from list of        send a notice of cancellation reflecting the registration of
electors            the elector in the other state, which includes a copy of such
upon request of     elector's voter registration application bearing the elector's
elector or upon
                    signature, the Secretary of State or the board of
removal of
elector from        registrars, as the case may be, shall remove such
county              elector's name from the list of electors. It shall not be
                    necessary to send a confirmation notice to the elector in
                    such circumstances.

                    (2) When an elector of this state moves to another state and
                    the registration officials in such other state or a
                    nongovernmental entity as described in subsection ( d) of
                    Code Section 21-2-225 sends a notice of cancellation or
                    other information indicating that the elector has moved to
                    such state but such notice or information does not include
                    a copy of such elector's voter registration application in                           -
                    such other state bearing the elector's signature, the
                    Secretary of State or the board of registrars, as the case
                    may be, shall send a confirmation notice to the elector
                    as provided in Code Section 21-2-234.

Comparison of       The Secretary of State is authorized to cause at his or her       O.C.G.A. § 21-2-       Category 3
official list of    discretion the official list of electors to be compared to the    233(a)
electors with       change of address information supplied by the United States
information         Postal Service through its licensees periodically for the purpose
supplied            of identifying those electors whose addresses have changed.
by United States
Postal Service;
procedure where
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elector has
moved

Comparison of       If it appears from the change of address information supplied by O.C.G.A. § 21-2-         Category 2
official list of    the licensees of the United States Postal Service that an elector      233(c)             Category 3
electors with       whose name appears on the official list of electors has moved to
information         a different address outside of the boundaries of the county or
supplied            municipality in which the elector is presently registered, such
by United States    elector shall be sent a confirmation notice
Postal Service;     as provided in Code Section 21-2-234 at the old address of the
procedure where     elector. The registrars may also send a confirmation notice to
elector has         the elector's new address. If the elector confirms the change of
moved               address to an address outside of the State of Georgia, the
                    elector's name shall be removed from the appropriate list of
                    electors. If the elector confirms the change of address to an
                    address outside of the boundaries of the county or municipality
                    in which the elector is presently registered, but still within the
                    State of Georgia, the elector's registration shall be transferred to
                    the new county or municipality. The Secretary of State or the
                    registrars shall forward the confirmation card to the
                    registrars of the county in which the elector's new address is
                    located and the registrars of the county of the new address
                    shall update the voter registration list to reflect the change
                    of address. If the elector responds to the notice and affirms that
                    the elector has not moved, the elector shall
                    remain on the list of electors at the elector's current address. If
                    the elector fails to respond to the notice within 30 days after the
                    date of the notice, the elector shall be transferred to the inactive
                    list provided for in Code Section 21-2-235.

Identification of   In the first six months of each odd-numbered year, the                 0.C.G.A. § 21-2-   Category 3
electors with       Secretary of State shall identify all electors whose names             234(a)(2)
whom there has      appear on the list of electors with whom there has been no
been no contact     contact during the preceding five calendar years and who
for three years;    were not identified as changing addresses under Code
confirmation        Section 21-2-233. The confirmation notice described in this
notice              Code section shall be sent to each such elector during each odd-

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                    numbered year. Such notices shall be sent by forwardable, first-
                    class mail.
Identification of   If the elector returns the card and shows that he or she has         O.C.G.A. § 21-2-     Category 2
electors with       changed residence to-a place outside of the State of Georgia, the 234(d)                  Category 3
whom there has      elector's name shall be removed from the appropriate list of
been no contact     electors. If the elector confirms his or her change of address to
for three years;    an address outside of the boundaries of the county or
confirmation        municipality in which the elector is currently registered, but still
notice              within the State of Georgia, the elector's registration shall be
                    transferred to the new county or municipality. The Secretary of
                    State or the registrars shall forward the confirmation card
                    to the registrars of the county in which the elector's new
                    address is located, ~nd the registrars of the county of the
                    new address shall update the voter registration list to reflect
                    the change of address.

Inactive list of    In addition to the official list of electors, the Secretary of         O.C.G.A. § 21-2-   Category 3
electors            State shall als·o maintain an inactive list of electors.               235(a)
                    Notwithstanding any other provision of law to the contrary, the
                    names of electors on the inactive list of electors shall not be
                    counted in computing the number of ballots required for an
                    election, the number of voting devices needed for
                    a precinct, the number of electors required to divide or
                    constitute a precinct, or the number of signatures needed on any
                    petition. However, any elector whose name appears on the
                    inactive list shall be eligible to sign a petition and such petition
                    signature, if valid and regardless of the validity of the petition
                    as a whole, shall be sufficient to return the elector
                    to the official list of electors if the elector still resides at the
                    address listed on the elector's registration records and shall be
                    grounds to proceed under Code Section 21-2-234 to confirm the
                    change of address of the elector if the elector provides a
                    different address from the address which appears on the
                    elector's registration records.




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SOS on the SEB      There is created a state board to be known as the State              O.C.G.A. § 21-2-   Category 3   -
                    Election Board, to be composed of the Secretary of State, an         30(a)
                    elector to be elected by a majority vote of the Senate of the
                    General Assembly at its regular session held in each odd-
                    numbered year, an elector to be elected by a majority vote of
                    the House of Representatives of the General Assembly at its
                    regular session held in each odd-numbered year, and a member
                    of each political party to be nominated and appointed in the
                    manner provided in this Code section. No person while a
                    member of the General Assembly shall serve as a member of
                    the board.

sos                 The Secretary of State shall be the chairperson of the board. O.C.G.A. § 21-2-          Category 3
Chairperson of      Three members of the board shall constitute a quorum, and no     30(d)
theSEB              vacancy on the board shall impair the right of the quorum to
                    exercise all the powers and perform all the duties of the board.
                    The board shall adopt a seal for its use and bylaws for its own
                    government and procedure.

Superintendents     The Secretary of State is authorized to prescribe by rule or         O.C.G.A. § 21-2-   Category 3
to Election         regulation the type of electronic format for the provision of        77(c)
returns to be       such election returns.
provided to
Secretary of
State in
electronic format

Instruction of      The election superintendent shall provide adequate training to       O.C.G.A. § 21-2-   Category 3
poll officers and   all poll officers and poll workers regarding the use of voting       99(a)
poll workers in     equipment, voting procedures, all aspects of state and federal
election            law applicable to conducting elections, and the poll officers' or
procedures;         poll workers' duties in connection therewith prior to each
certifications;     general primary and general election and each
unqualified poll    special primary and special election; provided, however, such
officers and poll   training shall not be required for a special election held between
workers not to      the date of the general primary and the general election. Upon
serve               successful completion of such instruction, the superintendent

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                     shall give to each poll officer and poll worker a certificate to the
                     effect that such person has been fonnd
                     qualified to conduct such primary or election with the particular
                     type of voting equipment in use in that jurisdiction.
                     Additionally, the superintendent shall notify the Secretary
                     of State on forms to be provided by the Secretary of State of
                     the date when such instruction was held and the number of
                     persons attending and completing such instruction. For the
                     purpose of giving such instructions, the superintendent shall
                     call such meeting or meetings of poll officers and poll workers
                     as shall be necessazy. Each poll officer shall, upon notice,
                     attend such meeting or meetings called for his or her
                     instruction.

Training of local    The election superintendent and at least one registrar of the    O.C.G.A. § 21-2-         Category 3
election officials   connty or, in connties with boards of election or combined       IO0(a)
                     boards of election and registration, at least one member of the
                     board or a designee of the board shall attend a minimum of 12
                     hours' training annually as may be selected by the Secretary
                     of State. The election superintendent and at least one registrar
                     of each municipality shall attend a minimum of 12 hours'
                     training biennially as may be selected by the Secretary of
                     State.

Training of local    A waiver of the requirement of minimum training, either in             O.C.G.A. § 21-2-   Category 3
election officials   whole or in part, may be granted by the Secretary of State,            IO0(c)
                     in the discretion of the Secretary of State, upon the
                     presentation of evidence by the election superintendent,
                     registrar, or board that the.individual was nnable to complete
                     such training due to medical disability, providential cause, or
                     other reason deemed sufficient by the Secretary of State.

Certification of     All connty and mnnicipal election superintendents, chief             O.C.G.A. § 21-2-     Category 3
local election       registrars, and absentee ballot clerks or, in the case of a board of lOl(a)
officials            elections or a board of elections and registration, the designee
                     of such board charged with the daily operations of such board
                     shall become certified by completini? a certification pro!!ram

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                   approved by the Secretary of State by no later than December
                   31 of the year in which they are appointed. Such program may
                   include instruction on, and may require the superintendent to
                   demonstrate proficiency in, the operation of the state's direct
                   recording electronic voting equipment, the operation of the
                   voting equipment used in such superintendent's jurisdiction, and
                   in state and federal
                   law and procedures related to elections. The local government
                   employing the superintendent or designee shall cover the costs,
                   if any, incurred by such superintendent's or designee's
                   participation in the certification program. Such certification
                   programs shall be offered by the Secretary of State on
                   multiple occasions before December 31 of the year in which
                   such superintendents or designees are appointed and shall not
                   exceed 64 hours of classroom, online, and practical
                   instruction as authorized and approved by the Secretary of
                   State.

Certification of   A full, partial, or conditional waiver of the certification         O.C.G.A. § 21-2-   Category 3
local election     requirement may be granted by the Secretary of State, in            lOl(c)(l)
officials          the discretion of the Secretary of State, upon the presentation
                   of evidence by the election superintendent or board that the
                   individual was unable to complete such training due to medical
                   disability, providential cause, or other reason deemed sufficient
                   by the Secretary of State.                            '

Certification of   In the event that a municipality authorizes a county to conduct     O.C.G.A. § 21-2-   Category 3
local election     its elections pursuant to Code Section 21-2-45, the                 101(c)(2)
officials          municipality may be granted by the Secretary of State, in
                   the discretion of the Secretary of State, a waiver of the
                   certification requirement, provided that the superintendent in
                   charge of running the municipal election shall have previously
                   completed a certification program approved by the Secretary of
                   State and has demonstrated a proficiency in the operation of the
                   voting equipment used in said municipality.



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Form of ballots;  (2) Ballots for direct recording electronic voting systems       O.C.G.A. § 21-2-   Category 3
printing ballots; shall be designed as prescribed by the Secretary of State to     286(b)
stubs; numbers    ensure easy reading by electors.
                  (3) Ballots printed by an electronic ballot marker shall be
                  designed as prescribed by the Secretary of State to ensure
                  ease of reading- by electors.
Uniform election (1) The equipment used for casting and counting votes in          O.C.G.A. § 21-2-   Category 3
equipment         county, state, and federal elections shall be the same in each   300(a)
throughout state; county in this state and shall be provided to each county by
education of      the state, as determined by the Secretary of State.
voters, election
officials, and      (2) As soon as possible, once such equipment is certified by
poll officers in    the Secretary of State as safe and practicable for use, all
operation of        federal, state, and county general primaries and general
election            elections as well as special primaries and special elections
equipment           in the State of Georgia shall be conducted with the use of
                    scanning ballots marked by electronic ballot markers and
                    tabulated by using ballot scanners for voting at the polls
                    and for absentee ballots cast in person, unless otherwise
                    authorized by law; provided, however, that such electronic
                    ballot markers shall produce paper ballots which are
                    marked with the elector1s choices in a format readable by
                    the elector.

                    (3) The state shall furnish a uniform system of
                    electronic ballot markers and ballot scanners for use in
                    each county as soon as possible ...

                    (4) Notwithstanding any provision of law to the contrary,
                    the Secretary of State is authorized to conduct pilot
                    programs to test and evaluate the use of electronic
                    ballot markers and ballot scanners in primaries and
                    elections in this state.

Uniform election The Secretary of State shall be responsible for the        O.C.G.A. § 21-2-          Category I
equipment        development, implementation, and provision of a continuing 300(d)                    Category 2
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throughout state;   program to educate voters, election officials, and poll                               Category 3
education of        workers in the proper use of such voting equipment. Each
voters, election    county shall bear the costs, including transportation,
officials, and      subsistence, and lodging, incurred by its election and
poll officers in    registration officials in attending courses taught by or
operation of        arranged by the Secretary of State for instruction in the use
election            of the voting equipment.
equipment

Uniform election    Counties shall be authorized to contract with municipal            O.C.G.A. § 21-2-   Category 3
equipment           governments for the use of such voting equipment in municipal      300(e)(l)
throughout state;   elections under terms and conditions specified by the
education of        Secretary of State to assure that the equipment is properly
voters, election    used and kept secure.
officials, and
poll officers in
operation of
election                                                   -.
equipment

Uniform election    Each county shall, prior to being provided with voting             O.C.G.A. § 21-2-   Category 3
equipment           equipment by the state, provide or contract for adequate           300(c)
throughout state;   technical support for the installation, set up, and operation of
education of        such voting equipment for each primary, election, and special
voters, election    primary and special election as the Secretary of State shall
officials, and      determine by rule or regulation.
poll officers in
operation of
election
equipment

Examination and     Any person or organization owning, manufacturing, or selling,      O.C.G.A. § 21-2-   Category 1
approval of         or being interested in the manufacture or sale of, any voting      324(a)             Category 2
voting machines     machine may request the Secretary of State to examine the                             Category 3
by Secretary of     machine. Any ten or more electors of this state may, at any
State               time, request the Secretary of State to reexamine any voting
                    machine previously examined and approved by him or her.

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                  Before any such examination or reexamination, the person,
                  persons, or organization requesting such examination or
                  reexamination shall pay to the Secretary of State the reasonable
                  expenses of such examination; provided, however, that in the
                  case of a request by ten or more electors the examination fee
                  shall be $250.00. The Secretary of State may, at any time, in
                  his or her discretion, reexamine any voting machine.

Examination and   The Secretary of State shall thereupon require such                O.C.G.A. § 21-2-   Category 3
approval of       machine to be examined or reexamined by three examiners            324(b)
voting machines   whom he or she shall appoint for the purpose, of whom one
by Secretary of   shall be an expert in patent law and the other two shall be
State             experts in mechanics, and shall require of them a written report
                  on such machine, attested by their signatures; and the
                  Secretary of State shall examine the machine and shall
                  make and file, together with the reports of the appointed
                  examiners, his or her own report, attested by his or her
                  signature and the seal of his or her office, stating whether,
                  in his or her opinion and in consideration of the reports of
                  the examiners aforesaid, the kind of machine so examined
                  can be safely and accurately used by electors at primaries
                  and elections as provided in this chapter. If his or her report
                  states that the machine can be so used, the machine shall be
                  deemed approved; and machines of its kind may be adopted for
                  use at primaries and elections as provided in this chapter.

Examination and   No kind of voting machine not so approved shall be used at any     O.C.G.A. § 21-2-   Category 3
approval of       primary or election and if, upon the reexamination of any          324(c)
voting machines   voting machine previously approved, it shall appear that the
by Secretary of   machine so reexamined can no longer be safely or accurately
State             used by electors at primaries or elections as provided in this
                  chapter because of any problem concerning its ability to
                  accurately record or tabulate votes, the approval of the same
                  shall immediately be revoked by the Secretary of State; and
                  no such voting machine shall thereafter be purchased for use or
                  be used in this state.


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Examination and   At least ten days prior to any primary or election, including     O.C.G.A. § 21-2-    Category 3
approval of       special primaries, special elections, and referendum elections,   324(d)
voting machines   the election superintendent shall verify and certify in
by Secretary of   writing to the Secretary of State that all voting will occur on
State             equipment certified by the Secretary of State.

Examination and   The compensation of each examiner appointed under this            O.C.G.A. § 21-2-    Category 3
approval of       Code section shall be iu:ed and paid by the Secretary of          324(h)
voting machines   State.
by Secretary of
State

Form of ballots   If the construction of the machine shall require it, the ballot    O.C.G.A. § 21-2-   Category 3
on voting         label for each candidate, group of candidates, political party or  325(b)
machines          body, or question to be voted on shall bear the designating letter
                  or number of the counter on the voting machine which will
                  register or record votes therefor. Each question to be voted on
                  shall appear on the ballot labels in brief form.
                  Unless otherwise provided by law, proposed. constitutional
                  amendments so submitted shall be in brief form as directed by
                  the General Assembly and, in the failure to so direct, the
                  form shall be determined by the Secretary of State. Unless
                  otherwise provided by law, any other state-wide questions or
                  questions to be presented to the electors of more than one
                  county so submitted shall be printed in brief form as directed by
                  the General Assembly and, in the event of a failure to so
                  direct, the form shall be determined by the Secretary of
                  State and shall include a short title or heading in bold face at
                  the beginning of each such question on the ballot and any local
                  questions so submitted shall be printed in brief form as directed
                  by the General Assembly and, in the event of a failure to so
                  direct, the form shall be determined by the superintendent. In
                  the case of questions to be voted on by the electors of a
                  municipality, the governing authority shall determine the brief
                  form of the questions.



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Preparation of     The superintendent shall appoint one custodian of voting             O.C.G.A. § 21-2-   Category 3
voting machines    machines and such deputy custodians as may be necessary,             327(b)
by                 whose duty it shall be to prepare the machines to be used at the
superintendents;   primaries and elections to be held therein. Each custodian and
duties of          deputy custodian shall receive from the municipality such
custodians and     compensation as shall be fixed by the governing authority of the
deputy             municipality. Such custodian shall, under the direction of the
custodians         superintendent, have charge of and represent the superintendent
                   during the preparation of the voting machines as required by
                   this chapter, and he or she and the deputy custodians, whose
                   duty it shall be to assist him or her in the discharge of his or her
                   duties, shall serve at the pleasure of the superintendent. Each
                   custodian shall take an oath of office framed by the
                   Secretary of State, which shall be filed with the
                   superintendent.

Preparation of   In every primary or election, the superintendent shall               O.C.G.A. § 21-2-     Category 3
voting machines  furnish, at the expense of the municipality, all ballot labels,      327(±)
by               forms of certificates, and other papers and supplies which
superintendents; are required under this chapter and which are not
duties of        furnished by the Secretary of State, all of which shall be in
custodians and   the form and according to the sp_ecifications prescribed
deputy           from time to time by the Secretary of State. In a municipal
custodians       primary, ballot labels and other materials necessary for the
                 preparation of the voting machines shall be furnished free of
                 charge to the municipal superintendent by the political party
                 conducting such primary.
Examination and Any person or organization owning, manufacturing, or                  O.C.G.A. § 21-2-     Category 3
approval of      selling, or being interested in the manufacture or sale of,          368(a)
optical scanning any optical scanning voting system may request the
voting systems   Secretary of State to examine the optical scanning voting
by Secretary of  system. Any ten or more electors of this state may, at any time,
State            request the Secretary of State to reexamine any optical scanning
                 voting system previously examined and approved by him or
                 her. Before any such ·examination or reexamination, the person,
                 persons, or organization requesting such examination or
                 reexamination shall pay to the Secretarv of State the reasonable

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                    expenses of such examination. The Secretary of State may, at
                    any time, in his or her discretion, reexamine any optical
                    scanning voting system.

•Examination and    The Secretary of State shall thereupon examine or                 O.C.G.A. § 21-2-   Category 3
 approval of        reexamine such optical scanning voting system and shall           368(b)
 optical scanning   make and file in his or her office a report, attested by his or
 voting systems     her signature and the seal of his or her office, stating
 by Secretary of    whether, in his or her opinion, the kind of optical scanning
 State              voting system so examined can be safely and accurately
                    used by electors at primaries and elections as provided in this
                    chapter. If this report states that the optical scanning voting
                    system can be so used, the optical scanning voting system shall
                    be deemed approved; and optical scanning voting systems of its
                    kind may be adopted for use at primaries and elections as
                    provided in this chapter.

Examination and     No kind of optical scanning voting system not so approved shall O.C.G.A. § 21-2-     Category 3
approval of         be used at any primary or election and if, upon the               368(c)
optical scanning    reexamination of any optical scanning voting system previously
voting systems      approved, it shall appear that the optical scanning voting system
by Secretary of     so reexamined can no longer be safely or accurately used by
State               electors at primaries or elections as provided in this chapter
                    because of any problem concerning its ability to accurately
                    record or tabulate votes, the approval of the same shall
                    immediately be revoked by the Secretary of State; and no
                    such optical scanning voting system shall thereafter be
                    purchased for use or be used in this state.

Examination and     Any vendor who completes a sale of optical scanning voting        O.C.G.A. § 21-2-   Category 3
approval of         system that has not been certified by the Secretary of State      368(e)
optical scanning    to a governmental body in this state shall be subject to a
voting systems      penalty of $100,000.00, payable to the State of Georgia, plus
by Secretary of     reimbursement of all costs and expenses incurred by the
State               governmental body in connection with the sale. The State
                    Election Board shall have authority to impose such penalty
                    upon a finding that such a sale has occurred.

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Form and            The form and arrangement of ballots shall be prescribed by           O.C.G.A. § 21-2-   Category 3
arrangement of      the Secretary of State and prepared by the superintendent            369(c)
ballots for
optical scanning
voting systems

Write-in ballots    In elections, electors shall be permitted to cast write-.in votes.
                                                                                   O.C.G.A. § 21-2-         Category2
                    The design of the ballot shall permit the superintendents, in  373                      Category 3
                    counting the write-in votes, to determine readily whether an
                    elector has cast any write-in vote not authorized by law. The
                    Secretary of State, in specifying the form of the ballot, and
                    the State Election Board, in promulgating rules and
                    regulations respecting the conduct of elections, shall provide
                    for ballot secrecy in connection with write-in votes.

Form and            The form and arrangement of ballots shall be prescribed by           O.C.G.A. § 21-2-   Category 3
arrangement of      the Secretary of State and prepared by the election                  379.4
ballots for DRE     superintendent                                                                                       ~




voting systems;
write-in votes
Appearance,         The form and arrangement of ballots marked and printed               O.C.G.A. § 21-2-   Category 1
form, and           by an electronic ballot marker shall be prescribed by the            379.23(b)          Category 2
arrangement of      Secretary of State.                                                                     Category 3
ballots

Examination         (a) Any person or organization owning, manufacturing, or         O.C.G.A. § 21-2-       Category 1
requests; sale of   selling, or being interested in the manufacture or sale of, any  379.24(a)-(d)          Category 2
unapproved          electronic ballot marker may request that the Secretary of State                        Category 3
devices             examine the device. Any ten or more electors of this state
                    may, at any time, request that the Secretary of State
                    reexamine any such device previously examined and
                    approved by him or her. Before any such examination or
                    reexamination, the person, persons, or organization requesting
                    such examination or reexamination shall pay to the Secretary of
                    State the reasonable expenses of such examination or
                    reexamination. The Secretary of State shall publish and
                    maintain on his or her website the cost of such examination
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                    or reexamination. The Secretary of State may, at any time,
                    in his or her discretion, reexamine any such device.

                    (b) The Secretary of State shall thereupon examine or
                    reexamine such device and shall make and ftle in his or her
                    office a report, attested by his or her signature and the seal
                    of his or her office, stating whether, in his or her opinion,
                    the kind of device so examined can be safely and accurately
                    used by electors at primaries and elections as provided in
                    this chapter. If this report states that the device can be so used,
                    the device shall be deemed approved, and devices of its kind
                    may be adopted for use at primaries and elections as provided
                    in this chapter.

                    (c) Any device that is not so approved shall not be used at any
                    primary or election and if, upon reexamination, a previously
                    approved device appears to be no longer safe or accurate for use
                    by electors at primaries or elections as provided in this chapter
                    because of an inability to accurately record votes, the approval
                    of the same shall immediately be revoked by the Secretary of
                    State, and no such device shall thereafter be used or purchased
                    for use in this state.

                    (d) Any vendor who completes a sale of an electronic ballot
                    marker that has not been certified by the Secretary of State to a
                    governmental body in this state shall be subject to a penalty of
                    $100,000.00, payable to the State of Georgia, plus
                    reimbursement of all costs ·and expenses incurred by the
                    governmental body in connection with the sale. The State
                    Election Board shall have the authority to impose such penalty
                    upon a finding that such a sale has occurred.

Programming         The superintendent may appoint, with the approval of the              O.C.G.A. § 21-2-   Category 3
proper design       county or municipal governing authority, as appropriate, a            379.25(b)
and style of        custodian of the electronic ballot markers, and deputy
ballots;            custodians as may be necessary, whose duty shall be to prepare
custodian of        the devices to be used in the county or municipality at the
electronic ballot   primaries and elections to be held therein. Each custodian and
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markers; testing    deputy custodian shall receive from the county or municipality
of electronic       such compensation as shall be fixed by the governing authority
ballot markers      of such county or municipality. Such custodian shall, under the
                    direction of the superintendent, have charge of and represent the
                    superintendent during the preparation of the devices as required
                    by this chapter. The custodian and deputy custodians shall
                    serve at the pleasure of the superintendent and each shall
                    take an oath of office prepared by the Secretary of State
                    before each primary or election, which shall be filed with
                    the superintendent.

Storage and         All electronic ballot markers and related equipment, when           O.C.G.A. § 21-2-    Category 3
security of         not in use, shall be properly stored and secured under              379.26(!3-)
electronic ballot   conditions as shall be specified by the Secretary of State.
markers
Application for     If found ineligible, the clerk or the board of registrars shall deny O.C.G.A. § 21-2-   Category 2
ballot              the application by writing the reason for rejection in the proper    381(b)(3)          Category 3
                    space on the application and shall promptly notify the applicant
                    in writing of the ground of ineligibility, a copy of which
                    notification should be retained on file in the office of the board
                    of registrars or absentee ballot clerk for at least one year.
                    However, an absentee ballot application shall not be rejected
                    due to an apparent mismatch between the signature of the
                    elector on the application and the signature of the elector on file
                    with the board of registrars. In such cases, the board of
                    registrars or absentee ballot clerk shall send the elector a
                    provisional absentee ballot with the designation
                    "Provisional Ballot" on the outer oath envelope and
                    information prepared by the Secretary of State as to the
                    process to be followed to cure the signature discrepancy. If
                    such ballot is returned to the board of registrars or absentee
                    ballot clerk prior to the closing of the polls on the day of the
                    primary or electiQn, the elector may cure the signature
                    discrepancy by submitting an affidavit to the board of registrars
                    or absentee ballot clerk along with a copy of one of the forms of
                    identification enumerated in subsection (c) of Code Section 21-
                    2-417 before the close of the period for verifying provisional

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                    ballots contained in subsection (c) of Code Section 21-2-419. If
                    the board of registrars or absentee ballot clerk finds the affidavit
                    and identification to be sufficient, the absentee ballot shall be
                    counted as other absentee ballots. If the board of registrars or
                    absentee ballot clerk finds the affidavit and identification to be
                    insufficient, then the procedure contained in Code Section 21-2-
                    386 shall be followed for rejected absentee ballots.

State write-in      The Secretary of State shall design a state write-in absentee          0.C.G.A. § 21-2-   Category 2
absentee ballots    ballot for federal offices and state offices that are voted upon       381.2(a)           Category 3
                    on a state-wide basis for use in a primary runoff or election
                    runoff by an eligible absentee elector who lives outside the
                    county or municipality in which the election is held and who is:

State write-in      The Secretary of State shall establish a website which such            O.C.G.A. § 21-2-   Category 2
absentee ballots    eligible absentee electors may access to determine if there is         381.2(d)           Category 3
                    a primary runoff or election runoff for a federal office or a
                    state office that is voted upon on a state-wide basis. The
                    address of such website shall be included in the instructions for
                    voting such state write-in absentee ballot.

Official absentee   The form for either ballot shall be determined and                     O.C.G.A. § 21-2-   Category 3
ballots             prescribed by the Secretary of State, except in municipal              383(a)
                    primaries or elections, in which the form of absentee ballots
                    which follows the paper ballot format shall be determined and
                    prescribed by the superintendent.

Preparation and     Except for ballots voted within the confines of the registrar's or     O.C.G.A. § 21-2-   Category 3
delivery of         absentee ballot clerk's office, in addition to the mailing             384(b)
absentee ballots;   envelope addressed to the elector, the superintendent, board of
mailing ballots     registrars, or absentee ballot clerk shall provide two
to absentee         envelopes for each official absentee ballot, of such size and
voters; oaths;      shape as shall be determined by the Secretary of State, in
assistance;         order to permit the placing of one within the other and both
master list;        within the mailing envelope. On the smaller of the two
transmission to     envelopes to be enclosed in the mailing envelope shall be
                    printed the words "Official Absentee Ballot" and nothing else.

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uniformed and        On the back of the larger of the two envelopes to be enclose~
overseas· citizens   within the mailing envelope shall be printed the form of oath of
                     the elector and the oath for persons assisting electors, as
                     provided for in Code Section 21-2-409, and the penalties
                     provided for in Code Sections 21-2-568, 21-2-573, 21-2-579,
                     and 21-2-599 for violations of oaths; and on the face of such
                     envelope shall be printed the name and address of the board of
                     registrars or absentee ballot clerk. The larger of the two
                     envelopes shall also display the elector's name and voter
                     registration number. The mailing envelope addressed to the
                     elector shall contain the two envelopes, the official absentee
                     ballot,· the uniform instructions for the manner of preparing
                     and r:eturning the ballot, in form and substance as provided
                     by the Secretary of State, provisional absentee ballot
                     information, if necessary, and a notice in the form provided
                     by the Secretary of State of all withdrawn, deceased, and
                     disqualified candidates and any substitute candidates pursuant
                     to Code Sections 21-2-134 and 21-2-155 and nothing else. The
                     uniform instructions shall include information specific to the
                     voting system used for absentee voting concerning the effect of
                     overvoting or voting for more candidates than one is authorized
                     to vote for a particular office and information concerning how
                     the elector may correct errors in voting the ballot before it is
                     cast including information on how to obtain a replacement
                     ballot if the elector is unable to change the ballot or correct the
                     error.

Voting by            The registrars or absentee ballot clerk, as appropriate, shall        O.C.G.A. § 21-2-   Category 3
absentee             provide reasonable notice to the electors of their jurisdiction of    385(d)(2)
electors;            the availability of advance voting as well as the times, dates,
penalties            and locations at which advance votinRwill be conducted. In
                     addition, the registrars or absentee ballot clerk shall notify
                     the Secretary of State in the manner prescribed by the
                     Secretary of State of the times, dates, and locations at which
                     advance voting will be conducted.



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Pilot program        The Secretary of State shall develop and implement a pilot          O.C.G.A. § 21-2-   Category 3
                     program for the electronic transmission, receipt, and counting      387(a)
                     of absentee ballots by persons who are entitled to vote by
                     absentee ballot under the federal Uniformed and Overseas
                     Citizens Absentee Voting Act, 42 U.S.C. Section 1973ff, et
                     seq., as amended, for use.in a primary or a general election.

Cards of             Prior to each primary and election, the superintendent shall        O.C.G.A. § 21-2-   Category 3
instructions and     obtain from the Secretary of State a sufficient number of           400(a)
supplies; sample     cards of instruction for guidance of electors. Such cards of
ballots and ballot   instruction shall include such portions of this chapter as
labels               deemed necessary by the Secretary of State and shall be
                     printed for the type of voting equipment or ballots used in the
                     county or municipality. The superintendent shall also obtain
                     from the Secretary of State a sufficient number of blank
                     forms of oaths of poll officers, voter's certificates, voting
                     rights posters, notices of penalties, oaths of assisted electors,
                     numbered list of voters, tally sheets, return sheets, and such
                     other forms and supplies required by this chapter, in each
                     precinct of the county or municipality.

Delivery of          The superintendent shall provide at the polling place copies of     O.C.G.A. § 21-2-   Category 3
ballots and          the sample or facsimile ballots for such primary or election as     401(d)
supplies to          well as a list of the certified write-in candidates for such
managers             election in the form as provided by the Secretary of State or
                     appropriate municipal official pursuant to Code Section 21-
                     2-133.

Voter's              At each primary and election, the Secretary of State shall          O.C.G.A. § 21-2-   Category 3
certificates         prepare and furnish to each superintendent a suitable               402(a)
                     number of voter's certificates which shall be in substantially
                     the following form:

Voter                The Secretary of State shall provide each county board of           O.C.G.A. § 21-2-   Category 3
identification       registrars with the necessary equipment, forms, supplies,           417.l(g)
cards                and training for the production of the Georgia voter
                     identification cards and shall maintain such equipment.

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Casting of         Such person voting a provisional ballot shall complete an             O.C.G.A. § 21-2-   Category 2
provisional        official voter registration form and a provisional ballot voting      418(b)             Category 3
ballots            certificate which shall include information about the place,
                   manner, and approximate date on which the person registered to
                   vote. The person shall swear or affirm in writing that he or she
                   previously registered to vote in such primary or election, is
                   eligible to vote in such primary or election, has not voted
                   previously in such primary or election, and meets the criteria
                   for registering to vote in such primary or election. The form of
                   the provisional ballot voting certificate shall be prescribed
                   by the Secretary of State. The person shall also present the
                   identification required by Code Section 21-2-417.

Method of          The board of registrars shall complete a report in a form             O.C.G.A. § 21-2-   Category 3
voting and         designated by the Secretary of State indicating the number            419(e)
counting           of provisional ballots cast and counted in the primary or
provisional        election.
ballots

Absentee ballots   Ballots in a precinct using optical scanning voting equipment         O.C.G.A. § 21-2-   Category 3
                   for use by absentee electors shall be prepared sufficiently in        482
                   advance by the superintendent and shall be delivered to the
                   board of registrars as provided in Code Section 21-2-384. Such
                   ballots shall be marked "Official Absentee Ballot" and shall be
                   in substantially the form for ballots required by
                   Article 8 of this chapter, except that in counties or
                   municipalities using voting machines, direct recording
                   electronic (DRE) units, or ballot scanners, the ballots may be in
                   substantially the form for the ballot labels required by Article 9-
                   of this chapter or in such form as will allow the ballot to be
                   machine tabulated. Every such ballot shall have printed
                   on the face thereof the following: "I understand that the offer or
                   acceptance of money or any other object of value to vote for
                   any particular candidate, list of candidates, issue, or list of
                   issues included in this election constitutes an act of voter fraud
                   and is a felony under Geor~a law." The form for either ballot

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                    shall be determined and prescribed by the Secretary of
                    State.

Consolidated        Each county and municipal superintendent shall prepare four      O.C.G.A. § 21-2-       Category 3
certified returns   copies of the consolidated return of the primary to be certified 496(a)
of primaries;       by the superintendent on forms furnished by the Secretary
returns             of State, such consolidated returns to be filed immediately upon
fmwarded to         certification as follows
Secretary of
State; electronic
filing

Consolidated        The Secretary of State is authorized to provide a method by          O.C.G.A. § 21-2-   Category3
certified returns   which the election superintendent can file the results of            496(b)
of primaries;       primaries and elections electronically. Once the Secretary of
returns             State provides such a method of filing, the election
forwarded to        superintendent shall file a copy of the election returns
Secretary of        electronically in the manner prescribed by the Secretary of
State; electronic   State in addition to the filing provided in subsection (a) of this
filing              Code section. The Secretary of State is authorized to
                    promulgate such rules and regulations as necessary to
                    provide for such an electronic filin~.
Consolidated        Each county and municipal superintendent shall, upon                 O.C.G.A. § 21-2-   Category 3
certified returns   certification, furnish to the Secretary of State in a manner         496(c)
of primaries;       determined by the Secretary of State a f'"mal copy of each
returns             ballot used for such primary.
forwarded to
Secretary of
State; electronic
filing

Consolidated        Each county and municipal superintendent shall prepare four       O.C.G.A. § 21-2-      Category 3
certified returns   copies of the consolidated return of the election to be certified 497(a)
of elections;       by the superintendent on forms furnished by the Secretary
returns             of State, such consolidated returns to be filed immediately upon
forwarded to        certification as follows


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Secretary of
State

Consolidated         Each county and municipal superintendent shall, upon               O.C.G.A. § 21-2-   Category 3
certified returns    certification, furnish to the Secretary of State in a manner       497(b)
of elections;        determined by the Secretary of State a final copy of each
returns              ballot used for such election.
forwarded to
Secretary of
State

Precertification   The Secretary of State shall conduct a risk-limiting audit           O.C.GA. § 21-2-    Category 3
tabulation audits; pilot program with a risk limit of not greater than 10               498(e)
rules and          percent in one or more counties by December 31, 2021. The
regulations; risk- Secretary of State shall review the results of the pilot
limiting audit     program and, within 90 days following the election in which
pilot program      such pilot program is used, shall provide the members of
                   the General Assembly with a comprehensive report,
                   including a plan on how to implement risk-limiting audits
                   state wide. If such risk-limiting audit is successful in achieving
                   the specified confidence level within five business days
                   following the election for which it was conducted, then all
                   audits performed pursuant to this Code section shall be
                   similarly conducted, beginning not later than November l,
                   2024.

Secretary of         Upon receiving the certified returns of any election from the      O.C.G.A. § 21-2-   Category 3
State to tabulate,   various superintendents, the Secretary of State shall              499(a)
compute,             immediately proceed to tabulate, compute, and canvass the
canvass, and         votes cast for all candidates described in subparagraph
certify certain      (a)(4)(A) of Code Section 21-2-497 and upon all questions
returns              voted for by the electors of more than one county and shall
                     thereupon certify and file in his. or her office the tabulation
                     thereof. In the event an error is found in the certified returns
                     presented to the Secretary of State or in the tabulation,
                     computation, or canvassing of votes as described in this Code
                     section, the Secretary of State shall notify the county

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                                                                                             of of
                                                                                                99 602

                     submitting the incorrect returns and direct the county to
                     correct and recertify such returns. Upon receipt by the
                     Secretary of State of the corrected certified returns of the
                     county, the Secretary of State shall issue a new certification of
                     the results and shall file the same in his or her office.

Secretary of         The Secretary of State shall also, upon receiving the                O.C.G.A. § 21-2-   Category 3
State to tabulate,   certified returns for presidential electors, proceed to              499(b)
compute,             tabulate, compute, and canvass the votes cast for each slate
canvass, and         of presidential electors and shall immediately lay them
certify certain      before the Governor. Not later than 5:00 P.M. on the
returns              seventeenth day following the date on which such election was
                     conducted, the Secretary of State shall certify the votes cast for
                     all candidates described in subparagraph (a)(4)(A) of Code
                     Section 21-2-497 and upon all questions voted for by the
                     electors of more than one county and shall no later than that
                     same time lay the returns for presidential electors before the
                     Governor. The Governor shall enumerate and ascertain the
                     number of votes for each person so voted and shall certify the
                     slates of presidential electors receiving the highest number of
                     votes. The Governor shall certify the slates of presidential
                     electors no later than 5 :00 P .M. on the eighteenth day following
                     the date on which such election was conducted.
                     Notwithstanding the deadlines specified in this Code section,
                     such times may be altered for just cause by an order of a judge
                     of superior court of this state.

Certificates of      Governor and other constitutional officers. Upon completing          O.C.G.A. § 21-2-   Category 3
election;            the tabulation of any election for Governor, Lieutenant              502(a)
commissions;         Governor, Secretary of State, Attorney General, State School
proclamations        Superintendent, Commissioner of Insurance, Commissioner of
                     Agriculture, or Commissioner of Labor, the Secretary of State
                     shall lay the same before the Governor
                     upon his or her oath of office as Governor; and the Governor,
                     upon the other constitutional officers taking their oaths of
                     office, shall issue a commission under the great seal of the State
                     of Georgia signed by the Governor and countersigned by the

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                  Secretary of State, to each such person. The Secretary of State
                  shall issue the commission to the person elected Governor.

Certificates of   United States senators; representatives in Congress; members     O.C.G.A. § 21-2-   Category 3 -
election;         ofthe General Assembly.                                          502(b)
commissions;      (1) Upon completing the tabulation of any election for United
proclamations     States senator or representative in Congress, the Secretary of
                  State shall lay the same before the Governor, who shall
                  immediately issue certificates of election and commissions
                  under the seal of the state, duly signed by the Governor and
                  attested by the Secretary of State and deliver the same to the
                  candidates receiving the required number of votes to be elected
                  to the respective offices.
                  (2) The Secretary of State shall issue certificates of election
                  to the persons elected members of the Senate and the House
                  of Representatives of the General Assembly and, between the
                  hours ofl2:00Noon and 1:00 P.M. on the second Monday in
                  January of each odd-numbered year; present before the Senate
                  and the House of Representatives the
                  several returns of the elections of members of the respective
                  houses. In case of a special election the Secretary of State
                  shall issue a certificate of election to each person so elected,
                  and the Secretary of State shall present the returns of such
                  election to the proper house as soon as received and tabulated
                  by the Secretary of State. Immediately upon their taking the
                  oath of office, each member of the Senate and the House of
                  Representatives shall be issued a commission under the great
                  seal·of the State of Georgia, signed by the Secretary of State.

Certificates of   Justices ofthe Supreme Court, Judges ofthe Court ofAppeals,      O.C.G.A. § 21-2-   Category 3
election;         Commissioners of the Georgia Public Service Commission,          502(c)
commissions;      judges ofthe superior court, judges ofthe juvenile court, and
proclamations     district attorneys. Upon completion of the tabulation the
                   Secretary of State shall certify the result of each election of
                  Justices of the Supreme Court, of Judges of the Court of
                  Appeals, of Commissioners of the Georgia Public Service
                   Commission, of judges of the superior court, of jude;es of the

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                  juvenile court where elected, and of district attorneys to the
                  Governor and shall issue a certificate of election to each
                  person so elected. The Governor shall, upon each such person
                  taking the oath of office, immediately issue a commission under
                  the great seal of the State of Georgia, signed by the Governor
                  and countersigned by the Secretary of State, to each such
                  person.


Certificates of   Presidential electors. The Secretary of State, on receiving       O.C.G.A. § 21-2-   Category 3
election;         and computing the returns of presidential electors, shall lay     502(e)
comrmss1ons;      them before the Governor, who shall enumerate and ascertain
proclamations     the number




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Stacey Abrams Could Become Nation's First Black Female
Governor
-----------------------------------------
D diverseeducation.com/article/116950/
                                                                                      May 23,
                                                                                      2018


Stacey Abrams, the 44-year-old
Spelman graduate, shocked the
political establishment when she beat
out her opponent, former state Rep.
Stacey Evans, to win the Georgia
Democratic gubernatorial primary.

Abrams, wil l now face off against a
Republican in the general election in
November. If she is successful, she
wi ll become the nation's first Black
fema le governor.

"We are writing the next chapter of
Georgia history, where no one is                                             M
unseen, no one is unheard and no                                               de
                                                                             Howard
one is uninspired," said Abrams, a                                               prtside
1995 graduate of the historically Black
women's col lege in Atlanta.

Prior to her run for office, Abrams
served as the minority leader of the
Georgia Statehouse and garnered the
support of Hillary Clinton and presidential
hopefuls Cory Booker, Bernie Sanders, and
Kamala Harris.

Still, Abrams has an uphill battle. A Democrat
has not held the governor's mansion since
2003.

It is unclea r who Abrams will run aga inst. Lt.
Gov Casey Cagle won the Repub lican primary
on Tuesday, but will face Georgia's secretary
of state Brian Kemp in a run-off on July 24.
                                                                 Stacey Abrams
                                                                                                1/3
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Dr. Khalilah L. Brown-Dean, an associate

''The strength of Abrams' victory in the primary rests on her ability to take her message
directly to voters and communities who have traditionally been exercised out of the political
process," said Brown-Dean "In plain language and with a stellar resume she has connected
with voters for whom student loan debt feels like a behemoth they can't shake. Working
class people see in her, a candidate who shares their values that aren't bound by urban
versus rural versus suburban distinctions."

Brown-Dean said that the path to victory in the general election will be tenuous and no one
should assume that her win on Tuesday signals the end of vicious battles over race, class,
and gender that have long characterized Georgia politics.

"Quite the contrary," said Brown-Dean. "Instead Abrams rests not as an anomaly but as an
exemplar of public officials who can connect grassroots mobilization with a strategic vision
and an ambitious political agenda."

Dr. Ravi Perry, associate professor and chair of the Department of Political Science at
Virginia Commonwealth University said that Abrams' win is significant, adding that while her
victory was not a surprise to pollsters and close campaign observers, her margin of victory
with 53% suggests that she and her message has broad appeal.

"Her strategy has significant implications for a state, region, and country where race has
been central to its politics from the beginning," said Perry. "Her campaign has sought to
mobilize Black voters rather than reaching out to moderate swing voters. This strategy
worked for Obama. It worked in Alabama for U.S. Senator Doug Jones. It worked in Virginia
state elections last November (where the chamber in the capital of the confederacy was one
vote shy of a Democratic majority - the largest turnover in seats in the state legislature in
several generations), and it worked in a number of southern cities in the south enjoying
Black progressive leadership, including Atlanta. Birmingham, Jackson, Charlotte, New
Orleans, and Richmond to name a few."

Perry said that Abrams has not run from either wing of the Democratic Party- suggesting
that a unified Party can win big in regions where the population is diverse in every way -
from liberal city dwellers to rural farmers.

"She has made a point to acknowledge the Clintons, the Obamas, and Senator [Bernie]
Sanders," said Perry. 'With this approach, she both minimizes the differences, and brings
everyone in the Party that has struggled for a Trump era identity, together."

Perry said that Abrams has been successful in galvanizing the young vote as well.




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"Her ability to understand, relate to, and energize young voters is central to her chances of
winning," he said. "And, her candidacy highlights how much progress the Democratic Party
can make by investing in younger candidates for public office."




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               ' '                                    Ethnic Identity: Demography and Destiny               113


Barreto 2007)                   the Senate today has more than doubled: from about five in the 1970s, by
tpact a range                   the time of the 116th Congress there were fifteen Asian and Pacific Islander
, and protest.                  members of Congress - three Senators and twelve members of the House (all
including the                   Democrats)- plus one nonvoting Republican delegate from American Samoa.
presentation,                   Some members, such as Senator Kamala Harris (D-CA), joined both the Asian
!Scriptive rep-                 and Pacific Islander caucus and the Congressional Black Caucus.
nericans have                      In 2018, voters dramatically increased the diversity of the congressional
!re were only                   delegation while still falling short of proportional representation. Although
. Today there                   Hispanics comprise roughly 19 percent of the total US population, they form
ators (fifty-six                less than 10 percent of the US House. Two candidates, Deb Haaland of New
,een similarly                  Mexico and Sharice Davids of Kansas, became the first American Indian
 at the federal                 women ever elected to Congress. Their entry would come over 190 years after
 In the 116th                   Hiram Revels of the Lumbee tribe was elected as the first African American
.spanic House                   and first American Indian to enter the legislature. The number of American
 two partisan-                  Indian members of Congress doubled in the 116th Congress. Currently, there
to Rico.                        are four American Indian members: two Republicans, both representing the
; has been less                 state of Oklahoma in the House (Markwayne Mullin and Tom Cole), and the
:he House and                   two newly elected Democratic women.


                                                                 State Growth

                                In ternis ofraw numbers, growth has been most remarkable at the state level.
                                Over the past fifty years the nation's fifty legislatures have been transformed
                                from institutions that were almost completely white into more diverse bodies
                                that have begun to reflect their respective populations. Figure 5.6 plots the
                                ethnoracial diversity of state legislatures.
                                   The proportion of African Americans, Latinos, and Asian Americans in state
                                legislatures still falls below their proportion in the general population. Blacks
                                have made the greatest gains - from holding 2 percent of all state legislative
                                seats in 1969 to about 8.5 percent of all seats in 2009. The Latino share has
                                likewise grown, from 1 percent in 1973 to almost 5 percent today. For Asian
                                Americans the growth has been less steady and less robust: from a low of
                                1 percent in the 1970s, Asian Americans still hold under 2 percent of all state
                                legislative seats. Whites hold over 85 percent of all seats at the state level,
                                despite accounting for just under 75 percent of all US voters and 62 percent of
                                the total population (Brown-Dean et al. 2015).
                                . Deval Patrick (D-MA), who left office in early 2015, was the last Black gov-
                                ernor elected to office. In 2018, three African American candidates - Ben
                                Jealous of Maryland, Stacy Abrams of Georgia, and Andrew Gillum of Florida -
. She is a veteran
                                launched bids to become governor of their respective states, but all three fell
:he ftrst US                    short in elections cloud·ed by allegations of voter suppression and racial bias
1aHand.                         (Lopez 2018; Thrush and Peters 2018). Latinos started from a lower base - there
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                  114                         Ethnic Identity: Demography and Destiny


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                      1968    1973     1978     1983     1988    1993      1998             2003        2008     2013   2018
                                               -- Blacks        Latinos    _.,_ Asian Americans

                  Figure 5.6 Increase in diversity in state legislatures, 1969-2015
                  SOURCE: Brown-Dean et al. (2015).


                  were only sixty-eight Hispanic state legislators in 1973 - but have experienced
                  growth at a roughly equal pace over time. In 2018, across the fifty states, there
                  were 334 Hispanic state legislators as well as two Latino governors, both of
                  whom had left office by the start of 2019.
                    Once again, we see growth in the number of Asian American elected officials
                  but at a slightly slower pace; there were sixty-three in 1968 and there are
                  116 today. In 2018, Idaho State Representative Paulette Jordan failed in her
                  attempt to become the first governor in US history from an Indian tribe.
                    For underrepresented groups, developing political organizations to foster
                  networking and training are critical for successfully navigating political ter-
                  rain. For example, the National Caucus of Native American State Legislators
                  was created to "provide research, training, and educational services to
                  American Indian, Alaska Native, and Native Hawaiian state legislators." 15
                  Although there are fewer Indian legislators, the caucus has played an instru-
                  mental role in shaping state legislative debates regarding issues of potential
                  concern to tribes, including health care, law enforcement, gaming, and natu-
                  ral resources.


                         The Ongoing Underrepresentation of Communities of Color

                  The fact that enormous change has occurred is incontrovertible. Rapid growth
                  in the number of elected officials from diverse communities across the country
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                                                    111e I11escapability of Identity Politics           231


md were branded                One of the greatest arenas for gauging perceptions of group threat and
1eing "SOB's" who           "Americanness" is in the realm of electoral politics. Historically, access to
: professional and          voting and office-holding was reserved for those thought independent enough
nen's soccer team           to participate. For the vast majority of US history, that standard excluded
team, to kneel in           groups such as women, young people, people of color, and poor people.
                            This denial of one of the most fundamental rights of US citizenship fueled
 uprisings spread           a persistent quest for full citizenship via the francl1ise. Through a series of
hood streets over           political movements. legal challenges, and constitutional amendments, the
ns of color. VVhile         diversity among voters has increased while that of legislators has been more
nporary conflicts,          constrained. The results of the 2018 midterm elections highlight the possibil-
tees such as Watts          ity that many voters are ready to change that.
: think that we've             The 116th Congress is the most diverse in the history of the people's branch.
1d, what is it that         While it is true that the number of women, African Americans, Latinx. and
ces of the unheard          LGBTQ[ members of the legislature has increased, we also witnessed greater
   resist laws crimi-       diversity along the lines of gender identity, religion, and age. And yet, even as
1. It inspired Bree         some celebrated these victories, longstanding institutional norms and struc-
:est a symbol that          tures continue to shape their ability to translate those demographic changes
 sire to address the        into a more substantive representation of group interests. For some elected
 Linst sexual assault       officials, their very presence in a legislative body that once denied their
 :i it motivated pro-       citizenship is evidence of democracy's promise. The changing demographic
  the Indians of All        landscape of the United States, coupled with our increasingly polarized politi-
 ,ast movements for         cal space, means that candidates from underrepresented groups now have the
 1 important part of        potential to challenge traditional conventions. For example, Georgia voters
                            chose Lucy McBath (D-Georgia) to unseat a Republican incumbent in a district
                            once represented by former Speaker of the House Newt Gingrich. In conserva-
                            !1Ve Mississippi, former US Agriculture Secretary Mike Espy stunned observers
                            by narrowly losing the Senate race to frontrunner Susan Hyde-Smith. And
                            yet the persistence of voter suppression and disenfranchisement in places
  have imagined that        such as Georgia, Florida, Nevada, Ohio, and Pennsylvania reminds us that
 vernor and attorney        mobilization breeds countermobilization. Those institutional attacks coupled
  yearbooks wearing         with candidates' use of racial dog whistles in 2018 suggest that maneuvering
 :s prompted conver-        the politics of identity in the twenty-first century is often marred by early
 standing, this latest      twentieth-century tactics.
 [ also couldn't have          Beyond the electoral arena, I couldn't have predicted that the release of
  decision to separate       blockbuster films Crazy Rich Asians and Black Panther would capture theater
  ,ple expressed shock       audiences in record numbers while stimulating broader conversations about
   they resembled the       authentic representations of ethnic identities in film and culture. Likewise,
  {ecutive Order 9066        the heightened tensions between the United States and other countries such as
  ·man descent. To be        North Korea elevated concerns about military threats while shaping renewed
  re American citizens       calls to define "America first." These dimensions of foreign policy and inte~
  2:ver, deciding which      national standing help shape domestic debates over which groups are, and
   are included within       Which are not, included within that collective national identity. And yet,
                             even as voters sift through rapidly changing news cycles and the increasingly
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                                                                         •    DEFENDANT'S
         Khali lah L. Brown-Dean                                         ij     EXHIBIT   c                                 April 12, 2018
                                                                         ~         ]        'l
         I've spent the last 15 years researching and
         writing about the impact of punishment on
                                                                         tdJ    t Z-11-J'I c&


                                                                 DkiieiSe
         various aspects of American politics.

         I've written about the concept of civil death
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                                                                 ISSUES lNHH:affiREDUCATION"                     ,.._W.,tn,,trl!MWMal) .. ..._., :aL••
         and how the collateral consequences of a
         conviction limit opportunities for the
         formerly incarcerated to engage as full
         citizens.

         I've written about the impact of
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         hyperincarceration and punishment on
         children and families confronted with the
         generational effects of living on the
         periphery of inclusion.

         I've worked with organizations and
         programs designed to elevate the voices of
         the formerly incarcerated within
         policymaking spaces.

         I've even studied the relationship between
         punishment and gerrymandering.

         Over time, we've witnessed a concerted
         effort to denounce the undeniable racial disparities resulting from America's addiction to punishment.

         As the junior senator from Illinois seeking the Democratic presidential nomination, Barack Obama
         called for a new criminal justice system based on transparency, fairness, justice and equity. Central to
         that push was denouncing a failed war on drugs that led the U.S. to lock up more people, per
         incident, than any other country in the world.

         Organizations such as the Equal Justice Initiative emerged to protect human rights and end
         excessive punishment. Ava DuVernay's gripping documentary, 13th , exposed the depths of mass
         incarceration in a way that "Orange is the New Black" never could . And now, Black women and
         Latinas comprise the fastest-growing prison population in this country. Certainly those stats should
         give us pause and motivate action .

         What often is missing from that focus , however, is an emphasis on the voices and experiences of
         victims and their families , particularly victims of color whose needs become marginalized in multiple
         policy spaces. And families who often are stigmatized and overlooked within mainstream society and


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         within their home community.

         I look back on my scholarship and I'm almost embarrassed to admit that so little of that work has
         focused on those most affected by the criminal justice system. Even among those of us who think we
         get it - who think that we are aware of and sensitive to how oppression and privilege work, who can
         trace the lineage of the Combahee River Collective's focus on intersectionality or who now realize
         that referring to yourself as "woke" usually means you aren't - there is always more to learn and
         explore.

         Too often, our scholarship surrounding the criminal justice system focuses only on those accused or
         convicted of a crime. We study how the collateral consequences of a conviction hamper re-entry. We
         debate whether taxpayer dollars should go toward providing access to education and vocational
         training programs for the incarcerated. We collect data on changing demographic trends and analyze
         its relationship to political representation.

         All of that has its place. But the myopic focus, solely on what offenders need, fails to address what
         victims deserve.

         How do we begin to reestablish normalcy for people who have lost everything? How do we create
         programs that address the loss of income, innocence and faith that many families face? How do we
         craft public policies and laws that don't revictimize those who have been harmed?

         And as the recent public outbursts by Stephan Clark's brother Stevante illustrate, we need to address
         the impact of perpetual traumatic stress for community members constantly exposed to loss and
         grief.

         Quite simply, there is no "how to" best-practices primer for families attempting to navigate private loss
         amid public scrutiny, a scrutiny that places greater emphasis on expressions of grief rather than what
         motivates it.

         To fully understand the dynamics of community, power and privilege, our research must address how
         certain lives are deemed more valuable than others. The arbitrary way in which we decide which lives
         are more important leaves us with a system that is far from just.

         Too often, victims are treated as defendants whose backgrounds are dissected to prove that they are
         worthy of our collective outrage. It's imperative that political movements address the notion that
         certain families are less worthy of justice because of the circumstances of their loved one's death. As
         scholars from various fields deepen their research interests in the policy implications of gun violence,
         it's necessary to address the everyday banal losses of life that don't go viral or capture national
         headlines.

         To families like my own, whose innocence has been shattered in an instant, every loss is heinous.
         None is less painful than another, regardless of the circumstances.




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         As academics, we are trained to approach these topics from a detached, objective and often
         quantitative perspective. But on February 20, 2011, that boundary was erased when my 21-year-old
         cousin, Brian Anthony Patterson, was murdered at a party in Virginia.

         A 19-year-old stood over Brian and fired 9 shots into his body. Brian was a son. A brother. And a
         beloved cousin. His life was significant. Amid the feelings of hurt, anger, confusion and yes, shame,
         our family was left feeling as if his loss was dismissed by others as just another "urban narrative."

         In states across the U.S., victims and their families are organizing political campaigns to change the
         narrative and eliminate bias in every aspect of the criminal justice system. They are forming interest
         groups and lobbying legislators to enact policy changes that will protect access to physical and
         mental health services for victims.

         One such measure is the Crime Victims Fund, also called the VOCA (Victims of Crime Act) Fund,
         which collects criminal fines and uses the money to provide medical care, compensation for property
         damage and trauma treatment for crime victims, including survivors of domestic violence, family
         members of murder victims and child victims of abuse. Victims and their families are pushing through
         their pain to move toward power.

         My colleague Ben Jones and I explore the political engagement of victims and families in an article
         published by the Politics, Groups, and Identities journal called "Building Authentic Power: A Study of
         the Campaign to Repeal Connecticut's Death Penalty." In it, we offer a concept we called authentic
         power to capture the extent that a group harmed by a policy can get policymakers and other
         government officials to acknowledge this harm and, ultimately, change the policy to the group's
         benefit.

         Death is inevitable. For many families, however, that inevitability seems premature. Let's commit to
         scholarship and activism that empowers rather than shames.

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Honoring Black History Month, in Prison                                  liv ,, ,1-1q J
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Black History Month is often referred
to by my fellow Blackademics as "the
high season." Schools and
organizations across the country seek
us out for obligatory assemblies and
programs. Though the shortest
month, February is the most popular
time of the year for scholars of color
to situate our scholarship within
longstanding questions of freedom
and justice.

Last month was a dizzying whirlwind
for me filled with twelve speaking
engagements that literally stretched
from Feb. 1 to Feb. 28. I began Black
History Month in conversation with
graduate students at the University of
Connecticut's School of Social Wo rk
discussing the relationship between
community development and what I
term concentrated punishment.

Concentrated pun ishment exists in communities with disproportionate rates of surveillance,
incarceration and disenfranchisement that undermine stability. The urban concentration of
these communities, coupled with their distinct racial and ethnic diversity, creates a
perpetual gap between the principle and practice of American democracy. It's fitting then,
that I ended the month honoring Black History Month in prison.

The Cheshire Correctional Institute is a level 4, high-security facility. There are bars and
barbed wire, double windows and striped lines on the floor to clearly distinguish between
inmate and outsider. Most inmates wear state-issued khakis and a plain white shirt with
sneakers. Some have to wear brightly colored jumpsuits to mark them as high-risk.




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Two sets of reinforced doors separate the small entry room where visitors are ID'd, sent
through a metal detector and forced to leave scarves, jackets and car keys in grey lockers.
Cell phones aren't allowed in any part of the building. Even when you have the ability to
leave of your own volition, entering a prison is a visual and visceral reminder of boundaries
both real and imagined.

Cheshire's Black History Month program featured Reginald Dwayne Betts and me in
conversation. Betts is a poet, Yale Law graduate and father who was sentenced to prison at
the age of 16 for a carjacking in Virginia. We met years ago on the beach in Puerto Rico as
our kids played together.

The tension in Dwayne's voice is palpable. He's quick to reject the tired "felon made good"
trope and admonishes those who label him as an "ex-felon" in some obtuse effort to
distance him from the 60 inmates who sit across from us on the other side of the sunken
floor. We sit at a crooked table in hard plastic chairs with a few sheets of blank paper, two
books of Dwayne's poetry and a blue pen that we share. A poet and a professor.

Two men sing the Negro National Anthem to start the second half of the program:

Stony the road we trod, bitter the chast'ning rod,
Felt in the days when hope unborn had died;
Yet with a steady beat, have not our weary feet,
Come to the place for which our fathers sighed?
We have come over a way that with tears has been watered,
We have come, treading our path through the blood of the slaughtered;
Out from the gloomy past, 'ti! now we stand at last
Where the white gleam of our bright star is cast.

Walking into a room filled with Black and Brown faces during a Black History Month
program is usually expected. But this particular time, seeing so many people who look like
me is maddening. Without a cell phone, I can't capture the images I want to embed into my
consciousness. Every cracked ceiling tile darkened by water damage. Every frayed electrical
cord held together with duct tape and wishes. Every clouded view through dirty windows
obscured by barbed wire and bricks.

Even though "re-entry" is a popular buzzword among scholars and grant makers, most of
the people sitting in this room were never entered into society to begin with.

I don't want to forget the guilt I felt after taking a millisecond pause when the first inmate
extended his hand to shake mine. Moments later, a young man asked what can be done to
reverse the Supreme Court's 2013 Shelby v. Holder decision. Sharp minds. I realize I am



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safer in this space filled with both officers and protective inmates than I am walking down
the street of my tree-lined neighborhood. Even among those of us who think ourselves
"woke", this space is a perpetual reminder of the blind spots created by freedom.

I'm not here as a na'ive interloper unaware that there are men in this room convicted of
murder, drug crimes and sexual assaults. But I am here knowing that eight years prior, my
family buried our 21-year-old cousin, Brian Anthony Patterson. Brian's murder shifted my
gaze from a detached social scientist analyzing mass incarceration data to an engaged
scholar-activist demanding systemic reform that prioritizes justice for victims and families.

Brian's death, followed by the execution of Troy Davis in Georgia, propelled my work to
abolish the death penalty in Connecticut. It was built on the belief that true justice depends
on our ability to extend humanity to others - even as they deny it in themselves.

There's a running joke that everyone in prison says they're innocent. Not here. The inmates
we spend time with in the T.R.U.E. unit learn to take full responsibility for their crimes.
T.R.U.E. stands for Truthfulness, Respectfulness, Understanding and Elevating. There's a
brightly colored mantra etched onto a chalkboard that says, "Don't make excuses. Make
improvements."

The unit is comprised of men ages 18 to 25 from different neighborhoods across the state.
They speak of the psychological toll of reconciling the harm they've caused others with the
personal goals they want to achieve. Inmates serving life sentences work as mentors
developing a comprehensive curriculum called the Reflections program. They work
alongside counselors to emphasize that forgiveness happens on the timeline of the person
harmed. There's a dedicated focus on respect and self-awareness, connection and
commitment.

Tomorrow begins a new month on the unit. T.R.U.E. residents will take turns entering a
small office to pay their monthly fees. Another opportunity to practice accountability. After
four hours at Cheshire, I walk away from the T.R.U.E. unit wondering whether having access
to this kind of positive intergenerational development would have prevented some of these
men from getting locked up in the first place. The unusually long drive home gives me time
to ponder how the success of this unit can be replicated in other facilities. Most people on
the unit will eventually return home to neighborhoods where struggle remains a constant.

More than 650,000 people are released from prisons in the United States each year. Many
are people of color returning to urban communities that are already grappling with the
effects of crime, poverty, violence and inferior education - all of the socioeconomic
indicators that significantly reduce one's life chances. Community members struggle to
secure access to housing, education and employment. This struggle is intensified for those
leaving prisons and attempting to return to community.


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The collateral consequences of a conviction limit opportunities for the formerly incarcerated
to support their families and make positive contributions. These restrictions have a
disproportionate impact on groups already struggling to define their place in American
society. For example, over 25% of African Americans and about 20% of Latinos live below the
federally established poverty line. The bulk of these communities - the neighborhoods to
which the formerly incarcerated return - are concentrated in urban areas that face the
additional challenge of reconciling high demands for services with limited resources.

It begs two questions: To what will they return? And what must be done to prepare them for
life after prison?

Dr. Khalilah L. Brown-Dean is an associate professor of political science at Quinnipiac University,
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I have a confession t o ma ke: I'm a
nerd. I mean, a hardcore nerd
fascinated by all things political. Not
the well-crafted veneer of politics that
casual observers see, but t he messy
behind-the-scenes contestations over
power that make perfect ion in
government an impossible goal.

As a Political Scientist, I'm enthralled
by process as much as the output. I
watch Fox News, MSNBC, CNN and
DemocracyNow. I read four
newspapers a day and devour sites
like Al Jazeera, Vice, The Guardian and,
of course, Diverse: Issues In Higher
Education. I've long believed that
politics shapes everything around us
from the curriculum offered in public
schools to how streets are prioritized
for clearing after a Nor'easter. Lately,
it's become nearly impossible to keep
up.

As the White House becomes a revolving door of appointees kicked off the island of misfit
toys, our democracy seems to be in a death spiral of chaos. The constant "breaking news"
disruptions of our momentary respites from political controversy leave me ready to
disengage from pol itics as an investment in self-care.

Frankly, that worries me. Now, more than ever, we can ill-afford to retreat from a process
that literally shapes our ability to live, learn and earn . While we were dist racted by tweets
and playground taunts, state agencies across the country wasted months scrambling to
craft cont ingency plans as Congress debated whet her to pass a long-te rm fund ing solution
for the Children's Health Insurance Program (CHIP) that provides coverage to 9 million



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children. Parents already overwhelmed by the task of caring for a sick child faced the added
stressor of wondering whether the treatments their children rely on would become even
more unaffordable.

And now, as President Trump and Education Secretary Betsy DeVos advocate for arming
teachers with guns, teachers in West Virginia are just returning to the classroom after an
historic nine-day strike protesting efforts to weaken teachers' health coverage by requiring
them to wear tracking devices. Dystopian, indeed.

Communities in greatest need of effective, accountable and efficient political representation
can't afford to be distracted from the very real issues that are decided not at the national
level, but in city halls and state legislative chambers.

My students know that my favorite concept in the whole of American politics is federalism.
The division of power across multiple levels of government structures a policy space where
voters can determine whether their state allows medical marijuana, provides in-state tuition
for undocumented students or protects pensions for public employees.

Indeed it's within city halls and state legislatures where residents can help craft effective
measures to eliminate school violence without ballooning the school-to-prison pipeline that
finds Black children three times as likely to be suspended for the same offense as their
White peers.

Federalism provides the means to hold people accountable for failing to provide residents
of Flint, Mich. with unfettered access to clean, safe drinking water. Federalism tests the
limits of balancing economic development with the demand for affordable housing. And this
fall, federalism will bring voters to the polls to decide whether 1.5 million formerly
incarcerated people in the state of Florida will be allowed to vote again. More on that later.

Political panic seems like a natural response to our current state of political affairs that
rivals any House of Cards meets 1984 plot twist. But panic can only be a temporary
response to a long-festering challenge. Below, I offer five things more effective than political
panic:

1) PRIORITIZE. Whenever I present my research on dismantling the politics of punishment,
someone will invariably ask, "Where do we start?" My answer is always the same. "Start
where you are." Tackling a massive nest of interrelated policy challenges can be
overwhelming, so overwhelming that it can be paralyzing. Prioritize issue areas based on
your own set of interests and resources. Recognize that no one person, organization or
interest has all the answers. Progress doesn't require unanimous consent.

2) SECURE THE BAG. Fannie Lou Hamer famously said, 'Whether you have a Ph.D., D.D., or
No D we are all in this bag together." Lend your professional expertise to civic organizations
with shared policy priorities. Invest in collective success by donating to organizations such
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as tlie NAACP Legal Defense Fund, the Lawyers' Committee for Civil Rights and the Black
Youth Project. Support local community groups and indigenous institutions that fight for
political, socio-economic and legal equity.

3) EDUCATE. Resist the lure of social media prophets who undermine power and agency.
Remind them that Roy Moore lost his bid for the U.S. Senate by less than two percentage
points. Push professional associations to invest in public scholarship that can bridge the gap
between academics, activists, legislators and concerned citizens. Support those willing to
take their insight beyond the academy without losing sight of intellectual rigor and integrity.
Organize panels and roundtables at professional conferences and organizational meetings
that reflect these policy priorities.

4) DEMAND. In 2018, all 435 members of the U.S. House of Representatives will be up for
reelection. Candidates in 36 states will compete in gubernatorial races with important
elections at the local and county level, as well. The last two years have been marked by
political unrest stretching from college campuses to the public square to the halls of
Congress. Don't just vote based on loyalty to a party or ideology. Demand tangible answers
to the difficult policy questions that matter to you, your family and your community.
Candidates who don't have practical answers, no matter how long they've been in office,
don't deserve your votes.

5) PREPARE. Meaningful civic engagement must be sustained and sustainable. Rather than
just reacting to political storms, we have to prepare to face them in advance. For example,
now is the time to prepare communities for the 2020 Census. The results of the decennial
process will shape the allocation of more than $675 billion in resources. That allocation
covers programs aiding vulnerable populations such as the elderly, the poor and victims of
domestic violence. The census outcome also will determine whether public officials will have
the resources they need to confront local challenges.

Our vision of freedom must be greater than what we see right now. Our collective power is
greater than we acknowledge. Don't hit the panic button - yet.

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    In 1996, hip-hop trio De La Soul
    released their third studio album, "The
    Stakes Is High." Fans weren't sure
    whether to embrace the album
    because it marked such a dramatic
    departure from the lighthearted lyrics
    of their previous body of work. But a
    good artist is always committed to
    evolving. The group prided itself on
    being an eclectic alternative to
    mainstream rap groups that
    celebrated consumerism . As members
    of the famed Native Tongue collective,
    De La Soul mused on diverse topics
    like the state of pop culture, the
    notorious O.J. Simpson trial, and
    gender politics.

    The album featured guest spots by
    emcees Common and Mos Def and
    R&B group Zhane. It also included a
    prominent sample of jazz great
    Ahmad Jamal's song "Swahililand."
    Beyond the guest artists and distinct melody, the signature track introduced the phrase,
    "Stakes Is High," into popular lexicon to reflect the mix of po litical, social, and economic
    challenges facing various groups. De La Soul quips, "a meteor has more rights than my
    people, who be wasting time screaming who they've hated, that's why the native tongues
    have been reinstated."

    As we stand just one month away from the 2018 midterm elections, it is imperative to
    remind people that perhaps now more than ever, "the stakes is high." Voters will have the
    opportunity to raise their voices on myriad issues of mutual concern. From setting the tone
    for U.S. foreign policy that will address global terrorism and economic security, to installing
    prosecutors and law enforcement officials who will uphold civil rights protections for all
    citizens, the stakes is high. From the opportunity to elect public officials who adequately
    mirror the country's rapidly changing diversity, to rules changes that cha llenge two party
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dominance over U.S. elections, the stakes is high. Fro
protections, to disrupting the schools to prison
pipeline, the stakes is high. Sidenote: Apo logies to
all my grammar teachers who cringe over the lack
of subject-verb agreement in that phrase, but
context is key.

Keeping up w ith the rapid ly changing nature of
U.S. politics may seem impossible. Even for self-
professed polit ica l junkies li ke myself this current
political moment-some wou ld say crisis-makes it
difficult to adequately appreciate the magnitude of
policy threats that don't always capture the
headlines. Beyond the horse race style of media
reporting that te lls us who's up and who's behind,
many of us feel trapped in a vortex of massive
upheaval on one hand, and a deep entrenchment of the status quo on the other. Each week
leading up to the election my blog posts will focus on various issues, people, and policies
that voters should consider as they head to the polls. To be sure, heading to the polls is
imperative. Although the United States holds more elections than other democratic nations,
we also have a notoriously low rate of voter turnout in midterm elections.

A new report issued by the Pew Center indicates that less than 14 percent of registered
voters cast a ballot in the 2014 m idterm primaries. In contra st, voter turnout in t he 2018
primaries increased by 56 percent in gubernatorial, House, and Senate primaries. These
resu lts are promising. A sim ilar study found that voter enthusiasm in this m idterm season is
higher than any other midterm in over twenty years. At the national level, concerns about
health care, the economy, and Supreme Court appointments dominate the public's ca lculus.
While state level contests focus on taxes, gun policy, immigration, and racial/ethnic
relations.

Voter turnout in m idt erm contests is particu larly low amongst Latino voters in key
battleground states like Texas, Arizona , Florida and Nevada. Voters in t hese states with
higher concentrations of voters of co lor also experienced greater institutional barriers to
voting during the 2016 Presidential election. Within hours of the Supreme Court's decision
t o gut the Voting Rights Act of 1965 in Shelby v. Holder, these states adopted new restrictions
on early voting, photo identification, and reduced the number of polli ng places in certa in
communities. These efforts dramatically increased wait times while discouraging turnout
amongst groups in greatest need of effective representation.

Last week millions of people watched with rapt attention as Dr. Christine Blasey Ford
testified before the Senate Judiciary Comm ittee. At t imes measured but always sincere, Ford
recounted a sexual assau lt she alleges happened at the hands of Supreme Court nominee
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  ' Kavanaugh. To say the hearing proceedings were bizarre is an understatement.
Brett
Republican Senators chose to hire a sex crimes prosecutor from Arizona to field questions
on their behalf rather than asking them of Dr. Ford directly. A month ago we watched a
teary Sen. Lindsey Graham of South Carolina lament the loss of his longtime friend Sen.
John McCain. Graham applauded McCain's commitment to civility and his ability to reach
across the aisle and embrace a mutual sense of respect and commitment to country,
"Country first means that even if it's inconvenient for you and it makes you uncomfortable,
you do it anyway," Graham said. "Country first hurts, but it's the right way to go." It's a nice
sentiment. But one that Graham and many of his colleagues fail to embrace. What are the
political consequences of putting party over principle and how might this effect the
upcoming midterms? My next blog post will explore this question. Stay tuned.

Dr. Khalilah L. Brown-Dean is an associate professor of Political Science at Quinnipiac
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can follow her on Twitter@KBDPHD.




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--Fair Fight Action, Inc.; ACTION, Inc.; Care in Ebenezer Baptist Church of Atlanta,
Georgia, Inc.; Baconton Missionary Baptist Church, Inc.; Virginia Highland Church,
Inc.; The Sixth Episcopal District, Inc.; and Plaintiffs v. Brad Raffensperger


                                   Expert Report
                             Dr. Khalilah L. Brown-Dean




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                                         EXPERT REPORT
                               KHALILAH L. BROWN-DEAN, Ph.D.
                                      August 15, 2019


     BACKGROUND

            I am a tenured Associate Professor of Political Science at Quinnipiac University. I
     received a Bachelor of Arts in Government from the University of Virginia, and a
     Master's and Ph.D. in Political Science from The Ohio State University. I received
     advanced training in the Tufts University Metric Geometry and Gerrymandering
     Summer Program. I specialize in American Politics with an emphasis on elections,
•-   political behavior, and public policy. I study historical and contemporary institutional
     dynamics surrounding voting rights in the United States. In 2015, I co-authored a policy
     report for the non.:.partisan, nonprofit, public policy research organization the Joint
     Center for Political and Economic Studies titled, "Fifty Years of the Voting Rights Act:
     The State of Race in Politics." 1 The report combined extensive archival, quantitative, and
     qualitative data to examine the impact of the Voting Rights Act on registr8:tion, turnout,
     representation, and policy responsiveness.
             My research on various aspects of voting rights, election administration, and
     political representation is published in peer-reviewed journals (e.g. Politics, Groups, and
     Identities; National Political Science Review), books, and policy reports. In 2015,
     Cambridge University Press published a chapter I authored in Election Administration in
     the United States: The State of Reform Ten Years After Bush v. Gore that was co-edited by
     Michael Alvarez and Bernard Grofman.2 In it I examine the changing landscape of
     electoral reform and its impact on civic engagement and institutional accountability. In
     September 2019, Polity Press will publish my book Identity Politics in the United States
     that traces historical and contemporirry tensions surrounding the rights and privileges
     of American citizenship. It concludes that the defining feature of American

     1Brown-Dean, K.L., Hajnal, Z., Rivers, C., & White, I. (2015). Fifty Years of the Voting
     Rights Act: The State of Race in Politics. Washington, DC: Joint Center for Political and
     Economic Studies. Available at
     http://jointcenter.org/sites/default/files/VRA %20report%2C%208.5.15%20%28540%20pm
     %29%28updated %29.pdf.

     2See Brown-Dean, K.L. (2015). Felon Disenfranchisement Ten Years After Bush v. Gore. In
     Michael Alvarez and Bernard Grofman (Eds.), Election Administration in the United
     States: The State of Reform Ten Years After Bush v. Gore (pp. 199-211). at 199-211.
     Cambridge: Cambridge University Press.

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democracy-federalism-both shapes and is shaped by Americans' ability to fully
exercise the franchise. I highlight the delicate balance between federal provisions and
state discretion in administering electoral functions. My witness report reflects the
research I have conducted on federalism, voting rights, and election administration
since 2003. A copy of my full curriculum vitae including publications over the last ten
years is included in the Appendix of this report. I attest to its truth and accuracy. I am
being compensated at a rate of $400/hour in this case. However, my opinions rendered
in this report are in no way influenced by or contingent upon monies owed to me for
my services.
ASSIGNMENT

       On June 11 t11, I was asked by the plaintiffs' attorneys to address the role of the
Georgia Secretary of State in the domain of election administration and enforcement. I
have not been asked to opine about the specific claims made in this particular case. My
opinions reflect on the office of the Secretary of State, not the individual holding that
position.
SUMMARY OF OPINIONS

    1) The right to vote is enshrined in the Federal Constitution with the primary
       responsibility for enforcement and administrative oversight resting at the state
       level. Federalism, or the division of power, extends to states the unique power to
       set the "time, place, and manner" of elections. Federalism recognizes the
       discretion of subordinate governments, while asserting the primacy of state
       provisions for outlining the duties and responsibilities of various offices and
       officers.
    2) The federal mandates contained in the Voting Rights Act of 1965 (hereafter
       11VRA"), the National Voter Registration Act of 19933 (hereafter "NVRA"), and


       the Help America Vote Act of 20024 (hereafter "HAVA") affirm the responsibility
       of each state and territory's Chief Election Officer to oversee the process of voter
       participation in federal elections.
    3) In the wake of the Supreme Court's decision in Shelby County v. Holder (2013), it is
       even more important that state Chief Election Officers carry out their



3National Voter Registration Act of 1993, 52 U.S.C.A. §§ 20501-20511, available at
https://www.justice.gov/ crt/national-voter-registration-act-1993-nvra.

4Help America Vote Act, 52 U.S.C.A. §§ 20901-21145, available at
https://www.eac.gov/about/help-america-vote-act/.

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       responsibilities to address and reconcile undue barriers to voting within the state
       and to prevent harmful electoral practices from being implemented.
    4) Based on the State Constitution, Official Code of Georgia, and the Official
       Compilation of Rules and Regulations of the State of Georgia, the Secretary of
       State is the Chief Election Officer bearing primary responsibility for protecting
       voter access to federal elections at the local, county, and state level. This role is
       affirmed, in practice, by the Secretary of State's formal interactions with voters,
       candidates, and various local, county, state, and federal officials.

ANALYSES

    A. BACKGROUND: FEDERALISM AND THE RIGHT TO VOTE
       The United States is comprised of an intricate patchwork of laws and provisions
governing the right to vote. Federalism, defined as the division of power and authority
between a central government and regional governments, is key to understanding the
administration, enforcement, and oversight of voting rights in the United States.5 In
Kentucky, for example, those convicted of felonies face a lifetime ban on voting while
formerly incarcerated residents of Mississippi may petition members of the state
legislature to have their rights restored. 6 Georgia residents must complete their prison
sentence, pay all fines and restitution, and be free from parole and/or probation before
they can vote again.7 By comparison, Maine and Vermont are the only two states in the
United States that allow prison inmates to vote. Determining to whom voting rights




5Kousser, J.M. (1999). Colorblind Injustice: Minority Voting Rights and the Undoing of the
Second Reconstruction. Chapel Hill: University of North Carolina Press.

6Manza, J.,& Uggen, C. (2008). Locked Out: Felon Disenfranchisement and American
Democracy. Oxford: Oxford University Press.

7 The Georgia State Constitution provides that, "No person who has been convicted of a
felony involving moral turpitude may register, remain registered, or vote except upon
completion of the sentence." Ga. Const art II,§ t <_!I III(a); see also O.C.G.A. § 21-2-216(b)
("In addition to the qualifications in subsection (a) of this Code section, no person who
has been convicted of a felony involving moral turpitude may register, remain
registered, or vote except upon completion of the sentence and no person who has been
judicially determined to be mentally incompetent may register, remain registered, or
vote unless the disability has been removed.").


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should be extended} the methods for exercising this right,9 and how to best navigate a
complicated maze of regulations has been a highly contested calculation since the
country's founding. 10
       In drafting the Constitution, the Framers took special care to strengthen the
federal government without impairing the power of state governments that were
already in place. Indeed much of the debate over what form of government would be
most desirable rested on demands to balance federal interests against state traditions. 11
States had the power to limit access to voting based on various characteristics such as
race, gender, property ownership, moral fitness, religious identity, and residency. 12
Virginia, for example, required men to possess at least 50 acres of land without
structures, or 25 acres of land with structures. 13 In other states like Rhode Island,
citizenship-and by extension, voting-was limited to Christians and excluded those
who identified as Catholic or Jewish. 14 Georgia's 1777 state constitution restricted
suffrage to white men who "possessed in his own right of 10 pounds value, and liable




8Grofman, B., Handley, L., & Niemi, R. (1992). Minority Representation and the Quest for
Voting Equality. Cambridge: Cambridge University Press.
9Kousser, J.M. (1974). The Shaping of Southern Politics: Suffrage Restriction and the
Establishment of the One-Party South, 1880-1910. New Haven: Yale University Press.

10 Vallely, R.C. (2004).   The Two Reconstructions: The Struggle for Black Enfranchisement. B.I.
Page (Ed.). Chicago: University of Chicago Press.

 Smith, R.M. (1999). Civic Ideals: Conflicting Visions of Citizenship in U.S. History. New
11

Haven: Yale University Press.
12See Rogers, D.W. (1992). Voting and the Spirit of American Democracy: Essays on the
History of Voting and Voting Rights in America. Champaign, IL: University of Illinois
Press.

13For a detailed table of suffrage requirements by state from 1776-1790, see Table A.I of
Keyssar, A. (2009). The Right to Vote: The Contested History of Democracy in the United
States (rev. ed.) (pp. 306) New York: Basic Books.

 Kettner, J.H. (1978). The Development ofAmerican Citizenship, 1608-1870. Chapel Hill:
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University of North Carolina Press.


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to pay tax in this State, or being of any mechanic trade." 15 Those eligible to vote were
also required to have at least six months residency in the state. The variation in voter
eligibility requirements often mapped onto the variation in state demographics. 16

        The new Constitution allowed states to maintain their own eligibility provisions
while guaranteeing that those deemed eligible for full citizenship at the state level,
could participate in federal elections. 17 Throughout earlier periods, federal eligibility for
full citizenship explicitly barred certain groups such as American Indians, 18 women, 19
enslaved Africans,20 and immigrants from certain countries. 21

       Article 1, section 4 of the U.S. Constitution contains the Elections Clause that
delineates the division of power between the federal government-specifically


 Porter, K.H. A History of Suffrage in the United States. (1918). Chicago: University of
15

Chicago Press.

16   See Key, V.O. (1949). Southern Politics in State and Nation. New York: Knopf.

17 Citizenship in the United States is built upon three key conceptions. The first,   jus soli,
automatically confers citizenship upon anyone born on U.S. soil. This status did not
apply to African Americans, whether enslaved or free, until the adoption of the
Thirteenth Amendment (1865). The second conception, jus sanguinis, grants citizenship
to those who have: at least one parent with U.S. citizenship. The last conception,
naturalization, allows those born elsewhere to pursue citizenship. For a detailed
discussion of the various dimensions of U.S. citizenship, see Brown-Dean, K.L. (2019).
Identity Politics in the United States (ch. 2). Cambridge: Polity Press.
18See Elk v. Wilkins, 112 U.S. 94 (1884) and McDonald, L. (2011). American Indians and the
Fight for Equal Voting Rights. Oklahoma City: University of Oklahoma Press. for a
detailed understanding of the challenges for defining citizenship and voting rights for
Native Americans.

19See Mcconnaughy, C. (2013). The Woman Suffrage Movement in America: A
Reassessment. Cambridge: Cambridge University Press.

20   See Woodward, C.V. (1974). The Strange Career ofJim Crow. New York: Oxford
University Press.
21Hayduk, R. (2006). Democracy For All: Restoring Immigrant Voting Rights in the United
States. New York: Routledge Press.


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Congress-and the states in the domain of voting rights. It provides that "the Times,
Places and Manner of holding Elections for Senators and Representatives, shall be
prescribed in each State by the Legislature thereof; but the Congress may at any time by
Law make or alter such Regulations, except to the Place of Chusing (sic) Senators." 22
The principle of federalism underlies a bifurcated system allowing each level of
government (federal, state, local/county) to adopt its own provisions related to things
such as voter registration, polling hours, the siting of voting apparatus, the removal of
individuals from voting rolls, and the tabulation of votes.
        The Elections Clause does not specify which state office and/or officer(s) is
responsible for overseeing election administration. Nor does it mandate that each state
or territory adopt a uniform structure or central chain of command to govern how
elections are administered across the state. Rather, it defers to state statutes to outline
this function, task a chief administrator, and define his/her accompanying
responsibilities. In most states and territories, the day-to-day duties of election
administration are shared between local authorities and state officials. To be certain,
local administrators have the most direct contact with voters and potential voters and
must be acutely aware of the laws governing the electoral process. The Constitution
grants Congress the unique and exclusive authority to enact federal laws designed to
ensure state residents have fair and unfettered access to voting. 23 Therefore, it is
necessary to examine state provisions coupled with federal mandates to determine
where the responsibility for elections oversight and enforcement lies.
      B. CITIZENSHIP, FEDERALISM, AND STATE DISCRETION
       Congress adopted three key Amendments designed to carve out broader
protections of citizenship and its accompanying benefits. Together, the Thirteenth,
Fourteenth, and Fifteenth Amendments abolished slavery, granted citizenship to all



22The 1813 ratification of the Seventeenth Amendment provided for the direct election
of U.S. Senators.

23   See The Scope of Congressional Authority in Election Administration (2001). Washington,
DC: General Accounting Office. Available at
https:ljwww.gao.gov/new.items/d01470.pdf.; Shanton, K. (2019). The State and Local Role
in Election Administration: Duties and Structures. Washington, DC: Congressional
Research Service. Available.at https:ljfas.org/sgp/crs/rnisc/R45549.pdf.; Garrett, R.S.
(2019). Federal Role in U:S. Campaigns and Elections: An Overview. Washington, DC:
Congressional Research Service. Available at https://fas.org/sgp/crs/rnisc/R45302.pdf.


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who were born or naturalized in the United States,24 and extended the franchise to
African American males.25 These new provisions led to a dramatic, yet brief, increase in
the number of previously disenfranchised groups who were registering, voting, and
running for elected office.26
        The expansion of citizenship and voting rights at the federal level prompted
numerous state constitutional conventions between 1890 and 1910 to adopt new
restrictions. The concern for many state legislators was that these new protections at the
federal level would undermine the distribution of power at the local level. This was
particularly true for communities across the South with sizeable minority communities.
These new federal guarantees of citizenship and voting rights enhanced the potential
for minority groups to convert their numerical presence into political influence. In turn,
the new state guidelines were constructed in such a way that upheld the federal
Constitution's explicit ban on race-based disenfranchisement, while still retaining the
state's power to define which groups were desirable as full citizens. To do so, most
states based their disenfranchisement provisions on behaviors and attributes most
commonly associated with certain groups rather than specifying such groups by name.
For example, delegates to Georgia's 1908 constitutional convention adopted a
cumulative poll tax, grandfather clause, and literacy tests that effectively eliminated the
bulk of Black voters and most Whites who were poor. The Georgia state constitution
allowed counties to hold white-only primaries and adopt additional disenfranchising
techniques to meet their local interests. These institutional measures coupled with
documented instances of racial violence significantly deterred many residents from


 The Fourteenth Amendment did not explicitly address the unique standing of Native
24

Americans and people of Asian descent who pursued citizenship.

25The Fourteenth Amendment prohibited states from making or enforcing laws that
abridged the privileges and immunities of citizenship and provided that "[a]II persons
born or nationalized in the United States, and subject to the juris~iction thereof, are
citizens of the United States and of the State wherein they reside." See U.S. Const.
amend XIV, § 1.

26Much of the focus on the path of American political development has focused on race-
based exclusions that disenfranchised African Americans. It is important to note,
however, that many of the restrictions also limited the number of non-landowning
white men and ethnic immigrants who were barred from voting. Therefore, we see an
overall increase in electoral participation rates across racial/ethnic groups after passage
of the Civil War Amendments.

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even attempting to register. 27 Below, as Figure 1 illustrates, the legacies of these
restrictions effectively eliminated Black voters for nearly 30 years.

        Even as federal legislative and judicial decisions struck down state provisions
such as white-only primaries,28 poll taxes,29 and grandfather clauses, 30 they did not
translate into substantial gains in registration and turnout. Local and state elected
officials retained significant power to limit access to voting using both legal and
extralegal means.31 It wasn't until the passage of the VRA that the federal government
took a more aggressive approach to protecting state residents against arbitrary barriers
imposed at the state and local level.




27   See Brundage, W.F. (1993). Lynching in the New South: Georgia and Virginia, 1880-1930.
Champaign, IL: University of Illinois Press.; Przeworski, A. (2009). Conquered or
Granted? A History of Suffrage Extensions. British Journal of Political Science, 39(2), 291-
321.; Johnson, K. (2010). Reforming Jim Crow: Southern Politics and State in the Age Before
Brown. Oxford: Oxford University Press.; Corzine, J., Creech, J. & Corzine, L. (1983).
Black Concentration and Lynchings in the South: Testing Blalock's Power-Threat
Hypothesis, Social Forces, 61(3), 774-96.; Epperly, B., Witko, C., Strickler, R., & White, P.
(2019). Rule by Violence, Rule by Law: Lynching, Jim Crow, and the Continuing
Evolution of Voter Suppression in the U.S. Perspectives on Politics, 1-14.

28
     See Smith v. Allwright, 321 U.S. 649 (1944); United States v. Classic, 313 U.S. 299 (1941)
and.

29
     The Twenty-fourth Amendment was ratified in 1964.

30
     See Guinn v. United States, 238 U.S. 347 (1915).
31The Civil Rights Act of 1957 created a Civil Rights Division within the Department of
Justice. See Pub. L. No. 85-195, 71 Stat. 472 (1957). The Division is tasked with providing
federal oversight of voting rights violations. The U.S. Department of Justice filed a total
of 71 voting rights lawsuits in the Deep South before 1965. However, the depth of state
discretion allowed local officials to devise new methods that circumvented these
protections and continued to limit civic participation. See Hawk, B.E., & Kirby, J.J.
(1965). Federal Protection of Negro Voting Rights. Virginia Law Review, 51(6), 1093-96.



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        The Act contained numerous provisions for strengthening federal protection of
voting rights.32 Most notably, the VRA allowed for federal elections monitors and
created an outlet for the federal government (the U.S. Dep't of Justice) or private parties
to bring lawsuits to prevent racially discriminatory laws and policies from taking effect.
The "preclearance" provision required that states and jurisdictions with a documented
history of discrimination (section 5) submit proposed electoral changes to federal
officials before they could take effect. 33 The preclearance provision identified as covered
jurisdictions those areas (all or parts of states) with discriminatory tests or devices and
low turnout or registration in the 1964 presidential election. Section 5 covered nine
states (Alabama, Alaska, Arizona, Georgia, Louisiana, Mississippi, South Carolina,
Texas, and Virginia) in their entirety. Georgia was identified as a covered jurisdiction
on August 7, 1965 based on data from its November 1, 1964 election and its use of
devices such as the poll tax (adopted in 1802), grandfather clause (adopted in 1908), and
literacy test (adopted in 1908).34 By shifting the responsibility to states and localities to
prove to federal officials that the proposed changes were not discriminatory, the
preclearance process avoided the delays and expenses of litigation, and prevented
discriminatory laws before they were used in elections. In 1982, Congress amended the
Act to clarify that discriminatory purpose was not required to bring a lawsuit to
invalidate election procedures that result in discrimination.
     C. FEDERAL CHANGES AND HEIGHTENED STATE ACCOUNTABILITY
      The impact of the Voting Rights Act of 1965 was immediate. Its protections
coupled with federal oversight of potential violations translated into increased rates of

32VRA § 2 is a permanent provision that prohibits u any voting standard, practice, or
procedure that results in the denial or abridgement of the right of any citizen to vote on
account of race, color, or membership in a language minority group." See
https://www.justice.gov/crt/section-2-voting-rights-act#sec2.

33The coverage provision was originally scheduled to expire after five years. Congress
extended the provisions and made additional updates to the VRA in 1970, 1975, 1982,
and 2006. The ban on discriminatory devices was made permanent in 1975 in addition
to extending preclearance requirements to areas with large concentrations of certain
language minorities and low registration and turnout rates.

 Determination of the Attorney General Pursuant to Section 4(b)(1) of the Voting
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Rights Act of 1965, 30 Fed. Reg. 9897-01 (Aug. 7, 1965).


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registration, turnout, representation, and policy responsiveness for various
communities across the United States (see Figures 1 and 2). This success provided a
foundation for additional federal provisions that increased state responsibility in
ensuring their electoral policies and procedures did not conflict.

Figure 1: Black and White Voter Registration Rates in Louisiana and the Former
Confederate States, 1878-201035
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35Confederate states' data are self-reported turnout of each year's voting age
population. Data from 1956 to 1968 are from the American National Election Study.
Data from 1972 to 2012 are from the United States Census, Current Population Survey,
Voter Supplement File. See Brown-Dean, K.L., Hajnal, Z., Rivers, C., & White, I. (2015).
Fifty Years of the Voting Rights Act: The State of Race in Politics. Washington, DC: Joint
Center for Political and Economic Studies. Available at
http:ljjointcenter.org/sites/default/filesNRA%20report%2C%208.5.15%20%28540%20pm
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Figure 2: Black and Whlte Presidential Election Voter Turnout in Former Confederate
States, 1956-2012. (Percent of Voting Age Population)
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           195o   1960   1964   19e8    1972    197&   uao   1914   1988   1992   1"6   2000   201)1   2oos   2012



NATIONAL VOTER REGISTRATION ACT
       Congress passed the NVRA36 to make it easier for eligible American citizens to
register to vote and to streamline the processing and maintenance of voter registration
applications. The NVRA sets requirements for state compliance in federal elections; not
state or local elections. Those requirements include offering voter registration
opportunities at motor vehicle offices, 37 social services offices and agencies that
accommodate those with disabilitiesi8 facilitate mail-in registration, 39 and regulate how



36   52 U.S.C.A. §§ 20501- 20511.

 Id. § 20504(c)(l) Simultaneous Application for Voter Registration and Application for
37

Motor Vehicle Driver's License.

38   Id.§ 20506(4)(B) Voter Registration Agencies.

39   52 U.S.C.A. § 2505 Mail Registration.


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registration lists are to be maintained. 40 The NVRA also created a uniform federal
registration form that every state and territory is ~equired to recognize. The Act's
provisions apply to 44 states (including Georgia) and the District of Columbia.41
        The NVRA both affirmed and heightened the responsibility of state election
officials to ensure compliance with federal provisions governing various aspects of
election administration. Section 10 of the Act requires that, "Each State shall designate a
State officer or employee as the chief State election official to be responsible for
coordination of State responsibilities under this Act." 42 The NVRA does not mandate
what state officer is responsible for this coordination; only that each state identify this
individual based on its own constitution. Other parts of the NVRA outline the
responsibilities of the state-designated chief election official, "The chief State election
official of a State shall make the forms described in subsection (a) available for
distribution through governmental and private entities, with particular emphasis on
making them available for organized voter registration programs." 43 In addition, "On
the conviction of a person of a felony in a district court of the United States, the United
States attorney shall give written noti~e of the conviction to the chief State election
official designated under section 10 of the State of the person's residence." 44
In Charles H. Wesley Education Foundation, Inc. v. Cox, 408 F.3d 1349 (11th Cir. 2005), the
court ruled that the State of Georgia violated the provisions of the NVRA by rejecting 64
mail-in voter applications bundled and submitted by a local non-profit organization. 45

40   Id. § 20507 Requirements With Respect to Administration of Voter Registration.

41   See the amid curiae briefs filed by the State of Georgia and 14 other states, on
September 22, 2017, accompanying Husted v. Randolph_ U.S.               138 S. Ct. 1833
                                                                     ____J



(2018) seeking clarification of state responsibilities in adhering to the National Voter
Registration Act.

4252 U.S.C.A. § 20509.

43   Id. § 20505.

44 See52 U.S.C.A. § 20507, Requirements with Respect to Administration of Voter
Registration for the full list of responsibilities for the chief election officer as required
by, id. § 20509, of the NVRA.

45The lead defendant in that case, Cathy Cox, was the Georgia Secretary of State at the
time.


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Additional challenges to Georgia's compliance with the NVRA address the relationship
between proof of citizenship and voting and the maintenance of voter lists.46 Section 5 of
the NVRA provides that voter registration applications may only require the minimum
amount of information necessary for a state to determine applicants' eligibility to
register to vote and to perform its registration duties.
HELP AMERICA VOTE ACT
        In the wake of overwhelming concerns about voter access, voting equipment,
and disenfranchisement allegations during the 2000 Presidential election, the Help
America Vote Act of 2002 ("HAVA") provides federal resources to help states and local
governments streamline, strengthen, and enhance election administration. The Act
created a bipartisan, independent Election Assistance Commission ("EAC") and
allocated $3.65 billion to help states carry out the following provisions: The creation and
maintenance of a computerized state voter registration system, 47 the replacement of
punch card and lever voting machines, 48 the distribution of provisional ballots to
residents whose registrations are questioned, 49 enhanced access for voters with
disabilities, 50 and assistance in developing plans to secure voting systems. HAVA
required that states replace their voting machines with one of three forms: Direct-
Recording Electronic Voting ("DRE"), Optical Scans, or Ballot Marking Devices
("BMD"). The State of Georgia, along with 17 other states, opted to create a uniform
voting system where all voting equipment is purchased at the state level. 51 Table 1



46See Georgia Coal. for the People's Agenda, Inc v. Kemp, 347 F. Supp. 3d 1251 (N.D. Ga.
2018); Morales v. Handet No. 1:08-CV-3172, 2008 WL 9401054 (N.D. Ga. Oct. 27, 2008) for
cases challenging Georgia's compliance with the mandates of the NVRA. In each of
those cases the named defendant was acting in his/her official capacity as Secretary of
the State of Georgia.

47   52 U.S.C.A. § 21083.

48   Id.§ 20902. States could be exempted from this requirement if they received a waiver.

49Id. § 21082. HAVA allows for provisional ballots to be tabulated according to the
provisions established in each state or territory.

50   52 U.S.C.A. § 21081.

 Other states with uniform voting systems include Alabama, Alaska, Connecticut,
51

Delaware, Georgia, Hawaii, Louisiana, Maine, Maryland, Nevada, New Hampshire,

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below illustrates the types of voting machines used in Georgia during the 2000 election
as well as accompanying information regarding the number of counties using each type
of machine and the estimated number of spoiled ballots.

              Table 1: [Georgia] Voting Equipment Performance
                           (2000 General Election) 52

 Voting System      Introduced     Counties       Under Vote     Votes Not
                    in Georgia     Using          Percentage     Counted
                                   System

 Paper Ballot       1900           2              3.3            113
 Punch Card         1964           17             4.6            38,065
 Lever Machine      1959           73             4.2            16,926
 Optical-Scan       1986           67             2.7            38,195
  Central Count     --             --             4.2            21,999
  Precinct Count    --             --             4.7            16,196


       The provisions of HAVA, via the Election Assistance Commission in particular,
affirm the important interaction between state and local officials involved in election
administration. The EAC' s Standards Board is comprised of 55 state elections officials
and 55 local officials. While the EAC provides a range of technical assistance to local
election officials, HAVA' s statutes specify that each State's Chief Election Officer has
primary oversight responsibility in overseeing the proper implementation and
compliance with its provisions. As with the NVRA, HAVA relies on each state or
territory to identify a Chief Election Officer. The Federal Register publishes state plans,
pursuant to the HAVA, as submitted to the EAC. As part of my research for this case, I
reviewed the Federal Registers from 2018 (Vol. 83, No. 104), 2014 (Vol. 79, No. 127), 2010
(Vol. 75, No. 234), 2008 (Vol. 73, No. 182), 2006 (Vol. 71, No. 8), and 2004 (Vol. 69, No.
57). The 2018 lists the Chief Election Officer for each state. I examined that document
and noted that the Chief Election Officer for the State of Georgia is listed as the


New Mexico, North Dakota, Oklahoma, Rhode Island, South Carolina, Utah, and
Vermont.

52Publication of State Plan Pursuant to the Help America Vote Act, 73 Fed. Reg. 54141-
02 (Sept. 18, 2008).


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Secretary of State.53 The information contained in the 2018 Federal Register is consistent
with other publications of the Federal Record I researched for the years listed above.
       I reviewed EAC allocations to states for the same years. In my research of recent
EAC allocations to states, I found that in April 2018 the Georgia Secretary of State's
Office accepted a $10,.305,783 grant allocation from the U.S. Election Assistance
Commission to "improve the administration of elections for Federal office, including to
enhance election technology and make election security improvements."54 The modular
budget and federal financial report (see Attachment C) accompanying the grant
memorandum includes a 5% state match to improve 11election security, simplicity, and
accessibility" for a total award of $10,821,072.55 Some of the proposed uses included
purchasing secure devices that produce a verifiable paper ballot, improving voter
registration database management, and updating the online voter registration page. In
April 2018, then-Secretary of State Brian Kemp established Georgia's Secure, Accessible,
and Fair (SAFE) Elections Commission to study and propose options for the state's
election system. I reviewed the report containing the final recommendations the
commission submitted to the General Assembly on January 10, 2019. Page five of the


53There is no federal requirement that the Secretary of State serve as the Chief Election
Officer; this designation is specified in each state constitution or charter. In Delaware,
for example, the Chief Election Officer is the Commissioner of Elections while
Kentucky's Chief Elections Officer is the Executive Director of the State Board of
Elections.

54 See Attachment C, Memorandum and Grant Budget from Chris Harvey, Elecs. Dir. in
the Office of Ga. Sec'y of State Brian P. Kemp, to Brian Newby, Exec. Dir. of the U.S.
Blee. Assistance Comm'n Uuly 10, 2018). 52 U.S.C. § 20901(a) specifies that, "[n]ot later
than 45 days after October 29, 2002, the Administrator of General Services (in this
subchapter referred to as the 'Administrator') shall establish a program under which
the Administrator shall make a payment to each State in which the chief executive·
officer of the State, or designee, in consultation and coordination with the chief State
election official, notifies the Administrator not later than 6 months after October 29;
2002., that the State intends to use the payment in accordance with this section.".

5552 U.S.C.A. § 21003(a) of the HAVA outlines the condition for receipt of funds, 11a state
is eligible to receive a requirements payment for a fiscal year if the chief executive
officer of the State, or designee, in consultation and coordination with the chief State
election official, has filed with the Commission a statement certifying that the State is in
compliance with the requirements referred to in subsection (b)."        ·


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document notes that, "Georgia implemented its current uniform voting system that
uses DRE systems for in-person voting. Georgia has a 'top-down' election system where
ballots are constructed by the Center for Elections System, which was previously a part
of Kennesaw State University, but is now part of the Office of the Secretary of State."56
Many of report's proposals reflect the provisions covered by HAVA and thus eligible
for funding from the Elections Assistance Commission, and compliance with its
mandates. 57
Shelby County v. Holder
       In 2010, election officials from Shelby County, Alabama sued the US Attorney
General to challenge the constitutionality of Sections 4(b) and 5 of the Voting Rights Act
of 1965. In a 5-4 ruling, the Supreme Court struck down the coverage formula (Section
4) used to identify covered jurisdictions that were previously required to submit
proposed election rule changes (Section 5) to the Department of Justice, "Coverage
today is based on decades-old data and eradicated practices. The formula captures
States by reference to literacy tests and low voter registration and turnout in the 1960s
and early 1970s. But such tests have been banned nationwide for over 40 years. And
voter registration and turnout numbers in the covered States have risen dramatically ...
11   58


       While the ruling in Shelby County did not eliminate the VRA, it significantly
weakened federal oversight of election administration. Previously covered jurisdictions
in Texas, North Carolina, Florida, Mississippi, Alabama, and Georgia introduced new
measures regulating voter access following the ruling. Shelby County allowed local
election officials to make decisions such as consolidating polling places, purging voters,
adopting stricter voter id requirements, changing election dates, and eliminating early
voting without first submitting those proposed changes for federal review. The ruling
heightened concerns from some groups that these facially neutral restrictions could




56See Secure, Accessible, and Fair Elections (SAFE) Commission Report, submitted to the Ga.
Gen. Assemb. (Jan. 10, 2019), available at
https:ljsos.ga.gov/admin/uploads/SAFE Commission Report FINAL (1-10-18).pdf
(Comm'n Co-Chairs: Secy of State Robyn Crittenden and State Rep Barry A. Fleming).

57   Id.

58   Shelby Cty v. Holder, 133 S. Ct. 2612, 2627-28 (2013).


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 disproportionately impact minority groups who necessitated the original passage of the
 VRA.s9

         Shelby County reaffirmed the importance of federalism outlined in earlier
 passages of this report. First, it placed the onus on Congress to exercise its
 Constitutional authority to create a new Section 4 formula based on more contemporary
 data. Second, in the absence of federal authority to prevent discriminatory policies from
 taking effect Shelby County increased the importance of state election officials carrying
 out their responsibility to both monitor and remediate electoral practices that
 undermine the rights enshrined in the Federal Constitution and protected by other
 sections (most notably Section 2) of the VRA. Local officials continue to play a key role
 in executing various election administration functions in accordance with the mandates
 of state law and constitutional authority. For example, in researching the duties and
 functions of various county election boards in Georgia I noted the charge of the
 Augusta-Richmond County Board of Elections, "[t]o make and issue rules, regulations,
 and instructions, consistent with law as deemed necessary for the guidance of poll
 officers and voter registration officers." 60
         However, this local discretion does not supersede the primary responsibility that
  now falls more heavily upon state election officials to ensure no procedure, device, or
  practice adopted at the local or state level impairs the rights and protections afforded at
  the federal level. The Chief Election Officer may exercise this oversight in a number of
  ways. For example, the Official Code of Georgia instructs the Secretary of State, "to
  develop, program, build, and review ballots for use by counties and municipalities on
. voting systems in use in the state." 61 Similarly, "the Secretary of State shall have the
  authority to issue a final order for complaints filed under the federal Help America Vote
  Act of 2002." 62



59See, e.g., Thurgood Marshall Institute at the NAACP Legal Defense and Education
Fund. (2018). Democracy Diminished: State and Local Threats to Voting Post Shelby County v.
Holder.New York: NAACP LDF. Available at https:ljwww.naacpldf.org/wp-
content/uploads/Democracy-Diminished-State-and-Local-Threats-to-Voting-Post-
Shelby-County-Alabarna-v.-Holder.pd£.

60   See Attachment K at 2.
61   O.C.G.A. § 21-2-50(a)(15).

62 O.C.G.A. § 21-2-50.2(c).




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        Under Shelby County, the Chief Election Officer must now work closely with
other government officials to ensure state residents have fair and consistent access to
the electoral process. When measures are passed by the legislature, for example, the
duty falls upon election administrators to carry them out in accordance with the
previously described federal guidelines. A decision by a state legislature to raise the
minimum voting age to 21, for example, should not be carried out by state election
officials because it imposes a more stringent age qualification than what is required by
the Twenty-Sixth Amendment. However, a state election officer could legally carry out
a legislative plan to lower the minimum age to 17 for state and local elections. It should
be noted that Georgia is one of seven states where election management is handled by
both a Chief Election Official and a State Board. However, the federal mandates of the
NVRA and the HAVA vest authority with the singular Chief Election Official identified
by the state. In Georgia, that official is the Secretary of State. 63
       In sum, Shelby County significantly heightened the need for each State's Chief
Election Officer to oversee and enforce election administration to ensure state
compliance with the protections embedded in the Federal Constitution and affirmed by
the Voting Rights Act of 1965, the National Voter Registration Act, and the Help
America Vote Act. Barring direct federal oversight of compliance leaves that
responsibility to state election officials.
      D. GEORGIA STATE PROVISIONS FOR ELECTION ADMINISTRATION AND AUTHORITY

       I conducted an extensive review of Georgia statutes and regulations to evaluate
the following questions:
      1) What, if anything, is the role of the Secretary of State ("SOS") with respect to
         voting and elections?
      2) What is the statutory authority identifying the SOS as the Chief Election Officer?
      3) And accordingly, what powers and responsibilities are assigned to the Chief
         Election Officer?
   Based on this review, I identified a total of 151 duties and responsibilities connecting
the SOS to election administration. These 151 duties are found in the Official Code of
Georgia and the Official Compilation of Rules and Regulations of the State of Georgia. I
organized those 151 provisions into three key categories of election adminish·ation: 1)
Interaction With Candidates for Public Office, 2) Interaction With Voters, and 3)
Interaction With Election Officials. These categories often overlap and should not be
considered as mutually exclusive. Rather, I focus on the primary duties in each

63   O.C.G.A. § 21-2-50.2(a).


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provision when assigning to categories. Table 2 (see Attachment A) contains all 151
provisions, as well as my categorizations. There are few, but important statements
outlining the Secretary of State's interactions with (potential) candidates for public
office. An example of Category 1 is the Secretary of State's duty to "receive and
determine the sufficiency of nomination petitions of candidates filing notice of their
candidacy with the SOS in accordance with this chapter." 64 Category 2, interactions with
voters, most closely aligns with ~ducating and protecting voters' rights. An example of
Category 2 is the obligation to "prepare and furnish information for citizens on voter
registration and voting."65 I noted in my research that the bulk of Georgia's provisions
defining the role of the SOS in election administration falls under Category 3; defining
her/his duties to guide and oversee the actions of local officials. An example of Category
3 is:

          The Secretary of State shall provide the board of registrars of each county
          manuals for the use of deputy registrars which include simple instructions
          on the rules and procedures for the proper conduct of voter registration.
          The form and content of these manuals shall be determined by the Secretary
          of State. The board of registrars shall provide each deputy registrar with a
          copy of the manual.66
   The SOS, by statute67, is also the chair of the State Election Board. The State Election
Board, in turn, is statutorily required to "[t]o promulgate rules and regulations so as to
obtain uniformity in the practices and proceedings of superintendents, registrars,
deputy registrars, poll officers and other officials, as well as the legality and purity in all
primaries and elections." 68




64   O.C.G.A. § 21-2-50(a)(3).

65   O.C.G.A. § 21-2-50(a)(l3).

66   Ga. Comp. R. & Regs. 183-1-6-.03(3)(n).

67   O.C.G.A. § 21-2-30(d).

 O.C.G.A. § 21-2-31(1). See also O.C.G.A. § 21-2-31(10) (stating the State Board has the
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duty to take "such other action, consistent with the law, as the b?ard may determine to
be conducive to the fair, legal, orderly conduct of primaries and elections").

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       In Table 3 (see Attachment B), I juxtapose the NVRA, HAVA, and VRA
requirements with the Georgia statutes regulating the duties of the Chief Election
Official. In the space below I highlight some of the major provisions governing the
Secretary of State's responsibilities for election administration.
The Role of the Secretary of State
       The SOS for Georgia is an elected position tasked with numerous duties such as
housing the Professional Licensing Boards Division, implementing and enforcing the
Georgia Uniform Securities Act of 2008, registering charitable organizations, and of
specific interest to this report,
          The Elections Division of the Secretary of State's Office organizes and
          oversees all election activity, including voter registration, municipal,
          state, county, and federal elections. They are responsible for certification
          of election results as well as certifying the qualification of candidates
          and preparation of ballots and election forms and materials. The
          Elections Division provides Great Seal certification for authentication of
          public documents for foreign use for non-Hague countries. Along with
          those duties, the Elections Division maintains the Statewide Voter
          Registration Database to ensure that voter registration lists are current
          statewide. They are also accountable for investigating election fraud
          and enforcing state election laws. 69
(emphasis added).
          Chief Election Officer
       Several provisions in the Official Code of Georgia identify the SOS as the Chief
Election Official.7° Further, as stated above, the SOS is also the chair of the State
Election Board, which has the responsibility to take action, including the promulgation
of rules, to obtain uniformity in the practices and proceedings of local elections officials
and to ensure that primaries and elections are fair, legal and orderly. 71


"See Ga. Sec'y of State, Elections, available at htt:ps:Usos.ga.gov/index.php/elections.
10
     E.g.,O.C.G.A. §§ 21-2-10 and 21-2-50 (14

 O.C.G.A. § 21-2-31(1). See also O.C.G.A. § 21-2-31(10) (stating the State Board has the
71


duty to take "such other action, consistent with the law, as the board may determine to
be conducive to the fair, legal, orderly conduct of primaries and elections"); Grizzle v.
Kemp, 634 F.3d 1314, 1319, 1326 (11 th Cir. 2011) (stating the SOS has the "duty and

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        In the particular context of HAVA, O.C.G.A. § 21-2-50.2(a) provides that:

        The Secretary of State, as the chief election official designated under the
        federal Help America Vote Act of 2002, shall be responsible for
        coordinating the obligations of the state under the federal Help America
        Vote Act of 2002.
Accordingly, O.C.G.A. § 21-2-50.2(b) states:
        As the chief election official, the Secretary of State is authorized to
        promulgate rules and regulations to establish administrative complaint
        procedures as required under Section 402 of Title IV of the federal Help
        America Vote Act of 2002, which prescribes a process to remedy only those
        grievances filed under Title III of such federal act. 72
       These two provisions, as well as the SOS' s overall responsibility to ensure that
elections in Georgia are legal, fair and orderly, create ari oversight function of the SOS
in ensuring compliance with the mandates of HAVA. In a broader sense, over 100 of the
151 statutes I examined highlight the key role the State's Chief Election Official must
play in coordinating, monitoring, and overseeing the administrative functions of
subordinate election administrators. For example, the SOS approves the certification
program for:
        All county and municipal election superintendents, chief registrars, and
        absentee ballot clerks or, in the case of a board of elections or a board of
        elections and registration, the designee of such board charged with the
        daily operations of such board shall become certified by completing a
        certification program approved by the Secretary of State by no later than
        December 31 of the year in which they are appointed. Such program may

power to enforce the State's election code" and to "ensure that the entities [such as local
election officials] charged with those responsibilities comply with Georgia's election
code in carrying out those tasks.")

72Title ill (see 52 U.S.C.A. §§ 21081-21085, 21101) of HAVA refers to the Uniform and
Non-Discriminatory Technology and Administration Requirements. It guarantees
provisional ballots to electors whose registration is disputed, requires appropriate
voting systems, mandates a centralized voter registration database, and allows for
absentee ballots. 52 U.S.C.A. § 21085 is of particular note, "[t]he specific choices on the
methods of complying with the requirements of this title shall be left to the discretion of
the State."


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         include instruction on, and may require the superintendent to demonstrate
         proficiency in, the operation of the state's direct recording electronic voting
         equipment, the operation of the voting equipment used in such
         superintendent's jurisdiction, and in state and federal law and procedures
         related to elections. 73
       The Office of the SOS acts as a key resource for voters in the State of Georgia. For
example, I analyzed the My Voter Page ("MVP") portal that is maintained by the SOS's
Office. The MVP portal enables Georgia voters to review their voter registration status,
locate early voting and poll locations, check the status of mail-in applications, view
sample ballots, and review the status of their provisional ballots.74 The site's disclaimer
documents that the data provided by the SOS site is extracted from data provided by
the various counties of residence. The portal also contains links to the state's Election
Advisory Council, the state's voter identification requirements,75 the VoteSafe
program,76 and a form to report allegations of voter fraud. 77
Election Oversight with Intrastate and Interstate Officials
        The SOS is required to provide multiple training sessions for the aforementioned
election officials, has the discretion to waive training requirements for local election
officials, and has the responsibility to ensure that local election officials are adequately
training poll workers and others involved in the election process. As just one example
of the SOS being involved in local training efforts, the Georgia Election Code provides :
         A waiver of the requirement of minimum training, either in whole or in
         part, may be granted by the Secretary of State, in the discretion of the
         Secretary of State, upon the presentation of evidence by the election
         superintendent, registrar, or board that the individual was unable to

73   O.C.G.A. § 21-2-lOl(a).

74Ga. Sec'y of State, My Voter Page, available at
https:ljwww.mvp.sos.ga.gov/MVP/mvp.do.

75   O.C.G.A § 21-2-417.

76Ga. Sec'y of State, VoteSafe, available at
https://sos.ga.gov/index.php/elections/votesafe.
77Ga. Sec'y of State, Elections Division, available at https://sos.ga.gov/cgi-
bin/EMailStopVoterFraud.asp.


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        complete such training due to medical disability, providential cause, or
        other reason deemed sufficient by the Secretary of State. 78
Another example is that the SOS' s official website contains poll worker manuals and
videos.
        My review of the official website for the Secretary of State's Office also shows
information and resources to assist various state and local agencies (e.g. public high
schools and colleges; the Georgia Department of Natural Resources; and public
libraries) in carrying out the federal voter registration provisions required by the
NVRA. 79 For example, the Election Connection tab contains links to a document for
agencies entitled, "Implementing NVRA in Department of Human Services." The
document's preface states:
        Implementing NVRA in Department of Human Services is to be used as a guide
        for the administration of voter registration conducted by Georgia Agencies
        under the National Voter Registration Act of 1993 (NVRA). This manual is
        not intended to be used as a substitute for the Georgia Constitution,
        relevant statutes, or applicable case law. Whenever there is a question
        regarding the interpretation of information contained in this guide, or of a
        particular section of the Election Code, or any other statute, the user should
        contact competent legal counsel or the Office of the Secretary of State,
        Elections Division. 80

The "Implementing NVRA" guid•e also outlines the Role of the Secretary of State's
Office:
        The NVRA requires that each state designate a chief election official to be
        responsible for coordination of the state responsibilities under this act. The
        Secretary of State has been named the chief election official for the State of
        Georgia. Under state law, the Secretary of State is charged with establishing


78 O.C.G.A. § 21-2-l00(c).   See also O.C.G.A. § 21-2-50 (11); Ga. Comp. R. & Regs. 183-1-6-
.03(3)(m).

79 Ga. Sec'y of State, Election Connection, available at
h ttps:Usos. ga. gov/index. php/Elections/election connection.

80Ga. Sec'y of State: Elecs. Div., Implementing NVRA: Dep't of Human Servs., Preface (ver.
12001), available at
http://sos.ga.gov/admin/files/Implementing NVRA DHS v.1 2011 .pd£.


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          and maintaining a statewide voter registration system. The system must be
          capable of meeting federal requirements for maintaining lists of both
          eligible active voters and those voters considered inactive. The Secretary of
          State is responsible for overseeing statewide list maintenance activities and
          functions required under federal and state laws. These relate to updating
          voter information and removing ineligible persons from the voter lists. 81
       The SOS has exclusive powers over various details governing the local
administration of elections including determining the size and shape of the envelopes
used to submit absentee ballots 82 and designing and supplying tally sheets, voting
rights posters, and oaths of assisted electors and poll officers. 83 The SOS receives
election results from election superintendents of the various counties and certifies the
votes. Election results for each of Georgia's 159 counties are tabulated and made
available via the Secretary's official website pursuant to O.C.G.A. § 21-2-499. In
addition,
          In the case of primaries, elections, and runoffs for county, state, and federal
         office, the county- election superintendent shall transmit to the Secretary of
         State the election returns by precinct for the county in electronic format or
         by electronic means, as may be specified by the Secretary of State, within
         seven days following a primary, election, or runoff. 84
        The SOS acts as the central point of contact for receiving information regarding
voter eligibility of Georgia residents. The Office receives information from federal
officials (e.g. Georgia residents who have been convicted of federal felonies and thus
ineligible to vote while incarcerated or on parole or probation), state agencies (e.g.
natural resources and the Department of Driver Services), and local entities (e.g.
probate court). The SOS is responsible for using this data to update the central
registration database that local superintendents and election officials use to verify
registrations, "prior to approving the application of a person to register to vote, the




81   See supra note 76, Implementing NVR.A: Dep't of Human Servs. at 1.

82 O.C.G.A. § 21-2-384(b).


s3 O.C.G.A. § 21-2-400(aJ.

84   Ga. Comp. R. & Regs. 183-1-12-.02(5)(c)(9).


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registrars may check the data bases of persons convicted of felonies and deceased
persons maintained by the Secretary of State." 85
       The Office of the SOS also plays a key role in ensuring election integrity by
notifying other states of new Georgia residents' status:

           Any person, who is registered to vote in another state and who moves such
           person's residence from that state to this state, shalt at the time of making
           application to register to vote in this state, provide such information as
           specified by the Secretary of State in order to notify such person's former
           voting jurisdiction of the person's application to register to vote in this state
           and to cancel such person's registration in the former place of residence.86
      Relatedly, the SOS is the central point of contact for notifying counties and
municipalities within the state of changes to residence:
           Any person, who is registered to vote in another county or municipality in
           this state and who moves such person's residence from that county or
           municipality to another county or municipality in this state, shall, at the
           time of making application to register to vote in that county or municipality,
           provide such information as specified by the Secretary of State in order to
           notify such person's former voting jurisdiction of the person's application
           to register to vote in the new place of residence and to cancel such person's
           registration in the former place of residence. 87

Election Oversight with Federal Officials
        As the Chief Election Official for the State of Georgia, the SOS represents the
state in official interactions with the federal government related to election
administration. For example, in May 2017, President Donald J. Trump signed Executive
Order 13799 establishing the Presidential Advisory Commission on Election Integrity to
study registration and voting procedures in order uto promote fair and honest Federal
elections. 88" Commission Vice-Chair Kris Kobach sent a request to each state's chief


85   O.C.G.A. § 21-2-216(hJ.

as   O.C.G.A. § 21-2-218(a).

87   Id.

88   Executive Order 13799, 82 Fed. Reg. 22389 (May 11, 2017).


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election official for "publicly-available data from state voter rolls and feedback on how
to improve election integrity."89 The Georgia Secretary of State's Office responded to
this federal request in its official capacity as the state's chief election officer, "The
Georgia Secretary of State's Office will provide the publicly available voter list. As
specified in Georgia law, the public list does not contain a registered voter's driver's
license number, Social Security number, month and day of birth, site of voter
registration, phone number, or email address." 90 The SOS complied with the federal
request while withholding personal information (e.g. social security numbers, phone
numbers, and email addresses) as required by Georgia state law.
       The Appendix to this report includes official memoranda I researched
documenting interactions between the Secretary of State, acting in his official capacity
as the Chief Election Official, and the Chair of the federal EAC. Of note is a series of
memoranda from 2013 and 2014 requesting permission to make changes to the National
Voter Registration Mail Application Form. Although Shelby v. Holder means that states
are no longer required to submit proposed changes for federal approval, the mandates
of the National Voter Registration Act are still intact and require pre-approval for state
changes to the federal information forms and requirements. A memorandum
(Attachment D) written to Ms. Alice Miller, Acting Executive Director of the EAC, from
Secretary of State Brian P. Kemp dated August 1, 2013 begins as follows:


             Dear Ms. Miller,

                    As the chief state election ofiiclul for U1e Slale of Oeol'gia, l am ,,•riling to r~uest that the
            Election As~stance Commission (11EAC11 ) revise the slate-specific instructions for Gcor~a in the
            National Voter Rc~stration Mail Applicalion Fonn (lhc 1'Federc1l Fonn"). ln n<klition to
            updating the mailing address fol' my office's Elections Division, U1c Federal Form nce.iis 10 be
            altered to incl~dc infomrnlion lhat the State of Georgia has deemed nCCGMary to enable state
            clcclion officials to asse~ the eligibility of an at>plicant and lo administe.r voter regis1ration.




89 https://www.whitehouse.gov/the-press-office/2017/06/28/readout-vice-presidents-call-

presidential-advisory-commission-election

90   Georgia to release data to Trump election commission, 11Alive, June 30, available at
https://www.11alive.com/article/news/politics/national-politics/georgia-to-release-data-
to-trump-election-commission/85-453342487

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        Attachment E includes Miller's subsequent responses (2) to Secretary Kemp:

               Dear Secretary Kemp:

                        Thank you for your correspondence dated August 1, 2013 to this office requesting modification
               of instructions relative to Georgia on the national mail voter registration form (Federal Form).

               You requested that EAC revise the Georgia state-specific instructions by making the following changes:

               1. Insertion of an additional bullet after the last bullet in the "Signature" section with the following telCI::

                   •   Be found eligible to vote by supplying satisfactory evidence of U.S. citizenship

               2. Revision of the mailing address as follows:

                  Elections Division
                  Office of the Secretary of State
                  2 Martin Luther King, Jr. Drive
                  Suite 802 Floyd West Tower
                  Atlanta, GA 30334

    Finally, I attach copies of correspondence between Secretary Kemp and EAC
Director Newby regarding the state's requests to make changes to Georgia-specific
information on the federal voter registration form related to agency address and proof
of citizenship (Attachments F, G, and H). This correspondence illustrates the important
role Georgia's Chief Election Official plays in overseeing election administration on
behalf of the state's residents.
         The U.S. Election Assistance Commission conducts a biennial Election
 Administration and Voting Survey ("EAVS") to gather state-level data on various
 aspects such as the number of military personnel registering to vote, voting technology,
 and the frequency of provisional voting. The comprehensive data is used to ensure
 compliance with the various mandates of both HAVA and NVRA and to improve
 election administration. The official federal report lists Georgia as one of 38 states in the
 country with what it terms a "top-down" voter registration process where the chief
 election official 11 gathers and aggregates information from local jurisdictions' voter
'registration databases." 91 Each state's election office works in conjunction with local
 officials to gather the data, which is then submitted to the EAC. I reviewed the 2018
 Comprehensive Report to the 116th Congress that was published in June 2019 to gain a
 better understanding of the information provided on behalf of the State of Georgia and
 by whom. Unfortunately, several key measures were not provided by Georgia officials

91See U.S. Elec. Assistance Comm'n. (2019). Election Administration and Voting Survey
2018: Comprehensive Report to the 116th Congress. Silver Spring, MD: EAC, 2019. (pp. 119)
Available at https:llwww.eac.gov/assets/1/6/2018 EAVS Report.pd£.


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        such as the number of poll workers. Of relevance to my report, however, was the
        official data provided by Georgia's SOS indicating the number and form of new voter
        registration applications and the use and rejection of provisional ballots. Tables 4 and 5
        below provide this d.ata. 92
                                         Table 4: Georgia Voter Registration Applications*



Total          Mail, Fax,   ln-Perso1,     Online Motor      Public     Disability Aimed Othe1· Registration Drives• oa,er Sources   Not
               Email                              Vehicle    Assistance S!rvkes Forces Agencies Advocacy Groups or                   Categorized
                                                  Offices    Offices    Office                  Pal'lies


4,498,331      280,957      107.,468       357,491 3,596,384 23,656    30,914    97      --                           106,634        0
               (6.25%)      (2.28%)        (7.95%) (79.95%) (.53%)     (,69%)    (0%)                                 (2.36%)        0%




        * Indicates requests for which the state did not submit data
                                                 Table 5: Georgia Provisional Voting*

            Total              Full Ballots Partial                        Rejected                 Other
            Provisional        Counted      Ballots                        Ballots
            Ballots                         Counted
            Submitted

               21,604                  11,905                                   9,699

                                       (55.1%)        -                         (44.9%)


                                                      -
        * Indicates requests for which the state did not submit data
           Taken together the state statutes, memos, press releases, grant acknowledgements,
        NVRA implementation guide for state agencies, website resources, federal reports and
        bulletins I researched affirm the practical ways the Georgia SOS acts in his/her official



        92 Ibid.



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capacity as the Chief Election Official responsible for administering, enforcing, and
reconciling key functions at the local, state, and federal level.
   E. CONCLUSION

    The federal provisions found in the Constitution guarantee that all eligible citizens
have unfettered access to voting in foderal elections. The principle of federalism allows
state discretion in defining fair and consistent standards for determining eligibility.
However, the mandates of the National Voter Registration Act and the Help America
Vote Act, coupled with Shelby County v. Holder's removal of federal oversight in
preclearing or preventing potentially harmful electoral changes and procedures amplify
the importance of each state's Chief Election Officer in overseeing election
administration across the entire state. In Georgia, the Chief Election Officer is identified
by state statutes as the Secretary of State. That position is tasked with over 151 duties
establishing broad oversight, enforcement, and correction responsibilities to ensure
Georgia residents may effectively exercise the right to vote. The evidence contained in
this report is consistent with my research into voting rights and election administration
in various states and the nation as a whole.




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                  LIST OF ATTACHMENTS AND APPENDIXES


ATTACHMENT A: Georgia Statutes Outlining the Secretary of State's Duties (Table 2)

ATTACHMENT B: NVRA, HAVA, and VRA Provisions Addressed by Georgia Statutes
Within Purview of Secretary of State (Table 3)

ATTACHMENT C: 2018 HAVA Election Security Grant Award Letter from Georgia
Secretary of State to the U.S. Election Assistance Commission Uuly 10, 2018)

Correspondence between the U.S. Election Assistance Commission and the Georgia
Secretary of State
   - August 1, 2013 ATTACHMENT D
   - August 15, 2013 ATTACHMENT E
   - January 17, 2014 ATTACHMENT F
   - January 29, 2016 ATTACHMENT G
   - September 12, 2016 ATTACHMENTH

ATTACHMENT I: Federal Financial Report for Grant Received by the Georgia
Secretary of State's Office (December 27, 2018)

ATTACHMENT J: Federal Voter Registration Guide and Form with Georgia-Specific
Information

ATTACHMENT K: Augusta-Richmond County Georgia Board of Elections Pamphlet
(March 2018)

APPENDIX A: Brown-Dean Curriculum Vitae




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                  ATTACHMENT A
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                                   TABLE 2: Georgia Statutes Outlining the Secretary of State's Duties
                                               CATEGORY 1: Candidate Interaction
                                                 CATEGORY 2: Voter Interaction
                                            CATEGORY 3: Election Official Interaction

Duty            Text                                                             Source                  Function Classification
Powers and      To determine the forms of nomination petitions, ballots, and     O.C.G.A. § 21-2-        Category 1
duties of the   other forms the Secretary of State is required to determine      50(a)(l)                Category 3
sos             under this chapter

Powers and      To receive registration statements from political parties and    O.C.G.A. § 21-2-        Category 1
duties of the   bodies and to determine their sufficiency prior to filing, in    50(a)(2)                Category 3
sos             accordance with this chapter, and to settle any disputes
                concerning such statements;

Powers and      To receive and determine the sufficiency of nomination           O.C.G.A. § 21-2-        Category 1
duties of the   petitions of candidates filing notice of their candidacy with    50(a)(3)
sos             the Secretary of State in accordance with this chapter;

Powers and      To certify to the proper superintendent official lists of all    O.C.G.A. § 21-2-        Category 1
duties of the   the political party candidates who have been certified to the 50(a)(4)                   Category3
sos             Secretary of State as qualified candidates for the succeeding
                primary and to certify to the proper superintendent official
                lists of all the candidates who have :filed their notices of
                candidacy with the Secretary of State, both such
                certifications to be in substantially the form of the ballots to
                be used in the primary or election. The Secretary of State
                shall add to such form the language to be used in submitting
                any proposed constitutional amendment or other question
                to be voted upon at such election;

Powers and      To furnish to the proper superintendent all blank forms,         O.C.G.A. § 21-2-        Category 3
duties of the   including tally and return sheets, numbered lists of voters,     50(a)(5)
sos             cards of instructions, notices of penalties, instructions for
                marking ballots, tally sheets, precinct returns, recap sheets,
                consolidated returns, oaths of managers and clerks, oaths of
                assisted electors, voters certificates and binders,

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                applications for absentee ballots, envelopes and instruction
                sheets for absentee ballots, and such other supplies as the
                Secretary of State shall deem necessary and advisable from
                time to time, for use in all elections and primaries. Such
                forms shall have printed thereon appropriate instructions ·
                for their use;

Powers and      To receive from the superintendent the returns of primaries    O.C.G.A. § 21-2-   Category 3
duties of the   and elections and to canvass and compute the votes cast for    50(a)(6)
sos             candidates and upon questions, as required by this chapter;

Powers and      To furnish upon request a certified copy of any document in    O.C.G.A. § 21-2-   Category 1
duties of the   the Secretary of State's custody by virtue of this chapter     50(a)(7)           Category 2
sos             and to fix and charge a fee to cover the cost of furnishing                       Category 3
                same;

Powers and      To perform such other duties as may be prescribed by law;      O.C.G.A. § 21-2-   Category 1
duties of the                                                                  50(a)(8)           Category 2
sos                                                                                               Category 3

Powers and      To determine and approve the form of ballots for use in        O.C.G.A. § 21-2-   Category 1
duties of the   special elections;                                             50(a)(9)           Category 2
sos                                                                                               Category 3

Powers and      To prepare and provide a notice to all candidates for federal O.C.G.A. § 21-2-    Category 1
duties of the   or state office advising such candidates of such information, 50(a)(10)           Category 3
sos             to include requirements of this chapter, as may, in the
                discretion of the Secretary of State, be conducive to the fair,
                legal, and orderly conduct of primaries and elections. A
                copy of such notice shall be provided to each superintendent for
                further distribution to candidates for county and militia district
                offices;

Powers and      To conduct training sessions at such places as the Secretary   O.C.G.A. § 21-2-   Category 3
duties of the   of State deems appropriate in each year, for the training of   50(a)(ll)
sos             registrars and superintendents of elections;


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Powers and          To prepare and publish, in the manner provided in this              O.C.G.A. § 21-2-   Category 1
duties of the       chapter, all notices and advertisements in connection with          50(a)(12)          Category 2
sos                 the conduct of elections which may be required by law;                                 Category 3

Powers and          To prepare and furnish information for citizens on voter            O.C.G.A. § 21-2-   Category 2
duties of the       registration and voting;                                            50(a)(l3)
sos
Powers and          To maintain the official list of registered voters for this state   O.C.G.A. § 21-2-   Category I
duties of the       and the list of inactive voters required by this chapter;           50(a)(14)          Category 2
sos                                                                                                        Category 3

Powers and          To develop, program, build, and review ballots for use by           O.C.G.A. § 21-2-   Category 3
duties of the       counties and municipalities on direct recording electronic          50(a)(15)
sos                 (DRE) voting systems in use in the state.

Extension or        In the event the Governor declares that a state of emergency or   O.C.G.A. § 21-2-     Category 1
postponement of     disaster exists pursuant to Code Section 38-3-51 or a federal     50.1                 Category 2
qualifying          agency declares that a state of emergency or disaster exists, the                      Category 3
periods and _       Secretary of State is authorized to postpone or extend the
primaries and       qualifying periods provided in this chapter for the qualification
elections in even   of candidates seeking municipal, county, or state-wide office
of state of         and to postpone the date of any primary, special primary,
emergency or        election, or special election in the affected area.
disaster

Responsibilities    The Secretary of State, as the chief election official         O.C.G.A. § 21-2-        Category 1
underHAVA           designated under the federal Help America Vote Act of          50.2(a)                 Category 2
                    2002, shall be responsible for coordinating the obligations of                         Category 3
                    the state under the federal Help America Vote Act of 2002.

Responsibilities    As the chief election official, the Secretary of State is    O.C.G.A. § 21-2-          Category 1
underHAVA           authorized to promulgate rules and regulations to establish  50.2(b)                   Category 2
                    administrative complaint procedures as required under                                  Category 3
                    Section 402 of Title IV of the federal Help America Vote Act
                    of 2002, which prescribes a process to remedy only those
                    2rievances filed under Title ID of such federal act.

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Responsibilities   Election related complaints filed with the Secretary of State       O.C.G.A. § 21-2-   Category 1
underHAVA          alleging violations of Title III of the federal Help America Vote   50.2(c)            Category 2
                   Act of 2002 shall not be subject to hearing procedures of                              Category 3
                   Chapter 13 of Title 50, the "Georgia Administrative Procedure
                   Act," but shall be resolved pursuant to rules and regulations
                   promulgated under subsection (b) of this Code section whereby
                   the Secretary of State shall have the authority to issue a
                   final order for complaints filed under the federal Help
                   America Vote Act of 2002.

Mail voter         The Secretary of State shall design, publish, and distribute        O.C.G.A. § 21-2-   Category 1
registration       voter registration application forms with which a person            223(a)             Category 2
application        may apply to register to vote by completing and mailing the                            Category 3
forms              form to the Secretary of State or to the board of registrars
                   of the person's county of residence. The Secretary of State
                   shall forward the applications that he or she receives to the
                   appropriate county board of registrars to determine the
                   eligibility of the applicant and, if found eligible, to add the
                   applicant's name to the list of electors and to place the
                   applicant in the correct precinct and voting districts.

Instruction and    The Secretary of State may develop and provide to the               Ga. Comp. R. &     Category 1
training of        boards of registrars manuals for this instruction. The              Regs. 183-1-6-     Category 2
private entities   Secretary of State may also make such manuals available to the      .02(5)(c)          Category 3
                   public, including via electronic means on the Secretary of
                   State's website. Until such time as the Secretary of State
                   develops such manuals, boards of registrars shall utilize such
                   materials as will meet the training requirements of this rule.

Rules and          The Secretary of State shall provide the board of registrars  Ga. Comp. R. &           Category 3
Regulations for    of each county manuals for the use of deputy registrars       Regs. 183-1-6-
Voter              which include simple instructions on the rules and            .03(3)(n)
Registration by    procedures for the proper conduct of voter registration. The
Registrars and     form and content of these manuals shall be determined by
Deputy             the Secretary of State. The board of registrars shall provide
Registrars         each deputy registrar with a coov of the manual.

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Accessibility for   Polling Places. The election superintendent of each county and     Ga. Comp. R. &         Category 3
Elderly and         municipality shall conduct. or cause to be conducted, an on-site Regs. 183-1-6-
Disabled Voters     inspection of each polling place located within the county or      .04(5)(a)
                    municipality to determine if the polling place is accessible. This
                    inspection shall be reported to the Secretary of State on
                    forms prepared by the Secretary of State at such times as
                    the Secretary of State shall prescribe. Any polling place
                    found not to be accessible shall either be made accessible prior
                    to its use in a primary or election or shall not be used as a
                    polling place.

Accessibility for   Printed Instructions. The Secretary of State shall provide          Ga. Comp. R. &        Category 3
~lderly and         instructions for use by election superintendents at polling places Regs. 183-1-6-.04(7)
Disabled Voters     and registrars at voter registration places. printed in large type,
                    to assist visually and hearing impaired electors in voting and
                    registering to vote.

Conduct of          Beginning with the November 2002 General Election, all             Ga. Comp. R. &         Category I
Elections:          federal, state, and county general primaries and elections,        Regs. 183-1-12-.01     Category 2
Voting              special primaries and elections, and referendums in the State of                          Category 3
Machines-Vote       Georgia shall be conducted at the polls through the use of
Recorders           direct recording electronic (DRE) voting units supplied by
                    the Secretary of State or purchased by the counties
                    with the authorization of the Secretary of State. In addition.
                    absentee balloting shall be conducted through the use of optical
                    scan ballots which shall be tabulated on optical scan vote
                    tabulation systems furnished by the Secretary of State or
                    purchased by the counties with the authorization of the
                    Secretary of State; provided, however, that the use of direct
                    recording electronic (DRE) voting units is authorized by the
                    Secretary of State for persons desiring to vote by absentee
                    ballot in person.

Direct Recording Acceptance tests. Upon the receipt of each new direct recording . Ga. Comp. R. &             Category 3
Electronic       electronic voting unit (DRE), the election superintendent of      Regs. 183-1-12-
                 the county is responsible to ensure that an acceptance test is .02(2)(a)

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Voting             performed on the device in accordance with standards
Equipment          issued by the Secretary of State. No DRE unit shall be
                   accepted by the county or placed into service
                   until such time as the unit satisfactorily passes the prescribed
                   acceptance tests.

Direct Recording The election superintendent of the county shall maintain the           Ga. Comp. R. &    Category 3
Electronic       DRE units in accordance with the requirements of this rule,            Regs. 183-1-12-
Voting           the directives of the Secretary of State, and the specifications       .02(2)(b)(l)
Equipment        and requirements of the manufacturer.

Direct Recording   Software security. The software contained in each DRE unit,          Ga. Comp. R. &    Category 3
Electronic         regardless of whether the unit is owned by the county or the         Regs. 183-1-12-
Voting             state, and the software used to program the unit and to              .02(2)(c)
Equipment          tabulate and consolidate election results shall not be
                   modified, upgraded, or changed in any way without the
                   specific approval of the Secretary of State. No other
                   software shall be loaded onto or maintained or used on
                   computers on which the GEMS software is located except as
                   specifically authorized by the Secretary of State.

Direct Recording   The GEMS server shall not be moved or relocated for                  Ga. Comp. R. &    Category 3
Electronic         educational or training purposes. Should it become necessary to      Regs.183-1-12-
Voting             relocate the GEMS server or any of its components from one           .02(2)(g)(3)
Equipment          facility to another, the election superintendent shall notify the
                   Secretary of State in writing of the reason for the relocation and
                   the proposed new location. Under no circumstances shall the
                   GEMS server or any of its components be relocated unless
                   and until written authorization for the relocation is received
                   from the Secretary of State except in the event of an
                   emergency situation beyond the control of the election
                   superintendent.

Direct Recording   The poll manager shall sign a receipt for all supervisor cards,      Ga. Comp. R. &    Category 3
Electronic         encoders, voter access cards, memory cards, and DRE unit keys        Regs. 183-1-12-
Voting             assigned to such poll manager's precinct. Upon returning             .02(2)(g)(4)
Equipment          election supplies to the election superintendent's office

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                   following the close of the polls, the poll manager shall account
                   for all such items and shall certify that all such items have been
                   returned or shall describe any missing items and e_xplain why
                   such items have
                   not been returned. The Secretary of State shall prepare and
                   provide a chain of custody sheet for this purpose.

Direct Recording All supervisor cards, encoders, voter access cards, memory          Ga. Comp. R. &         Category 3
Electronic       cards, DRE unit keys, and other equipment assigned to               Regs. 183-1-12-
Voting           designated county election technicians shall be accounted for on .02(2)(g).(5)
Equipment        the night of a primary, election, or runoff and shall be returned
                 to storage. Each technician shall sign a receipt for all such items
                 issued to such technician and,
                 upon returning such items to the election superintendents office
                 following the close of the polls, the technician shall account for
                 all such items and shall certify that all such items have been
                 returned or shall describe any missing items and explain why
                 such items have not been returned. The Secretary of State
                 shall prepare and provide a chain of custody sheet for this
                 purpose.

Direct Recording   The election superintendent shall notify the Secretary of            Ga. Comp. R. &      Category 3
Electronic         State of any instances of unaccounted for DRE units, optical         Regs. 183-1-12-
Voting             scanner devices, voter access cards, supervisor cards, memory        .02(2)(g)(6)
Equipment·         cards, DRE unit keys, voting system software, and encoders at
                   the completion of certification by delivering such notification to
                   the Secretary of State when the certified election results are
                   delivered to the Secretary of State.

Direct Recording After placing the memory card (PCMCIA card) in the DRE                 Ga. Comp. R. &      Category 3
Electronic       unit, the DRE unit shall have such internal diagnostic tests           Regs. 183-1-12-
Voting           performed as shall be directed by the Secretary of State or the        .02(3)(b)(1 )(ii)
Equipment        election superintendent.

Direct Recording The poll officers shall affix a card of instructions for voting        Ga. Comp. R. &      Category 1
Electronic       within each voting booth and shall place at least two printed          Regs. 183-1-12-     Category 2
                 samole ballots and at least two votinir instructions posters           .02(3)(d)(7)        Categorv 3

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Voting             approved or provided by the Secretary of State outside the
Equipment          enclosed space at the polling place for the information of the
                   voters. Prior to voters entering the enclosed space, the poll
                   officers may also distribute to such voters a card of
                   instructions for voting on the DRE unit that has been
                   approved or J>rovided by the Secretary of State.

Direct Recording In the case of primaries, elections, and runoffs for county, state,      Ga. Comp. R. &    Category 3
Electronic       and federal office, the county election superintendent shall             Regs. 183-1-12-
Voting           transmit to the Secretary of State the election returns by               .02(5)(c)(9)
Equipment        precinct for the county in electronic format or by electronic
                 means, as may be specified by the Secretary of State, within
                 seven days following a primary, election, or runoff.

Direct Recording   Electronic Transmission of Precinct Results to Central Office.         Ga. Comp. R. &    Category 3
Electronic         The election superintendent shall transmit to the Secretary of         Regs. 183-1-12-
Voting             State unofficial election results for all races for state offices in   .02(5)(d)
Equipment          any primary, election, or runoff as soon as possible after the
                   closing of the polls for such primary, election, or runoff. Such
                   results shall be transmitted in a format prescribed by the
                   Secretary of State. At a minimum, the results shall be
                   transmitted upon one third of the precincts reporting results,
                   upon two thirds of the precincts reporting results, and upon all
                   precincts reporting results, including absentee ballots within all
                   precincts. Except upon notice to and consultation with the
                   Secretary of State, no election superintendent shall conclude the
                   tabulation of votes on election night in any primary, election, or
                   runoff in which there are contested races for federal and state
                   offices until and unless all such unofficial results, including
                   absentee ballots, have been transmitted to the Secretary of
                   State.

Direct Recording   In the event of any malfunction or problem with DRE units,             Ga. Comp. R. &    Category 3
Electronic         the county election superintendent shall document the                  Regs. 183-1-12-
Voting             problem and its resolution and shall provide such                      .02(8)(b)
Equipment          information to the Secretary of State. The documentation


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                   shall include a detailed description of the malfunction or
                   problem, the steps taken to correct the malfunction or
                   problem, and the cause of such malfunction or problem if a
                   cause can be determiJ;:ted.

Direct Recording Use of Equipment by Municipalities. The county election              Ga. Comp. R. &    Category 3
Electronic       superintendent is authorized to permit any municipality within       Regs. 183-1-12-
Voting           the county to conduct its election with the DRE equipment            .02(9)
Equipment        through a written intergovernmental agreement between the
                 county and the municipality; provided that the municipality
                 agrees to maintain and operate the equipment in accordance
                 with law, these rules and regulations, and the manufacturer's
                 guidelines and specifications and provided further that the
                 municipality trains all of its election personnel and poll workers
                 in the proper operation and conduct of elections utilizing such
                 equipment through a training program conducted by or
                 approved by the Secretary of State.

Direct Recording   The registrars of each county shall complete the entry of new      Ga. Comp. R. &    Category 3
Electronic         and updated voter registrations on a timely basis as required      Regs. 183-1-12-
Voting             by the Secretary of State and shall notify the Secretary of        .07(4)
Equipment          State upon the completion of all such data entry after a
                   registration deadline.

Direct Recording   Prior to each primary or election as specified by the Secretary    Ga. Comp. R. &    Category 3
Electronic         of State, the county election superintendent shall provide to      Regs. 183-1-12-
Voting             the Secretary of State or his or her designee a final copy of      .07(5)
Equipment          the GEMS database for the county.

Direct Recording   The county election superintendent and the registrars shall        Ga. Comp. R. &    Category 3
Electronic         notify the Secretary of State or his or her designee of any        Regs. 183-1-12-
Voting             changes to the voter registration file for the county or the       .07(6)
Equipment          GEMS database that occur after the process for creating
                   ExpressPoll flash cards begins.




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Direct Recording   Upon the conclusion of each primary, election, or runoff, the     Ga. Comp. R. &      Category 3
Electronic         poll officers shall return the ExpressPoll units with the other   Regs. 183-1-12-
Voting             election materials from the precinct to the election              .07(9)
Equipment          superintendent. The registrars and election superintendent
                   shall coordinate the return of the flash cards from the
                   ExpressPoll units to the Secretary of State such that the cards
                   are returned in the same time period as the official election
                   returns.

UseofDRE           On the first day of the absentee voting period, prior to any votes Ga. Comp. R. &     Category 1
Units for          being cast on the DRE units, the registrars shall verify that the   Regs. 183-1-14-   Category 2
Absentee           seal for each DRE unit is intact and that there is no evidence or .02(6)              Category 3
Balloting          indication of any tampering with the seal or the unit. The
                   registrars shall verify that the number of the seal matches the
                   number of the seal recorded for that unit
                   when such unit was prepared by the election superintendent for
                   the primary, election, or runoff. If a seal number does not match
                   or if there is any evidence or indication of tampering with the
                   seal or unit, the Secretary of State and the election
                   superintendent shall be immediately notified and such unit
                   shall not be used until such matters are resolved by
                   agreement of the Secretary of State, the election
                   superintendent, and the registrars. The set up shall be
                   performed in public and the public may view the set up subject
                   to such reasonable rules and regulations as the registrars may
                   deem appropriate to protect the security of the DRE units and to
                   prevent interference with the duties of the registrars, except that
                   the public view shall not be obstructed. The registrars shall run
                   a zero tape on each DRE unit prior to the beginning of absentee
                   voting on such units. The registrars shall, without removing the
                   tape from the unit, verify that all vote registers shown on the
                   zero tape are set to zero and that there are no votes showing on
                   the unit and shall sign the tape in the space provided. If the zero
                   tape does not show that all vote registers are set to zero and that
                   there are votes on the unit, the election superintendent shall be
                   immediately notified and such unit shall not be used until the
                   unit is cleared and the matter is resolved by agreement of the
                   election superintendent and the registrars. After verifving and
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             signing the zero tape, the registrars shall securely lock the tape
             compartment leaving the zero tape in place on the unit and shall
             configure the unit for voting. The registrars shall verify that the
             election counter on each DRE unit is set at zero. If the election
             counter is not set to zero, the election superintendent shall be
             immediately notified and such unit shall not be used until the
             election counter is set to zero and the matter is resolved by
             agreement of the election superintendent and the registrars. The
             registrars shall verify that there is no unauthorized matter
             affixed to the DRE units or present in the cases or voting
             booths. The registrars shall affix a card of instructions for
             voting within each voting booth. Prior to voters entering the
             voting booth, the registrars may also distribute to such
             voters a card of instructions for voting on the DRE unit that
             has been approved or provided by the Secretary of State.
             Each DRE unit shall be clearly marked with a unique
             designation that is visible on the exterior of the unit.

Use of DRE   At the close of business each day during the absentee voting        Ga. Comp. R. &    Category 3
Units for    period, the registrars shall document the election counter          Regs. 183-1-14-
Absentee     number on the daily recap sheet. Each DRE unit used for in-         .02(8)
Balloting    person absentee voting shall then be turned off and closed. The
             memory card (PCMCIA card) shall remain in the unit at all
             times during the absentee balloting period until the polls
             close on the day of the primary, election, or runoff. Each DRE
             unit shall then be sealed and the seal number and the time of
             sealing shall be recorded on the daily recap sheet. Each DRE
             unit shall then be secured overnight. In addition, all voter access
             cards shall be securely stored overnight and when not in use. If
             a DRE unit is used to program voter access cards, the registrars
             shall make a notation of the election counter number on the
             daily recap sheet. If such number is not zero, the registrars
             shall notify the Secretary of State immediately and shall
             ascertain the reason for the discrepancy and shall.make a
             notation of such discrepancy and the reason for it on the
             daily recap sheet. Such DRE unit shall not be used for
             creation of voter access cards unless and until the unit is
             fully tested and reconfi211red and the election counter reset
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            at zero pursuant to procedures established by the Secretary
            of State. The DRE unit shall be turned off and secured for the
            night.

UseofDRE    Each morning during the absentee balloting period, the            Ga. Comp. R. &    Category 3
Units for   registrars shall publicly verify the seal numbers on each DRE     Regs. 183-1-14-
Absentee    unit to be used for absentee voting with the number of the seal   .02(9)
Balloting   recorded on the daily recap sheet from the previous day of
            absentee voting.and shall verify that the seal and DRE unit do
            not show any signs of tampering. If the seal number
            corresponds to the entry on the daily recap sheet and there is no
            evidence of tampering, the DRE unit shall be opened and turned
            on. If the numbers do not match or there is evidence of
            tampering, the Secretary of State shall be notified
            immediately and the unit shall not be used until such
            discrepancy is resolved to the satisfaction of the Secretary of
            State, the election superintendent, and the registrars. After
            opening and turning on the unit, the registrars shall verify the
            election counter number with the number recorded on the daily
            recap sheet from the previous day of absentee voting. If the
            numbers do not match, the Secretary of State shall be
            immediately notified and the unit shall not be used until
            such discrepancy is resolved to the satisfaction of the
            Secretary of State, the election superintendent, and the
            registrars. The election counter number shall then be entered
            onto the daily recap sheet for that day. If a DRE unit is to be
            used for programming voter access cards, the registrars shall
            open and turn on the power for such unit. The registrars shall
            then verify that the election counter is set on zero. If the                                '

            election counter is not set at zero, the Secretary of State
            shall be immediately notified and the unit shall not be used
            until such discrepancy is resolved to the satisfaction of the
            Secretary of State, the election superintendent, and the
            registrars. A notation shall be made on the daily recap sheet of
            the election counter number and the unit shall be configured to
            create voter access cards.


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Reporting         The registrars of each county shall on the 32nd day prior to         Ga. Comp. R. &    Category 3
Requirements      each statewide general primary and general election submit           Regs. 183-1-14-
for Absentee      to the Secretary of State on a form provided by the                  .04(1)
Ballots           Secretary of State information concerning absentee ballots
                  requested by electors who are entitled to vote by absentee
                  ballot under the federal Uniformed and Overseas Citizens
                  Absentee Voting Act, 42 U.S.C. § 1973ff, et seq., as
                  amended. Such report shall include the number of absentee
                  ballots requested by each such category of absentee voter, the
                  date on which the absentee ballots were available in the
                  registrars' office, and the date on which the ballots requested by                           .
                  such voters were sent to the voters. The Secretary of State
                  may request further information related to the application
                  for and the transmittal of such ballots.

State Write-In    The Secretary of State shall design a state write-in absentee        Ga. Comp. R. &    Category 1
Absentee Ballot   ballot for use in runoff primaries and runoff elections by an        Regs. 183-1-14-   Category2
                  elector of this state who resides outside the county or the          .0S(a)            Category 3
                  municipality in which the election is being conducted and is:
                  (1) a member of the anned forces of the United States, a
                  member of the merchant marine of the United States, a member
                  of the commissioned corps of the Public Health Service or the
                  National Oceanic and Atmospheric Administration, or a spouse
                  or dependent of such member residing with or accompanying
                  said member; or (2) A citizen of the United States
                  residing outside the United States.

State Write-In    The Secretary of State shall prepare and print instructions          Ga. Comp. R. &    Category.I
Absentee Ballot   for completing and returning such ballot that shall also be          Regs. 183-1-14-   Category 2
                  enclosed with such ballot. The state write-in absentee ballot,       .0S(d)            Category 3
                  the envelopes for returning it, and the instructions shall be
                  enclosed with the regular absentee ballot, envelopes, and
                  instructions for completing and returning the regular absentee
                  ballot.




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State Write-In      Additionally, the Secretary of State and the county                  Ga. Comp. R. &     Category 1
Absentee Ballot     registrars shall provide for the transmission of such blank          Regs. 183-1-14-    Category2
                    ballots by facsimile transmission and electronic mail                .05(e)             Category 3
                    transmission to electors. Instructions for voting such
                    ballots shall be included on the website and shall accompany
                    any facsimile and electronic mail ballot transmissions. Voted
                    ballots shall not be returned by facsimile or electronic mail.

State Write-In      As soon as practicable after a general primary or general            Ga. Comp. R. &     Category 1
Absentee Ballot     election, the Secretary of State shall cause to be published         Regs. 183-1-14-    Category 2
                    on the official website of the Secretary of State a list of all      .0S(f)             Category 3
                    federal offices and state offices in which there will be a
                    runoff primary or runoff election, as the case may be, along
                    with the names of the candidates who will be on the ballot in
                    such runoff.

State Write-In      If an elector obtains the ballot by facsimile or by downloading      Ga. Comp. R. &     Category 1
Absentee Ballot     from electronic mail or the Secretary of State's website, the        Regs. 183-1-14-    Category 2
                    elector shall return the ballot by mail using two envelopes. The     .0S(g)             Category 3
                    elector shall enclose and seal the ballot in a plain envelope and
                    insert that envelope into another envelope for transmission to
                    the registrars. The elector shall copy and
                    sign the appropriate oath onto the back of the outer envelope.
                    The Secretary of State shall provide a sample envelope and
                    oath form on the Secretary of State's website in such a
                    manner that such form may be used by an elector to print
                    out the forms for the purpose of pasting or attaching such
                    forms to an envelope for returning the ballot or for printing
                    an envelope for returning the ballot.

Secretary of        The Secretary of State is designated as the chief state              O.C.G.A. § 21-2-   Category 1
State designated    election official to coordinate the responsibilities of this state   210                Category 2
chief state         under the National Voter Registration Act of 1993 (P.L. 103-                            Category 3
election official   31) as required by 42 U.S.C. Section 1973gg-8.

Official list of    The Secretary of State shall establish and maintain a list of        O.C.G.A. § 21-2-   Category 1
electors;           all elif!i.ble and aualified reeistered electors in this state       211(a)             Categorv 2

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equipment to       which shall be the official list of electors for use in all                              Category 3
access list        elections in this state conducted under this title.

Official list of   The Secretary of State is authorized to procure and provide         O.C.G.A. § 21-2-     Category 3
electors;          all of the necessary equipment to permit the county boards          21l(b)(2)
equipment to       of registrars to access and utilize the official list of electors
access list        maintained by the Secretary of State pursuant to this Code
                   section, provided that funds are specifically appropriated by the
                   General Assembly for that purpose.

Voter              The Secretary of State shall establish procedures to match          O.C.G.A. § 21-2-     Category2
registration       an applicant's voter registration information to the                216(g)(7)            Category 3
                   information contained in the data base maintained by the
                   Department of Driver Services for the verification of the
                   accuracy of the information provided on the application for
                   voter registration, including whether the applicant has
                   provided satisfactory evidence of United States citizenship.

Voter              Prior to approving the application of a person to register to vote, O.C.G.A. § 21-2-     Category 3
registration       the registrars may check the data bases of persons convicted 216(h)
                   of felonies and deceased persons maintained by the
                   Secretary of State.

Change of          Any person, who is registered to vote in another state and who        O.C.G.A. § 21-2-   Category 2
residence of       moves such person's residence from that state to this state, shall, 218(a)               Category 3
elector            at the time of making application to register to ·vote in this state,
                   provide such information as specified by the Secretary of
                   State in order to notify such person's former voting
                   jurisdiction of the person's application to register to vote in
                   this state and to cancel such person's registration in the
                   former place of residence.

Change of          Any person, who is registered to vote in another county or          O.C.G.A. § 21-2-     Category 2
residence of       municipality in this state and who moves such person's              218(b)               Category 3
elector            residence from that county or municipality to another county or
                   municiualitv in this state, shall, at the time of making


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               application to register to vote in that county or municipality,
               provide such information as specified by the Secretary of
               State in order to notify such person's former voting
               jurisdiction of the person's application to register to vote in
               the new place of residence and to cancel such person's
               registration in the former place of residence.

Change of      In the event that an elector moves to a residence within the        O.C.G.A. § 21-2-    Category 2
residence of   county or municipality but into a different precinct or who         218(d)              Category 3
elector        moves to a residence in the same precinct but at a different
               address and fails to notify the board of registrars of such fact by
               the fifth Monday prior to an election or primary such elector
               shall vote in the precinct of such elector's former
               residence for such election or primary and for any runoffs
               resulting therefrom. The superintendent of an election shall
               make available at each polling place forms furnished by the
               Secretary of State which shall be completed by each such·
               elector to reflect such elector's present legal residence. Such
               forms may also be used to notify the board of registrars of a
               change in an elector's name. The board of registrars shall
               thereafter place the elector in the proper precinct and voting
               districts and correct the list of electors accordingly. If the
               elector is placed in a precinct other than the one in which such
               elector has previously been voting, such elector shall be notified
               of the new polling place by first-class mail.

Change of      In the event that the registration records incorrectly indicate that O.C.G.A. § 21-2-   Category 2
residence of   an elector has moved from an address within a precinct, the          218(g)             Category 3
elector        elector may vote in the precinct upon affirming in writing
               on a form prescribed by the Secretary of State that the
               elector still resides in the precinct at the address previously
               provided to the board of registrars. The registrars shall
               correct the elector's registration record to reflect the correct
               address.




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Registration        The registration cards for use by persons in making application     O.C.G.A. § 21-2-   Category 2
cards; absentee     to register to vote shall be in a form as specif;.ed by the         219(a)             Category 3
regulations         Secretary of State, which shall include printed forms, forms
                    made available through electronic means, or otherwise. Except
                    as provided in subsection (b) of this Code section and Code
                    Section 21-2-221.2, only registration cards issued
                    or authorized for use by the Secretary of State or the national
                    voter registration card promulgated under the provisions of the
                    National Voter Registration Act of 1993, 42 U.S.C. Section
                    1973gg..;7, shall be accepted for purposes of voter registration.

Registration        The office of the Secretary of State is designated as the           O.C.G.A. § 21-2-   Category 2
cards; absentee     office, under the federal Help America Vote Act, to be              219(:f)            Category 3
regulations         responsible for providing information on registration and
                    absentee ballot procedures for use by absent uniformed
                    services and overseas voters, including the use of the federal
                    write-in absentee ballot.

Registration        The Secretary of State shall within 90 days after a general         O.C.G.A. § 21-2-   Category 3
cards; absentee     election in which federal candidates were on the ballot report      219(h)
regulations         to the federal Election Assistance Commission, on such form
                    as may be prescribed by such commission, the combined
                    number of absentee ballots transmitted to absent uniformed
                    services and overseas voters in such election and the
                    combined number of such ballots that were returned by
                    such voters and cast in such election.

Application for    The commissioner of driver services and the Secretary of State       O.C.G.A. § 21-2-   Category 3
driver's license;  shall agree upon and design such procedures and forms as             22l(b)
service as         will be necessary to comply with this Code section.
application for
voter registration

Application for     The Department of Driver Services shall transmit the completed O.C.G.A. § 21-2-        Category 3
driver's license;   applications for voter registration to the Secretary of State at the 221(e)
service as          conclusion of each business day. The Secretary of State shall
                    forward the applications to the appropriate county board of

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application for    registrars to determine the eligibility of the applicant and, if
voter registration found eligible, to add the applicant's name to the list of
                   electors and to place the applicant in the correct precinct
                   and voting districts.

Application for    The Department of Driver Services shall maintain such                O.C.G.A. § 21-2-   Category 3
driver's license;  statistical records on the number of registrations and               22l(f)
service as         declinations as requested by the Secretary of State.
application for
voter registration

Application for    The Secretary of State and the commissioner of driver                O.C.G.A. § 21-2-   Category 3
driver's license;  services shall have the authority to promulgate rules and            221(h)
servtce as         regulations to provide for the transmission of voter
application for    registration applications and signatures electronically. Such
voter registration electronically transmitted signatures shall be valid as signatures
                   on the voter registration application and shall be treated in all
                   respects as a manually written original signature and shall be
                   recognized as such in any matter concerning the voter
                   registration application.

Applications for     The Board of Natural Resources and the Secretary of State          O.C.G.A. § 21-2-   Category 3
resident hunting,    shall agree upon and design such procedures and forms as           221.l(b)
fishing, or          will be necessary to comply with this Code section, including
trapping license;    without limitation procedures applicable to processing of
service as           applications received by persons approved as license agents for
application for      the Department of Natural Resources pursuant to
voter registration   Code Section 27-2-2.

Applications for The Department of Natural Resources shall transmit the                 O.C.G.A. § 21-2-   Category 3
resident hunting, completed applications for vote:i; registration to the Secretary of   221.l(f)
fishing, or        State at the conclusion of each business day. The Secretary of
trapping license; State shall forward the applications to the appropriate
service as         county board of registrars to determine the eligibility of the
application for    applicant and, if found eligible, to add the applicant's name
voter registration to the list of electors and to place the applicant in the
                   correct precinct and votin2 districts.

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Applications for The Department of Natural Resources shall maintain such                  O.C.G.A. § 21-2-   Category 3
resident hunting, statistical records on the number of registrations and                  221.l(g)
fishing, or        declinations as requested by the Secretary of State.
trapping license;
service as,
application for
voter registration

Applications for     The Secretary of State and the Board of Natural Resources            O.C.G.A. § 21-2-   Category 3
resident hunting,    shall have the authority to promulgate rules and regulations         221.l(i)
fishing, or          to provide for the transmission of voter registration
trapping license;    applications and signatures electronically. Such
service as           electronically transmitted signatures shall be valid as signatures
application for      on the voter registration application and shall be treated in all
voter registration   respects as a manually written original signature and shall be
                     recognized as such in any matter concerning the voter
                     registration application.

Electronic voter     A person who is qualified to register to vote in this state and      O.C.G.A. § 21-2-   Category 2
registration         who has a valid Georgia driver's license or identification card      221.2(a)           Category 3
                     may submit a voter registration application on the Internet
                     website of the Secretary of State. The Secretary of State shall,
                     in conjunction with the Department of Driver Services,
                     design and implement a system to allow for such electronic
                     voter registration.

Electronic voter     Upon the submission of an application through the website            O.C.G.A. § 21-2-   Category 3
registration         pursuant to this Code section, the software used by the              221.2(c)
                     Secretary of State for processing applications through the
                     website shall provide for immediate verification of all of the
                     following:

                     (1) That the applicant has a valid Georgia driver's license or
                     identification card and that the number for that driver's license
                     or identification card provided by the applicant matches the


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                    number for the applicant's driver's license or identification card
                    that is on file with the Department of Driver Services;

                    (2) That the date of birth provided by the applicant matches the
                    date of birth that is on file with the Department of Driver
                    Services; and
                    (3) That the applicant is a citizen of the State of Georgia and of
                    the United States and that the information provided by the
                    applicant matches the information on file with the Department
                    of Driver Services.

                    If any of these items do not match or if the application is
                    incomplete, the application shall be void and shall be rejected
                    and the applicant shall be notified of such rejection either
                    electronically or by mail within five days after such application
                    is rejected.

Electronic voter    If all of the items enumerated in subsection (c) of this Code    O.C.G.A. § 21-2-       Category 3
registration        section are verified, the Secretary of State shall obtain an     221.2(d)
                    electronic copy of the applicant's signature from the
                    applicant's driver's license or identification card on file with
                    the Department of Driver Services. The application shall then
                    be processed in the same manner as applications under Code
                    Section 21-2-221. Except as otherwise provided by this Code
                    section, the application shall be deemed to have been made as
                    of the date that the information was provided by the applicant
                    through the Internet website.

Electronic voter    The Secretary of State shall employ security measures to             O.C.G.A. § 21-2-   Category 3
registration        ensure the accuracy and integrity of voter registration              221.2(f)
                    applications submitted electronically pursuant to this Code
                    section.

Offices            In addition to the offices listed in subsection (b) of this Coqe      0.C.G.A. § 21-2-   Category 2
designated as      section, the Secretary of State shall designate other offices         222(c)             Category 3
voter registration within the state as designated voter registration offices.
agencies

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Offices            Each office shall transmit the completed voter registration        0.C.G.A. § 21-2-     Category 3
designated as      application forms to the Secretary of State at least once per 222(i)
voter registration week, except that, during the 15 days leading up to a
agencies           registration deadline for a primary or election, such applications
                   shall be transmitted to the Secretary of State at the conclusion
                   of each business day. The Secretary of State shall forward
                   the applications to the appropriate county board of
                   registrars to determine the eligibility of the applicant and, if
                   found eligible, to add the applicant's name to the list of
                   electors and to place the applicant in the correct precinct
                   and voting districts.

Offices            Each office shall maintain such statistical records on the           O.C.G.A. § 21-2-   Category 3
designated as      number of registrations and declinations as requested by the         222G)
voter registration Secretary of State.
agencies

Offices            The Secretary of State shall have the authority to                   O.C.G.A. § 21-2-   Category 3
designated as      promulgate rules and regulations to provide for the                  222(1)
voter registration transmission of voter registration applications and
agencies           signatures electronically from public assistance offices,
                   offices which provide state funded programs primarily
                   engaged in providing services to persons with disabilities,
                   and recruitment offices of the armed forces of the United
                   States located within this state. Such electronically
                   transmitted signatures shall be valid as signatures on the voter
                   registration application and shall be treated in all respects as a
                   manually written original signature and shall be recognized as
                   such in any matter concerning the voter registration application.

Mail voter          The Secretary of State shall design, publish, and distribute . 0.C.G.A. § 21-2-        Category 1
registration        voter registration application forms with which a person       223(a)                  Category 2
application         may apply to register to vote by completing and mailing the                            Category 3
forms               form to the Secretary of State or to the board of registrars
                    of the person's county of residence. The Secretary of State
                    shall forward the applications that he or she receives to the

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                    appropriate county board of registrars to determine the
                    eligibility of the applicant and, if found eligible, to add the
                    applicant's name to the list of electors and to place the applicant
                    in the correct precinct and voting districts.

Mail voter          The county boards of registrars shall obtain and maintain a           O.C.G.A. § 21-2-   Category 1
registration        supply of mail voter registration application forms for               223(b)             Category 2
application         distribution and for voter registration. In addition, each state,                        Category 3
forms               county, and municipal office, except an office which is a
                    designated voter registration office under Code Section 21-2-
                    222, which has regular contact with the public shall obtain a
                    supply of mail voter registration application forms from the
                    Secretary of State and make such applications available for
                    use by citizens to register to vote.

What data [sic]     It shall be the duty of the Secretary of State to furnish             O.C.G.A. § 21-2-   Category 1
available for       copies of such data as may be collected and maintained on             225(c)             Category 2.
public inspection   electors whose names appear on the list of electors                                      Category 3
                    maintained by the Secretary of State pursuant to this
                    article, within the limitations provided in this article, on
                    electronic media or computer run list or both.
                    Notwithstanding any other provision of law to the contrary, the
                    Secretary of State shall establish the cost to be charged for such
                    data. The Secretary of State may contract with private vendors
                    to make such data available in accordance with this subsection.
                    Such data may not be used by any person for commercial
                    purposes.

Confidentiality     The Secretary of State shall provide by procedure, rule, or           O.C.G.A. § 21-2-   Category 1
of voter            regulation for the mechanism by which such information                225.l(d)           Category 2
addresses           shall be made confidential on the voter registration data                                Category 3
                    base and may provide for forms for use in making such
                    requests and for the use of alternate addresses for electors
                    who file requests for the confidentiality of their residence
                    addresses.



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Duties of             Each elector found eligible to be registered to vote by the board O.C.G.A. § 21-2-    Category 2
registrars as to      of registrars shall be issued a card which shall contain the        226(e)            Category 3
determination of      elector's name and address, a block or space for the elector's
eligibility to vote   signature, the date of the elector's registration, the name and
and placement in      location of the elector's polling place or polling places if the
voting district       county and municipal polling places are not the same,
and precinct;         and the designation of the elector's congressional district; state
issuance of cards     Senate district; state House district; county commission district,
to electors           if any; county or independent board of education district, if any;
                      and municipal governing authority district, if any, and such
                      other voting districts, if any. On the reverse side of the card,
                      there shall be printed instructions which shall indicate the
                      procedure to be followed in the event of the change of address
                      of the elector. In the event an elector changes residences within
                      the county in which an elector is registered to vote, the elector
                      may change such elector's address by returning the card to the
                      board of registrars of such county indicating the new address.
                      Upon receipt of such card, the board of registrars shall make the
                      necessary changes in the elector's registration records and issue
                      a new card to the elector. In the event that an elector's precinct,
                      polling place, or voting district or districts change, a new card
                      shall be issued to the elector reflecting such changes. When the
                      boundaries of a precinct are changed, all affected electors shall
                      be sent a new card prior to the next primary or election. The
                      form of such cards shall be determined by the Secretary of
                      State. The issuance of such cards shall be sufficient as a
                      notification of the disposition of an application for voter
                      registration under this Code section, provided that such cards
                      are sent by nonforwardable, first-class mail.

Duties of           In the event that the registrars are required to issue voters new    O.C.G.A. § 21-2-   Category 3
registrars as to    cards under subsection (e) of this Code section due to changes       226(f)
determination of in districts or precincts as a result of reapportionment or court
eligibility to vote order, the registrars may apply to the Secretary of State prior to
and placement in June 3 0 of each year for reimbursement of the costs of postage
voting district     with respect to mailing such cards
and precinct;       during the 12 month period ending on June 30 of that year. The
                    Secretary of State shall receive all such aunlications and
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issuance of cards   shall, no later than June 30 of each year, reimburse the
to electors         counties for such costs from funds specifically appropriated
                    for that purpose. In the event that the total amount of the
                    requests for reimbursement exceeds the funds appropriated
                    for reimbursement, the Secretary of State shall reimburse
                    the counties on a pro rata basis. In the event that no funds
                    are specifically appropriated for reimbursement, no such
                    reimbursement shall be made.

Monthly             Unless otherwise notified by the Secretary of State, the         O.C.G.A. § 21-2-      Category 3
transmittal of      Georgia Crime Information Center shall, on or before the         231(a)
information to      tenth day of each month, prepare and transmit to the
Secretary of        Secretary of State and The Council of Superior Court Clerks
State and The       of Georgia a complete list of all persons, including dates of
Council of          birth, social security numbers, and other information as
Superior Court      prescribed by the Secretary of State or The Council of
Clerks of           Superior Court Clerks of Georgia, who were convicted of a
Georgia;            felony in this state since the preceding reporting period. The
removal of          Secretary of State or The Council of Superior Court Clerks
persons from list   of Georgia may, by agreement with the commissioner of
of electors         corrections and the commissioner of community
                    supervision, obtain criminal information relating to the
                    conviction, sentencing, and completion of sentencing
                    requirements of felonies. Additionally, the Secretary of State ·
                    and The Council of Superior Court Clerks of Georgia shall be
                    authorized to obtain such criminal information relating to
                    Georgia electors convicted of a felony in another state, if
                    such information is available.

Monthly             The clerk of the superior court of each county shall, on or         O.C.G.A. § 21-2-   Category 3
transmittal of      before the tenth day of each month, prepare and transmit to the     23l(a.1)
information to      Secretary of State, in a format prescribed by the Secretary of
Secretary of        State, a complete list of all persons, including addresses, ages,
State and The       and other identifying information as prescribed by the
Council of          Secretary of State, who identify themselves as not being
Superior Court      citizens of the United States during their qualification to serve
Clerks of           as a juror during the preceding calendar month in that county.

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Georgia;
removal of
persons from list
of electors

Monthly             The judge of the probate court of each county shall, on or          O.C.G.A. § 21-2-   Category 3
transmittal of      before the tenth day of each month, prepare and transmit to the     23l(b)
information to      Secretary of State, in a format prescribed by the Secretary of
Secretary of        State, a complete list of all persons, including addresses, ages,
State and The       and other identifying information as prescribed by the
Council of          Secretary of State, who were declared mentally incompetent
Superior Court      during the preceding calendar month in the county and whose
Clerks of           voting rights were removed.
Georgia;
removal of
persons from list
of electors

Monthly             Upon receipt of the lists described in subsections (a), (a.I), and O.C.G.A. § 21-2-    Category 3
transmittal of       (b) of this Code section and the lists of persons convicted of    23l(c)
information to      felonies in federal courts received pursuant to 42 U.S.C. Section
Secretary of         1973 gg-6(g), the Secretary of State shall transmit the names
State and The        of such persons whose names appear on the list of electors
Council of          to the appropriate county board of registrars who shall
Superior Court      remove all such names from the list of electors and shall
Clerks of            mail a notice of such action and the reason therefor to the
Georgia;            .last known address of such persons by first~class mail.
removal of
persons from list
of electors

Monthly             Unless otherwise notified by the Secretary of State, the local      O.C.G.A. § 21-2-   Category 3
transmittal of      registrar of vital statistics of each county shall, on or before    23l(d)
information to      the tenth day of each month, prepare and transmit to the
Secretary of        Secretary of State, in a format prescribed by the Secretary
State and The       of State, a complete list of all persons, including addresses,
                    ages, and other identifving information as prescribed by the

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Council of          Secretary of State, who died during the preceding calendar
Superior Court      month in the county. The Secretary of State may, by
Clerks of           agreement with the commissioner of public health, obtain such
Georgia;            information from the state registrar of vital statistics.
removal of          Additionally, the Secretary of State is authorized to obtain such
persons from list   lists of deceased Georgia electors, if possible, from other states.
of electors

Monthly             Upon receipt of the lists described in subsection (d) of this         O.C.G.A. § 21-2-   Category 3
transmittal of      Code section, the Secretary of State or his or her designated         23l(e)
information to      agent shall remove all such names of deceased persons from
Secretary of        the list of electors and shall notify the registrar in the
State and The       county where the deceased person was domiciled at the time
Council of          of his or her death.
Superior Court
Clerks of
Georgia;
removal of
persons from list
of electors

Monthly             The Secretary of State shall provide to The Council of        O.C.G.A. § 21-2-           Category 3
transmittal of      Superior Court Clerks of Georgia not later than the last day 231(g)
information to      of each month all information enumerated in subsections (b)
Secretary of        through (d) of this Code section and Code Section 21-2-232
State and The       and a list of voters who have failed to vote and inactive
Council of          voters, as identified pursuant to Code Sections 21-2-234 and
Superior Court      21-2-235. Such data shall only be used by the council, the
Clerks of           council's vendors, superior court clerks, and jury clerks for
Georgia;            maintenance of state-wide master jury lists and county master
removal of          jury lists. Such data shall be provided to the council or its
persons from list   vendors in the electronic format required by the council for
of electors         such purposes.

Removal of          When an elector of this state moves to another county or state        O.C.G.A. § 21-2-   Category 3
elector's name      and registers to vote and the registration officials send a notice    232(b)
                    of cancellation reflecting the registration of the elector in the

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from list of       other county or state, the Secretary of State or the board of
electors           registrars, as the case may be, shall remove such elector's name
upon request of    from the list of electors. It shall not be necessary
elector or upon    to send a confirmation notice to the elector in such
removal of         circumstances.
elector from
county

Comparison of      The Secretary of State is authorized to cause at his or her       O.C.G.A. § 21-2-   Category 3
official list of   discretion the official list of electors to be compared to the    233(a)
electors with      change of address information supplied by the United States
information        Postal Service through its licensees periodically for the purpose
supplied           of identifying those electors whose addresses have changed.
by United States
Postal Service;
procedure where
elector has
moved

Comparison of      If it appears from the change of address information supplied by O.C.G.A. § 21-2-    Category 2
official list of   the licensees of the United States Postal Service that an elector    233(c)          Category 3
electors with      whose name appears on the official list of electors has moved to
information        a different address outside of the boundaries of the county or
supplied           municipality in which the elector is presently registered, such
by United States   elector shall be sent a confirmation notice
Postal Service;    as provided in Code Section 21-2-234 at the old address of the
procedure where    elector. The registrars may also send a confirmation notice to
elector has        the elector's new address. If the elector confirms the change of
moved              address to an address outside of the State of Georgia, the
                   elector's name shall be removed from the appropriate list of
                   electors. If the elector confirms the change of address to an
                   address outside of the boundaries of the county or municipality
                   in which the elector is presently registered, but still within the
                   State of Georgia, the elector's registration shall be transferred to
                   the new county or municipality. The Secretary of State or the
                   registrars shall forward the confirmation card to the
                   rel!istrars of the county in which the elector's new address is

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                    located and the registrars of the county of the new address
                    shall update the voter registration list to reflect the change
                    of address. If the elector responds to the notice and affirms that
                    the elector has not moved, the elector shall
                    remain on the list of electors at the elector's current address. If
                    the elector fails to respond to the notice within 30 days after th(J'
                    date of the notice, the elector shall be transferred to the inactive
                    list provided for in Code Section 21-2-235.

Identification of   In the first six months of each odd-numbered year, the                  O.C.G.A. § 21-2-   Category 3
electors with       Secretary of State shall identify all electors whose names              234(a)(2)
whom there has      appear on the list of electors with whom there has been no
been no contact     contact during the preceding three calendar years and who
for three years;    were not identified as changing addresses under Code
confirmation        Section 21-2-233. The confirmation notice described in this
notice              Code section shall be sent to each such elector during each odd-
                    numbered year. Such notices shall be sent by forwardable, first-
                    class mail.
Identification of   If the elector returns the card and shows that he or she has            O.C.G.A. § 21-2-   Category 2
electors with       changed residence to a place outside of the State of Georgia, the       234(d)             Category 3
whom there has      elector's name shall be removed from the appropriate list of
been no contact     electors. If the elector confirms his or her change of address to
for three years;    an address outside of the boundaries of the county or
confirmation        municipality in which the elector is currently registered, but still
notice              within the State of Georgia, the elector's registration shall be
                    transferred to the new county or municipality. The Secretary of
                    State or the registrars shall forward the confirmation card
                    to the registrars of the county in which the elector's new
                    address is located, and the registrars of the county of the
                    new address shall update the voter registration list to reflect
                    the change of address.

Inactive list of    In addition to the official list of electors, the Secretary of          O.C.G.A. § 21-2-   Category 3
electors            State shall also maintain an inactive list of electors.                 235(a)
                    Notwithstanding any other provision of law to the contrary, the
                    names of electors on the inactive list of electors shall not be


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                 counted in computing the number of ballots required for an
                 election, the number of voting devices needed for
                 a precinct, the number of electors required to divide or
                 constitute a precinct, or the number of signatures needed on any
                 petition. However, any elector whose name appears on the
                 inactive list shall be eligible to sign a petition and such petition
                 signature, if valid and regardless of the validity of the petition
                 as a whole, shall be sufficient to return the elector
                 to the official list of electors if the elector still resides at the
                 address listed on the elector1s registration records and shall be
                 grounds to proceed under Code Section 21-2-234 to confirm the
                 change of address of the elector if the elector provides a
                 different address from the address which appears on the
                 elector1s registration records.


SOS on the SEB   There is created a state board to be known as the State                O.C.G.A. § 21-2-   Category 3
                 Election Board, to be composed of the Secretary of State, an           30(a)
                 elector to be elected by a majority vote of the Senate of the
                 General Assembly at its regular session held in each odd-
                 numbered year, an elector to be elected by a majority vote of
                 the House of Representatives of the General Assembly at its
                 regular session held in each odd-numbered year, and a member
                 of each political party to be nominated and appointed in the
                 manner provided in this Code section. No person while a
                 member of the General Assembly shall serve as a member of
                 the board.

sos              The Secretary of State shall be the chairperson of the board.          O.C.G.A. § 21-2-   Category 3
Chairperson of   Three members of the board shall constitute a quorum, and no           30(d)
theSEB           vacancy on the board shall impair the right of the quorum to
                 exercise all the powers and perform all the duties of the board.
                 The board shall adopt a seal for its use and bylaws for its own
                 government and procedure.




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Superintendents      The Secretary of State is authorized to prescribe by rule or       O.C.G.A. § 21-2-     Category 3
to Election          regulation the type of electronic format for the provision of      77(c)
returns to be        such election returns.
provided to
Secretary of
State in
electronic format

Instruction of       The election superintendent shall provide adequate training to       O.C.G.A. § 21-2-   Category 3
poll officers and    all poll officers and poll workers regarding the use of voting       99(a)
poll workers in      equipment, voting procedures, all aspects of state and federal
election             law applicable to conducting elections, and the poll officers 1 or
procedures;          poll workers 1 duties in connection therewith prior to each
certifications;      general primary and general election and each
unqualified poll     special primary and special election; provided, however, such
officers and poll    training shall not be required for a special election held between
workers not to       the date of the general primary and the general election. Upon
serve                successful completion of such instruction, the superintendent
                     shall give to each poll officer and poll worker a certificate to the
                     effect that such person has been found
                     qualified to conduct such primary or election with the particular
                     type of voting equipment in use in that jurisdiction.
                     Additionally~ the superintendent shall notify the Secretary
                     of State on forms to be provided by the Secretary of State of
                     the date when such instruction was held and the number of
                     persons attending and completing such instruction. For the
                     purpose of giving such instructions, the superintendent shall
                     call such meeting or meetings of poll officers and poll workers
                     as shall be necessary. Each poll officer shall, upon notice,
                     attend such meeting or meetings called for his or her
                     instruction.

Training of local    The election superintendent and at least one registrar of the   O.C.G.A. § 21-2-        Category 3
election officials   county or, in counties with boards of election or combined      IO0(a)
                     boards of election and registration, at least one member of the
                     board or a designee of the board shall attend a minimum of 12
                     hours' traininf! annually as may be selected by the Secretary

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                     of State. The election superintendent and at least one registrar
                     of each municipality shall attend a minimum of 12 hours'
                     training biennially as may be selected by the Secretary of
                     State.

Training oflocal     A waiver of the requirement of minimum training, either in         O.C.G.A. § 21-2-     Category 3
election officials   whole or in part, may be granted by the Secretary of State,        l00(c)
                     in the discretion of the Secretary of State, upon the
                     presentation of evidence by the election superintendent,
                     registrar, or board that the individual was unable to complete
                     such training due to medical disability, providential cause, or
                     other reason deemed sufficient by the Secretary of State.

Certification of     All county and municipal election superintendents, chief             O.C.G.A. § 21-2-   Category 3
local election       registrars, and absentee ballot clerks or, in the case of a board of lOl(a)
officials            elections or a board of elections and registration, the designee
                     of such board charged with the daily operations of such board
                     shall become certified by completing a certification program
                     approved by the Secretary of State by no later than December
                     31 of the year in which they are appointed. Such program may
                     include instruction on, and may require the superintendent to
                     demonstrate proficiency in, the operation of the state's direct
                     recording electronic voting equipment, the operation of the
                     voting equipment used in such superintendent's jurisdiction, and
                     in state and federal
                     law and procedures related to elections. The local government
                     employing the superintendent or designee shall cover the costs,
                     if any, incurred by such superintendent's or designee's
                     participation in the certification program. Such certification
                     programs shall be offered by the Secretary of State on
                     multiple occasions before December 31 of the year in which
                     such superintendents or designees are appointed and shall not
                     exceed 64 hours of classroom, online, and practical
                     instruction as authorized and approved by the Secretary of
                     State.



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Certification of    A full, partial, or conditional waiver of the certification         O.C.G.A. § 21-2-   Category 3
local election      requirement may be granted by the Secretary of State, in            l0l(c)(l)
officials           the discretion of the Secretary of State, upon the presentation
                    of evidence by the election superintendent or board that the
                    individual was unable to complete such training due to medical
                    disability, providential cause, or other reason deemed sufficient
                    by the Secretary of State.

Certification of    In the event that a municipality authorizes a county to conduct     O.C.G.A. § 21-2-   Category 3
local election      its elections pursuant to Code Section 21-2-45, the                 10l(c)(2)
officials           municipality may be granted by the Secretary of State, in
                    the discretion of the Secretary_of State, a waiver of the                                           -
                    certification requirement, provided that the superintendent in
                    charge of running the municipal election shall have previously
                    completed a certification program approved by the Secretary of
                    State and has demonstrated a proficiency in the operation of the
                    voting equipment used in said municipality.

Form of ballots;    Ballots for direct recording electronic voting systems shall        O.C.G.A. § 21-2-   Category 3
printing ballots;   be designed as prescribed by the Secretary of State to              286(b)(2)
stubs; numbers      ensure easy reading by electors.

Uniform election    Provided that the General Assembly specifically appropriates        O.C.G.A. § 21-2-   Category 3
equipment           funding to the Secretary of State to implement this subsection,     300(a)
throughout state;   the equipment used for casting and counting votes in
education of        county, state, and federal elections shall, by the July, 2004,
voters, election    primary election and afterwards, be the same in each
officials, and      county in this state and shall be provided to each county by
poll officers in    the state, as determined by the Secretary of State.
operation of
election
equipment

Unifonn election    The Secretary of State shall be responsible for the        O.C.G.A. § 21-2-            Category 1
equipment           development, implementation, and provision of a continuing 300(d)                      Category 2
throughout state;   program to educate voters, election officials, and poll                                Category 3
education of        workers in the proper use of such voting equipment. Each

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voters, election    county shall bear the costs, including transportation,
officials, and      subsistence, and lodging, incurred by its election and
poll officers in    registration officials in attending courses taught by or
operation of        arranged by the Secretary of State for instruction in the use
election            of the voting equipment.
equipment

Uniform election Counties shall be authorized to contract with municipal               O.C.G.A. § 21-2-   Category 3
equipment         governments for the use of such voting equipment in municipal        300(e)(l)
throughout state; elections under terms and conditions specified by the
education of      Secretary of State to assure that the equipment is properly
voters, election  used and kept secure.
officials, and
poll officers in
operation of
election
equipment

Uniform election    Each county shall, prior to being provided with voting             O.C.G.A. § 21-2-   Category 3
equipment           equipment by the state, provide or contract for adequate           300(c)
throughout state;   technical support for the installation, set up, and operation of
education of        such voting equipment for each primary, election, and special
voters, election    primary and special election as the Secretary of State shall
officials, and      determine by rule or regulation.
poll officers in
operation of
election
equipment

Examination and     Any person or organization owning, manufacturing, or selling,      O.C.G.A. § 21-2-   Category 1
approval of         or being interested in the manufacture or sale of, any voting      324(a)             Category 2
voting machines     machine may request the Secretary of State to examine the                             Category 3
by Secretary of     machine. Any ten or more electors of this state may, at any
State               time, request the Secretary of State to reexamine any voting
                    machine previously examined and approved by him or her.
                    Before any such examination or reexamination, the person,
                    persons, or organization requesting such examination or

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                  reexamination shall pay to the Secretary of State the reasonable
                  expenses of such examination; provided, however, that in the
                  case of a request by ten or more electors the examination fee
                  shall be $250.00. The Secretary of State may, at any time, in
                  his or her discretion, reexamine any voting machine.

Examination and   The Secretary of State shall thereupon require such                O.C.G.A. § 21-2-   Category 3
approval of       machine to be examined or reexamined by three examiners            324(b)
voting machines   whom he or she shall appoint for the purpose, of whom one
by Secretary of   shall be an expert in patent law and the other two shall be
State             experts in mechanics, and shall require of them a written report
                  on such machine, attested by their signatures; and the
                  Secretary of State shall examine the machine and shall
                  make and file, together with the reports of the appointed
                  examiners, his or her own report, attested by his or her
                  signature and the seal of his or her office, stating whether,
                  in his or her opinion and in consideration of the reports of
                  the examiners aforesaid, the kind of machine so examined
                  can be safely and accurately used by electors at primaries
                  and elections as provided in this chapter. If his or her report
                  states that the machine can be so used, the machine shall be
                  deemed approved; and machines of its kind may be adopted for
                  use at primaries and elections as provided in this chapter.

Examination and   No kind of voting machine not so approved shall be used at any     O.C.G.A. § 21-2-   Category 3
approval of       primary or election and if, upon the reexamination of any          324(c)
voting machines   voting machine previously approved, it shall appear that the
by Secretary of   machine so reexamined can no longer be safely or accurately
State             used by electors at primaries or elections as provided in this
                  chapter because of any problem concerning its ability to
                  accurately record or tabulate votes, the approval of the same
                  shall immediately be revoked by the Secretary of State; and
                  no such voting machine shall thereafter be purchased for use or
                  be used in this state.

Examination and   At least ten days prior to any primary or election, including      O.C.G.A. § 21-2-   Category 3
approval of       special primaries, special elections, and referendum elections,    324(d)

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voting machines   the election superintendent shall verify and certify in
by Secretary of   writing to the Secretary of State that all voting will occur on
State             equipment certified by the Secretary of State.

Examination and   The compensation of each examiner appointed under this              O.C.G.A. § 21-2-   Category 3
approval of       Code section shall be fixed and paid by the Secretary of            324(h)
voting machines   State.
by Secretary of
State

Form of ballots   If the construction of the machine shall require it, the ballot    O.C.G.A. § 21-2-    Category 3
on voting         label for each candidate, group of candidates, political party or  325(b)
machines          body, or question to be voted on shall bear the designating letter
                  or number of the counter on the voting machine which will
                  register or record votes therefor. Each question to be voted on
                  shall appear on the ballot labels in brief form.
                  Unless otherwise provided by law, proposed constitutional
                  amendments so submitted shall be in brief form as directed by
                  the General Assembly and, in the failure to so direct, the
                  form shall be determined by the Secretary of State. Unless
                  otherwise provided by law, any other state-wide questions or
                  questions to be presented to the electors of more than one
                  county so submitted shall be printed in brief form as directed by
                  the General Assembly and, in the event of a failure to so
                  direct, the form shall be determined by the Secretary of
                  State and shall include a short title or heading in bold face at
                  the beginning of each such question on the. ballot and any local
                  questions so submitted shall be printed in brief form as directed
                  by the General Assembly and, in the event of a failure to so
                  direct, the form shall be determined by the superintendent. In
                  the case of questions to be voted on by the electors of a
                  municipality, the governing authority shall determine the brief
                  form of the questions.

Preparation of    The superintendent shall appoint one custodian of voting            O.C.G.A. § 21-2-   Category 3
voting machines   machines and such deputy custodians as may be necessary,            327(b)
by                whose dutv it shall be to prepare the machines to be used at the

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superintendents;   primaries and elections to be held therein. Each custodian and
duties of          deputy custodian shall receive from the municipality such
custodians and     compensation as shall be fixed by the governing authority of the
deputy             municipality. Such custodian shall, under the direction of the
custodians         superintendent, have charge of and represent the superintendent
                   during the preparation of the voting machines as required by
                   this chapter, and he or she and the deputy custodians, whose
                   duty it shall be to assist him or her in the discharge of his or her
                   duties, shall serve at the pleasure of the superintendent. Each
                   custodian shall take an oath of office framed by the
                   Secretary of State, which shall be f'Iled with the
                   superintendent.

Preparation of     In every primary or election, the superintendent shall                 O.C.G.A. § 21-2-   Category 3
voting machines    furnish, at the expense of the municipality, all ballot labels,        327(:f)
by                 forms of certificates, and other papers and supplies which
superintendents;   are required under this chapter and which are not
duties of          furnished by the Secretary of State, all of which shall be in
custodians and     the form and according to the specifications prescribed
deputy             from time to time by the Secretary of State. In a municipal
custodians         primary, ballot labels and other materials necessary for the
                   preparation of the voting machines shall be furnished free of
                   charge to the municipal superintendent by the political party
                   conducting such primarv.
Examination and    Any person or organization owning, manufacturing, or                   O.C.G.A. § 21-2-   Category 3
approval of        selling, or being interested in the manufacture or sale of,            368(a)
optical scanning   any optical scanning voting system may request the
voting systems     Secretary of State to examine the optical scanning voting
by Secretary of    system. Any ten or more electors of this state may, at any time,
State              request the Secretary of State to reexamine any optical scanning
                   voting system previously examined and approved by him or
                   her. Before any such examination or reexamination, the person,
                   persons, or organization requesting such examination or
                   reexamination shall pay to the Secretary of State the reasonable
                   expenses of such examination. The Secretary of State may, at
                   any time, in his or her discretion, reexamine any optical
                   scanning- voting system.

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Examination and    The Secretary of State shall thereupon examine or                 O.C.G.A. § 21-2-   Category 3
approval of        reexamine such optical scanning voting system and shall           368(b)
optical scanning   make and file in his or her office a report, attested by his or
voting systems     her signature and the seal of his or her office, stating
by Secretary of    whether, in his or her opinion, the kind of optical scanning
State              voting system so examined can be safely and accurately
                   used by electors at primaries and elections as provided in this
                   chapter. If this report states that the optical scanning voting
                   system can be so used, the optical scanning voting system shall
                   be deemed approved; and optical scanning voting systems of its
                   kind may be adopted for use at primaries and elections as
                   provided in this chapter.

Examination and    No kind of optical scanning voting system not so approved shall O.C.G.A. § 21-2-     Category 3
approval of        be used at any primary or election and if, upon the               368(c)
optical scanning   reexamination of any optical scanning voting system previously
voting systems     approved, it shall appear that the optical scanning voting system
by Secretary of    so reexamined can no longer be safely or accurately used by
State              electors at primaries or elections as provided in this chapter
                   because of any problem concerning its ability to accurately
                   record or tabulate votes, the approval of the same shall
                   immediately be revoked by the Secretary of State; and no
                   such optical scanning voting system shall thereafter be
                   purchased for use or be used in this state.

Examination and    Any vendor who completes a sale of optical scanning voting        O.C.G.A. § 21-2-   Category 3
approval of        system that has not been certified by the Secretary of State      368(e)
optical scanning   to a governmental body in this state shall be subject to a
voting systems     penalty of $100,000.00, payable to the State of Georgia, plus
by Secretary of    reimbursement of all costs and expenses incurred by the
State              governmental body in connection with the sale. The State
                   Election Board shall have authority to impose such penalty
                   upon a finding that such a sale has occurred.

Form and           The form and arrangement of ballots shall be prescribed by        O.C.G.A. § 21-2-   Category 3
arrangement of     the Secretary of State and prepared by the superintendent         369(c)

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ballots for
optical scanning
voting systems

Write-in ballots    In elections, electors shall be permitted to cast write-in votes. O.C.G.A. § 21-2-     Category 2
                    The design of the ballot shall permit the superintendents, in     373                  Category 3
                    counting the write-in votes, to determine readily whether an
                    elector has cast any write-in vote not authorized by law. The
                    Secretary of State, in specifying the form of the ballot, and
                    the State Election Board, in promulgating rules and
                    regulations respecting the conduct of elections, shall provide
                    for ballot secrecy in connection with write-in votes.

Form and            The form and arrangement of ballots shall be prescribed by          O.C.G.A. § 21-2-   Category 3
arrangement of      the Secretary of State and prepared by the election                 379.4
ballots for DRE     superintendent
voting systems;
write-in votes
State write-in      The Secretary of State shall design a state write-in absentee       O.C.G.A. § 21-2-   Category 2
absentee ballots    ballot for federal offices and state offices that are voted upon    381.2(a)           Category 3
                    on a state-wide basis for use in a primary runoff or election
                    runoff by an eligible absentee elector who lives outside the
                    county or municipality in which the election is held and who.is:

State write-in      The Secretary of State shall establish a website which such         O.C.G.A. § 21-2-   Category 2
absentee ballots    eligible absentee electors may access to determine if there is      381.2(d)           Category 3
                    a primary runoff or election runoff for a federal office or a
                    state office that is voted upon on a state-wide basis. The
                    address of such website shall be included in the instructions for
                    voting such state write-in absentee ballot.

Official absentee   The form for either ballot shall be determined and                  0.C.G.A. § 21-2-   Category 3
ballots             prescribed by the Secretary of State, except in municipal           383(a)
                    primaries or elections, in which the form of absentee ballots
                    which follows the paper ballot format shall be determined and
                    prescribed by the superintendent.


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Preparation and     Except for ballots voted within the confines of the registrar's or O.C.G.A. § 21-2-     Category 3
delivery of         absentee ballot clerk's office, in addition to the mailing          384(b)
absentee ballots;   envelope, the superintendent, board of registrars, or absentee
mailing ballots     ballot clerk shall provide two envelopes for each official
to absentee         absentee ballot, of such size and shape as shall be
voters; oaths;      determined by the Secretary of State, in order to permit the
assistance;         placing of one within the other and both within the mailing
master list;        envelope. On the smaller of the two envelopes to be enclosed in
transmission to     the mailing envelope shall be printed the words "Official
uniformed and       Absentee Ballot" and nothing else. On the back of the larger of
overseas citizens   the two envelopes to be enclosed within the mailing envelope
                    shall be printed the form of oath of the elector and the oath for
                    persons assisting electors, as provided for in Code Section 21-2-
                    409, and the penalties provided for in Code Sections 21-2-568,
                    21-2-573, 21-2-579, and 21-2-599 for violations of oaths; and
                    on the face of such envelope shall be printed the name and
                    address of the board of registrars or absentee ballot clerk. The
                    mailing envelope addressed to the elector shall contain the
                    two envelopes, the official absentee ballot, the uniform
                    instructions for the manner of preparing and returning the
                    ballot, in form and substance as provided by the Secretary
                    of State, and a notice in the form provided by the Secretary
                    of State of all withdrawn, deceased, and disqualified candidates
                    and any substitute candidates pursuant to Code Sections 21-2-
                    134 and 21-2-15 5 and nothing else. The uniform instructions
                    shall include information specific to the voting system used for
                    absentee voting concerning the effect of overvoting or voting
                    for more candidates than one is authorized to vote for a
                    particular office and information concerning how the elector
                    may correct errors in voting the ballot before it is cast including
                    information on how to obtain a replacement ballot if the elector .
                    is unable to change the ballot or correct the error.

Voting by           The registrars or absentee ballot clerk, as appropriate, shall       O.C.G.A. § 21-2-   Category 3
absentee            provide reasonable notice to the electors of their jurisdiction of   385(d)(2)
electors;           the availability of advance voting as well as the times, dates,
penalties           and locations at which advance voting will be conducted. In
                    addition, the recistrars or absentee ballot clerk shall notifv
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                     the Secretary of State in the manner prescribed by the
                     Secretary of State of the times, dates, and locations at which
                     advance voting will be conducted.

Pilot program        The Secretary of State shall develop and implement a pilot          O.C.G.A. § 21-2-   Category 3
                     program for the electronic transmission, receipt, and counting      387(a)
                     of absentee ballots by persons who are entitled to vote by
                     absentee ballot under the federal Uniformed and Overseas
                     Citizens Absentee Voting Act, 42 U.S.C. Section 1973ff, et
                     seq., as amended, for use in a primary or a general election.

Cards of             Prior to each primary and election, the superintendent shall        O.C.G.A. § 21-2-   Category 3
instructions and     obtain from the Secretary of State a sufficient number of           400(a)
supplies; sample     cards of instruction for guidance of electors. Such cards of
ballots and ballot   instruction shall include such portions of this chapter as
labels               deemed necessary by the Secretary of State and shall be
                     printed for the type of voting equipment or ballots used in the
                     county or municipality. The superintendent shall also obtain
                     from the Secretary of State a sufficient number of blank
                     forms of oaths of poll officers, voter's certificates, voting
                     rights posters, notices of penalties, oaths of assisted electors,
                     numbered list of voters, tally sheets, return sheets, and such
                     other forms and supplies required by this chapter, in each
                     precinct of the county or municipality.

Delivery of          The superintendent shall provide at the polling place copies of     O.C.G.A. § 21-2-   Category 3
ballots and          the sample or facsimile ballots for such primary or election as     401(d)
supplies to          well as a list of the certified write-in candidates for such
managers             election in the form as provided by the Secretary of State or
                     appropriate municipal official pursuant to Code Section 21-
                     2-133.

Voter's              At each primary and election, the Secretary of State shall          O.C.G.A. § 21-2-   Category 3
certificates         prepare and furnish to each superintendent a suitable               402(a)
                     number of voter's certificates which shall be in substantially
                     the following form:


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Voter              The Secretary of State shall provide each county board of             O.C.G.A. § 21-2-   Category 3
identification     registrars with the necessary equipment, forms, supplies,             417.l(g)
cards              and training for the production of the Georgia voter
                   identification cards and shall maintain such equipment.

Casting of         Such person voting a provisional ballot shall complete an             O.C.G.A. § 21-2-   Category 2
provisional        official voter registration form and a provisional ballot voting      418(b)             Category 3
ballots            certificate which shall include information about the place,
                   manner, and approximate date on which the person registered to
                   vote. The person shall swear or affirm in writing that he or she
                   previously registered to vote in such primary or election, is
                   eligible to vote in such primary or election, has not voted
                   previously in such primary or election, and meets the criteria
                   for registering to vote in such primary or election. The form of
                   the provisional ballot voting certificate shall be prescribed
                   by the Secretary of State. The person shall also present the
                   identification required by Code Section 21-2-417.

Method of          The board of registrars shall complete a report in a form             O.C.G.A. § 21-2-   Category 3
voting and         designated by the Secretary of State indicating the number            419(e)
counting           of provisional ballots cast and counted in the primary or
provisional        election.
ballots

Absentee ballots   Ballots in a precinct using optical scanning voting equipment         O.C.G.A. § 21-2-   Category 3
                   for use by absentee electors shall be prepared sufficiently in        482
                   advance by the superintendent and shall be delivered to the
                   board of registrars as provided in Code Section 21-2-384. Such
                   ballots shall be marked "Official Absentee Ballot" and shall be
                   in substantially the form for ballots required by
                   Article 8 of this chapter, except that in counties or
                   municipalities using voting machines, direct recording
                   electronic (DRE) units, or optical scanners, the ballots may be
                   in substantially the form for the ballot labels required by Article
                   9 of this chapter or in such form as will allow the ballot to be
                   machine tabulated. Every such ballot shall have printed


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                    on the face thereof the following: "I understand that the offer or
                    acceptance of money or any other object of value to vote for
                    any particular candidate, list of candidates, issue, or list of
                    issues included in this election constitutes an act of voter fraud
                    and is a felony under Georgia law." The form for either ballot
                    shall be determined and prescribed by the Secretary of
                    State.

Consolidated        Each county and municipal superintendent shall prepare four      O.C.G.A. § 21-2-       Category 3
certified returns   copies of the consolidated return of the primary to be certified 496(a)
of primaries;       by the superintendent on forms furnished by the Secretary
returns             of State, such consolidated returns to be filed immediately upon
forwarded to        certification as follows
Secretary of
State; electronic
filing
                         ·'


Consolidated        The Secretary of State is authorized to provide a method by          0.C.G.A. § 21-2-   Category 3
certified returns   which the election superintendent can file the results of            496(b)
of primaries;       primaries and elections electronically. Once the Secretary of
returns             State provides such a method of filing, the election
forwarded to        superintendent shall file a copy of the election returns
Secretary of        electronically in the manner prescribed by the Secretary of
State; electronic   State in addition to the filing provided in subsection (a) ofthls
filing              Code section. The Secretary of State is authorized to
                    promulgate such rules and regulations as necessary to
                    provide for such an electronic filing.
Consolidated        Each county and municipal superintendent shall, upon                 O.C.G.A. § 21-2-   Category 3
certified returns   certification, furnish to the Secretary of State in a manner         496(c)
of primaries;       determined by the Secretary of State a imal copy of each
returns             ballot used for such primary.
forwarded to
Secretary of
State; electronic
filing



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Consolidated         Each county and municipal superintendent shall prepare four       O.C.G.A. § 21-2-     Category 3
certified returns    copies of the consolidated return of the election to be certified 497(a)
of elections;        by the superintendent on forms furnished by the Secretary
returns              of State, such consolidated returns to be filed immediately upon
forwarded to         certification as follows
Secretary of
State

Consolidated         Each county and municipal superintendent shall, upon                O.C.G.A. § 21-2-   Category 3
certified returns    certification, furnish to the Secretary of State in a manner        497(b)
of elections;        determined by the Secretary of State a final copy of each
returns              ballot used for such election.
forwarded to
Secretary of
State

Secretary of         Upon receiving the certified returns of any election from the       O.C.G.A. § 21-2-   Category 3
State to tabulate,   various superintendents, the Secretary of State shall               499(a)
compute,             immediately proceed to tabulate, compute, and canvass the
canvass, and         votes cast for all candidates described in subparagraph
certify certain      (a)(4)(A) of Code Section 21-2-497 and upon all questions
returns              voted for by the electors of more than one county and shall
                     thereupon certify and file in his or her office the tabulation
                     thereof. In the event an error is found in the certified returns
                     presented to the Secretary of State or in the tabulation,
                     computation, or canvassing of votes as described in this Code
                     section, the Secretary of State shall notify the county
                     submitting the incorrect returns and direct the county to
                     correct and recertify such returns. Upon receipt by the
                     Secretary of State of the corrected certified returns of the
                     county, the Secretary of State shall issue a new certification of
                     the results and shall file the same in his or her office.

Secretary of         The Secretary of State shall also, upon receiving the               O.C.G.A. § 21-2-   Category 3
State to tabulate,   certified returns for presidential electors, proceed to             499(b)
compute,             tabulate, compute, and canvass the votes cast for each slate
canvass, and         of presidential electors and shall immediately lay them

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certify certain   before the Governor. Not later than 5:00 P.M. on the
returns           fourteenth day following the date on which such election was
                  conducted, the Secretary of State shall certify the votes cast for
                  all candidates described in subparagraph (a)(4)(A) of Code
                  Section 21-2-497 and upon all questions voted for by the
                  electors of more than one county and shall no later than that
                  same time lay the returns.for presidential electors before the
                  Governor. The Governor shall enumerate and ascertain the
                  number of votes for each person so voted and shall certify the
                  slates of presidential electors receiving the highest number of
                  votes. The Governor shall certify the slates of presidential
                  electors no later than 5 :00 P .M. on the fifteenth day following
                  the date on which such election was conducted.
                  Notwithstanding the deadlines specified in this Code section,
                  such times may be altered for just cause by an order of a judge
                  of superior court of this state.

Certificates of   Governor and other constitutional officers. Upon completing          O.C.G.A. § 21-2-   Category 3
election;         the tabulation of any election for Governor, Lieutenant              502(a)
comnnss10ns;      Governor, Secretary of State, Attorney General, State School
proclamations     Superintendent, Commissioner of Insurance, Commissioner of
                  Agriculture, or Commissioner of Labor, the Secretary of State
                  shall lay the same before the Governor
                  upon his or her oath of office as Governor; and the Governor,
                  upon the other constitutional officers taking their oaths of
                  office, shall issue a commission under the great seal of the State
                  of Georgia signed by the Governor and countersigned by the
                  Secretary of State, to each such person. The Secretary of State
                  shall issue the commission to the person elected Governor.

Certificates of   United States senators; representatives in Congress; members         O.C.G.A. § 21-2-   Category 3
election;         ofthe General Assembly.                                              502(b)
commissions;      (1) Upon completing the tabulation of any election for United
proclamations     States senator or representative in Congress, the Secretary of
                  State shall lay the same before the Governor, who shall
                  immediately issue certificates of election and commissions
                  under the seal of the state, duly siimed by the Governor and

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                  attested by the Secretary of State and deliver the same to the
                  candidates receiving the required munber of votes to be elected
                  to the respective offices.
                  (2) The Secretary of State shall issue certificates of election
                  to the persons elected members of the Senate and the House
                  of Representatives of the General Assembly and, between the
                  hours of 12:00 Noon and 1:00 P .M. on the second Monday in
                  January of each odd-numbered year, present before the Senate
                  and the House of Representatives the
                  several returns of the elections of members of the respective
                  houses. In case of a special election the Secretary of State
                  shall issue a certificate of election to each person so elected,
                  and the Secretary of State shall present the returns of such
                  election to the proper house as soon as received and tabulated
                  by the Secretary of State. Immediately upon their taking the
                  oath of office, each member of the Senate and the House of
                  Representatives shall be issued a commission under the great
                  seal of the State of Georgia, signed by the Secretary of State.

Certificates of   Justices of the Supreme Court, Judges of the Court ofAppeals,   O.C.G.A. § 21-2-   Category 3
election;         Commissioners ofthe Georgia Public Service Commission,          502(c)
                                                                                                 -
commissions;      judges ofthe superior court, judges ofthe juvenile court, and
proclamations     district attorneys. Upon completion of the tabulation the
                  Secretary of State shall certify the result of each election of
                  Justices of the Supreme Court, of Judges of the Court of
                  Appeals, of Commissioners of the Georgia Public Service
                   Commission, of judges of the superior court, of judges of the
                  juvenile court where elected, and of district attorneys to the
                  Governor and shall issue a certificate of election to each
                  person so elected. The Governor shall, upon each such person
                  taking the oath of office, immediately issue a commission under
                  the great seal of the State of Georgia, signed by the Governor
                   and countersigned by the Secretary of State, to each such
                  person.




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Certificates of   Presidential electors. The Secretary of State, on receiving     O.C.G.A. § 21-2-   Category 3
election;         and computing the returns of presidential electors, shall lay   502(e)
commissions;      them before the Governor, who shall enumerate and ascertain
proclamations     the number




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            Table 3: NVRA, HAVA, and VRA Provisions Addressed by Georgia Statutes Within Purview of Secretary of State

        NVRA PROVISIONS                                                          Related Georgia Provision(s)
Section 5 Voter Registration                                                     O.C.G.A. § 21-2-221(b)
What voter registration opportunity is required by Section 5 of the              The com.missioner of driver services and the Secretary of State shall agree upon and
NVRA?                                                                            design such procedures and forms as will be necessary to comply with this Code
Each State motor vehicle driver's license application (including any             section.
renewal application) submitted to a State motor vehicle authority must
serve as a simultaneous voter registration application unless the
applicant fails to sign the voter registration application. This application     O.C.G.A. § 21-2-22l(e)
for voter registration must be considered as updating any previous voter         The Department of Driver Services shall transmit the completed applications for voter
registration by the applicant.                                                   registration to the Secretary of State at the conclusion of each busin~ss day. The
                                                                                 Secretary of State shall forward the applications to the appropriate county board of
In addition, any change of address form submitted for State driver's             registrars to determine the eligibility of the applicant and, if fonnd eligible, to add the
license purposes must also serve as notification of change of address for        applicant's name to the list of electors and to place the applicant in the correct precinct
voter registration purposes unless the registrant states on the form that        and voting districts.
the change of address is not for voter registration pwposes. This means
that all changes of address submitted to State motor vehicle offices must        O.C.G.A. § 21-2-216(g)(7)
be forwru:ded to election authorities unless the registrant affirmatively        The Secretary of State shall establish procedures to match an applicant's voter
requests otherwise by opting out on the form.                                    registration information to the information contained in the data base maintained by
                                                                                 the Department of Driver Services for the verification of the accuracy of the information
Does Section 5 of the NVRA mandate the use by States of any                      provided on the application for voter registration, including whether the applicant has
particular forms or procedures?                                                  provided satisfactory evidence of United States citizenship.

Yes. Each State must include a voter registration form as part of an
application for a State driver's license and any application for driver's        O.C.G.A. § 21-2-221(h)
license renewal.                                                                 The Secretary of State and the commissioner of driver services shall have the authority
                                                                                 to promulgate rules and regulations to provide for the transmission of voter registration
The voter registration portion of the application may not 1·equire any
                                                                                 applications and signatures electronically. Such electronically transmitted signatures
information that duplicates information required on the driver's license
                                                                                 shall be valid as signatures on the voter registration application and shall be treated in
portion of the application and may require only the minimum amount of
                                                                                 all respects as a manually written original signature and shall be recognized as such in
information necessary to prevent duplicate voter registrations and permit
                                                                                 any matter concerning the voter registration application.
State officials both to determine the eligibility of the applicant to vote and
to administer the voting process.
                                                                                 O.C.G.A. § 21-2-221(£)


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The voter registration application must state each voter eligibility            The Department of Driver Services shall maintain such statistical records on the number
requirement {including citizenship), contain an attestation that the            of registrations and declinations as requested by the Secretary of State.
applicant meets each requirement, state the penalti~s provided by law for
submission of a false voter registration application and require the            0.C.G.A. § 21-2-221.2(a)
signature of the applicant under penalty of perjury. In addition, the           A person who is qualified to register to vote in this state and who has a valid Georgia
application shall also include statements specifying that: 1) if an applicant   driver's license or identification card may submit a voter registration application on the
declines to register to vote, the fact that the applicant has declined to       Internet website of the Secretary of State. The Secretary of State shall, in conjunction
register will remain confidential and will be used only for voter               with the Department of Driver Services, design and implement a system to allow for
registration purposes; and 2) if an applicant does register to vote, the        such electronic voter registration.
identity of the office at which the applicant submits a voter registration
application will remain confidential and will be used only for voter
registration purposes.                                                          O.C.G.A. § 21-2-221.2(c)
                                                                             Upon the submission of an application through the website pursuant to this Code
When a state contracts with a private entity to administer services in an    section, the software used by the Secretary of State for processing applications through
agency that is required to offer voter registration, the ultimate            the website shall provide for immediate verification of all of the following:
responsibility for ensuring provision of voter registration services         (1) That the applicant has a valid Georgia driver's license or identification card and that
remains with the state, and the voter registration requirements under the    the number for that driver's license or identification card provided by the applicant
NVRA remain the same.                                                        matches the number for the applicant's driver's license or identification card that is on
                                                                             file with the Department of Driver Services;
What is a motor vehicle agency required to do with completed voter           (2) That the date of birth provided by the applicant matches the date of birth that is on
registration applications accepted at its offices?                           file with the Department of Driver Services; and
                                                                             (3) That the applicant is a citizen of the State of Georgia and of the United States and
Completed voter registration applications accepted at a motor vehicle        that the information provided by the applicant matches the information on file with the
agency must be transmitted to the appropriate State election official no     Department of Driver Services.
later than ten days after acceptance. However, if an application is          If any of these items do not match or if the application is incomplete, the application
accepted at a motor vehicle agency within five days of a voter registration shall be void and shall be rejected and the applicant shall be notified of such rejection
deadline for an election, the application must be transmitted to election    either electronically or by mail within five days after such application is rejected.
officials no later than five days after acceptance. The agency providing
voter-registration services may not require a registrant to mail in the form O.C.G.A. § 21-2-221.2(d)
himself or herself or discourage him or her in any manner from               If all of the items enumerated in subsection (c) of this Code section are verified, the
submitting the form to the agency. Similarly, if it is agency practice to    Secretary of State shall obtain an electronic copy of the applicant's·signature from the
make sure that agency forms are completed and signed when submitted          applicant's driver's license or identification card on file with the Department of Driver
by an applicant, the same practice should apply to a voter registration      Services. The application shall then be processed in the same manner as applications
application submitted by that applicant.                                     under Code Section 21-2-221. Except as otherwise provided by this Code section, the

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                                                                             application shall be deemed to have been made as of the date that the information was
                                                                             provided by the applicant through the Internet website.




Section 6 Mail Registration                                                  O.C.G.A. § 21-2-218(d)
What are the requirements for voter registration by mail provided by         In the event that an elector moves to a residence within the cormty or mrmicipality but
Section 6 of the NVRA?                                                       into a different precinct or who moves to a residence in the same precinct but at a
Section 6 of the NVRA requrres each State to accept and use the federal      different address and fails to notify the board of registrars of such fact by the fifth
mail voter registration application form developed by the U.S. Election      Monday prior to an election or primary such elector shall vote in the precinct of such
Assistance Commission. 1his form is available on the EAC' s web site at      elector's former
http://www.eac.gov/program-areas/national-voter-registration-form. In        residence for such election or primary and for any rrmoffs resulting therefrom. The
addition to containing a voter-registration application, this EAC            superintendent of an election shall make available at each polling place forms furnished
application booklet describes certain state-specific requirements. The       by the Secretary of State which shall be completed by each such
national form and booklet have been developed by the EAC in                  elector to reflect such elector's present legal residence. Such forms may also be used to
consultation with the States.                                                notify the board of regish·ars of a change in an elector's name. The board of registrars
                                                                             shall thereafter place the elector in the proper precinct and voting districts and correct
Can a State develop its own mail voter registration application?             the list of electors accordingly. If the elector is placed in a precinct other than the one in
Yes. Section 6 of the NVRA also provides that, in addition to accepting      which such elector has previously been voting, such elector shall be notified of the new
and using the federal mail application, a State may develop and use its      polling place by first-class mail.
own mail voter registration form, if it meets all of the same criteria the
NVRA requires for the EAC' s national mail voter registration application.
                                                                             O.C.G.A. § 21-2-223(a)
What are the requirements for the national mail voter registration           The Secretary of State shall design, publish, and distribute voter registration application
application?                                                                 forms with which a person may apply to register to vote by completing and mailing the

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Section 9 of the NVRA provides that the national mail voter registration         form to the Secretary of State or to the board of registrars of the person's county of
application may require only such identifying information (including the         residence. The Secretary of State shall forward the applications that he or she receives to
signature of the applicant) and other information (mcluding data relating        the appropriate county board of registrars to determine the eligibility of the applicant
to previous registration by the applicant), as is necessary to enable the        and, if found eligible, to add the applicant's name to the list of electors and to place the
appropriate State election official to assess the eligibility of the applicant   applicant in the correct precinct and voting districts.
and to administer voter registration and other parts of the election
process.
The application also must include a statement that specifies each                O.C.G.A. § 21-2-223(b)
eligibility requirement (including citizenship), contain an attestation that     The county boards of registrars shall obtain and maintain a supply of mail voter
the applicant meets each such requirement and require the signature of           registration application forms for distrib-µtion and for voter registration. In addition,
the applicant under penalty of perjury. The mail application must also           each state, county, and municipal office, except an office which is a designated voter
include a statement of the penalties provided by law for submission of a         registration office under Code Section 21-2-222, which has regular contact with the
false voter registration application.                                            public shall obtain a supply of mail voter registration application forms from the
The mail application must also include statements specifying that: 1) if an      Secretary of State and make such applications available for use by citizens to register to
applicant declines to register to vote, the fact that the applicant has          vote.
declined to register will remain confidential and will be used only for
voter registration purposes; and 2) if an applicant does register to vote,
the identity of the office at which the applicant submits a voter
registration application will remain confidential and will be used only for
voter registration purposes. The mail application may not include any
requirement for notarization or other formal authentication.
Section 303(b) of the Help America Vote Act of 2002 (HAVA) also
requires that the national mail application include certain additional
mformation: First, the question "Are you a citizen of the United States of
America?" and boxes for the applicant to check to indicate whether the
applicant is or is not a citizen of the United States. Second, the question
"Will you be 18 years of age on or before election day?" and boxes for the
applicant to check to indicate whether or not the ap.plicant will be 18
years of age or older on election day. Third, the statement, "If you
checked 'no' in response to either of these questions, do not complete this
form." Fourth, a statement informing the individual that if the form is
submitted by mail and the individual is registering for the first time, the
appropriate identification required by HAVA must be submitted with the
mail-in registration form to avoid the additional identification


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requirements upon voting for the first time. (See Question 11 below for a
list of these forms of identification).

Does the NVR.A require States to make mail voter registration
applications available?
Yes. The chief election official of each State must make mail voter
registration applications available for distribution through governmental
and private entities, with particular emphasis on making them available
for organized voter registration programs. Most states satisfy these
requirements by, among other things, making applications available at
local registrar offices, driver license offices, public assistance offices and
disability-service offices, to groups doing voter registration drives, and
through the internet on the website of the chief election official. These
forms are also available on the website of the U.S. Election Assistance
Commission.

What requirements does federal law place on first-time voters who
register to vote by mail?
If a person registers to vote by mail and has not previously voted in a
federal election in a State, Section 303(b) of the Help America Vote Act of
2002 established new requirements.
Where a person registers to vote by mail and has not previously voted in
a federal election in a State, if the voter does not qualify for one of the
exemptions in Section303(b){3) of HAVA (described below), then he or
she must submit one of the forms of identification required by Section
303(b)(2)(A) of HAVA the first time that he or she votes in a federal
election. These forms of identification are: 1) a current and valid photo
identification; or 2) a copy of a current utility bill, bank statement,
government check, paycheck, or other government document that shows
the name and address of the voter. If the voter does not present the
required identification, Section 303(b) (2){B) of HAVA provides that he or
she may nonetheless cast a provisional ballot.
Sections 303(b)(3)(A)-(C) of HAVA create certain exemptions from these
identification requirements. An applicant who provides the specified


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identification documents with his or her registration application (or
otherwise provides such documentation to election officials before
Election Day), is exempt from the requirement to show identification the
first time he or she votes in a federal election. Likewise, an applicant who
provides his or her driver's license number or last four digits of his or her
social security number, and the State is able to match this information
against an existing State record, is exempt from the requirement to show
identification the first time he or she votes in a federal election. In
addition, persons entitled to vote by absentee ballot under the Uniformed
and Overseas Citizens Absentee Voting Act, or entitled to vote other than
in person under the Voting Accessibility for the Elderly and
Handicapped Act or other federal law, are exempt from HAVA' s
identification requirements.



Section 7 Voter Registration Agencies                                           O.C.G.A. § 21-2-222(c)
Under Section 7 of the NVRA, which offices must offer voter-                    In addition to the offices listed :in subsection (b) of this Code section, the Secretary of
registration services?                                                          State shall designate other offices within the state as designated voter registration
Any office in a covered State that provides either public assistance or         offices.
state-funded programs primarily engaged in providing services to
persons with disabilities must offer voter-registration services. Armed         O.C.G.A. § 21-2-222(i)
Forces recruitment offices must also provide voter registration services.       Each office shall transmit the completed voter registration application forms to the
Jn addition, a State must designate other offices in the State as voter-        Secretary of State at least once per week, except that, during the 15 days leading up to a
registration agencies. (See Question 15 below for a description of these        registration deadline for a primary or election, such applications shall be transmitted to
other offices).                                                                 the Secretary of State at the conclusion of each business day. The Secretary of State shall
                                                                                forward the applications to the appropriate county board of registrars to determine the
What is an office that provides public assistance under Section 7?              eligibility of the applicant and, if found eligible, to add the applicant's name to the list
"Public assistance" offices that must offer voter-registration services         of electors and to place the applicant in the correct precinct and voting districts.
under Section 7 of the NVRA include each agency and office in a State
that administers or provides services or assistance under any public
assistance programs. This includes any of the following federal public          O.C.G.A. § 21-2-222(j)
assistance programs: the Supplemental Nutrition Assistance Program              Each office shall ma:inta:in such statistical records on the number of registrations and
(SNAP, formerly the Food-Stamp Program), the Special Supplemental               decl:inations as requested by the Secretary of State.
Nutrition Program for Women, Infants and Children (WIC_2, the

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Temporary Assistance for Needy Families (TANF) program (formerly the
Aid to Families with Dependent Children or AFDC program), the
Medicaid program, and the State Children's Health Insurance Program             O.C.G.A. § 21-2-222(1)
(SCHIP). This also includes state public assistance programs.                   The Secretary of State shall have the authority to promulgate rules and regulations to
                                                                                provide for the transmission of voter registration applications and signatures
What is an office that provides state-funded programs primarily                 electronically from public assistance offices, offices which provide state funded
engaged in providing services to persons with disabilities?                     programs primarily engaged in providing services to persons with disabilities, and
Offices that provide state-funded programs primarily engaged in                 recruitment offices of the armed forces of the United States located within this state.
providing services to persons with disabilities include offices providing       Such electronically transmitted signatures shall be valid as signatures on the voter
vocational rehabilitation, transportation, job training, education              registration application and shall be treated in all respects as a manually written
counseling, rehabilitation, or independent-living services for persons          original signature and shall be recognized as such in any matter concerning the voter
with disabilities. Because States vary greatly in the manner in which they      registration application.
provide services to persons with disabilities, each State must identify the
specific offices and agencies that fit this definition. In doing so, States
may want to consult with offices that deal with issues related to persons
with disabilities, such as the protection and advocacy offices and client
assistance program offices within that State. A list of such offices for each
State is available at: http://www.napas.org/aboutus/PA_CAP .htm. Section
7 also requires that if an office provides services to a person with
disabilities at the person's home, the office must provide the opportunity
to register to vote at home. Offices serving persons with disabilities often
offer specialized assistance in completing the agency service or benefit
application forms, and Section 7 requires such offices to offer voter
registration applicants the same degree of assistance in completing voter
registration forms as is offered in completing the agency's own
application forms.

Does Section 7 require designation of other offices as voter registration
agencies?
Yes. In addition to offices providing public assistance and services to
persons with disabilities, States are also required by Section 7 to
designate "other offices" within a State as voter-registration agencies. A
State is free to determine which other agencies/offices should be
designated, according to its needs and preferences, but it must make

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additional designations. Such other agency designations may include
State or local government offices such as public libraries, public schools,
State colleges, universities and community colleges, city and county
clerks offices, marriage license offices, fishing and hunting license offices,
government revenue offices, and unemployment compensation offices.
Offices not otherwise covered under the NVRA that provide services to
persons with disabilities may also be designated. In addition, with the
agreement of such entities, States may designate as voter-registration
agencies nongovernmental offices (such as private colleges) or Federal
government offices.

Do armed forces recruitment offices have to provide voter-registration
services?
Yes. The NVRA provides that all federal Armed Forces recruitment
offices in each State subject to the NVRA must provide voter registration
services. Within the Department of Defense, the Federal Voting
Assistance Program (FVAP) maintains a web site that contains
information concerning voter registration at Armed Forces recruitment
offices: http://www.fvap.gov/reference/laws/nat-vote-reg-act.html and
http://www.fvap.gov/reference/milinfo.html.

What voter-registration services must be made available?
Each office designated as a voter registration agency under Section 7 that
provides service or assistance in addition to conducting voter registration
must do the following:                 ·
             1. distribute voter-registration application forms;
             2. provide an "information" form that contains information
                 on the voter-registration process (see Question 21 below
                for a description of the "information" form);
             3. provide the same level of assistance to all applicants in
                 completing voter-registration application forms as is
                 provided with respect to every other service or
                 application for benefits (unless the applicant specifically
                 refuses such assistance};


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            4.   accept completed voter-registration forms from
                 applicants; and
            5.   transmit each completed voter-registration application to
                 the appropriate State election official within a prescribed
                 time frame.

What persons must be provided the opportunity to register to vote by
Section 7 designated offices and agencies?
Designated agencies must provide the opportunity to register to vote to
persons when: (1) applying for the agency's assistance or services; (2)
seeking recertification or renewal of those services; and (3) changing
address for the assistance or services.

What does Section 7 require with regard to distribution of voter
registration forms and information forms?
Each office designated under Section 7 that provides services or
assistance must distribute to each applicant for services or assistance, and
each applicant for recertification, renewal or change of address with
respect to such services or assistance, one of the voter registration
application forms described in Question 20 below. In addition, each such
office also must distribute to each applicant a form, known as an
information form, described in Question 21 below.

What types of voter-registration forms can be distributed to applicants?
Section 7 agencies must distribute one of the three voter-registration
forms listed below:
             6. National Mail Voter Registration Form - The agency
                 may use this federal form, which has been developed by
                 the U.S. Election Assistance Commission. Tbis form is
                 available on the EAC' s web site at              ~
                 http://www.eac.gov/program-areas/national-voter-
                 registration-form. In addition to containing a voter-
                 registration application, this document lists certain state-
                 specific voting requirements.


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            7. State mail voter-registration form - The agency may use
               its State mail voter-registration form, so long as it meets
               the requirements of Section 9 of the NVRA. This State
               form would not be as lengthy as the federal form, which
               contains information about voter registration in each
               state. Such a form should be easier for applicants to
               navigate and easier for agencies and election officials to
               process.
            8. Designated agency's own form - The agency also may
               use its own version of a voter-registration form, if it is
               equivalent to the federal form and has been approved by
               the State. This type of form may lead to more efficient
               voter-registration transactions at designated agencies
               that provide services or assistance, since it could be made
               a seamless part of the forms normally used by the
               designated agency. As an example, where agency
               assistance/services forms are generated by computer
               during the process of interviewing the applicant, the
               voter-registration form likewise might be generated
               during this same process, pre-populated with
               information already provided by the applicant. Or a
               perforated voter-registration application might be
               attached at the bottom of a State services form, so that it
               can be easily completed, detached, and transmitted to the
               appropriate election official.

What is the "information form," and what should States put on it?
Section 7 requires that designated offices provide each applicant for
services or assistance an information form containing specific information
concerning the individual's opportunity to register to vote. This form,
which may be part of or separate from the voter-registration form, must
include the following information:




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            9.  the question, "If you are not registered to vote where you
                live now, would you like to apply to register to vote here
                today?";
            10. if the agency provides public assistance, the statement,
                "Applying to register or declining to register to vote will
                not affect the amount of assistance that you will be
                provided by this agency.";
            11. boxes for the applicant to check to indicate whether the
                applicant would like to register to vote or declines to
                register to vote, together with the statement (in close
                proximity to the boxes and in prominent type), "IF YOU
                DO NOT CHECK EITHER YOU WILL BE CONSIDERED
                TO HAVE DEODED NOT TO REGISTER TO VOTE AT
                TI-ITS TIME." (Failure to check either box is deemed a
                declination to register for purposes of receiving
                assistance in registration but is not deemed a written
                declination to receive an application);
            12. the statement, "If you would like help in filling out the
                voter registration application form, we will help you. TI1.e
                decision whether to seek or accept help is yours. You
                may fill out the application form in private."; and
            13. the statement, "If you believe that someone has
                interfered with your right to register or to decline to
                register to vote, your right to privacy in deciding
                whether to register or in applying to register to vote, or
                your right to choose your own political party or other
                political preference, you may file a complaint with ___ _
                _ ." The blank should be filled by the name, address, and
                telephone number of the appropriate official to whom
                such a complaint should be addressed.
No information relating to a declination to register to vote may be used
for any purpose other than voter registration. If the information form is
separate from the voter-registration form, it is recommended that a
statement regarding this non-use of declination information be included

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on the voter-registration form, as well as a statement that if the applicant
registers to vote, :information submitted will be used only for voter-
registration purposes.

Are Section 7 agencies required to assist persons in completing a voter-
registration application?
Yes. Section 7 agencies must provide to each applicant the same degree of
assistance :in completing the voter-registration application form as is
provided by the office :in completing its own agency forms, unless the
applicant declines to register to vote or declines such assistance.
As an example, if it is the practice of a Section 7 agency for its employees
to take time to explain to each applicant the various forms involved in the
agency application, recertification or other process and answer applicant
questions before the applicant completes the forms, this type of assistance
must also be given at that time to such applicants with regard to the voter
registration application process. Similarly, if it is agency practice to make
sure that agency forms are completed and signed when submitted by an
applicant, the same practice should apply to a voter registration
application submitted by that applicant.
Offices serving persons with disabilities often offer specialized assistance
in completing the agency service or benefit application forms. Section 7
requires such offices to offer voter registration applicants the same degree
of assistance :in completing voter registration forms as is offered in
completing the agency's own application forms.

Does Section 7 put any restrictions on how office staff may interact
with applicants?
Yes. Any person who provides voter-registration services at a Section 7
agency is prohibited from: 1) seeking to influence an applicant's political
preference or party registration; 2) displaying any political preference or
party allegiance; 3) taking any action or making any statement to an
applicant to discourage the applicant from registering to vote; or 4)
taking any action or making any statement that may lead the applicant to



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believe that a decision to register or not to register has any bearing on the
availability of services or benefits.

Do the voter registration requirements of Section 7 of the NVRA apply
to all application, renewal, recertification and change of address
transactions with designated offices?
Yes. The NVRA requires that voter registration opportunities be provided
with respect to all application, renewal, recertification and change of
address transactions regarding service and assistance with Section 7
offices. Many Section 7 designated agencies/offices routinely provide
services/assistance such as application for, or renewal of, services or
change-of-address notification through the internet, by telephone, or by
mail. States should ensure the availability of voter-registration
opportunities to individuals using such remote service/assistance
opportunities from designated agencies. Thus, for all such internet
transactions, States should advise of the opportunity to register to vote,
and should provide some online capability to download or request a
voter-registration form. For phone transactions, designated-agency
personnel should advise applicants of the opportunity to register to vote
and to request a voter registration form. Materials sent by mail to .
individuals completing phone or internet transactions (such as statements
confirming a phone transaction, or renewal or change-of-address forms)
should contain a voter-registration form.
In all such internet, phone, and mail transactions, individuals should be
given a toll-free phone number, where possible, to call for information
and instruction on how to complete the voter-registration process. Where
feasible, as is done at many motor-vehicle agencies, States may consider
providing for a simultaneous voter-registration opportunity through the
electronic portal when individuals apply for services or assistance at a
designated agency by that means. In addition, where possible, agencies
may consider assisting the applicant in registering to vote by
automatically filling in appropriate fields on voter-registration
applications with information previously provided by the applicant in
order to make the registration process easier and more efficient.

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When upgrading technology related to the
application/recertification/change of address process at Section 7
agencies, States should ensure that such upgrade includes the voter
registration process.
When a state contracts with a private entity to administer services in an
agency that is required to offer voter registration, the ultimate
responsibility for ensuring provision of voter registration services
remains with the state, and the voter registration requirements under the
NVRA remain the same.

What is a Section 7 agency required to do with completed voter
registration applications accepted at its offices?
The designated agency must submit the completed voter-registration
application to the appropriate State or local election official within a
prescribed period of time unless the applicant desires to submit it l}imself
or herself. The agency providing voter-registration services may not
require a registrant to mail in the form himself or herself or discourage
him or her in any manner from submitting the form to the agency. When
an applicant submits a completed voter-registration application to an
agency, the agency must transmit the form to the appropriate State or
local election official within ten days. However, if the agency receives a
completed voter-registration application within five days before the last
~ay to register to vote in an election, the application must be transmitted
to the appropriate State or local election official within five days.


Section 8 Administration of Voter Registration                                 O.C.G.A. § 21-2-222(i)
What does Section 8 of the NVRA require States to do?                          Each office shall transmit the completed voter registration application forms to the
Section 8 mandates certain action by States concerning the administration      Secretary of State at least once per week, except that, during the 15 days leading up to a
of voter registration for elections for federal office. These requirements     registration deadline for a primary or election, such applications shall be transmitted to
involve important issues such as the date by which valid voter                 the Secreta;ry of State at the conclusion of each business day. The Secretary of State shall
registration applications must be accepted and eligible persons                forward the applications to the appropriate county board of registrars to determine the
registered, rules for changing a registrant's address information, rules for   eligibility of the applicant and, if found eligible, to add the applicant's name to the list
removing names from the voter registration list, and administration of a       of electors and to_1>_lace the applicant in the correct precinct and voting districts.

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uniform, nondiscriminatory voter registration list maintenance program
that complies with the Voting Rights Act.
                                                                                   Ga. Comp. R. & Regs. 183-1-12-.07(4)
Does Section 8 impose a time deadline on States for accepting voter                The registrars of each county shall complete the entry of new and updated voter
registration applications and registering eligible applicants?                     registrations on a timely basis as required by the Secretary of State and shall notify the
Yes. States must set a voter registration cutoff for federal elections of no       Secretary of State upon the completion of all such data entry after a registration
more than 30 days before the election. A valid voter registration                  deadline.
application from an eligible applicant is considered timely and the State
has to ensure that the applicant is registered to vote if it is: 1) submitted
not later than the lesser of 30 days, or the period provided by State law,         O.C.G.A. § 21-2-231(a)
before the date of a federal election to a driver's license office, designated     Unless otherwise notified by the Secretary of State, the Georgia Crime Information
public assistance or disability office, other designated office, or an             Center shall, on or before the tenth day of each month, prepare and transmit to the
appropriate State or local election official, or 2) postmarked not later than      Secretary of State and The Council of Superior Court Oerks of Georgia a complete list
the lesser of 30 days, or the period provided by State law, before a federal       of all persons, including dates of birth, social security numbers, and other information
election when submitted by mail. States can set a voter registration               as prescribed by the Secretary of State or The Council of Superior Court Clerks of
deadline for federal elections shorter than 30 days, and a number of               Georgia, who were convicted of a felony in this state since the preceding reporting
States do so, but cannot set a longer deadline.                                    period. The Secretary of State or The Council of Superior Court Clerks of Georgia may,
                                                                                   by agreement with the commissioner of corrections and the commissioner of
Are States required to let an applicant know what has happened to his              community supervision, obtain criminal information relating to the conviction,
or her application?                                                                sentencing, and completion of sentencing requirements of felonies. Additionally, the
Yes. Section 8 requires State election officials to notify each applicant of       Secretary of State and The Council of Superior Court Clerks of Georgia shall be
the disposition of his or her registration application, e.g., a voter              authorized to obtain such criminal information relating to Georgia electors convicted of
registration card if the application is accepted or a notice of rejection if the   a felony in another state, if such information is available.
application is not accepted.
'Where a notice of disposition for a mail voter registration application is
sent by by nonforwardable mail and returned as undeliverable, Section 6            O.C.G.A. § 21-2-231(a.1)
of the NVRA provides that local election officials may proceed in                  The clerk of the superior court of each county shall, on or before the tenth day of each
accordance with the provisions of Section 8(d) of the NVRA (see Question           month, prepare and transmit to the Secretary of State, in a format prescribed by the
35 below).                                                                         Secretary of State, a complete list of all persons, including addresses, ages, and other
                                                                                   identifying information as prescribed by the Secretary of State, who identify themselves
Under the NVRA, what are the circumstances under which a State can                 as not being citizens of the United States during their qualification to serve as a juror
remove a person's name from the voter registration rolls?                          during the preceding calendar month in that county.
Section 8 permits States to remove the name of a person from the voter
registration rolls upon the request of the registrant, and, if State law so


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provides, for mental incapacity or for crb:ninal conviction. The Act also       O.C.G.A. § 21-2-231(b)
requires States to conduct a general voter registration list maintenance        The judge of the probate court of each county shall, on or before the tenth day of each
program that makes a reasonable effort to remove ineligible persons from        month, prepare and transmit to the Secretary of State, in a format prescribed by the
the voter rolls by reason of the person's death, or a change in the             Secretary of State, a complete list of all persons, including addresses, ages, and other
residence of the registrant outside of the jurisdiction, in accordance with     identifying information as prescribed by the Secretary of State, who were declared
procedures set forth in the NVRA. The list maintenance program must be          mentally incompetent during the preceding calendar month in the county and whose
uniform, nondiscriminatory and in compliance with the Voting Rights             voting rights were removed.
Act.

Does the NVRA contain any prohibitions on removal of persons'                   O.C.G.A. § 21-2-231(c)
names from the voter registration list?                                         Upon receipt of the lists described in subsections (a), (a.l), and (b) of this Code section
Yes. Section 8 of the NVRA prohibits removing registrants from the voter        and the lists of persons convicted of felonies in federal courts received pursuant to 42
registration list solely because of a failure to vote. It also places           U.S.C. Section 1973gg-6(g), the Secretary of State shall transmit the names of such
restrictions of notice and timing on removals from the voter registration       persons whose names appear on the list of electors to the appropriate county board of
list based on a change of residence.                                            registrars who shall remove all such names from the list of electors and shall mail a
                                                                                notice of such action and the reason therefor to the last known address of such persons
What is "removal at the request of the registrant" under Section 8?             by first-class mail.
A "removal at the request of the registrant" under the NVRA involves
first-hand information from a registrant that can originate in at least three
ways: 1) a registrant requesting to remove his or her name from the             O.C.G.A. § 21-2-231(d)
voting registration list, 2) a registrant completing and returning a notice     Unless otherwise notified by the Secretary of State, the local registrar of vital statistics of
card indicating an address change outside the jurisdiction, or 3) a             each county shall, on or before the tenth day of each month, prepare and transmit to the
registrant submitting a new application registering to vote a second time       Secretary of State, in a format prescribed by the Secretary of State, a complete list of all
in a new jurisdiction, and providing information regarding the                  persons, including addresses, ages, and other identifying information as prescribed by
registrant's prior voter registration address on the new application,           the Secretary of State, who died during the preceding calendar month in the county.
which the State can treat as a request to cancel or transfer his or her prior   The Secretary of State may, by agreement with the commissioner of public health,
registration. A registrant advising of a new address within the same            obtain such information from the state registrar of vital statistics. Additionally, the
jurisdiction, or registering to vote a second time at a new address within      Secretary of State is authorized to obtain such lists of deceased Georgia electors, if
the same jurisdiction, should trigger an updating of the original               possible, from other states.
registration, rather than its cancellation.

Are there any required procedures in the NVRA concerning removal of             O.C.G.A. § 21-2-231(e)
a person's name from the voter registration rolls for mental incapacity,        Upon receipt of the lists described in subsection (d) of this Code section, the Secretary of
criminal conviction or death?                                                   State or his or her designated ager1t shall remove all such names of deceased persons


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The NVRA does not require any particular process for removing persons         from the list of electors and shall notify the registrar in the county where the deceased
who have been disqualified from voting pursuant to State law based            person was domiciled at the time of his or her death.
upon a criminal conviction or an adjudication of mental incapacity.
Moreover, while the NVRA requires States to make reasonable efforts to
remove persons who have died, it does not require any particular process      O.C.G.A. § 21-2-231(g)
for doing so. States can follow whatever State law process exists for doing   The Secretary of State shall provide to The Council of Superior Court Clerks of Georgia
this. Section 303(a) of HAVA adds an additional requiTement for NVRA          not later than the last day of each month all information enumerated in subsections (b)
covered States to coordinate the statewide voter registration database        through (d) of this Code section and Code Section 21-2-232 and a list of voters who have
with State records on felony status and death. HAVA provides that list        failed to vote and inactive voters, as identified pursuant to Code Sections 21-2-234 and
maintenance on the statewide database shall be done on a regular basis in     21-2-235. Such data shall only be used by the council, the council's vendors, superior
accordance with the requirements of the NVRA.                                 court clerks, and jury clerks for maintenance of state-wide master jury lists and county
In those States where state law provides for removals from the voter rolls    master jury lists. Such data shall be provided to the council or its vendors in the
based on mental incapacity or criminal conviction, state laws generally       electronic format required by the council for such purposes.
provide for election officials to rely on court determinations to identify
the individuals who are subject to removal. Section 8 of the NVRA also
provides for the U.S. Attorney Offices to forward information 1·egarding      O.C.G.A. § 21-2-232(b)
felony criminal convictions in federal courts to chief state election         When an elector of this state moves to another county or state and registers to vote and
officials.                                                                    the registration officials send a notice of cancellation reflecting the registration of the
                                                                              elector in the other county or state, the Secretary of State or the board of registrars, .as
Under what circumstances does the NVRA allow States to remove a               the case may be, shall remove such elector's name from the list of electors. It shall not be
person from the voting rolls based on change of residence?                    necessary to send a confirmation notice to the elector in such circumstances.
A State may remove the name of a person from the voter registration list
due to a change of residence upon 1) the person's written confirmation of
a change of residence to a place outside the jurisdiction, or 2) completion   O.C.G.A. § 21-2-233(a)
of the notice process described in Section 8(d) of the NVRA.                  The Secretary of State is authorized to cause at his or her discretion the official list of
                                                                              electors to be compared to the change of address information supplied by the United
What does the NVRA notice process require to remove a person from             States Postal Service through its licensees periodically for the purpose of identifying
the voting rolls based on a change of residence?                              those electors whose addresses have changed.
In the absence of a written confirmation from a registrant of a change of
address outside the jurisdiction, Section 8(d) of the NVRA sets forth a
process for removing a person based on change of residence. This process      O.C.G.A. § 21-2-233(c)
requires sending a forwardable notice, in the form of a postage-prepaid       If it appears from the change of address information supplied by the licensees of the
and pre-addressed return card, on which the person may state his or her       United States Postal Service that an elector whose name appears on the official list of
current address. The notice must include the language required by             electors has moved to a different address outside of the boundaries of the county_ or

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Section 8(d)(2) of the NVR.A. For example, the notice must advise (1) that        municipality in which the elector is presently registered, such elector shall be sent a
if the registrant did not change his or her residence, or changed residence       confirmation notice as provided in Code Section 21-2-234 at the old address of the
but remained in the registrar's jurisdiction, the registrant should               elector. The registrars may also send a confirmation notice to the elector's new address.
complete and return the card not later than the voter registration                If the elector confirms the change of address to an address outside of the State of
deadline for the next election; (2) that if the card is not returned,             Georgia, the elector's name shall be removed from the appropriate list of electors. If the
affirmation or confirmation of the registrant's address may be required           elector confirms the change of address to an address outside of the boundaries of the
before the registrant is permitted to vote in a federal election during the       county or municipality in which the elector is presently registered, but still within the
period beginning on the date of the notice and ending on the day after the        State of Georgia, the elector's registration shall be transferred to the new county or
date of the second general election for Federal office that occurs after the      municipality. The Secretary of State or the registrars shall forward the confirmation
date of the notice; and (3) that if the registrant does not vote in an election   card to the registrars of the county in which the elector's new address is located and the
during that period the registrant's name will be removed from the list of         registrars of the county of the new address shall update the voter registration list to
eligible voters.                                                                  reflect the change of address. If the elector responds to the notice and affirms that the
The jurisdiction may designate the registrant as inactive if the registrant       elector has not moved, the elector shall
fails to return the card by the voter registration deadline for the next          remain on the list of electors at the elector's current address. If the elector fails to
election after the notice is sent                                                 respond to the notice within 30 days after the date of the notice, the elector shall be
The jurisdiction may remove the registrant from the voter rolls after             transferred to the inactive list provided for in Code Section 21-2-235.
sending the notice in two circumstances. First, if the registrant confirms
in writing, such as by completing and returning the notice card, that the
registrant has changed residence to a place outside the jurisdiction then         O.C.G.A. § 21-2-234(a)(2)
the registrant can be removed from the list immediately. Second, if the           In the first six months of each odd-numbered year, the Secretary of State shall identify
registrant fails to respond to the notice and fails to vote or to appear to       all electors whose names appear on the list of electors with whom there has been no
vote in an election beginning on the date the notice is sent and ending on        contact during the preceding three calendar years and who were not identified as
the day after the date of the second federal general election after the           changing addresses under Code Section 21-2-233. The confirmation notice described in
notice is sent, then the registrant can be removed from the list after that       this Code section shall be sent to each such elector during each odd-numbered year.
second federal general election.                                                  Such notices shall be sent by forwardable, first-class mail.

Does the NVRA create a "safe harbor'" procedure under which States
can satisfy their obligation to conduct a general program that makes a  O.C.G.A. § 21-2-234(d)
reasonable effort to remove the names of ineligible voters from the     If the elector returns the card and shows that he or she has changed residence to a place
voter rolls due to a change of residence?                               outside of the State of Georgia, the elector's name shall be removed from the
Yes. The NVR.A gives one example of a safe harbor procedure. Under that appropriate list of electors. If the elector confirms his or her change of address to an
procedure, States may utilize change-of-address information supplied by address outside of the boundaries of the county or municipality in ·which the elector is
the United States Postal Service through its National Change of Address currently registered, but still within the State of Georgia, the elector's registration shall
                                                                        be transferred to the new county or munici_Eality. The Secretary of State or the registrars

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program (NCOA) to identify registrants who may have changed                    shall forward the confirmation card to the registrars of the county in which the elector's
residences and then take one of two actions.                                   new address is located, and the registrars of the connty of the new address shall update
            1. If it appears from the NCOA information that the person         the voter registration list to reflect the change of address.
                has moved to a different residence in the same registrar's
                jurisdiction, the registrar changes the registration records
                to show the new address and sends the registrant a             O.C.G.A. § 21-2-235(a)
                notice of the change by forwardable mail and a postage         In addition to the official list of electors, the Secretary of State shall also maintain an
                prepaid, pre-addressed return form by which the                inactive list of electors. Notwithstanding any other provision of law to the contrary, the
                registrant may verify or correct the address information.      names of electors on the inactive list of electors shall not be counted in computing the
            2. If it appears that the registrant has moved to a residence      number of ballots required for an election, the number of voting devices needed for
                outside the registrar's jurisdiction, the registrar uses the   a precinct, the number of electors required to divide or constitute a precinct, or the
                NVRA's Section 8(d) notice process and may remove the          number of signatures needed on any petition. However, any elector whose name
                registrant from the voter rolls after satisfying all           appears on the inactive list shall be eligible to sign a petition and such petition
                requirements of that process.                                  signature, if valid and regardless of the validity of the petition as a whole, shall be
                                                                               sufficient to return the elector to the official list of electors if the elector still resides at
Do States have to use the NCOA process to initiate the notice process?         the address listed on the elector's registration records and shall be grounds to proceed
No. States do not have to use the NCOA process. Under the NVRA,                under Code Section 21-2-234 to confirm the change of address of the elector if the
States must have a general program that makes a reasonable effort to           elector provides a different address from the address which appears on the elector's
identify and remove the names of voters who have become ineligible to          registration records.
vote by means of a change of address. The program has to be uniform,
non-discriminatory, in compliance with the Voting Rights Act and must
be completed 90 days before a federal election. States otherwise have
discretion under the NVRA and HAVA in how they design their general
program, and States currently undertake a variety of approaches to how
they initiate the notice process.
For example, some general programs involve a State nndertaking a
uniform mailing of a voter registration card, sample ballot, or other
election mailing to all voters in a jurisdiction, and then using information
obtained from returned non-deliverable mail as the basis for correcting
voter registration records (for apparent moves within a jurisdiction) or
for initiating the notice process (for apparent moves outside a jurisdiction
or non-deliverable mail with no forwardmg address noted).
Another example inv,olves general programs where States initiate the
notice process based on information showing that a voter has not voted

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in elections nor made contact with a registrar over some period of time.
This is not prohibited by the NVRA and its bar on removing voters from
the list solely for failure to vote, since it relies on the NVRA notice
process, and thus utilizes both a notice and a waiting period of two
federal general elections.

Does Section 8 impose any time restrictions on States as to when a
general list maintenance prograin can be conducted?
Yes. Section 8 requires States to complete any program the purpose of
which is to systematically remove the names of ineligible voters from the
official list of eligible voters not later than 90 days prior to the date of a
primary election or general election for federal office. This 90 day
deadline applies to state list maintenance verification activities such as
general mailings and door to door canvasses. This 90 day deadline does
not, however, preclude removal of names at the request of the registrant,
removal due to death of the registrant, removal due to criminal
conviction or mental incapacity of the registrant as provided by State law,
nor does the deadline preclude correction of a registrant's information.

Are there any protections in the NVRA for those eligible registered
voters who have changed address to another location within a
registrar's jurisdiction, or are otherwise on an inactive voter list, but
have not notified the registrar prior to the date of a federal election?
Yes. The NVRA contains fail-safe provisions to enable such persons who
show up to vote on a federal election day to update their registration and
to vote in that election even though they have not notified the registrar of
the address change:
             3. An eligible registered voter who has moved to an
                  address in an area covered by the same polling place as
                  his or her previous address is permitted to vote at that
                  same polling place upon oral or written affirmation by
                  the registrant of the change of address at the polling
                 _l)iace;



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             4.  An eligible registered voter who has moved to an
                 address in an area covered by a different polling place
                 from the polling place for his or her previous
                 address, but within the same registrar's jurisdiction and
                 the same congressional district, at the option of the
                 registrant:
                      1. shall be permitted to correct the voting records
                          and vote at the old polling place upon oral or
                          written affirmation by the registrant of the new
                          address before an election official at that polling
                          place; or
                      2. shall be permitted to correct the voting records
                          and vote at a designated central location within
                          the same registrar's jurisdiction, upon written
                          affirmation by the registrant of the new address
                          on a standard form provided by the registrar; or
                      3. shall be permitted to correct the voting records
                          for purposes of future elections at the new
                          polling place, and shall be permitted vote in the
                          current election at that polling place if allowed
                          under State law, upon confirmation by the
                          registrant of the new address by such means as
                          are required by law.
A central voting location need not be made available by the registrar if
State law allows the person to vote at either the old or new polling place
in the current election upon oral or written affirmation of the address
change.
The failsafe provisions of Section 8 draw a distinction between the
registrant's need for "affirmation" or "confirmation" of a new address,
depending upon the circumstances in which the failsafe voting occurs.

What if a mistake has been made, and registration records indicate that
a person has moved from an address covered by a polling place when
that _p_erson has in fact not moved?

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If a person has not moved, but the registration records indicate that a
person has moved from an address covered by a polling place, that
person shall be permitted to vote at that polling place upon oral or
written affirmation by the registrant that the registrant continues to
reside at his or her address previously lmown to the registrar.

Are States required to keep records of their voter registration activities
under the NVRA?
Yes. Section 8 of the NVRA requires that States keep and make available
for public inspection, for a period of at least two years, all records
concerning the implementation of programs and activities conducted for
the purpose of ensuring the accuracy and currency of official lists of
eligible voters, except to the extent that such records relate to a
declination to register to vote or to the identity of a voter registration
agency through which any particular voter is registered. The records to
be kept shall include lists of the names and addresses of all persons to
whom Section 8(d) notices are sent, and information concerning whether
or not each such person has responded to the notice, as of the date that
inspection of the records is made.
In addition, an independent requirement in 52 U.S.C. 20701 manda~es
that all records and papers relating to any application, registration, or
other act requisite to voting in any election for federal office, be preserved
for a period of twenty-two months from that federal election. Since voter
registration is unitary and permanent, this obligation is ongoing, such
that registration records must be preserved as long as the voter
registration to which they pertain is considered an "active" one under
local law and practice, and those records cannot be disposed of until the
expiration of twenty-two months following the date on which the
registration ceased to be "active." Hence, States should maintain all
written records related to applications to register to vote as well as
declinations to register to vote. The Department of Justice can require that
such records be produced for inspection and copying through a written
demand, and a lawsuit to enforce such demand.



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COORDINATION, REPORTING, AND ENFORCEMENT
What are the State's obligations to coordinate voter registration ·
activities?
The State is responsible for ensuring compliance with the NVRA. The
NVRA requires each State to designate a State officer or employee as the
chief State election official to be responsible for coordinating State
responsibilities under the Act. Because of the importance of monitormg
compliance with the NVRA's voter registration requirements, States
should consider employing a person at the State level to serve as the
NVRA coordinator for the State. This person could be responsible for
coordinating and overseeing all NVRA activity at designated voter-
registration agencies/offices in the State. In addition, States may consider
employing a person at each designated voter-registration agency, and at
each designated agency office, whose ongoing responsibility would be
coordinating and overseeing the conduct of all voter· registration
activities in that agency/office. This person's responsibilities could
include ensuring that the voter registration responsibilities are carried
out, ensuring that the voter registration system is administered in a
uniform and non-discriminatory manner, reviewing monthly data of
voter-registration activity at voter registration offices, monitoring voter-
registration activities, training new employees and providing for training
updates at periodic intervals, ensuring an adequate supply of forms, and
resolving voter-registration coordination issues that arise between State
and local officials.

Are States required to report on their NVRA voter-registration and list
maintenance efforts?
Yes. States must report various voter registration information to the U.S.
Election Assistance Commission (EAC), in response to the EAC survey,
every two years. This includes the number of voter-registration
applications by mail and from motor vehicle offices, public-assistance
offices, offices providing state-funded programs primarily serving
persons with disabilities, Armed Forces recruitment offices, and other
state-designated offices and agencies. Likewise, States m11st report voter

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registration list maintenance information in response to the EAC survey
every two years.
These biennial NVRA reports are available on the EAC web site at the
following link: http://www.eac.gov/program-areas/research-resources-
and-reports/completed-research-and-reports/ national-voter-registration-
act-studies.
States should ensure that the NVRA data provided to the EAC is
complete and accurate. The Department of Justice carefully considers this
data, among other information, in determining how it will carry out its
enforcement responsibilities.
To facilitate accurate NVRA data reporting to the EAC, states should
consider having a system in place to track the number of voter
registration applications from each designated voter registration agency.
Barcodes or other coding could be included on voter registration
applications to designate the agency from which the form originated.
Such coding can be implemented in such a way that also allows states to
comply with the obligation not to disclose the office at which any
particular individual has registered to vote.
For jurisdictions covered by the language minority provisions of the
Voting Rights Act, what obligations do such jurisdictions have to
ensure voter registration access under the NVRA to covered limited-
English proficient citizens?
Certam States and local jurisdictions are covered by the language
minority requirements of the Voting Rights Act (VRA) for specific
language minority groups. The VRA requires that when covered states
and jurisdictions provide voter registration or voting notices, forms,
:instructions, assistance, or other materials or information relating to the
electoral process, including ballots, they must provide them in the
language of the applicable minority group as well as in the English
language. The NVRA provides that its requirements do not supersede,
restrict, or limit the application of the requirements of the VRA. Thus,
each State or jurisdiction covered by the language minority requirements
of the VRA should consider how to ensure that NVRA voter registration
oppor!lJIU.ties are conducted so as to provide language access to covered


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limited-English proficient language minority citizens so that they have
equal access to the voter registration process.
To assist covered States and jurisdictions, extensive information
regarding the language minority requirements is available on the Voting
Section's website:
http://www.justice.gov/crt/voting/sec_203/activ_203.php. Various
language resources are also available on the EAC website. These include
versions of the national mail voter registration form translated into
Spanish, Chinese, Japanese, Korean, Tagalog, and Vietnamese.
http://www.eac.gov/voter/Register to Vote. These resources also include
translated versions of a voter's guide to federal elections.
http://www.eac.gov/voter/voters-guides. And these resources also
include a glossary of election terms in six languages.
http:llwww.eac.gov/voter/language-accessibility-program-1.

What agency is responsible for enforcement of the NVRA?
The U.S. Deparhnent of Justice has enforcement responsibility under the
NVRA. The Deparhnent undertakes activities designed to ensure
compliance with the NVRA, including monitoring state compliance,
conducting investigations and, filing litigation in federal court to enforce
the NVRA' s requirements. Private parties may also bring litigation in
federal court to enforce the NVRA. The U.S. Election Assistance
Commission is responsible for administration of the national voter
registration form, as well as State reporting under the NVRA.

What are some examples of the Department's activities to enforce the
provisions of the NVRA?
An extensive description of the Deparhnent' s NVRA enforcement
activities can be found on the Voting Section's website:
http://www.justice.gov/crt/voting/litigation/caselist.php#nvra_cases.
In particular, significant NVRA decisions or settlements have been
obtained by the Deparhnent in litigation with the State of Tennessee
(Sections 5 and 7 of the
NVRA) http:llwww.justice.gov/crt/voting/nvra/h1 cd.pdf; and the State


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of New York (Section 7 of the
NVRA), http://www.justice.gov/crt/voting/nvra/nynvTa order. pdf.

How can I contact the Department of Justice about the NVRA's voter
registration requirements?
As a general matter, the Deparbnent of Justice does not issue advisory
opinions concerning the statutes that it enforces. The Department will
certainly consider inquiries from State officials concerning the NVRA,
however, in the hope of providing assistance. Within the Department of
Justice, the responsibility for NVRA enforcement is committed to the
Voting Section of the Civil Rights Division. You may reach the Voting
Section at its toll-free telephone number, 800-253-393




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                                     The Office of Secretary of State
   IJ3rian ~ 'l(emp                            2 Martin Luther King Jr. Drive
SECRETARY OF STATE                                                                                   Cfiris¾arvey
                                                      802 West Tower                         ELECTIONS DIRECTOR
                                                  Atlanta, Georgia 30334


                                                      July 10, 2018

          Brian Newby, Executive Director
          U.S. Election Assistance Commission
          1335 East-West Highway, Suite 4300
          Silver Spring, MD 20910

          Dear Mr. Newby:

          This letter is to certify that the Georgia Secretary of State's Office will use the funds
          provided under the 2018 HAVA Election Security Grant award #GA18101001 from the
          U.S. Election Assistance Commission to improve the administration of elections for
          Federal office, including to enhance election technology and make election security
          improvements.

         I have reviewed the terms of this award, and I accept the terms as described in the Notice
         of Grant Award dated April 17, 2018. I have also provided a signed copy of the
         Certification Regarding Lobbying.

         These funds will be used in a manner consistent with the laws described in Section 906 of
         HAVA, and the funds will not be used in a manner inconsistent with the requirements of
         Title III ofHAVA.

         We request $10,305,783 at this time. We will develop the program narrative as follows:

         The Georgia Secretary of State's Office is ready to use these funds for a list of projects to
         enhance voting in Georgia by increasing election security, simplicity, and accessibility. We
         are considering these funds for the following uses:

              •       Purchase secure voting devices that produce a voter-verifiable paper ballot;

              •       Provide a screen-readable, ADA-compliant online sample ballot for all voters;

              •       Purchase MS-ISAC Cyber Security Sensors for each of Georgia's 159 county
                      election offices;

              •       Purchase cyber security services, such as diagnostics and testing assessments;
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   •   Improve and enhance our online voter self-service page "My Voter Page" (MVP)
       in order to be mobile-adaptable with enhanced features;

   •   Purchase new Electronic Poll Books;

   •   Enhance and update our Online Voter Registration Page to be optimized for mobile
       use and allow for multiple ballot options for voters who are eligible to participate
       in multiple pending elections;

   •   Obtain new reports that allow improved demographic reporting for voter
       registration in our voter registration database;

   •   Pay for re-design of voter precinct cards to become fully compatible with USPS
       mailing standards and optimize delivery of cards to voters;

   •   Improve voter registration database management and access control;

   •   Enhance the state's "Petitions Module" and high speed scanners for more efficient
       and secure processing; and

   •   Engage an outside finn to conduct election audits and testing.

If you have any questions about this request, please contact me at (404) 657-5380 or
charvey@sos.ga.gov.


Sincerely,


Li               /

Chris Harvey, ec · ons Director
Office of Georgia Secretary of State Brian P. Kemp
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                                                                                          2018 HAVA ELECTION SECURITY GRANT
Budget Information                                                                                                                                                                                          CFDA # 90.404                                   Non-Construction Program
Name of Organization:                             Georgia Secretary of State

Budget Period Start:                                          3/23/2018     SECTION A - BUDGET SUMMARY                                                                      {Consolidated Budget far total project term-
                                                                                                    FEDERAL & NON-FEDERAL FUNDS (Match)                                     up to 5 years as defined by grantee)
Budget Period End:                                I          3/22/20231


                                                                                                                           PROGRAM CATEGORIES
                                                                                                                                                                                                              ..
                                                                                                         (c )Voter
                                                          (a)Voting             (b] Election                                                                                         [f) Otl:ler
                                                          Equipment              Auditing
                                                                                                        Registration             (di Cyber Security (e) Communications                                        .... (!:)Other                  TOTALS                 % Fed Total
           BUDGET CATEGORIES                                                                             Systems                                                                                               -
                                                                                                                                                                                                               ,.
                                                                                                                                                        "
1. PERSONNEL (including fringe)                                                                                                                                                                               C                           $                   -                  0%
                                                                                                                                                                  •·
2. EQUIPMENT                                          $    S,39S,247.00                                                                                                                                                                   $    5,395,247.00                     52%
                                                                                                                                                                                                                            ..
3. SUBGRANTS- to local voting jurisdictions
                                                                                                               -
                                                                                                                                                                                                              ,.                          $                   -                  0%
                                                                                                                                                                                                                                                                                   .

4. TRAINING                                                                                                                      $      so,000.00                                                                                         $      50,000.00                       0%
                                                                                                                                                                                                               ~   -:

5. All OTHER COSTS                                                          $      500,000.00                                    $   4,360,536.00                                                                                         $   "4,860,536.00                     47%

6. TOTAL DIRECT COSTS (1-6)                           $    5,395,247.00     $      500,000.00       $                  -         $   4,410,536.00   $             -         $
                                                                                                                                                                                ..
                                                                                                                                                                                                   -        $ "·                 -        $   10,305,783.00
                                                                                                                                                                                                                                                  ----c•'
                                                                                                                                                                                          •.
                                                                                     ..                                                                                                  -.
7. INDIRECT COSTS (if applied)                                                                                                                                     ..
                                                                                                                                                                                                                                          $                   -                  0%

8. Total Federal Budget                               $    5,395,247.00     $      500,000.00       $                  -         $   4,410,536.00   $;            -:-       $                      -        $ ..                 -        $   10,305)83.00
                                                                                                                                                                                                                                     ·.
11. Non-Federal Match                                 $      515,290.00                                                                                                              '                                                    $     515,290.00
                                                                                                                                                                       ..
12. Total Program Budget                              $    5,910,537.00     $      500,000.00       $                  -         $   4,410,535:00   $             -         $                      -        $ .:                 -·       $   10,821,073.00
13. Percentage By Category                                            52%                      5%                      0%                    ·43%                      0%
                                                                                                                                                                                     .                 0%                            0%


Proposed State Match                                           .   .S.0%

A. Do you have an Indirect Cost Rate Agreement approved by the Federal government or
some other non-federal entity?
If yes, please provide the following information:

B. Period Covered by the Indirect Cost Rate Agreement (mm/dd/yyyy-mrn/dd/yyy):

C. Approving Federal agency:

D. lfother than Federal agency, please specify:                                                                             ..

E. The Indirect Cost Rate is:
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                             The Office of the Secretary of State

   '13rian P. :Kjmp
SECRETARY OF STATE
                                                August 1, 2013

     Ms. Alice Miller
     Acting Executive Director
     Election Assistance Commission
     1201 New York Ave., NW
     Washington, DC 20005


     Dear Ms. Miller,

             As the chief state election official for the State of Georgia, I am writing to request that the
     Election Assistance Commission ("EAC") revise the state-specific instructions for Georgia in the
     National Voter Registration Mail Application Form (the "Federal Form"). In addition to
     updating the mailing address for my office's Elections Division, the Federal Form needs to be
     altered to include information that the State of Georgia has deemed necessary to enable state
     election officials to assess the eligibility of an applicant and to administer voter registration.

             Specifically, I am requesting that the EAC alter the state-specific instructions for Georgia
     in the Federal Form as follows:

     1. In Georgia, a person is not qualified to vote unless such person is registered as an elector in
        the manner prescribed by Georgia law, a citizen of the State of Georgia and of the United
        States, and possess all other qualifications set by Jaw. O.C.G.A. § 21-2-216(a). Act 143 of
        the 2009 Georgia General Assembly, codified at O.C.G.A. § 21-2-216(g), along with the
        implementing regulations contained in Ga. Comp. R. & Regs. r. 183-1-6-.06 and Ga. Comp.
        R. & Regs. r. 590-8-1-.02, directs applicants for voter registration to provide satisfactory
        evidence of United States citizenship so that the board of registrars can determine the
        applicant's eligibility. Upon the receipt of an application without satisfactory evidence of
        citizenship, the board of registrars shall accept the· application and notify the applicant in
        writing of the requirement to provide satisfactory evidence of citizenship. Failure to respond
        to such request will result in the rejection of the application.

        Accordingly, we request the insertion · of an additional bullet after the last bullet in the
        "Signature" section with the following text: "be found eligible to vote by supplying
        satisfactory evidence ofU.S. citizenship."

     2. Additionally, the mailing address for the Elections Division in the Federal Form should be
        revised as follows: Elections Division, Office of the Secretary of State, 2 Martin Luther King
        Jr. Drive, Suite 802 Floyd West Tower, Atlanta, Georgia 30334.

          214 State Capitol • Atlanta, Georgia 30334 • (404) 656-2881 • (404) 656-0513 FAX
                                           www.sos.ga.gov
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Alice Miller
Election Assistance Commission
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         Since this information is necessary to enable state election officials to assess the
eligibility of an applicant, your prompt consideration of this request is appreciated. In the event
we do not receive the EAC's response to this request in the next ten (10) days, we will
understand that to mean the EAC is unable to make a determination on our request. Thank you
in advance for your attention to this request, and please contact me if you have any questions.


                                                     Sincerely,




                                                     Secretary of State
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                  ATTACHMENT E
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                           U.S. Election Assistance Commission
                           1201 New York Ave. NW - Suite 300
                           Washington, DC 20005


                                              August 15, 2013



Honorable Brian P. Kemp
Secretary of State
214 State Capitol
Atlanta, GA 30334

Dear Secretary Kemp:

         Thank you for your correspondence dated August 1, 2013 to this office requesting modification
of instructions relative to Georgia on the national mail voter registration form (Federal Form).

You requested that EAC revise the Georgia state-specific instructions by making the following changes:

1. Insertion of an additional bullet after the last bullet in the "Signature" section with the following text:

    •   Be found eligible to vote by supplying satisfactory evidence of U.S. citizenship

2. Revision of the mailing address as follows:

   Elections Division
   Office of the Secretary of State
   2 Martin Luther King, Jr. Drive
   Suite 802 Floyd West Tower
   Atlanta, GA 30334

         EAC staff is authorized to approve the change related to mailing address and will accordingly
make the change to the Georgia instructions on the Federal Form. However, as you know, EAC currently
has four vacancies on the Commission. EAC staff is authorized to process State requests to modify state-
specific instructions on the Federal Form but according to current procedures must defer any requests that
raise "issues of broad policy concern to more than one state" until EAC has a quorum. I have attached a
copy of the memo to former EAC Commissioners Donetta Davidson and Gineen Bresso from former
Executive Director Thomas Wilkey, November 9, 2011 which delineates the process EAC staff must
follow when receiving State requests to modify their state-specific instructions on the Federal Form.

Your correspondence states that

      Upon receipt of an application without satisfactory evidence of citizenship, the board of
      registrars shall accept the application and notify the applicant in writing of the
      requirement to provide satisfactory evidence of citizenship. Failure to respond to such
      request will result in the rejection of the application.
(Emphasis added).
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Honorable Brian P. Kemp
August 15, 2013



         Thus the result would be that the Federal Form would be rejected in Georgia without the proper
citizenship documentation. Failure to "accept and use" the Federal Form has broad policy impact that
could affect more than one State.

         In addition, citizenship documentation is not addressed in the National Voter Registration Act of
1993 or the Help America Vote Act of 2002 and the inclusion of such information with the Federal Form
constitutes a policy question which EAC Commissioners must decide. EAC staff has no authority to
establish policy for the EAC.

          The requested modification to the state-specific instruction on the Federal Form regarding
citizenship documentation appears to raise issues of broad policy concern to more than one state. EAC
staff is therefore constrained to defer the request until EAC has a quorum.

        If you have any questions on this matter, please do not hesitate to contact me.

Sincerely,




Alice Miller,
Acting Executive Director &
Chief Operating Officer
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                   ATTACHMENT F
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                      U. S. ELECTION ASSISTANCE COMMISSION
                              1335 East West Highway, Suite 4300
                                     Silver Spring, MD 20910


 January 17, 2014

 Honorable Brian P. Kemp
 Secretary of State
 214 State Capitol
 Atlanta, Georgia 30334

Re:     Docket No. EAC-2013-004: State Requests to Include Additional Proof of
        Citizenship Instructions on the National Mail Voter Registration Form

Dear Secretary Kemp:

I write in reference to your request dated August I, 2013 for the U.S. Election Assistance
Commission ("EAC") to modify the state-specific instructions of the National Mail Voter
Registration Form ("Federal Form") to include instructions mandating that, as a precondition
to registering to vote in federal elections in Georgia, applicants must provide additional proof
of their United States citizenship not otherwise required by the Federal Form.

As you know, the EAC initially deferred consideration of your request pending the
reestablishment of a quorum ofEAC commissioners, in accordance with the EAC's internal
procedures. On December 13, 2013, the EAC was ordered by the United States District
Court for the District of Kansas to render final agency action by January 17, 2014 in regard
to requests submitted by the states of Arizona and Kansas which are similar to your request.
Because the requests are similar, the EAC has determined that it would render a final
determination on your request as well. The EAC solicited public comments regarding all
three requests, see 78 Fed. Reg. 77666 (Dec. 24, 2013), and has reviewed those comments.
The agency did not receive any comments from state officials in Georgia.

For the reasons discussed in the attached Memorandum of Decision, the Commission denies
your request to modify the Federal Form's state-specific instructions. The attached decision
constitutes final agency action with respect to your request, in accordance with 5 U.S.C.
§ 704.

Sincerely,

~;~·
Alice Miller
Acting Executive Director &
Chief Operating Officer
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                  ATTACHMENT G
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                      U.S. ELECTION ASSISTANCE COMMISSION
                      1335 East West Highway, Suite 4300
                      Silver Spring, MD 20910


January 29, 2016

Honorable Brian P. Kemp
Georgia Secretary of State
214 State Capitol
Atlanta, GA 30334

Dear Secretary Kemp:

This letter is a follow-up to correspondence to the U.S. Election Assistance Commission
requesting modification of instructions relative to GeoJ'gia on the national mail voter registration
form (Federal Form).

You requested that the EAC revise the Georgia State-Specific Instructions by making the
following changes (in italics):

Revision of the mailing address is as follows:
       Mailing address:
       Election Division
       Office of the Secretary of State
       Suite 802 Floyd West Tower
       2 Marti11 Luther King, Jr. Drive
       Atla11ta, GA 30334

Insertion of an additional bullet after the last bullet in the Signature section with the following
text:

   9. Signature. To register in Georgia you must:
       • be a citizen of the United States
       • be a legal resident of Georgia and of the county in which you want to vote
       • be 18 years old within six months after the day of registration, and be 18 years old to
          vote
       • not be serving a sentence for having been convicted of a felony
       • not have been judicially determined to be mentally incompetent, unless the disability
          has been removed
       • be found eligible to vote by supplying satisfactory evidence of U.S. citizenship
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On August 15, 2013, Acting Executive Director Alice Miller opined that the EAC was
authorized to approve the change related to the mail address and accordingly made that change to
the Georgia instructions on the Federal Form. Her August 15, 2013, letter further opined that
EAC staff was constrained to defer the request regarding citizenship documentation until EAC
had a quorum of Commissioners.

Upon review of your request, I write to inform you that all of the changes requested to the State
of Georgia instructions on the national mail voter registration form (Federal form) have been
made and are posted on the EAC website.

If the changes do not accurately reflect your request, please notify me immediately. Fmther, we
have begun a systematic process with all states to update State-Specific Instruction Changes
regularly. Please look for a separate mailing from us in the coming days and notify us if any
additional State-Specific Instructions are in need of modernization or further calibration with
your procedures.

If you have any questions on this matter, please do not hesitate to contact me al 301-563-3959 or
at bnewby@eac.gov.

Sincerely,
-~
             i-·)
 bD
Brian D. Newby     ·
Executive Director
Case 1:18-cv-05391-SCJ
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                    ATTACHMENT H
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                      U.S. ELECTION ASSISTANCE COMMISSION
                      1335 East West Highway, Suite 4300
                      Silver Spring, MD 20910


September 12, 2016

Honorable Brian P. Kemp
Georgia Secretary of State
214 State Capitol
Atlanta, GA 303334

Re:     United States Court of Appeals Case #16-5196
        League of Women Voters, et al, v. Brian D. Newby, et al

Dear Secretary Kemp:

This letter is to advise you that the United States Court of Appeals for the District of Columbia Circuit
has reversed the denial of a preliminary injunction regarding State-Specific Instructions of the Federal
Voter Registration Form. I have attached a copy of the Order for your reference.

The order requires that the Election Assistance Commission "take all actions necessary to restore the
status quo ante, pending a determination of the merits, including promptly removing from the state-
specific instructions those requirements directing voter registration applicants to submit proof of their
citizenship." These changes were made on our website the day of the Order, September 9, 2016.

The order also requires that the EAC inform you that, "Federal Form applications filed since January 29,
2016 should be treated as if they did not contain the now-stricken state-specific instructions."

If you know how many applications have been filed in Georgia using the federal form since January 29,
2016, we would appreciate knowing that information.

If you have any questions on this matter, please do not hesitate to contact me at 301-563-3959 or at
bnewby@eac.gov.

Sincerely,



~
Executive Director

enc.
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 USCA case-#19-5196           Dm;Liment #1635095             Filed: 09/.09/2016      Pc;J,ge 1 of 3



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                           FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 16-5196                                                  September Term, 2016
                                                             FILED: SEPTEMBER 9, 2016
LEAGUE OF WOMEN VOTERS OF THE UNITED STATES, ET AL.,
                       APPELLANTS

v.

BRIAND. NEWBY, IN HIS CAPACITY AS THE EXECUTIVE DIRECTOR OF THE UNITED STATES
ELECTION ASSISTANCE COMMISSION, Er AL.,
                   APP ELLE ES



                          Appeal from the United States District Court
                                  for the District of Columbia
                                      (No. 1:16-cv-00236)


       Before: ROGERS, Circuit Judge, and WILLIAMS and RAi'l'DOLPH*, Senior Circuit Judges

                                       JUDGMENT

        This case came to be heard on the record of the United States District Court and was
argued by counsel. On consideration thereof, and as will be explained more fully in opinions to
be filed at a later date, it is

        ORDERED and ADJUDGED that the order of the District Court denying the motion for
a preliminary injunction be reversed. Appellants have demonstrated irreparable hann, a
likelihood of success on the merits, that the balance of equities tips in their favor, and that an
injunction is in the public interest. It is

        FURTHER ORDERED that the United States Election Assistance Commission ("the
Commission"), and anyone acting on its behalf, be enjoined from giving effect to the January 29,
2016, decisions of its Executive Director, Brian D. Newby, approving requests by Kansas,
Alabama, and Georgia to add a proof of citizenship requirement to the state-specific instructions
that accompany the National Mail Voter Registration Form (the "Federal Form"). It is
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USC.A Case #16°5196          Document #1635095                Filed: 09/09/2016       Page 2 of 3


        FURTHER ORDERED that the Commission take all actions necessary to restore the
status quo ante, pending a determination on the merits, including promptly removing from the
state-specific instructions those requirements directing voter registration applicants to submit
proof of their United States citizenship, informing Kansas, Alabama, and Georgia that Federal
Form applications filed since January 29, 2016 should be treated as if they did not contain the
now-stricken state-specific instructions, and promptly posting on the Commission's website the
modified version of the Federal Form.

        Our dissenting colleague claims that a Constitutional issue "would arise if a court issued a
final injunction in this case forbidding the Commission from including the states' requirements."
But that issue is not presented in this case because the Leagues seek only to enjoin the
Commission (or its agents) from giving effectto the January 29, 2016 decisions of Executive
Director Newby. Neither this preliminary injunction nor a final judgment would forbid the
Commission from including a proof-of-citizenship requirement if it detennined that such a
requirement was necessary to "effectuate [the States'] citizenship requirement[s]." Arizona v.
Inter Tribal Council of Arizona, Inc., 133 S. Ct. 2247, 2260 (2013). Like Arizona after ITCA,
the States here remain free to renew their "request[s] that the [Commission] alter the Federal
Form to include information the State[s] deem[] necessary to determine eligibility." Id. If the
Commission refuses those requests (or fails to act timely), the States here (like Arizona) will
have the "opportunity to establish in a reviewing court" that their proof-of-citizenship
requirements are necessary to enable them to assess eligibility. Id.; see 52 U.S.C. § 20508(b)(l).
Because they have yet to do so, our review of the agency action here presents no Constitutional
issue.

                                      Per Curiam

                                                             FOR THE COURT:
                                                             Mark J. Langer, Clerk

                                                      BY:    Isl
                                                             AmyYacisin
                                                             Deputy Clerk




* Senior Circuit Judge Randolph would affirm the order denying the preliminary injunction. A
separate dissenting statement by Senior Circuit Judge Randolph is attached.




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Randolph, Se11ior Circuit Judge, dissenting:

       I would affirm the District Court's denial ofa preliminary injunction on the ground that
appellants have not demonstrated irreparable harm.

        The Supreme Court in Arizona v. Inter Tribal Council ofArizo11a, Inc. recognized that
under Article I, § 2, cl. 1, and the Seventeenth Amendment to the Constitution, the states - not
the federal government - have the power to establish "voting requirements" in federal elections.
133 S.Ct. 2247, 2258-59 (2013).

        The Court also held that it would "raise serious constitutional doubts" if the Election
Assistance Commission prevented a state from "enforcing its voter qualifications" and that the
Commission may be "under a nondiscretionary duty to include [a state's proof of citizenship
requirements] on the Federal Form." Id. at 2259-60. That issue is not presented because the
Commission's Executive Director granted the requests of Kansas, Georgia and Alabama to
include their requirements on the Federal Form. But the issue would arise if a court issued a final
injunction in this case forbidding the Commission from including the states' requirements.




                                               3
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                   ATTACHMENT I·
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                                                           Federal Financial Report                                                 OMS Number. 4040-0014
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 Reclplenl Organlzatfon Name: !Georgia sec:catai:y of state                                                                                             I
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Stn,ot2:
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J. Recipient ah are of •"!'endltures                                                                                                                o.oo
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11. Indirect Expense
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a. Type                                 b. Rale     c. Period From Period To             d, Base                                                                f. Federal Share

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13, Certification: By signing this report, I certify to the best ofmy knowledge and belief that the report Is true, complete, and accurate, and the
expenditures, disbursements and cash recelpls are for the purposes and objectives set forth In the tenns and conditions of the federal award. I
am aware that any false, fictitious, or fraudulent Information, or the omission of any material fact, may subject me to criminal, civil or
administrative penalties for fraud, false statements, false claims or otherwise. (U.S. Code Title 18, Section 1001 and Title 31, Sections 3729•3730
and 3801-3812).
    a. Name and TIiie of Authorized Certifying Official

    Prefix: I            I First Name: 11:hyllis  I        Name: I
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b. Sillnature of Authorized Certifying Official                                        c. Telephone (Area code, number and extension)
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                   ATTACHMENT J
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                                             General Instructions
Who Can Use this Application                                        How to Submit Your Application
If you are a U.S. citizen who lives or has an address               Mail your application to the address listed under
within the United States, you can use the application in            your State in the State Instructions. Or, deliver the
this booklet to:                                                    application in person to your local voter registration
•     Register to vote in your State,                               office. The States that are required to accept the
•    Report a change of name to your voter registration             national form will accept copies of the application
      office,                                                       printed from the computer image on regular paper
•     Report a change of address to your voter registration         stock, signed by the applicant, and mailed in an
      office, or                                                    envelope with the correct postage.
•    Register with a political party.                               First Time Voters Who Register by Mail
Exceptions                                                          Ifyou are registering to vote for the first time in
Please do not use this application if you live outside              your jurisdiction and are mailing this registration
the United States and its territories and have no home              application, Federal law requires you to show proof
(legal) address in this country, or if you are in the               of identification the first time you vote. Proof of
military stationed away from home. Use the Federal                  identification includes:
Postcard Application available to you from military                 •    A current and valid photo identification or
bases, American embassies, or consular offices.                     •    A current utility bill, bank statement, government
                                                                         check, paycheck or government document that
New Hampshire town and city clerks will accept this                      shows your name and address.
application only as a request for their own absentee                Voters may be exempt from this requirement if they
voter mail-in registration form.                                    submit a COPY of this identification with their mail in
North Dakota does not have voter registration.                      voter registration form. If you wish to submit a COPY,
Wyoming law does not permit mail registration.                      please keep the following in mind:
                                                                    •    Your state may have additional identification
How to Find Out If You Are Eligible to Register to
                                                                         requirements which may mandate you show
Vote in Your State
                                                                         identification at the polling place even if you meet
Each State has its own laws about who may register and
                                                                         the Federal proof of identification.
vote. Check the information under your State in the
State Instructions. All States require that you be a United         •    Do not submit original documents with this
States citizen by birth or naturalization to register to vote            application, only COPIES.
in federal and State elections. Federal law makes it illegal
to falsely claim U.S. citizenship to register to vote in any         If You Were Given this Application in a State
federal, State, or local election. You cannot be registered          Agency or Public Office
to vote in more than one place at a time.                            If you have been given this application in a State
How to Fill Out this Application                                     agency or public office, it is your choice to use the
Use both the Application Instructions and State                      application. If you decide to use this application to
Instructions to guide you in filling out the application.            register to vote, you can fill it out and leave it with
•    First, read the Application Instructions. These                 the State agency or public office. The application
     instructions will give you important information that           will be submitted for you. Or, you can take it with
     applies to everyone using this application.                     you to mail to the address listed under your State
                                                                     in the State Instructions. You also may take it
•    Next, find your State under the State Instructions.
                                                                     with you to deliver in person to your local voter
     Use these instructions to fill out Boxes 6, 7, and
                                                                     registration office.
     refer to these instructions for information about               Note: The name and location of the State agency
     voter eligibility and any oath required for Box 9.              or public office where you received the application
When to Register to Vote                                             will remain confidential. It will not appear on your
Each State has its own deadline for registering to vote.             application. Also, if you decide not to use this
Check the deadline for your State on the last page of                application to register to vote, that decision will
this booklet.                                                        remain confidential. It will not affect the service
                                                                     you receive from the agency or office.




                                                                1
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                                        Application Instructions
Before filling out the body of the form, please answer the questions on the top of the form as to whether you are a
United States citizen and whether you will be 18 years old on or before Election Day. If you answer no to either of these
questions, you may not use this form to register to vote. However, state specific instructions may provide additional
information on eligibility to register to vote prior to age 18.

Boxl-Name                                                       Box 7-Choice of Party
Put in this box your full name in this order - Last,            In some States, you must register with a party if you
First, Middle. Do not use nicknames or initials.                want to take part in that party's primary election,
Note: If this application is for a change of name, please       caucus, or convention. To find out if your State requires
tell us in Box A (on the bottom half of the form) your          this, see item 7 in the instructions under your State.
full name before you changed it
                                                                If you want to register with a party, print in the box the
Box 2 - Home Address                                            full name of the party of your choice.
Put in this box your home address (legal address). Do
not put your mailing address here if it is different from       If you do not want to register with a party, write "no
your home address. Do not use a post office box or              party" or leave the box blank. Do not write in the word
rural route without a box number. Refer to state-specific       "independent" if you mean "no party;' because this
instructions for rules regarding use of route numbers.          might be confused with the name of a political party in
                                                                your State.
Note: If you were registered before but this is the first       Note: If you do not register with a party, you can still
time you are registering from the address in Box 2,             vote in general elections and nonpartisan (nonparty)
please tell us in Box B (on the bottom half of the form)        primary elections.
the address where you were registered before. Please
give us as much of the address as you can remember.             Box 8 - Race or Ethnic Group
                                                                A few States ask for your race or ethnic group, in order
Also Note: If you live in a rural area but do not have a        to administer the Federal Voting Rights Act. To find
street address, or if you have no address, please show          out if your State asks for this information, see item 8
where you live using the map in Box C (at the bottom            in the instructions under your State. If so, put in Box 8
of the form).                                                   the choice that best describes you from the list below:
                                                                •    American Indian or Alaskan Native
Box 3 - Mailing Address
                                                                •    Asian or Pacific Islander
If you get your mail at an address that is different from
                                                                •    Black, not of Hispanic Origin
the address in Box 2, put your mailing address in this
box. If you have no address in Box 2, you must write in         •    Hispanic
Box 3 an address where you can be reached by mail.              ■    Multi-racial
                                                                ■    White, not of Hispanic Origin
Box 4 - Date of Birth                                           •    Other
Put in this box your date of birth in this order -
Month, Day, Year. Be careful not to use today's date!           Box 9 - Signature
                                                                Review the information in item 9 in the instructions
Box 5 - Telephone Number                                        under your State. Before you sign or make your mark,
Most States ask for your telephone number in case               make sure that:
there are questions about your application. However,
you do not have to fill in this box.                            (1) You meet your State's requirements, and
                                                                (2) You understand all of Box 9.
Box 6 - ID Number
Federal law requires that states collect from each              Finally, sign your full name or make your mark, and
registrant an identification number. You must refer to          print today's date in this order - Month, Day, Year.
your state's specific instructions for item 6 regarding         If the applicant is unable to sign, put in Box D the
information on what number is acceptable for your               name, address, and telephone number (optional) of the
state. If you have neither a drivers license nor a social       person who helped the applicant.
security number, please indicate this on the form and a
number will be assigned to you by your state.




                                                            2
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               Before completing this form, review the General, Application, and State specific instructions.


Are you a citizen of the United States of America?                      0Yes             0Na                         This space for office use only.
Will you be 18 years old on or before election day?                     0Yes             0No
If you checked "No" in response to either of these questions, do not complete form.
(Please see state-specific instructions for rules regarding eligibility to register prior to age 18.)
     □ Mr. 0Miss Last Name                                                        First Name                                       Middle Name(s)                                □ Jr OH
                                                                                                                                                                                      DIil
1    D Mrs. D Ms.                                                                                                                                                              □ Sr DIV
     Home Address                                                                       Apt. or Lot#         Cityffown                              State                   Zip Code
2
     Address Where You Get Your Mail If Different From Above                                                 City/fawn                              State                   Zip Code
3
     Date of Birth                                         Telephone Number (optional)                             ID Number - (See item 6 in the instructions for your state)
4                                                      5
                     Month          Day        Year                                                          6
     Choice of Party                                       Race or Ethnic Group
     (see item 7 in the Instructions for your State)       (see item 8 in the Instructions for your State)
7                                                      8

  I have reviewed my state's instructions and I swear/affirm that:
  • I am a United States citizen
  ■ I meet the eligibility requirements of my state and
    subscribe to any oath required.
9 ■ The information I have provided is true to the best of my
                                                                                                 I                       Please sign full name (or put mark) A
                                                                                                                                                                                        I
     knowledge under penalty of perjury. If! have provided false
    information, I may be fined, imprisoned, or (if not a U.S.
    citizen) deported from or refused entry to the United States.
                                                                                                   Date:     I               z            I                      I
                                                                                                                 Month           Day               Year

 If you are registering to vote for the first time: please refer to the application instructions for information on submitting
 copies of valid identification documents with this form.


Please nil out the sections below if they apply to you.
 If this application is for a change of name, what was your name before you changed it?
    0Mr. 0Miss Last Name                                                                         First Name                                Middle Name(s)                        □ Jr 011
                                                                                                                                                                                      om
A 0Mrs.0Ms.
                                                                                                                                                                                 □Sr □ IV
 If you were registered before butthis is the firsttime you are registering from the address in Box 2, what was your address where you were registered before?
     Street (or route and box number)                                            Apt. or Lot#                City/Town/County                      State                     Zip Code
B

 If you live in a rural area but do not have a street number, or if you have no address, please show on the map where you live.




C
     • Write in the names of the crossroads (or streets) nearest to where you live.
     ■ Draw an Xto show where you live.

     • Use a dotto show any schools, churches, stores, or other landmarks
       near where you live, and write the name of the landmark.
        Example
                                                                                                                 ~''~NORTH,f'.
                               ~
                               .E:!   • Grocery Store
       t - - - - - - - - - - ' 3 ~-W-0-0-dc_h_u_c_k_R_o_ad---1
      1-----------, a:: , - - - - - - - - - - - - - - t
                       Public Schaal•                                                X                                                           II
 If the applicant is unable to sign, who helped the applicant fill out this application? Give name, address and phone number (phone number optional).

D

                       Mail this application to the address provided for your State.
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                                               State Instructions
                                                                                   ■ beat least 16 years old (you must
     •   - •• ~- --· • > --:
                                           • be 18 years old within six months
                          ·:(i-eo)JgJ~ •   after the day of registration, and be   be 18 years old by election day in
Updated: 08-15-2013                        18 years old to vote                    order to vote)
                                           • not be serving a sentence for         • not be incarcerated for a felony
Registration Deadline - The                having been convicted of a felony       conviction
fifth Monday before any general            ■ not have been judicially              • not be adjudicated by a court as
primary, general election, or              determined to be mentally               "non compos mentis"
presidential preference primary, or        incompetent, unless the disability
regularly scheduled special election       has been removed                        Mailing address:
pursuant to the Georgia Election                                                     Office of Elections
Code. In the event that a special          Mailing address:                         State of Hawaii
election is scheduled on a date             Elections Division                       802 Lehua Avenue
other that those dates prescribed            Office of the Secretary of State        Pearl City, HI 96782
by the Georgia Election Code,                2 Martin Luther King Jr. Drive
registration would close on the 5th         Suite 802 Floyd West Tower
day after the call.                         Atlanta, Georgia 30334
                                                                                   Updated: 03-01-2006
6. ID Number. Federal law requires
you to provide your full GA Drivers
                                           I                                       Registration Deadline - 25 days
License number or GA State issued           Updated: 06-18-2018                    before the election.
ID number. If you do not have a GA
Drivers License or GA ID you must           Registration Deadline - 30 days        6. ID Number. Enter your driver's
provide the last 4 digits of your           before the election.                   license number. If you have no
Social Security number. Providing                                                  driver's license, enter the last
your full Social Security number            6. ID Number. When you register        4 digits of your social security
is optional. Your Social Security           to vote, you must provide your         number.
number will be kept confidential            Hawaii driver's license or State       7. Choice of Party. You do not have
and may be used for comparison              identification number, if you have     to register with a party if you want
with other state agency databases           one. If you do not have a driver's     to take part in that party's primary
for voter registration identification       license or ID number, you must         election, caucus, or convention.
purposes. If you do not possess             provide the last four digits of your   8. Race or Ethnic Group. Leave
a GA Drivers License or Social              Social Security Number (SSN).          blank.
Security number, a unique identifier        If you do not have any of this         9. Signature. To register in Idaho
will be provided for you.                   information, the Clerk's Office will   you must:
7. Choice of Party. You do not              issue you a unique identification      • be a citizen of the United States
have to register with a party to take       number, which will serve to            • have resided in Idaho and in the
part in that party's primary, caucus        identify you for voter registration    county for 30 days prior to the day
or convention.                              purposes.                              of election
8. Race or Ethnic Group. You                7. Choice of Party. A "choice of       • be at least 18 years old
are requested to fill in this box.          party" is not required for voter       • not have been convicted of
See the list of choices under the           registration.                          a felony, and without having
Application Instructions for Box 8          8. Race or Ethnic Group. Race or       been restored to the rights of
(on page 2).                                ethnic group information is not        citizenship, or confined in prison
9. Signature. To register in                required for voter registration.       on conviction of a criminal offense
Georgia you must:                           9. Signature. To register in Hawaii
■ be a citizen of the United States         you must:                              Mailing address:
• be a legal resident of Georgia and        • be a citizen of the United States     Secretary of State
of the county in which you want to          • be a resident of the State of         P. 0. Box 83 720
vote                                        Hawaii                                  State Capitol Bldg.
                                                                                     Boise, ID 83720-0080

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                                           State Instructions
                                                                                                  *If you fail to meet the voter
                                                                                                  registration deadlines above you
Updated: 08-14-2012                      Updated: 03-01-2006                                      can register and vote by following
                                                                                                  the guidelines for election day
Registration Deadline - 28 days          Registration Deadline - 29 days                          registration. You can find these
prior to each election.                  before the election.                                     on the Iowa Secretary of State's
                                                                                                  website: www.sos.state.ia.us/pdfs/
6. ID Number. Your driver's              6. ID Number. Your state voter ID                        elections/EDRbrochure.pdf.
license number is required to            number is your ten digit Indiana
register to vote. If you do not have     issued driver's license number. Ifyou                    6. ID Number. Your ID number is
a driver's license, at least the last    do not possess an Indiana driver's                       your Iowa driver's license number
four digits of your social security      license then provide the last four                       (or Iowa non-driver identification
number are required. If you have         digits of your social security number.                   numb er) if you have one, if not
neither, please write "NONE" on          Please indicate which number was                         then the last four digits of your
the form. A unique identifier will       provided. (Indiana Code 3-7-13-13)                       social security number. The ID
be assigned to you by the State.         7. Choice of Party. Leave blank.                         number you provide will be
7. Choice of Party. Party registration   8. Race or Ethnic Group. Leave                           verified with the Iowa Department
or preference is not required for        blank.                                                   of Transportation or the Social
voter registration. However, when        9. Signature. To register in Indiana                     Security Administration.
you apply for a primary ballot, you      you must:                                                7. Choice of Party. You may, but
must indicate your party preference      • be a citizen of the United States                      do not have to, register with a party
for that election.                       • have resided in the precinct at least                  in advance if you want to take part
8. Race or Ethnic Group. Leave           30 days before the next election                         in that party's primary election.
blank.                                   • be at least 18 years of age on the                     You may change or declare a party
9. Signature. A signature is             day of the next general election                         affiliation at the polls on primary
required. If signature is missing        • not currently be in jail for a                         election day.
from registration form, you will         criminal conviction                                      8. Race or Ethnic Group. Leave
be notified your registration is                                                                  blank.
incomplete.                              Mailing address:                                         9. Signature. To register in Iowa
To register in Illinois you must:         Election Division                                       you must:
• be a citizen of the United States       Office of the Secretary of State                        • be a citizen of the United States
• be a resident of Illinois and of        302 West Washington Street,                             • be a resident oflowa
your election precinct at least 30        RoomE-204                                               •beat least 17-1/2 years old (you
days before the next election             Indianapolis, IN 46204-2743                             must be 18 to vote)
•beat least 18 years old on or                                                                    • not have been convicted of a

                                                                                          ,_ :I   felony (or have had your rights
                                                      C   •   -   ,   •.   •   •-.   ••



before the next election                                  ,:Jowa,
• not be in jail for a felony                                                                     restored)
conviction                               Updated: 03-28-2008
                                                                                                  • not currently be judged by a
• not claim the right to vote                                                                     court to be "incompetent to vote"
anywhere else                            Registration Deadline - Must be                          • not claim the right to vote in
                                         delivered by 5 p.m. 10 days before                       more than one place
Mailing address:                         the election, if it is a state primary                   • give up your right to vote in any
 State Board of Elections                or general election; 11 days before                      other place
 2329 S. MacArthur Boulevard             all others.* Registration forms
 Springfield, IL 62704                   which are postmarked 15 or                               Mailing address:
                                         more days before an election are                          Elections Division
                                         considered on time even if received                       Office of the Secretary of State
                                         after the deadline.                                       Lucas Building-1st Floor
                                                                                                   3.21 E. 12th Street
                                                                                                   Des Moines, IA 50319

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                  ATTACHMENT K
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HISTORY OF                                       CONTACT                                      AUGUSTA-
THEBOARD                                       INFORMATION                                   RICHMOND
■   Created in 1973 for the
    purpose of conducting
                                                •    Board of Elections Office                COUNTY,
                                                     535 Telfair St., Suite 500
    elections and voter
    registration                                     Augusta, GA 30901                        GEORGIA
■   Prior to 1973, elections were                •   Phone: (706) 821-2340
    conducted by the Probate
    Court and voter registration                 •   Fax: (706) 821-2814
    was conducted in the Voter
    Registrar's Office.                          ■   Web: ::www.augustaga.gov

■   The first office in local
    government to be
    consolidated with voter
    registration records for                    MEETING
    Richmond County and the
    City of Augusta being                     INFORMATION
    consolidated in 1947.

■   First Executive Director                     ■   The Board of Elections
    appointed in 1973. Linda                         conducts its Regular
    Beazley served as Director                       Monthly Meeting the 2nd
    from 1973 until 1993.                            Monday of each month at                   Ensuring That
                                                     6:00 PM. The location
•   Current Executive Director is                    varies. Contact the Office
                                                                                               Every Eligible
    Lynn Bailey who was
    appointed in 1993.
                                                     for more information.                     Voter's Ballot Is
                                                 ■   The meetings are open to                    Accurately
                                                     the public.
                                                                                                  Counted
                            Case
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                                               MEMBERSOF                                       DUTIESOF
lW:IATIS TEIE                                  TEIEBOARD                                       TEIEBOARD
 BOARDOF
ELECTIONS?                                       •   Timothy McFalls, Chair
                                                     Nonpartisan
                                                                                              •   To conduct all elections in
                                                                                                  accordance with State law and
                                                     Appointed February 2016                      in such manner as to
                                                     Term Exp. March 31, 2017                     guarantee the secrecy of the
•   The Board of Elections was
                                                                                                  ballot.
    created in 1973 for the                      •   Terence Dicks, Vice Chair
    purpose of performing all                        Democratic Appointee                     •   To make and issue rules,
    duties relating to elections and                 Appointed April 1, 2015                      regulations, and instructions,
    voter registration.                              Term Exp. March 31, 2019                     consistent with law as deemed
                                                                                                  necessary for the guidance of
•   The Board is made up of five                 •   Bob Finnegan, Secretary                      poll officers and voter
    voting members.                                  Republican Appointee                         registration officers.
                                                     Appointed April 1, 2017
•   Two of the Board Members                                                                  •   To provide oversight in the
                                                     Term Exp. March 31, 2021
    are appointed by the local                                                                    appointment of poll officers
    Democratic Party.                            •   Sherry T. Barnes
                                                     Republican Appointee                     •   To select and equip polling
•   Two of the Board Members                                                                      places and to provide for the
                                                     Appointed April 1, 2015
    are appointed by the local                                                                    security of all voting
                                                     Term Exp. March 31, 2019
    Republican Party.                                                                             equipment.
                                                 •   L. C. Myles
•   The Chair is a nonpartisan                                                                •   To provide oversight in the
                                                     Democratic Appointee
    individual appointed by the                                                                   development of the Board of
                                                     Appointed April 1, 2013
    Augusta Commission from a                                                                     Elections annual budget.
                                                     Term Exp. March 31, 2017
    list of three names submitted
    to them by the local                                                                      •   To manage and, if necessary,
    Legislative Delegation.                                                                       to hire and fire the Executive
                                                                                                  Director.


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APPENDIX A: Curriculum Vitae for Khalilah L. Brown-Dean

ACADEMIC EMPLOYMENT


Quinnipiac Universiry
         Associate Professor of Political Science, 2011-Present

Yale Universi'!J
         Peter Strauss Family Assistant Professor of Political Science and African American Studies
         (2006-2011)

         Director of Undergraduate Studies for the Department of African American Studies (2009-2010)

         Assistant Professor of Political Science and African American Studies (2003-2006)

EDUCATION


2003 The Ohio State University, Ph.D., Political Science (American Politics and Political Psychology)
Dissertation: "One Lens, Multiple Views: Felon Disenfranchisement Laws and American Political
Inequality" APSA Race, Ethnicity, and Politics Section Best Dissertation Award (2005)

2001 The Ohio State University, M.A., Political Science

1998 The University of Virginia, B.A., Government

ADDITIONAL EDUCATION AND TRAINING


2017 Tufts University Metric Geometry and Gerrymandering Summer Program
2017 Tufts University Gerrymandering Expert Witness Training
1999 Summer Institute in Political Psychology, Certificate, Political Psychology




SCHOLARSHIP AND RESEARCH PUBLICATIONS

Books


         Brown-Dean, I<halilah L. September 2019. Identity Politics in the United States. London: Polity
Press. ISBN: 9780745654119

        Duffy, Sean, Timothy Dansdill, Jill Shahverdian, Aileen Dever, Khalilah L. Brown-Dean, and
Julia Giblin, eds., 2014. The Individual in the Community. Pearson. 8th Edition.


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Refereed Artides


       Brown-Dean, Khalilah L. and Benjamin E. Jones. 2015. "Building Authentic Power: A Study of
the Campaign to Repeal Connecticut's Death Penalty." Politics, Groups, and Identities.

       Alexander-Floyd, Niko! C., Byron D'Andra Orey, and Khalilah L. Brown-Dean. 2015.
"Professional Conferences and the Challenges of Studying Black Politics." PS: Political Science and Politics.

          Brown-Dean, I<halilah L. 2015. "Emphasizing the Scholar in Public Scholarship." PS: Political
Science and Politics.

        Wilson, David C. and I<halilah L. Brown-Dean. 2012. "Great[er] Expectations: Group Interests,
Deracialization, and Candidate Evaluations." National Political Science Review.

       Brown-Dean, I<halilah. L. 2009. "Do Classes Matter?: Evaluating the Impact of College Courses
on Tolerance." Journal ofthe Institution far Social and Poliry Studies.

       Brown-Dean, I<halilah L. 2007. ''Permanent Outsiders: Felon Disenfranchisement and the
Breakdown of Black Politics." National Political Science Review.

         Brown-Dean, I<halilah L. 2005. "Trading Brown for Prison Orange: Reflections on Race and
Justice Fifty Years after Brown v. Board" Journal ofthe Institution far Social and Poliry Studies.


Book Chapters


         Brown-Dean, I<halilah L. Forthcoming. "Monumental Promises, Incremental Gains: Criminal
Justice Reform in the Obama Era." In After Obama: African American Politics in a Post-Obama Era. Edited
by Todd C. Shaw, Robert Brown, and Joseph McCormick III. New York, NY: NYU P.tess.

        Brown-Dean, I<halilah L. 2016. "Counting Bodies and Ballots: Prison Gerxymandering and the
Paradox of Urban Political Representation." In Urban Citizenship and American Democrary. Edited by Amy
Bridges and Michael Javin Fortner. Albany, NY: SUNY Press.

          Brown-Dean, I<halilah L. 2015. "Felon Disenfranchisement Ten Years After Bush v. Gore. "In
Elect.ion Administration in the United States: The State ofReform Ten Years After Bush v. Gore. Co-Edited by
Michael Alvarez and Bernard Grofman. Carob.ridge: Cambridge University Press.

Policy Papers and Other Publications


       Brown-Dean, I<halilah L. and Don C. Sawyer, III. 2019. ''The State of Education in Urban
Connecticut." In The State of Urban Connecticut, edited by Robert Brown, III. New Haven, CT: The Urban
League of Southern Connecticut.



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       Brown-Dean, Khalilah L. 2018. "Fighting From a Powerless Space: Black Women and the
Criminal Justice System." In State ofBlack Women in the US. and Kry States, edited by Avis A. Jones-
DeWeever. Washington, DC: National Coalition on Black Civic Participation.

          Brown-Dean, I<hali.lah L. 2017. Book Review of Sisters in the Statehouse by Nadia Brown.Journal of
Race, Ethnici!)i, and Politics.

        Brown-Dean, Khalilah L., Zoltan Hajnal, Christina Rivers, and Ismail White. 2015. "Fifty Years
of the Voting Rights Act: The State of Race in Politics." Joint Centerfar Political and Economic Studies.

       Brown-Dean, Khalilah L. November 2013. ''In the Final Analysis: On Nick Nelson's
Contributions to the Study of Black Politics." Politics, Groups, and Identities.

         Brown-Dean, Khalilah L. 2012. Cited in the Connecticut State Judiciary Committee's Favorable
Report for SB-280: An Act Revising Penalties for Capital Felonies.
https: //www .cga.ct.gpv /2012/JFR/S /2012SB-00280-R00JUD-JFR.htm

         Brown-Dean, I<halilah L. 2010. Book Review of The Perils ofFederalism: Race, Pover!)i, and the Politics
of Crime Control by Lisa L. Miller. Political Science Quarterjy.
        Brown-Dean, I<halilah L. et al. 2008. "Lift Every Voice: Democracy, Voting Rights, and
Electoral Reform." Published in conjunction with the Advisqry Committee on Social Witness Policy
(ACSWP) and the Advocacy Committee for Racial Ethnic Concerns (ACREC).


WORKS IN PROGRESS



Factors Affecting Support for Felon Voting Rights: Personal Beliefs, Felon Attributes, and Political
Context Gournal manuscript with David C. Wilson and TaLisa Carter)

Centering Victims' Voices in Criminal Justice Reform Movements (book manuscript)

Negotiating Voting Rights Policy in the Post-She/0,r Era Gournal manuscript)

Inmate Labor and Post-Disaster Recovery Gournal manuscript with Randolph Burnside)

ACADEMIC AWARDS, GRANTS, AND FELLOWSHIPS


2018, 2017, 2016 Quinnipiac University Provost's Innovation Grants ($15,000)

2018-2012 Quinnipiac University College of Arts and Sciences Faculty Research Grants ($30,000)

2017 Top 25 Women Making a Difference in Higher Education Award, Presented by Diverse: Issues in
Higher Education

2014 National Conference of Black Political Scientists Julia R. Hight Summer Writing Fellowship


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2010 National Conference of Black Politi.cal Scientists Rodney Higgins Award for Best Faculty Paper

2009-2011 The Open Society Foundations Justice Advocacy Senior Fellowship ($200,000)

2008-2010 Ford Foundation Difficult Dialogues Initiative ($200,000)

2005 American Politi.cal Science Association Best Dissertation Award (Race, Ethnicity, and Politi.cs
Section)

2005 Yale Center for International and Area Studies ($10,000)

2005 Social Science Research Fund ($5,000)

2005 Yale University Center for the Study of American Politics ($50,000)

2005 The College Board/AP Scholars Program Fellow ($7,000)


AWARDS FOR PUBLIC SCHOLARSHIP AND SERVICE


2017 Game Changer Award in Public Safety and Criminal Justice, Presented by the Connecticut NAACP
State Conference Youth and College Division

2017 Education Award, Presented by the Delta Iota Sigma Chapter of Phi Beta Sigma Fraternity,
Incorporated

2016 Fannie Lou Hamer Award for Outstanding Community Service, Presented by the National
Conference of Black Political Scientists

2015 Outstanding Community Leadership Award, Presented by the Connecticut State Martin Luther
King, Jr. Commission

2014 Legacy Award, Presented by the National Association of Blacks in Law Enforcement

Walt Everitt Humanitarian Award, Presented by the Connecticut Network to Abolish the Death Penalty

Forty Under Forty Award, Presented by Connecticut Magazine

2007 Wilm.a Holmes Tootle Education Advancement Award, Presented by the North Atlantic Region of
Alpha Kappa Alpha Sorority, Incorporated


PRIOR AWARDS AND ACHIEVEMENTS




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2002 National Conference of Black Political Scientists Sammy R. Young Best Student Conference Paper
Award

2002 The Ohio State University Alumni Grant for Graduate Research and Scholarship ($2,000)

2002 The Ohio State University Madison F. Scott Research Grant ($2,000)

2001 The Ohio State University Madison F. Scott Research Grant ($1,500)

2000 The American Political Science Association Advanced Graduate Student Travel Grant ($500)

2000 Carl Albert Center for Congressional Research Stipend ($500)

2000 The Ohio State University Program for the Enhancement of Graduate Studies Summer Research
Fellowship ($4,000)

1999 The Ohio State University Madison F. Scott Research Grant ($1,500)

1998 The Ohio State University Graduate Enrichment Fellowship ($30,000)

1997 American Political Science Association Ralph Bunche Summer Institute Fellow


RESEARCH AND TEACHING INTERESTS


Civic Engagement; Racial and Ethnic Politics; Urban Politics and Policy; Voting Rights and
Representation; The Politics of Punishment and Crime Control Policy; Mass Political Behavior; Political
Psychology; Public Policy and Leadership




PUBLIC SCHOLARSHIP


2019
       Brown-Dean, Khalilah L. ''Why Victims of Crime Deserve a Voice." The Hilt
       Brown-Dean, Khalilah L. ''Yes Virginia, There is a Choice." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Defining Political Progress." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "On the Meaning of Survival." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "First STEP or First Stumble?" Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "The Myth of Meritocracy." Diverse: Isstm in Higher Education
       Brown-Dean, Khalilah L. "The Fallacy of NOT Seeing Race." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. ''Dr. I<ing Deserves More." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Sorority Life as an Act of Resistance." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Teaching Through Trauma." Diverse: Issttes in Higher Education




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2018
       Brown-Dean, Khalilah L. Documentary Feature: "Extinction: The Disappearance of Black Male
       Educators."
       Brown-Dean, Khalilah L. "Civics 101 Podcast: The Fifteenth Amendment." New Hampshire
       Public Radio
       Brown-Dean, Khalilah L. "Giving Thanks Amid Political Uncertainty." Diverse: Issues in Higher Ed
       Brown-Dean, Khalilah L. "On Citizenship and Voting." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "The Hate We Give: Voting Against Violence." Diverse: Issues in Higher Ed
       Brown-Dean, Khalilah L. "Still Separate, Still Unequal: American Indians and Election 2018."
       Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Feminism, Womanism, and Election 2018." Diverse: Issues in Higher
       Education
       Brown-Dean, Khalilah L. "The Stakes is High." Diverse: Issues in Higher Education
       Brown-Dean, Khalilah L. "Aretha Franklin, John McCain, and the Meaning of Legacy." Diverse:
       Issues in Higher Education
       Brown-Dean, I<halilah L. "The Opposite of Progress." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "As American as Apple Pie." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "For Colored Folks Who Have Considered Suicide." Diverse: Issues in
       Higher Education
       Brown-Dean, I<halilah L. ''Why We Celebrate." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Mothering Behind Bars." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Bill Cosby Isn't a Victim." Diverse: Issues in Higher Education
       _Brown-Dean, I<halilah L. "It's Time to Secure the Vote." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "From Pain to Power." Diverse: Issues in Higher Education
       Brown-Dean, I(halilah L. "Reclaiming the 'Fierce Urgency of Now'." Diverse: Issues in Higher
       Education
       Brown-Dean, I(halilah L. "The Politics of Mental Health." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Not Yet Just, Not Yet Free." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Five Things More Effective Than Political Panic." Diverse: Issues in Higher
       Education
       Brown-Dean, I<halilah L. "Honoring Black History Month, In Prison." Diverse: Issues in Higher
       Education
       Brown-Dean, I<halilah L. "In Defense ofYouth Organizing." Diverse: Issues in Higher Education
       Brown-Dean, I<halilah L. "Art as Political Resistance." Diverse: Issues in Higher Education

2016
     Brown-Dean, I<halilah L. "Can She Do It? Women in Politics Remain Dogged By Gender
Stereotypes." New York Dai!J News.
     Brown-Dean, I<halilah L. ''.Justice Trurnp'd? The Path Toward Criminal Justice Reform Post-
Obama." WEAA Radio.

2015
       Brown-Dean, I(halilah L. "Leaving Victims Behind is Unjust." New Haven Register.

2014
       Brown-Dean, I(halilah L. "Saying Farewell to Maya Angelou." Ebol!J Magazine.
       Brown-Dean, I<halilah L. ''Who Fights For Black Girls?" Ebol!J Magazine.

2013


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       Brown-Dean, Khalilah L. Documentary Feature: "The Color of Justice."
       Brown-Dean, Khalilah L. "Kids and Families: The REAL Victims of the GOP Shutdown." Ebo1!)1
Magazine.
       Brown-Dean, Khalilah L. "Primary Offers Opportunity to Move New Haven Fo1ward." New Haven
Register.
       Brown-Dean, Khalilah L. "An End to the War on Weed?: Not Likely." Ebo1ry Magazine.
       Brown-Dean, Khalilah L. ''What Do the Supreme Court's Decisions Mean For Blacks?" Ebo1!)1
Magazine.

2012
    Akinwole-Bandele, Lumumba and I<halilah L. Brown-Dean. "A Call to Community: Why We
Cannot Wait for the Next Troy Davis.'' Ebo1!)1 Magazine.
     Brown-Dean, I<halilah L. "Beyond Barack Obama: Is America Ready For a New Political Party?"
Dominion ofNew York Magazine.

2011
        Brown-Dean, I<halilah L. "Are HBCU's Still Relevant?" Uptown Magazine.
        Brown-Dean, I<halilah L. "If Black Men Live Longer in Prison It's Time For Change." TheGrio.


INVITED TALKS AND PRESENTATIONS


"The 400th Anniversary ofJamestown and the Arrival of Enslaved Africans in Virginia." American
Political Science Association Annual Meeting. Washington, DC. August 2019.

"The Future of American Democracy." Quinnipiac University Presidential Inauguration. May 2019.

"A New Vision of Criminal Justice Reform." Quinnipiac University Admissions Preview. March 2019.

"Factors Affecting Support for Felon Voting Rights: Personal Beliefs, Felon Attributes, and Political
Context." David C. Wilson, TaLisa Carter, and I<halilah L. Brown-Dean. National Conference of Black
Political Scientists Annual Meeting. Baton Rouge, Louisiana. March 2019.

"Fighting from a Powerless Space: Women of Color in the Criminal Justice System." Feminism and
Incarceration Conference. University of North Carolina-Greensboro. February 2019.

 "The Continuing Struggle for Voting Rights in the United States." Wiggin & Dana Law Firm. Febmaty
2019.

"Not Yet Just, Not Yet Free: Black Women, Political Freedom, and the 2018 Midterm Elections."
Connecticut College. October 2018.

"A Letter to the Free: ReimaginingJustice and Democracy in the Trump Era." University of Bridgeport
Necessary Voices Lecture Series. February 2018.

"Freedom in the Era of Reform." Cheshire (CT) Correctional Institute. Februa1y 2018.

"On the Meaning ofJustice and Reform." College of William and Mary. Febmary 2018.


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"A Conversation on Justice and Freedom." University of Connecticut School of Social Work. Febma1y
2018.

"Redefining Civil Rights Post-Obama." NAACP Albuquerque Civil Rights and Diversity Conference.
September 2017.

"The Legacy of the 15th Amendment Post-Shelqy. "Duke University's Samuel DuBois Cook Center
Research Symposium on the Social and Economic Outcomes of the 13th, 14th, and 15th Amendments.
March 2017.

"Race, Representation, and Disenfranchisement: As American As Apple Pie." Pace University. March
2017.

"The Public Spectacle: Exploring Anger and Political Transformations." William Paterson University.
October 2016.

"The State of Race and Policing in America." Texas A&M University Bush School for Public Se1-vice.
September 2016.


"Contemporaiy Challenges to Voting Rights in the United States." University of Connecticut. March
2016.

"The Black Predicament and the 2016 Elections." National Conference of Black Political Scientists.
Jackson, Mississippi. March 2016.

''Beyond Ferguson: Reimagining Race and Social Justice in the United States." Walker-Horizon Lecture.
Depauw University. February 2016.

"Counter-Emancipation and the Voting Rights Act of 1965." University of Illinois-Springfield. June
2015.

"Fifty Years of the Voting Rights Act: The State of Race in American Politics." Selma Public Library for
the 50 th Anniversary Celebration of the Bloody Sunday March. March 2015.

''Why We Cannot Wait: Reclaiming the Fierce Urgency of Now." Claflin College. Febmary 2015.

"Lessons From the Past, Prospects For the Future: Voting Rights Post Shelqy v. Holder." US Attorney's
Office. February 2015.

"Beyond Ferguson: Understanding the Nexus ofincarceration and Disenfranchisement." Connecticut
Court Support Services. Febmary 2015.

''The Mass Incarceration of Women of Color." Harvard University. March 2014.

"45 Years: A Retrospective on NCOBPS and the Work of William E. Nelson,Jr." Presented at the
National Conference of Black Political Scientists Annual Meeting. Wilmington, Delaware. March 2014.




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 "The Role of Community Mobilization Within Social Justice Movements." U.S. Human Rights Network.
 December 2013.

 "From Painful to Powerful: How Crime Victims Persuaded Legislators to Reform the Death Penalty in
 Connecticut and Maryland." Presented at the American Political Science Association Annual Meeting,
 Chicago, Illinois. August 2013.

 ''Public Scholarship vs. Public Intellectualism." Women of Color in Political Science Mini-Conference,
 American Political Science Association. Chicago, Illinois. August 2013.

 "How the Affected and Underrepresented Are Ending the Death Penalty." Yale University Law School
 Rebellious Lawyering Conference. New Haven, Connecticut. February 2013.

 "Building Authentic Power: An Examination of Connecticut's Death Penalty Repeal Campaign."
 Presented at the Southern Political Science Association Annual Meeting. Orlando, Florida. January 2013.

 "The Relationship Between Perceptions of Justice and Grassroots Mobilization." Maryland State
 Conference of NAACP Branches. October 2012.

"Beyond Troy Davis: Understanding the Death Penalty Abolition Movement in the United States."
William Paterson University. September 2012.

"A Tale of Two States: Death Penalty Reform in Connecticut and Ma1yland." Soros Institute/Open
Society Foundations. July 2012.

"From Pain to Power: A New Model of Social Justice Organizing." National Conference on Race and
Education in Higher Education. May 2012.

"Redefining Citizenship in a 'Post Racial' America." Carter G. Woodson Lecture Series. Central
Connecticut State University. New Britain, CT February 2012.

"Race and Domestic Policy." George Mason University School of Public Policy. October
2011.

"Three-Fifths Revisited: The Census and Inmate Enumeration." Presented at the Drexel Summer
Conference on the City. June 2011.

"Concentrating Punishment." Presented at the Princeton University Imprisonment of a Race
Conference. March 2011.

"From Exclusion to Inclusion: Promoting Civic Engagement When Times are Always Hard." Paper
presented at the American Political Science Association Annual Meeting, Washington, DC. September
2010.

"Greater Expectations: Perceptions of Racial Group Interests and Candidate Evaluations." (with David
C. Wilson). Paper presented at the Midwest Political Science Association Annual Meeting, Chicago, IL.
April 2010.




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"The Future of Post-futcial Politics." Presented at the "From Slavery to Freedom to the White House:
Race in Twenty-First Century America, A Conference in Honor of John Hope Franklin." Sponsored by
the Duke University School of Law. April 2010.

"Race, Representation, and Punitive Politics." Presented at "The Challenge of futcial Inequality in a Post-
futcial World: futce, Rights, and Public Policy in the Age of Obama." Sponsored by Rutgers and
Princeton Universities. March 2010.

"Identity Politics in the Age of Obama." 15th Annual Multicultural Lecture Series. University of Rhode
Island. February 2010.

"Identity Politics in the Age of Obama." University of Rochester Two Icons Lecture Series. February
2009.

"Counting Bodies, Not Ballots: The Impact of Mass Incarceration on Political Representation."
Presented at the UCLA Center for the Study offutce and Ethnicity in the Americas. February 2008.

"Reforming the State: Assessing Recent Changes in State Felon Disenfranchisement Laws." Paper
presented at the American Political Science Association Annual Meeting, Toronto, Canada. September
2009.

"futce, Crime, and Political Inequality." Presented to The University of North Carolina, Chapel Hill
American Politics Research Group. November 2007.

"Counting Bodies, Not Ballots: The Impact of Mass Incarceration on Political Representation." Paper
presented at the American Political Science Association Annual Meeting, Chicago, Illinois. September
2007.

"Once Convicted, Forever Doomed: The Politics of Punishment in the United States." The University
of Michigan Distinguished Speakers Series. September 2007.

"Contemporary Challenges to the Voting Rights Act." Presented for the National Presbyterian Church
Voting Rights and Electoral Reform Committee. Washington, DC April 2007.

"Once Convicted, Forever Doomed: Understanding the Political Consequences of Mass Incarceration."
University of Kentucky. March 2007.

"Inmate Enumeration and Political Representation: R,yno!ds v. Sims Revisited." University of Kentucky
Law School. March 2007.

"Race, Religion, and Attitudes Toward Criminal Justice Policy." The University of Texas
Conference on futce, Religion, and Politics. March 2007.

"Race and the Politics of Punishment in the United States." Presented at Oxford University, Nuffield
College. Oxford, England February 2007.

''Voting Rights Policy in the Post-Civil Rights Era." The Ohio State University Law and Democracy
Forum. February 2007.



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 "African American Communities and the Politics of Incarceration." Presented to the Black Solidarity
 Conference, Yale University. New Haven, CT October 2006.

 "Fighting from a Powerless Space: The Impact of Criminal Justice Policy on Women of Color." Paper
 presented at the American Political Science Association Annual Meeting, Philadelphia, PA. September
 2006.

 "The Politics of Incarceration." African American Research Collaborative. Philadelphia, PA. August
 2006.

 "Is the Voting Rights Act Still Relevant?" Morning at Yale Program sponsored by the Association of
 Yale Alumni. May 2006.

 "Inmate Enumeration and the Return of the Three-Fifths Clause." Paper presented at the National
 Conference of Black Political Scientists Annual Meeting, Atlanta, GA. March 2006.

 "New Considerations in Redistricting and Minority Representation." Presented at the "Who Draws the
 Lines?: The Politics of Redistricting Conference." University of North Carolina at Chapel Hill School of
 Law. Chapel Hill, NC February 2006.

"The Race, Education, and Incarceration Nexus." Twentieth Century American Politics and Society
Workshop. Columbia University. November 2005.

"Contemporary Challenges to the Voting Rights Act of 1965." Presented at Virginia State University.
September 2005.

"Race, Crime, and American Political Inequality." Presented at Oxford University, Pembroke College.
Oxford, England. March 2005.

"Trading Brown for Prison Orange: The Link Between Race, Education, and Incarceration." Reflections:
50 Years after Brown v. Board Symposium. Central Connecticut State University. New Britain, CT.
September 2004.

"Racial Disparities in Sentencing." Panel sponsored by the Greater New Haven NAACP. "Narrowing
the Gap: Reducing Access Inequality for (Ex)Felons." Crime, Inequality, and Justice
Symposium, The Ohio Criminal Justice Research Center. Columbus, OH. August 2004.

"Stolen Democracy: The Consequences of Felon Disenfranchisement Laws for Black and Latino
Communities." Florida State of Black Studies Conference, :Miami, FL. April 2004.

"Women of Color and the American Prison System," with J. Perez-Monforti. Paper presented at the
Western Political Science Association Annual Meeting, Portland, OR. March 2004.

"The Impact of Elite Framing on Public Attitudes Toward Disenfranchisement." Paper presented at the
American Political Science Association Annual Meeting, Philadelphia, PA. September 2003.

"Culture, Context, and Competition: Explaining State Variation in Felon Disenfranchisement Laws."
Paper presented at the :Midwest Political Science Association Conference, Chicago, Illinois. April 2003.



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"Racial Profiling or Racist Profiling?: Perception and Opinion on the Profiling of Arabs and Blacks,"
with Thomas E. Nels on, Ray Block, Jr. and J avonne A. Paul. Paper presented at the American Political
Science Association Annual Meeting, Boston, Massachusetts. September 2002.

"Ignorance or Intolerance?: An Analysis of Public Attitudes Toward Felon Disenfranchisement Laws."
Paper presented at the Edward F. Hayes Graduate Research Forum, Columbus, Ohio. February 2002.

"One Lens, Different Views: An Examination of Public Opinion on Felon Disenfranchisement Laws."
Paper presented at the National Conference of Black Political Scientists, Atlanta, Georgia. March 2002.
Recipient of the Sammy R. Young Best Conference Paper Award

"The Effects of Crisis-Related Imagery on Public Opinion about Racial Profiling," with Ray Block, Jr.
and Javonne A. Paul. Paper presented at the National Conference of Black Political Scientists, Atlanta,
Georgia. March 2002.

"Heritage or Hate?: An Analysis of Public Attitudes Toward the Confederate Flag," with B. D"Andra
Orey. Paper presented at the Southern Political Science Association, Atlanta, Georgia. January 2001.

"Shades of Discontent: Minority Group Competition and Attitudes Toward the Elian Gonzalez Issue,"
withJ. Perez-Monforti. Paper presented at the National Conference of Black Political Scientists,
Richmond, Virginia. Nominated for the Sammy R. Young Best Conference Paper Award March
2001.

"Toeing the Party Line, Toeing the Color Line: African American Women in Congress and the
Impeachment Process." Poster presented at the American Political Science Association Annual Meeting,
Washington, DC. September 2000.           ·

"Stolen Democracy: Felony Disenfranchisement Laws and the Future of Black America," with Javonne
A. Paul. Paper presented at the National Conference of Black Political Scientists, Washington, D.C.
"Recipient of the Francis Aumann Awardfar the Best Graduate Student Conference Paper. March 2000.

"African American Female Legislators and the Clinton Impeachment Process." Women Transforming
Congress: Gender Analyses of Institutional Life Conference, Carl Albert Center for Congressional
Research. April 2000.

"The Influence of Politically Active Black Churches on Community Activism among African
Americans." Poster presented at the American Political Science Association Annual Meeting,
Washington, DC. September 1997.

KEYNOTE ADDRESSES AND PANEL DISCUSSIONS



"Not Yet Just, Nat Yet Free: Women and Social Justice." Keynoted address presented to Southern
Connecticut State University Women's Conference. May 2019.

"The Future of Voting Rights in the United States." Keynote address presented to the Sphex Club of
Virginia. May 2019.




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 "The State of Justice Reform." Whitoeyville United Church of Chtist Social Justice Symposium. May
 2019.

 "The State of Urban Connecticut." Urban League of Southern Connecticut and Quinnipiac University.
 April 2019.

 "School/Gun Violence: An Interdisciplinary Concern." Quinnipiac University School of Education.
 April 2018.

 "A New Vision of Freedom and Democracy." Keynote Address presented to the Farmington Valley
 links, Incorporated. Mark Twain House. February 2018.

 "To Build the Beloved Community in the Face of Chaos." Annual Martin Luther King,Jr. Breakfast
 Keynote Address. Lynchburg, VA. January 2018.

 "Women Leading Change: Promoting and Sustaining Women in Leadership Roles." Southern
 Connecticut State University Sustainability Initiative. November 2017.

 "Gender, Voting, and the Voting Rights Act." Community Foundation for Greater New Haven.
 October 2017.

 'We Who Believe in Freedom." Keynote Address presented to the Connecticut Department of Children
 and Families Region 6 Foster Youth Celebration. May 2017.

 "Community Conversation on the Thirteenth Documentary." Greater New Haven Branch of the
 NAACP. April 2017.

"Women, Media, and the Gender Lens." University of New Haven Women's Leadership Conference.
April 2017.

"A Day After the Election ... Now What?" Quinnipiac University. November 2016.

"Bridging the Past and the Future: 30 years of the Ralph Bunche Summer Institute and the Intellectual
Legacy of Dr. Ralph Bunche." American Political Science Association. October 2016.

"Chaos or Community?" Southern New England Community Action Conference. September 2016.

"A Community Conversation on Race in America." With Congressman Jim Himes.July 2016.

"Reflections on Voting Rights in the U.S." With Congressman Jim Himes. April 2016.

"To Whom Much is Given." National Association of Negro Business Women and Professionals Club.
New Haven, CT. March 2016.

"Reclaiming the Fierce Urgency of Now." Frontiers International Keynote Address. Springfield, Illinois.
January 2016.

"One Person, One Vote: Voting Rights SO Years Later." Harriett Beecher Stowe Center. November
2015.




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"A Call to Leadership." Keynote Address for the North Atlantic Regional Conference of Alpha Kappa
Alpha Sorority, Incorporated's Undergraduate Luncheon. April 2012.

''Taking the L.E.A.D.: Social Media and Contemporary Youth Movements." Keynote Address for the
C.H.A.P. Youth Leadership Conference. March 2012.

"Post-Racial or Post-Racism? New Directions in the Quest for Equality." Presented to the United States
Department of Agriculture. February 2011.

"Fractured Citizenship and the Politics of Punishment." Presented to inmates at the Cheshire State
Correctional Institution. Sponsored by Wesleyan University Center for Prison Education. May 2010.

 "Managing the Politics of Diversity." Keynote Address for the Virginia Community Dialogue on Race
and Racism. J anuaty 2008.

Panelist, "The Politics of Hate." Yale University. New Haven, CT March 2008.

Panelist, "Strategies for Strengthening Your Voice in the Political Process." North Atlantic Regional
Conference of Alpha Kappa Alpha Sorority, Incorporated. March 2008.

"The Political Impact of American Criminal Justice Policy." Presented at the New York Times Center
New York, NY November 2008.

"Empowerment Through Education." Keynote Address presented for the Links, Incorporated
Scholarship Luncheon. May 2006.

"To Whom Much is Given, Much is Required: The Need for Youth Leadership." Keynote Address
presented to the Hyde Leadership Academy. February 2006.

"Lessons from the Past, Prospects for the Future: Reflections on the Voting Rights Act of 1965."
Association of Yale Alumni. October 2005.

"Dismantling the Hierarchy of Oppression: The Common Political Fate of Black Women and Latinas."
Co-Sponsored by the Xi Omicron Chapter of Alpha Kappa Alpha Sorority, Inc. and Sigma Lambda
Upsilon/Senoritas Latinas Unidas Sorority, Inc. April 2005.

"Lest We Forget." Keynote Address, African American Women's Summit. March
2005.

"Criminal Justice Expenditures and the Public Health Crisis." Frantz Fanon Lecture Series, Yale
University School of Medicine. February 2005.

"The Spirit of Sankofa." Keynote Address, The New Haven Club. New Haven, CT. Februaty 2005.

"On Heroism: Honoring the Legacy of Rosa Parks." Roundtable panelist, Afro-American Cultural
Center at Yale. January 2005.

"For God and For Countty: The Role of Religious Values in the 2004 Presidential Election." Yale
University Election Post-Mortem. November 2004.


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"The Politics of Power: Public Policy and Justice in the Black Community. "Panel in honor of the 35th
Anniversary of the Afro-American Cultural Center at Yale. October 2004.

"Assessing the Limits of Democracy Via Felon Disenfranchisement Laws." Washington University
Department of Political Science, St Louis, lv.lissouri; Wesleyan University, lv.liddletown, Connecticut.

''Just Being Here Is Not Enough!: Recognizing Your Role in Community Development." Yale
University Afro-American Cultural Center Student Achievement Dinner. May 2004.

International Festival of Art and Ideas. May 2004.

 "To Whom Much is Given: Communal Responsibility and the Challenges of Black Politics." Mental
Pabulum Series, Yale University. February 2004.

"Power, Pride, and Patriotism: Reflections on the Political Significance of Veterans" Day." Holcomb
Rock Baptist Church. November 2003.

"Culture, Context, and Competition: Explaining State Variation in Felon Disenfranchisement Laws."
Invited presentations for Yale University, Texas A&M University, Emory University, Hunter College,
and Indiana University-Indianapolis. 2002.

OTHER CONFERENCE PARTICIPATION


Served as a Section Head, Panelist, Discussant, Chair, and Organizer for numerous panels at national
conferences such as the American Political Science Association, National Conference of Black Political
Scientists, Southern Political Science Conference, and lv.lidwest Political Science Conference.

TEACHING EXPERIENCE


Designing Political Inquiry (Undergraduate Lecture/Seminar); Senior Thesis in American Politics
(Undergraduate Seminar); American Political Movements (Undergraduate Lecture/Seminar);
Introduction to American Politics (Undergraduate Lecture); The Politics oflntimacy (Undergraduate
Seminar); The Politics of Community (Undergraduate Seminars); Race, Ethnicity, and Citizenship
(Undergraduate Seminar); Ethnic Politics in the United States (Undergraduate Lecture); Voting Rights
and Representation (Undergraduate Seminar); The Individual and the Community (Undergraduate
Seminar); Power, Politics, and Punishment (Graduate/Undergraduate Seminar); Public Opinion
(Graduate Seminar); Race and Ethnicity in American Politics (Graduate Seminar); Race and Ethnicity in
American Politics (Undergraduate Seminar) African American Politics (Undergraduate Seminar); Black
and Jewish Community Politics (Undergraduate Lecture/Seminar)


FACULTY ADVISING AND SUPERVISION


Responsible for advising approximately 20 undergraduate students in the Quinnipiac University College
of Arts and Sciences each semester


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Previously advised health policy and advocacy scholars in the Netter School of Medicine
Dissertatio:r;i. Committee Member/Reader: Andra Gillespie (Emory University); Rachel Milstein
Sondheimer (United States Military Academy at West Point); Shatema Threadcraft (Rutgers University);
Joanna Mosser (Drake University)
Research Supervision: Sheree Bennett and Luke Thompson (Difficult Dialogues Graduate Research
Assistants); Kayla Vinson and Adrea Hernandez (lv.fellon Mays Undergraduate Fellows); Brandee Blocker
and Christopher Pagliarella (undergraduate research assistant)


PROFESSIONAL MEMBERSHIP



American Political Science Association; International Society of Political Psychology; Midwest Political
Science Association; National Conference of Black Political Scientists; Pi Sigma Alpha National Political
Science Honor Fraternity; National Association for Ethnic Studies

PROFESSIONAL SERVICE

Advisory Board, Ronald W. Walters Leadership and Public Policy Center (2019-)
Member, American Political Science Association Rules and Ethics Committee (2019-)
Chair, National Conference of Black Political Scientists Fannie Lou Hamer Outstanding Community
Service Awards Committee (2019-)
Advisory Board, Issues in Race and Sodety journal (2019-)
Executive Council Member, National Conference of Black Political Scientists (2016-2018)
Member, American Political Science Association Ralph Bunche Summer Institute Advisory Committee
(2016-)
Section Chair, Undergraduate Research Section of the National Conference of Black Political Scientists
(2017)
Board Member, Association for Ethnic Studies/National Association for Ethnic Studies (2015-Present)
Section Chair, Public Opinion and Political Participation Section of the National Conference of Black
Political Scientists Annual Meeting (2014-2015)
Parliamentarian, National Conference of Black Political Scientists (2014-2016)
Section Head, Race, Ethnicity, and Gender Section of the Southern Political Science Association
Conference (2012-2013)
Section Head, Race, Class, and Ethnicity Section of the Midwest Political Science Association
Conference (2011-2012)
Executive Council, Public Policy Section of the American Political Science Association (2010-2012).
Executive Council, Urban Politics Section of the American Political Science Association (2010-2012).
Executive Council, Race and Ethnic Politics Section of the American Political Science Association
(2009-2011).
Research Advisor, The National Presbyterian Church Voting Rights and Electoral Reform Committee
(2006-2009).
Selection Committee, The Southwest Politi.cal Science Association's Jewel L. Prestage Award for the
Best Paper on the Intersection of Race, Gender, Ethnicity, and Politi.cal Behavior (2006).
Selection Committee, Warren E. Miller Prize for an Outstanding Career and Intellectual
Accomplishment in the field of Elections, Public Opinion, and Voting Behavior (Elections, Public
Opinion, and Voting Behavior Section of the American Political Science Association) (2007).
Conference Director, "Lessons From the Past, Prospects for the Future: Honoring the Fortieth
Anniversary of the Voting Rights Act of 1965." Co:..Sponsored by the Yale University Center for


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American Politics and Institution for Social and Policy Studies (2004-2005).
Selection Committee, American Political Science Association Ralph Bunche Book Award (2004)
Secretary, Race and Ethnic Politics Section of the American Political Science Association (2003-2005).

UNIVERSITY SERVICE

Member, Quinnipiac University Strategic Plan Committee (2018)
Faculty Researcher, Urban League of Southern Connecticut and Quinnipiac University State of Urban
Connecticut Project (2016-)
Affiliated Faculty, The Prison Project at Quinnipiac University (2016-)
Co-Chair, College of Arts and Sciences Faculty Scholarships and Grants Committee (2015-2018)
Member, College Evaluation (Tenure and Promotion) Committee (2015-2018)
Co-Coordinator, Frank M. Netter .School of Medicine Health Policy and Advocacy Concentration (2015-
2016)
Co-Leader, University Academic Seminar Series and Advisory Board (2013-2014)
Co-Organizer, Dilemmas of Justice Speakers Series (2013)
Exploratory Committee, African American Studies Minor/ Civil Rights Institute (2013-2014)
Chair, College of Arts and Sciences Scholars Working Group (2013)

REVIEWER


National Science Foundation; American Journal ofPolitical Science; Journal of &ice and Politics; Law and Social
Inquiry; The Journal of Conjlict &solution; Politics and Gender; Journal ofPolitics; futssell Sage; Political &search
Quarlerjy; Yale University Press; DuBois &view; Political Behavior; Urban Affairs &view; The Political Chronicle;
Palgrave-McMillan; SOULS Journal; DuBois &view; Politics, Groups, and Identities; Election Law Journal,-Journal
ofthe Centerfar Policy Anajysis and &search; Election Law Journal.
MEDIA COMMENTARY


Over 400 media outlets including New York Times; Washington Post; Fox News Radio; Democracy Now;
American Urban Radio Network; WTNH; The Forum; The Hill,· CNN; WURD; Minnesota Public Radio;
WHYY; WNPR; CPTV; Ebol!Jl.com; Google; NPR; WFSB TV; CBS Radio; AP News; Wall Street Journal.


RELATED PUBLIC SERVICE


Board Chair, The Community Foundation far Greater New Haven (2019-)
Board Member, The New Haven Pearls of Excellence Foundation (2018-)
Board Member, The Community Foundation for Greater New Haven (2015-2021)
Appointed Member, 2018 Transition Team for Connecticut Governor Ned Lamont (Women & Girls
Policy)
President, Theta Epsilon Omega Chapter of Alpha Kappa Alpha Sorority, Incorporated (2017-2018)
Board Member, Prison Policy Initiative (2015-2016)




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this the 15th day of August 2019, I caused to be

electronically filed the foregoing Expert Report of Dr. Khalilah L. Brown-Dean with

the Clerk of Court using the CM/ECF system, which will automatically send

notification of such filing upon Counsel of Record:

Chris Carr, Esq.
Attorney General
Dennis Dunn, Esq.
Deputy Attorney General
Russell Willard, Esq.
Senior Assistant Attorney General
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Atlanta, GA 30334
Email: ccarr@law.ga.gov
Email: ddunn@law.ga.gov
Email: rwillard@law.ga.gov

Joshua Barrett Belinfante, Esq.
Brian Edward Lake, Esq.
Carey Allen Miller, Esq.
Vincent Robert Russo, Jr., Esq.
Kimberly Anderson, Esq.
Robbins Ross Alloy Belinfante Littlefield, LLC -Atl
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Fax: 404-856-3250
Email: jbelinfante@robbinsfirm.com
Email: blake@robbinsfinn.com
Email: cmiller@robbinsfinn.com
Email: vrusso@robbinsfirm.com
Email: kanderson@robbinsfirm.com
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                                     ls/Allegra J Lawrence
                                     Allegra J. Lawrence
                                     Georgia Bar No. 439797
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§ 21-2-50.2. Responsibilities designated under the federal Help ... , GA ST§ 21-2-50.2




    West's Code of Georgia Annotated
     Title 21. Elections (Refs & Annos)
       Chapter 2. Elections and Primaries Generally (Refs & Annos)
          Article 2. Supervisory Boards and Officers
            Pait 2. Secretaiy of State

                                                  Ga. Code Ann .,§ 21-2-50.2

                   § 21-2-50.2 . Responsibilities designated under the federal Help A.Inerica Vote Act

                                                          Currentness


(a) The Secretary of State, as the chiefelection official designated under the federal Help America Vote Act of 2002, 1 shall be
responsible for coordinating the obligations of the state under the federal Help America Vote Act of 2002.


(b) As the chief election official, the Secretary of State is autho1ized to promulgate rules and regulations to establish
administrative complaint procedures as required under Section 402 of Title IV of the federal Help America Vote Act of 2002,
which prescribes a process to remedy only those grievances filed under Title III of such federal act.


(c) Election related complaints filed with the Secretary of State alleging violations of Title III of the federal Help America Vote
Act of 2002 shall not be subject to hearing procedures of Chapter 13 ofTit1e 50, the "Georgia Administrative Procedure Act," but
shall be resolved pursuant to rules and regulations promulgated under subsection (b) of this Code section whereby the Secretary
of State shall have the authority to issue a final order for complaints filed under the federal Help America Vote Act of 2002.


Credits
Laws 2003, Act 209, § 4, eff. July 1, 2003.




Footnotes
1       52 U.S.C.A. § 20901
Ga. Code An□ . , § 21-2-50.2, GA ST§ 21-2-50.2
The statutes and Constitution are cuuent through acts passed during the 2019 Session of the General Assembly. Some statute
sections may be more current, see credits for details. The statutes are subject to changes by the Georgia Code Commission.

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                                                         DEFENDANT'S
                                                           EXHIBIT
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§ 21-2-99. Instruction of poll officers and poll workers in election ... , GA ST § 21-2-99




 IWest's Code of Georgia Annotated
   ITitle 21. Elections (Refs & Annos)
      !Chapter 2 . Elections and Primaries Generally (Refs & Annos)
        !Article 2. Supervisory Boards and Officers
          IPart 4. Poll Officers (Refs &Annos)

                                                  Ga. Code Ann.,§ 21-2-99

   § 21-2-99. Instruction of poll officers and poll workers in election procedures; certifications; unqualified poll
                                         officers and poll workers not to serve

                                                            Currentness




(a) The election superintendent shall provide adequate training to all poll officers and polJ workers regarding the use of
voting equipment, voting procedures, all aspects of state and federal law applicable to conducting elections, and the poll
officers' or poll workers' duties in connection therewith prior to each general primary and general election and each special
primary and special election; provided, however, such, training shall not be required for a special election held between the
date of the general primary and tbe general election. Upon successful completion of such instruction, the superintendent shall
give to each poll officer and poll worker a certificate to the effect that such person has been found qualified to conduct such
primary or election with the particular type of voting equipment in use in that jurisdiction. Additionally, the superintendent
shall notify the Secretary of State on fo1ms to be provided by the Secretary of State of the date when such instruction was
held and the number of persons attending and completing such instruction. For the purpose of giving such instructions, the
superintendent shall call such meeting or meetings of poll officers and poll workers as shall be necessary. Each poll officer
shall, upon notice, attend such meeting or meetings called for his or her instruction.



(b) No po ll officer or poll worker shall serve at any primary or election unless he or she shall have received instructions, as
described in subsection (a) of this Code section; shall have been found qualified to perform his or her duties in connection
with the type of voting equipment to be used in that jurisdiction; and shall have received a certificate to that effect from the
superintendent; provided, however, that this shall not prevent the appointment of a poll officer or poll worker to fil l a vacancy
arising on the day of a primary or election or on the preceding day.



Credits

Laws 1964, Ex. Sess., p. 26, § l; Laws 1983, p. 140, § 1; Laws 1998, p. 295, § 1; Laws 2001, p. 240, § 4; Laws 2002, p. 437,
§ l; Laws 2005, Act 53 , § 10, eff. July 1, 2005 .
                                                                                                    •   DEFENDANT'S

Foi·merly Code 1933, § 34-509.
                                                                                                    I     EXHIBIT
                                                                                                    ~        13
                                                                                                    b'!N1z.
Ga. Code Ann .,§ 21-2-99, GA ST§ 21-2-99
The statutes and Constitution are current througl1 acts passed during the 20 I 9 Session of the General Assembly. Some statute
sections may be more current, see credits for details. The statutes are subject to changes by the Georgia Code Commission.

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Josh Belinfante

From:                             Leslie Bryan <Leslie.Bryan@lawrencebundy.com>
Sent:                             Tuesday, December 10, 2019 1:57 PM
To:                               Josh Be linfante
Subject:                          FW: PDFs
Attachments:                      2019.12.10 Brown_Dean attachment (corrected) (clean).pdf; 2019.12.10 Brown_Dean
                                  attachment (corrected).pdf



Josh - in preparing for Dr. Brown-Dean's deposition, I discovered two typos in her chart (still contained reference to
DREs in statute). Attached are redlined and clean versions.


From: Pascha Shepard <Pascha.Shepard@lawrencebundy.com>
Sent: Tuesday, December 10, 2019 1:49 PM
To: Leslie Bryan <Leslie.Bryan@lawrencebundy.com>
Subject: PDFs




Pascha Shepard                                                                               i DEFENDANT'S
Legal Specialist                                                                             I      EXHIBIT

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                                     BEST
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                                                                                                                      DEFENDANT'S
                                   TABLE 2: Georgia Statutes Outlining the Secretary of State's Duties                  EXHIBIT
                                               CATEGORY 1: Candidate Interaction
                                                 CATEGORY 2: Voter Interaction
                                                                                                                         LS          ~
                                            CATEGORY 3: Election Official Interaction                                    1z.,t/.,Jtf ~-
Duty            Text                                                               Source                Function Classification
Powers and      To determine the forms of nomination petitions, ballots, and       O.C.G.A. § 21-2-      Category I
duties of the   other forms the Secretary of State is required to determine        50(a)(l)              Category 3
sos             under this chapter

Powers and      To receive registration statements from political parties and      O.C.G.A. § 21-2-      Category I
duties of the   bodies and to determine their sufficiency prior to filing, in      50(a)(2)              Category 3
sos             accordance with this chapter, and to settle any disputes
                concerning such statements;

Powers and      To receive and determine the sufficiency of nomination             O.C.G.A. § 21 -2-     Category 1
duties of the   petitions of candidates filing notice of their candidacy with      50(a)(3)
sos             the Secretary of State in accordance with this chapter;

Powers and      To certify to the proper superintendent official lists of all      O.C.G.A. § 21-2-      Category 1
duties of the   the political party candidates who have been certified to the      50(a)(4)              Category 3
sos             Secretary of State as qualified candidates for the succeeding
                primary and to certify to the proper superintendent official
                lists of all the candidates who have filed their notices of
                candidacy with the Secretary of State, both such
                certifications to be in substantially the form of the ballots to
                be used in the primary or election. The Secretary of State
                shall add to such form the language to be used in submitting
                any proposed constitutional amendment or other question
                to be voted upon at such election;

Powers and      To furnish to the proper superintendent all blank forms,           O.C.G.A. § 21-2-      Category 3
duties of the   including tally and return sheets, numbered lists of voters,       50(a)(5)
sos             cards of instructions, notices of penalties, instructions for
                marking ballots, tally sheets, precinct returns, recap sheets,
                consolidated returns, oaths of managers and clerks, oaths of
                assisted electors, voters certificates and binders,

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                applications for absentee ballots, envelopes and instruction
                sheets for absentee ballots, and such other supplies as the
                Secretary of State shall deem necessary and advisable from
                time to time, for use in all elections and primaries. Such
                forms shall have printed thereon appropriate instructions
                for their use;

Powers and      To receive from the superintendent the returns of primaries      O.C.G.A. § 21-2-    Category 3
duties of the   and elections and to canvass and compute the votes cast for      50(a)(6)
sos             candidates and upon questions, as required by this chapter;                         -
Powers and      To furnish upon request a certified copy of any document in      O.C.G.A. § 21-2-    Category 1
duties of the   the Secretary of State's custody by virtue of this chapter       50(a)(7)            Category2
sos             and to fix and charge a fee to cover the cost of furnishing                          Category3
                same;

Powers and      To perform such other duties as may be prescribed by law;        O.C.G.A. § 21-2-    Category 1
duties of the                                                                    50(a)(8)            Category2
sos                                                                                                  Category 3

Powers and      To determine and approve the form of ballots for use in          O.C.G.A. § 21-2-    Category 1
duties of the   special elections;                                               50(a)(9)            Category2
sos                                                                                                  Category 3

Powers and      To prepare and provide a notice to all candidates for federal O.C.G.A. § 21-2-       Category 1
duties of the   or state office advising such candidates of such information, 50(a)(I0)              Category 3
sos             to include requirements of this chapter, as may, in the
                discretion of the Secretary of State, be conducive to the fair,
                legal, and orderly conduct of primaries and elections. A
                copy of such notice shall be provided to each superintendent for
                further distribution to candidates for county and militia district
                offices;

Powers and      To conduct training sessions at such places as the Secretary     O.C.G.A. § 21-2-    Category 3
duties of the   of State deems appropriate in each year, for the training of     50(a)(l l)
sos             registrars and superintendents of elections;


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Powers and          To prepare and publish, in the manner provided in this              O.C.G.A. § 21-2-   Category 1
duties of the       chapter, all notices and advertisements in connection with          50(a)(12)          Category2
sos                 the conduct of elections which may be required by law;                                 Category3

Powers and          To prepare and furnish information for citizens on voter            O.C.G.A. § 21-2-   Category2
duties of the       registration and voting;                                            50(a)(13)
sos
Powers and          To maintain the official list of registered voters for this state   O.C.G.A. § 21-2-   Category 1
duties of the       and the list of inactive voters required by this chapter;           50(a)(14)          Category2
sos                                                                                                        Category 3

Powers and          To develop, program, build, and review ballots for use by           O.C.G.A. § 21-2-   Category3
duties of the       counties and municipalities on voting systems in use in the         50(a)(l5)
sos                 state.

Extension or        In the event the Governor declares that a state of emergency or     O.C.G.A. § 21-2-   Category 1
postponement of     disaster exists pursuant to Code Section 38-3-51 or a federal       50.1               Category2
qualifying          agency declares that a state of emergency or disaster exists, the                      Category3
periods and         Secretary of State is authorized to postpone or extend the
primaries and       qualifying periods provided in this chapter for the qualification
elections in even   of candidates seeking municipal, county, or state-wide office
of state of         and to postpone the date of any primary, special primary,
emergency or        election, or special election in the affected area.
disaster

Responsibilities    The Secretary of State, as the chief election official         O.C.G.A. § 21-2-        Category 1
under HAYA          designated under the federal Help America Vote Act of          50.2(a)                 Category2
                    2002, shall be responsible for coordinating the obligations of                         Category 3
                    the state under the federal Help America Vote Act of 2002.

Responsibilities    As the chief election official, the Secretary of State is    O.C.G.A. § 21-2-          Category 1
under BAVA          authorized to promulgate rules and regulations to establish  50.2(b)                   Category2
                    administrative complaint procedures as required under                                  Category 3
                    Section 402 of Title IV of the federal Help America Vote Act
                    of 2002, which prescribes a process to remedy only those
                    grievances filed under Title III of such federal act.

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Responsibilities   Election related complaints filed with the Secretary of State       O.C.G.A. § 21-2-     Category 1
underHAVA          alleging violations of Title III of the federal Help America Vote   50.2(c)              Category2
                   Act of2002 shall not be subject to hearing procedures of                                 Category 3
                   Chapter 13 of Title 50, the "Georgia Administrative Procedure
                   Act," but shall be resolved pursuant to rules and regulations
                   promulgated under subsection (b) of this Code section whereby
                   the Secretary of State shall have the authority to issue a
                   final order for complaints filed under the federal Help
                   America Vote Act of 2002.

Mail voter         The Secretary of State shall design, publish, and distribute        O.C.G.A. § 21-2-     Category 1
registration       voter registration application forms with which a person            223(a)               Category 2
application        may apply to register to vote by completing and mailing the                              Category 3
forms              form to the Secretary of State or to the board of registrars
                   of the person's county of residence. The Secretary of State
                   shall forward the applications that he or she receives to the
                   appropriate county board of registrars to determine the
                   eligibility of the applicant and, if found eligible, to add the
                   applicant's name to the list of electors and to place the
                   applicant in the correct precinct and voting districts.

Instruction and    The Secretary of State may develop and provide to the               Ga. Comp. R. &       Category I
training of        boards of registrars manuals for this instruction. The              Regs. 183-1-6-       Category2
private entities   Secretary of State may also make such manuals available to the      .02(5)(c)            Category 3
                   public, including via electronic means on the Secretary of
                   State's website. Until such time as the Secretary of State
                   develops such manuals, boards of registrars shall utilize such
                   materials as will meet the training requirements of this rule.

Rules and          The Secretary of State shall provide the board of registrars  Ga. Comp. R. &             Category3
Regulations for    of each county manuals for the use of deputy registrars       Regs. 183-1-6-
Voter              which include simple instructions on the rules and            .03(3)(n)
Registration by    procedures for the proper conduct of voter registration. The
Registrars and     form and content of these manuals shall be determined by
Deputy             the Secretary of State. The board of registrars shall provide
Registrars         each deputy registrar with a copy of the manual.

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Accessibility for   Polling Places. The election superintendent of each county and     Ga. Comp. R. &            Category 3
Elderly and         municipality shall conduct, or cause to be conducted, an on-site Regs. 183-1-6-
Disabled Voters     inspection of each polling place located within the county or      .04(5)(a)
                    municipality to determine if the polling place is accessible. This
                    inspection shall be reported to the Secretary of State on
                    forms prepared by the Secretary of State at such times as
                    the Secretary of State shall prescribe. Any polling place
                    found not to be accessible shall either be made accessible prior
                    to its use in a primary or election or shall not be used as a
                    polling place.

Accessibility for   Printed Instructions. The Secretary of State shall provide            Ga. Comp. R. &         Category 3
Elderly and         instructions for use by election superintendents at polling places    Regs. 183-1-6-.04(7)
Disabled Voters     and registrars at voter registration places, printed in large type,
                    to assist visually and hearing impaired electors in voting and
                    registering to vote.

Conduct of          Beginning with the November 2002 General Election, all                Ga. Comp. R. &         Category 1
Elections:          federal, state, and county general primaries and elections,           Regs. 183-1-12-.01     Category 2
Voting              special primaries and elections, and referendums in the State of                             Category3
Machines-Vote       Georgia shall be conducted at the polls through the use of
Recorders           direct recording electronic (DRE) voting units supplied by
                    the Secretary of State or purchased by the counties
                    with the authorization of the Secretary of State. In addition,
                    absentee balloting shall be conducted through the use of optical
                    scan ballots which shall be tabulated on optical scan vote
                    tabulation systems furnished by the Secretary of State or
                    purchased by the counties with the authorization of the
                    Secretary of State; provided, however, that the use of direct
                    recording electronic (DRE) voting units is authorized by the
                    Secretary of State for persons desiring to vote by absentee
                    ballot in person.

Direct Recording    Acceptance tests. Upon the receipt of each new direct recording       Ga. Comp. R. &         Category 3
Electronic          electronic voting unit (DRE), the election superintendent of          Regs. 183-1-12-
                    the county is responsible to ensure that an acceptance test is        .02(2)(a)

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Voting             performed on the device in accordance with standards
Equipment          issued by the Secretary of State. No DRE unit shall be
                   accepted by the county or placed into service
                   until such time as the unit satisfactorily passes the prescribed
                   acceptance tests.

Direct Recording The election superintendent of the county shall maintain the           Ga. Comp. R. &         Category3
Electronic       DRE units in accordance with the requirements of this rule,            Regs. 183-1-12-
Voting           the directives of the Secretary of State, and the specifications       .02(2)(b)(l)
Equipment        and requirements of the manufacturer.

Direct Recording Software security. The software contained in each DRE unit,            Ga. Comp. R. &         Category 3
Electronic       regardless of whether the unit is owned by the county or the           Regs. 183-1-12-
Voting           state, and the software used to program the unit and to                .02(2)(c)
Equipment        tabulate and consolidate election results shall not be
                 modified, upgraded, or changed in any way without the
                 specific approval of the Secretary of State. No other
                 software shall be loaded onto or maintained or used on
                 computers on which the GEMS software is located except as
                 specifically authorized by the Secretary of State.

Direct Recording The GEMS server shall not be moved or relocated for                    Ga. Comp. R. &         Category3
Electronic       educational or training pwposes. Should it become necessary to         Regs.183-1-12-
Voting           relocate the GEMS server or any of its components from one             .02(2)(g)(3)
Equipment        facility to another, the election superintendent shall notify the
                 Secretary of State in writing of the reason for the relocation and
                 the proposed new location. Under no circumstances shall the
                 GEMS server or any of its components be relocated unless
                 and until written authorization for the relocation is received
                 from the Secretary of State except in the event of an
                 emergency situation beyond the control of the election
                 superintendent.

Direct Recording   The poll manager shall sign a receipt for all supervisor cards,      Ga. Comp. R. &         Category 3
Electronic         encoders, voter access cards, memory cards, and DRE unit keys        Regs. 183-1-12-
Voting             assigned to such poll manager's precinct. Upon returning             .02(2)(g)(4)
Equipment          election supplies to the election superintendent's office

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                   following the close of the polls, the poll manager shall account
                   for all such items and shall certify that all such items have been
                   returned or shall describe any missing items and explain why
                   such items have
                   not been returned. The Secretary of State shall prepare and
                   provide a chain of custody sheet for this purpose.

Direct Recording All supervisor cards, encoders, voter access cards, memory          Ga. Comp. R. &              Category 3
Electronic       cards, DRE unit keys, and other equipment assigned to               Regs. 183-1-12-
Voting           designated county election technicians shall be accounted for on .02(2)(g)(5)
Equipment        the night of a primary, election, or runoff and shall be returned
                 to storage. Each technician shall sign a receipt for all such items
                 issued to such technician and,
                 upon returning such items to the election superintendent's office
                 following the close of the polls, the technician shaII account for
                 all such items and shall certify that all such items have been
                 returned or shall describe any missing items and explain why
                 such items have not been returned. The Secretary of State
                 shall prepare and provide a chain of custody sheet for this
                 purpose.

Direct Recording The election superintendent shall notify the Secretary of                Ga. Comp. R. &         Category 3
Electronic       State of any instances of unaccounted for DRE units, optical             Regs. 183-1-12-
Voting           scanner devices, voter access cards, supervisor cards, memory            .02(2)(g)(6)
Equipment        cards, DRE unit keys, voting system software, and encoders at
                 the completion of certification by delivering such notification to
                 the Secretary of State when the certified election results are
                 delivered to the Secretary of State.

Direct Recording After placing the memory card (PCMCIA card) in the DRE                   Ga. Comp. R. &         Category 3
Electronic       unit, the DRE unit shall have such internal diagnostic tests             Regs. 183-1-12-
Voting           performed as shall be directed by the Secretary of State or the          .02(3)(b)(l)(ii)
Equipment        election superintendent.

Direct Recording The poll officers shall affix a card of instructions for voting          Ga. Comp. R. &         Category 1
Electronic       within each voting booth and shall place at least two printed            Regs. 183-1-12-        Category2
                 sample ballots and at least two voting; instructions posters             .02(3)(d)(7)           Category 3

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Voting              approved or provided by the Secretary of State outside the
Equipment           enclosed space at the polling place for the information of the
                    voters. Prior to voters entering the enclosed space, the poll
                    officers may also distribute to such voters a card of
                    instructions for voting on the DRE unit that has been
                    approved or provided by the Secretary of State.

Direct Recording In the case of primaries, elections, and runoffs for county, state,     Ga. Comp. R. &        Category 3
Electronic       and federal office, the county election superintendent shall            Regs. 183-1-12-
Voting           transmit to the Secretary of State the election returns by              .02(5)(c)(9)
Equipment        precinct for the county in electronic format or by electronic
                 means, as may be specified by the Secretary of State, within
                 seven days following a primary, election, or runoff.

Direct Recording Electronic Transmission of Precinct Results to Central Office.          Ga. Comp. R. &        Category 3
Electronic       The election superintendent shall transmit to the Secretary of          Regs. 183-1-12-
Voting           State unofficial election results for all races for state offices in    .02(5)(d)
Equipment        any primary, election, or runoff as soon as possible after the
                 closing of the polls for such primary, election, or runoff. Such
                 results shall be transmitted in a format prescribed by the
                 Secretary of State. At a minimum, the results shall be
                 transmitted upon one third of the precincts reporting results,
                 upon two thirds of the precincts reporting results, and upon all
                 precincts reporting results, including absentee ballots within all
                 precincts. Except upon notice to and consultation with the
                 Secretary of State, no election superintendent shall conclude the
                 tabulation of votes on election night in any primary, election, or
                 runoff in which there are contested races for federal and state
                 offices until and unless all such unofficial results, including
                 absentee ballots, have been transmitted to the Secretary of
                 State.

Direct Recording In the event of any malfunction or problem with DRE units,              Ga. Comp. R. &        Category 3
Electronic       the county election superintendent shall document the                   Regs. 183-1-12-
Voting           problem and its resolution and shall provide such                       .02(8)(b)
Equipment        information to the Secretary of State. The documentation


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                   shall include a detailed description of the malfunction or
                   problem, the steps taken to correct the malfunction or
                   problem, and the cause of such malfunction or problem if a
                   cause can be determined.

Direct Recording   Use of Equipment by Municipalities. The county election              Ga. Comp. R. &        Category3
Electronic         superintendent is authorized to permit any municipality within       Regs. 183-1-12-
Voting             the county to conduct its election with the DRE equipment            .02(9)
Equipment          through a written intergovernmental agreement between the
                   county and the municipality; provided that the municipality
                   agrees to maintain and operate the equipment in accordance
                   with law, these rules and regulations, and the manufacturer's
                   guidelines and specifications and provided further that the
                   municipality trains all of its election personnel and poll workers
                   in the proper operation and conduct of elections utilizing such
                   equipment through a training program conducted by or
                   approved by the Secretary of State.

Direct Recording   The registrars of each county shall complete the entry of new        Ga. Comp. R. &        Category 3
Electronic         and updated voter registrations on a timely basis as required        Regs. 183-1-12-
Voting             by the Secretary of State and shall notify the Secretary of          .07(4)
Equipment          State upon the completion of all such data entry after a
                   registration deadline.

Direct Recording Prior to each primary or election as specified by the Secretary        Ga. Comp. R. &        Category 3
Electronic       of State, the county election superintendent shall provide to          Regs. 183-1-12-
Voting           the Secretary of State or his or her designee a final copy of          .07(5)
Equipment        the GEMS database for the county.

Direct Recording   The county election superintendent and the registrars shall          Ga. Comp. R. &        Category 3
Electronic         notify the Secretary of State or his or her designee of any          Regs. 183-1-12-
Voting             changes to the voter registration file for the county or the         .07(6)
Equipment          GEMS database that occur after the process for creating
                   ExpressPoll flash cards begins.




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Direct Recording   Upon the conclusion of each primary, election, or runoff, the         Ga. Comp. R. &        Category 3
Electronic         poll officers shall return the ExpressPoll units with the other       Regs. 183-1-12-
Voting             election materials from the precinct to the election                  .07(9)
Equipment          superintendent. The registrars and election superintendent
                   shall coordinate the return of the flash cards from the
                   ExpressPoll units to the Secretary of State such that the cards
                   are returned in the same time period as the official election
                   returns.

Use of DRE         On the first day of the absentee voting period, prior to any votes    Ga. Comp. R. &        Category I
Units for          being cast on the DRE units, the registrars shall verify that the     Regs. 183-1-14-       Category2
Absentee           seal for each DRE unit is intact and that there is no evidence or     .02(6)                Category 3
Balloting          indication of any tampering with the seal or the unit. The
                   registrars shall verify that the number of the seal matches the
                   number of the seal recorded for that unit
                   when such unit was prepared by the election superintendent for
                   the primary, election, or runoff. If a seal number does not match
                   or ifthere is any evidence or indication of tampering with the
                   seal or unit, the Secretary of State and the election
                   superintendent shall be immediately notified and such unit
                   shall not be used until such matters are resolved by
                   agreement of the Secretary of State, the election
                   superintendent, and the registrars. The set up shall be
                   performed in public and the public may view the set up subject
                   to such reasonable rules and regulations as the registrars may
                   deem appropriate to protect the security of the DRE units and to
                   prevent interference with the duties of the registrars, except that
                   the public view shall not be obstructed. The registrars shall run
                   a zero tape on each DRE unit prior to the beginning of absentee
                   voting on such units. The registrars shall, without removing the
                   tape from the unit, verify that all vote registers shown on the
                   zero tape are set to zero and that there are no votes showing on
                   the unit and shall sign the tape in the space provided. If the zero
                   tape does not show that all vote registers are set to zero and that
                   there are votes on the unit, the election superintendent shall be
                   immediately notified and such unit shall not be used until the
                   unit is cleared and the matter is resolved by agreement of the
                   election superintendent and the registrars. After verifying and
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            signing the zero tape, the registrars shall securely lock the tape
            compartment leaving the zero tape in place on the unit and shall
            configure the unit for voting. The registrars shall verify that the
            election counter on each DRE unit is set at zero. If the election
            counter is not set to zero, the election superintendent shall be
            immediately notified and such unit shall not be used until the
            election counter is set to zero and the matter is resolved by
            agreement of the election superintendent and the registrars. The
            registrars shall verify that there is no unauthorized matter
            affixed to the DRE units or present in the cases or voting
            booths. The registrars shall affix a card of instructions for
            voting within each voting booth. Prior to voters entering the
            voting booth, the registrars may also distribute to such
            voters a card of instructions for voting on the DRE unit that
            has been approved or provided by the Secretary of State.
            Each DRE unit shall be clearly marked with a unique
            designation that is visible on the exterior of the unit.

UseofDRE    At the close of business each day during the absentee voting        Ga. Comp. R. &        Category3
Units for   period, the registrars shall document the election counter          Regs. 183-1-14-
Absentee    number on the daily recap sheet. Each DRE unit used for in-         .02(8)
Balloting   person absentee voting shall then be turned off and closed. The
            memory card (PCMCIA card) shall remain in the unit at all
            times during the absentee balloting period until the polls
            close on the day of the primary, election, or runoff. Each DRE
            unit shall then be sealed and the seal number and the time of
            sealing shall be recorded on the daily recap sheet. Each DRE
            unit shall then be secured overnight. In addition, all voter access
            cards shall be securely stored overnight and when not in use. If
            a DRE unit is used to program voter access cards, the registrars
            shall make a notation of the election counter number on the
            daily recap sheet. If such number is not zero, the registrars
            shall notify the Secretary of State immediately and shall
            ascertain the reason for the discrepancy and shall make a
            notation of such discrepancy and the reason for it on the
            daily recap sheet. Such DRE unit shall not be used for
            creation of voter access cards unless and until the unit is
            fully tested and reconfigured and the election counter reset
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            at zero pursuant to procedures established by the Secretary
            of State. The DRE unit shall be turned off and secured for the
            night.

UseofDRE    Each morning during the absentee balloting period, the            Ga. Comp. R. &        Category 3
Units for   registrars shall publicly verify the seal numbers on each DRE     Regs. 183-1-14-
Absentee    unit to be used for absentee voting with the number of the seal   .02(9)
Balloting   recorded on the daily recap sheet from the previous day of
            absentee voting and shall verify that the seal and DRE unit do
            not show any signs of tampering. If the seal number
            corresponds to the entry on the daily recap sheet and there is no
            evidence of tampering, the DRE unit shall be opened and turned
            on. If the numbers do not match or there is evidence of
            tampering, the Secretary of State shall be notified
            immediately and the unit shall not be used until such
            discrepancy is resolved to the satisfaction of the Secretary of
            State, the election superintendent, and the registrars. After
            opening and turning on the unit, the registrars shall verify the
            election counter number with the number recorded on the daily
            recap sheet from the previous day of absentee voting. If the
            numbers do not match, the Secretary of State shall be
            immediately notified and the unit shall not be used until
            such discrepancy is resolved to the satisfaction of the
            Secretary of State, the election superintendent, and the
            registrars. The election counter number shall then be entered
            onto the daily recap sheet for that day. If a DRE unit is to be
            used for programming voter access cards, the registrars shall
            open and tum on the power for such unit. The registrars shall
            then verify that the election counter is set on zero. If the
            election counter is not set at zero, the Secretary of State
            shall be immediately notified and the unit shall not be used
            until such discrepancy is resolved to the satisfaction of the
            Secretary of State, the election superintendent, and the
            registrars. A notation shall be made on the daily recap sheet of
            the election counter number and the unit shall be configured to
            create voter access cards.


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Reporting         The registrars of each county shall on the 32nd day prior to         Ga. Comp. R. &        Category 3
Requirements      each statewide general primary and general election submit           Regs. 183-1-14-
for Absentee      to the Secretary of State on a form provided by the                  .04(1)
Ballots           Secretary of State information concerning absentee ballots
                  requested by electors who are entitled to vote by absentee
                  ballot under the federal Uniformed and Overseas Citizens
                  Absentee Voting Act, 42 U.S.C. § 1973ff, et seq., as
                  amended. Such report shall include the number of absentee
                  ballots requested by each such category of absentee voter, the
                  date on which the absentee ballots were available in the
                  registrars' office, and the date on which the ballots requested by
                  such voters were sent to the voters. The Secretary of State
                  may request further information related to the application
                  for and the transmittal of such ballots.

State Write-In    The Secretary of State shall design a state write-in absentee        Ga. Comp. R. &        Category 1
Absentee Ballot   ballot for use in runoff primaries and runoff elections by an        Regs. 183-1-14-       Category2
                  elector of this state who resides outside the county or the          .05(a)                Category 3
                  municipality in which the election is being conducted and is:
                  (1) a member of the armed forces of the United States, a
                  member of the merchant marine of the United States, a member
                  of the commissioned corps of the Public Health Service or the
                  National Oceanic and Atmospheric Administration, or a spouse
                  or dependent of such member residing with or accompanying
                  said member; or (2) A citizen of the United States
                  residing outside the United States.

State Write-In    The Secretary of State shall prepare and print instructions          Ga. Comp. R. &        Category 1
Absentee Ballot   for completing and returning such ballot that shall also be          Regs. 183-1-14-       Category2
                  enclosed with such ballot. The state write-in absentee ballot,       .05(d)                Category 3
                  the envelopes for returning it, and the instructions shall be
                  enclosed with the regular absentee ballot, envelopes, and
                  instructions for completing and returning the regular absentee
                  ballot.




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State Write-In      Additionally, the Secretary of State and the county                    Ga. Comp. R. &        Category 1
Absentee Ballot     registrars shall provide for the transmission of such blank            Regs. 183-1-14-       Category 2
                    ballots by facsimile transmission and electronic mail                  .05(e)                Category 3
                    transmission to electors. Instructions for voting such
                    ballots shall be included on the website and shall accompany
                    any facsimile and electronic mail ballot transmissions. Voted
                    ballots shall not be returned by facsimile or electronic mail.

State Write-In      As soon as practicable after a general primary or general              Ga. Comp. R. &        Category 1
Absentee Ballot     election, the Secretary of State shall cause to be published           Regs. 183-1-14-       Category2
                    on the official website of the Secretary of State a list of all        .05(f)                Category 3
                    federal offices and state offices in which there will be a
                    runoff primary or runoff election, as the case may be, along
                    with the names of the candidates who will be on the ballot in
                    such runoff.

State Write-In      If an elector obtains the ballot by facsimile or by downloading        Ga. Comp. R. &        Category 1
Absentee Ballot     from electronic mail or the Secretary of State1s website, the          Regs. 183-1-14-       Category2
                    elector shall return the ballot by mail using two envelopes. The       .05(g)                Category 3
                    elector shall enclose and seal the ballot in a plain envelope and
                    insert that envelope into another envelope for transmission to
                    the registrars. The elector shall copy and
                    sign the appropriate oath onto the back of the outer envelope.
                    The Secretary of State shall provide a sample envelope and
                    oath form on the Secretary of State's website in such a
                    manner that such form may be used by an elector to print
                    out the forms for the purpose of pasting or attaching such
                    forms to an envelope for returning the ballot or for printing
                    an envelope for returning the ballot.

Secretary of        The Secretary of State is designated as the chief state                O.C.G.A. § 21-2-      Category 1
State designated    election official to coordinate the responsibilities of this state     210                   Category 2
chief state         under the National Voter Registration Act of 1993 (P.L. 103-                                 Category 3
election official   31) as required by 42 U.S.C. Section 1973gg-8.

Official list of    The Secretary of State shall establish and maintain a list of          O.C.G.A. § 21-2-      Category 1
electors;           all eligible and Qualified registered electors in this state           2ll(a)                Category 2

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equipment to       which shall be the official list of electors for use in all                               Category3
access list        elections in this state conducted under this title.

Official list of   The Secretary of State is authorized to procure and provide            O.C.G.A. § 21-2-   Category 3
electors;          all of the necessary equipment to permit the county boards             21 l(b)(2)
equipment to       of registrars to access and utilize the official list of electors
access list        maintained by the Secretary of State pursuant to this Code
                   section, provided that funds are specifically appropriated by the
                   General Assembly for that purpose.

Voter              The Secretary of State shall establish procedures to match             O.C.G.A. § 21-2-   Category2
registration       an applicant's voter registration information to the                   216(g)(7)          Category3
                   information contained in the data base maintained by the
                   Department of Driver Services for the verification of the
                   accuracy of the information provided on the application for
                   voter registration, including whether the applicant has
                   provided satisfactory evidence of United States citizenship.

Voter              Prior to approving the application of a person to register to vote, O.C.G.A. § 21-2-      Category 3
registration       the registrars may check the data bases of persons convicted 216(h)
                   of felonies and deceased persons maintained by the
                   Secretary of State.

Change of          Any person, who is registered to vote in another state and who         O.C.G.A. § 21-2-   Category 2
residence of       moves such person's residence from that state to this state, shall,    218(a)             Category3
elector            at the time of making application to register to vote in this state,
                   provide such information as specified by the Secretary of
                   State in order to notify such person's former voting
                   jurisdiction of the person's application to register to vote in
                   this state and to cancel such person's registration in the
                   former place of residence.

Change of          Any person, who is registered to vote in another county or             O.C.G.A. § 21-2-   Category2
residence of       municipality in this state and who moves such person 1s                218(b)             Category 3
elector            residence from that county or municipality to another county or
                   municipality in this state, shall, at the time of making


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               application to register to vote in that county or municipality,
               provide such information as specified by the Secretary of
               State in order to notify such person's former voting
               jurisdiction of the person's application to register to vote in
               the new place of residence and to cancel such person's
               registration in the former place of residence.

Change of      In the event that an elector moves to a residence within the        O.C.G.A. § 21-2-    Category2
residence of   county or municipality but into a different precinct or who         218(d)              Category 3
elector        moves to a residence in the same precinct but at a different
               address and fails to notify the board of registrars of such fact by
               the fifth Monday prior to an election or primary such elector
               shall vote in the precinct of such elector's fonner
               residence for such election or primary and for any runoffs
               resulting therefrom. The superintendent of an election shall
               make available at each polling place forms furnished by the
               Secretary of State which shall be completed by each such
               elector to reflect such elector's present legal residence. Such
               fonns may also be used to notify the board of registrars of a
               change in an elector's name. The board of registrars shall
               thereafter place the elector in the proper precinct and voting
               districts and correct the list of electors accordingly. If the
               elector is placed in a precinct other than the one in which such
               elector has previously been voting. such elector shall be notified
               of the new polling place by first-class mail.

Change of      In the event that the registration records incorrectly indicate that O.C.G.A. § 21-2-   Category2
residence of   an elector has moved from an address within a precinct, the          218(g)             Category 3
elector        elector may vote in the precinct upon affirming in writing
               on a form prescribed by the Secretary of State that the
               elector still resides in the precinct at the address previously
               provided to the board of registrars. The registrars shall
               correct the elector's registration record to reflect the correct
               address.




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Registration         The registration cards for use by persons in making application        O.C.G.A. § 21-2-   Category 2
cards; absentee      to register to vote shall be in a form as specified by the             219(a)             Category 3
regulations          Secretary of State, which shall include printed forms, forms
                     made available through electronic means, or otherwise. Except
                     as provided in subsection (b) of this Code section and Code
                     Section 21-2-221.2, only registration cards issued
                     or authorized for use by the Secretary of State or the national
                     voter registration card promulgated under the provisions of the
                     National Voter Registration Act of 1993, 42 U.S.C. Section
                     1973 gg-7, shall be accepted for purposes of voter registration.

Registration         The office of the Secretary of State is designated as the              O.C.G.A. § 21-2-   Category2
cards; absentee      office, under the federal Help America Vote Act, to be                 219(£)             Category 3
regulations          responsible for providing information on registration and
                     absentee ballot procedures for use by absent uniformed
                     services and overseas voters, including the use of the federal
                     write-in absentee ballot.

Registration         The Secretary of State shall within 90 days after a general            O.C.G.A. § 21-2-   Category 3
cards; absentee      election in which federal candidates were on the ballot report         219(h)
regulations          to the federal Election Assistance Commission, on such form
                     as may be prescribed by such commission, the combined
                     number of absentee ballots transmitted to absent uniformed
                     services and overseas voters in such election and the
                     combined number of such ballots that were returned by
                     such voters and cast in such election.

Application for      The commissioner of driver services and the Secretary of State         O.C.G.A. § 21-2-   Category 3
driver's license;    shall agree upon and design such procedures and forms as               221(b)
service as           will be necessary to comply with this Code section.
application for
voter registration

Application for      The Department of Driver Services shall transmit the completed         O.C.G.A. § 21-2-    Category 3
driver's license;    applications for voter registration to the Secretary of State at the   221(e)
service as           conclusion of each business day. The Secretary of State shall
                     forward the applications to the appropriate county board of

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application for      registrars to determine the eligibility of the applicant and, if
voter registration   found eligible, to add the applicant's name to the list of
                     electors and to place the applicant in the correct precinct
                     and voting districts.

Application for      The Department of Driver Services shall maintain such                  O.C.G.A. § 21-2-       Category 3
driver's license;    statistical records on the number of registrations and                 22l(t)
service as           declinations as requested by the Secretary of State.
application for
voter registration

Application for      The Secretary of State and the commissioner of driver                  O.C.G.A. § 21-2-       Category 3
driver's license;    services shall have the authority to promulgate rules and              221(h)
service as           regulations to provide for the transmission of voter
application for      registration applications and signatures electronically. Such
voter registration   electronically transmitted signatures shall be valid as signatures
                     on the voter registration application and shall be treated in all
                     respects as a manually written original signature and shall be
                     recognized as such in any matter concerning the voter
                     registration application.

Applications for     The Board of Natural Resources and the Secretary of State              O.C.G.A. § 21-2-       Category3
resident hunting,    shall agree upon and design such procedures and forms as               221.l(b)
fishing, or          will be necessary to comply with this Code section, including
trapping license;    without limitation procedures applicable to processing of
service as           applications received by persons approved as license agents for
application for      the Department of Natural Resources pursuant to
voter registration   Code Section 27-2-2.

Applications for     The Department of Natural Resources shall transmit the                 O.C.G.A. § 21-2-       Category 3
resident hunting,    completed applications for voter registration to the Secretary of      221. l(t)
fishing, or          State at the conclusion of each business day. The Secretary of
trapping license;    State shall forward the applications to the appropriate
service as           county board of registrars to determine the eligibility of the
application for      applicant and, if found eligible, to add the applicant's name
voter registration   to the list of electors and to place the applicant in the
                     correct precinct and votin2 districts.

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Applications for     The Department of Natural Resources shall maintain such               O.C.G.A. § 21-2-       Category 3
resident hunting,    statistical records on the number ofregistrations and                 221.l(g)
fishing, or          declinations as requested by the Secretary of State.
trapping license;
service as
application for
voter registration

Applications for     The Secretary of State and the Board of Natural Resources             O.C.G.A. § 21-2-       Category 3
resident hunting,    shall have the authority to promulgate rules and regulations          221.l(i)
fishing, or          to provide for the transmission of voter registration
trapping license;    applications and signatures electronically. Such
service as           electronically transmitted signatures shall be valid as signatures
application for      on the voter registration application and shall be treated in all
voter registration   respects as a manually written original signature and shall be
                     recognized as such in any matter concerning the voter
                     registration application.

Electronic voter     A person who is qualified to register to vote in this state and       O.C.G.A. § 21-2-       Category2
registration         who has a valid Georgia driver's license or identification card       221.2(a)               Category3
                     may submit a voter registration application on the Internet
                     website of the Secretary of State. The Secretary of State shall,
                     in conjunction with the Department of Driver Services,
                     design and implement a system to allow for such electronic
                     voter registration.

Electronic voter     Upon the submission of an application through the website             O.C.G.A. § 21-2-       Category3
registration         pursuant to this Code section, the software used by the               221.2(c)
                     Secretary of State for processing applications through the
                     website shall provide for immediate verification of all of the
                     following:

                     (1) That the applicant has a valid Georgia driver's license or
                     identification card and that the number for that driver's license
                     or identification card provided by the aoolicant matches the


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                   number for the applicant's driver's license or identification card
                   that is on file with the Department of Driver Services;

                   (2) That the date of birth provided by the applicant matches the
                   date of birth that is on file with the Department of Driver
                   Services; and

                   (3) That the applicant is a citizen of the State of Georgia and of
                   the United States and that the information provided by the
                   applicant matches the information on file with the Department
                   of Driver Services.

                   If any of these items do not match or if the application is
                   incomplete, the application shall be void and shall be rejected
                   and the applicant shall be notified of such rejection either
                   electronically or by mail within five days after such application
                   is rejected.

Electronic voter   If all of the items enumerated in subsection (c) of this Code    O.C.G.A. § 21-2-         Category 3
registration       section are verified, the Secretary of State shall obtain an     221.2(d)
                   electronic copy of the applicant's signature from the
                   applicant's driver's license or identification card on file with
                   the Department of Driver Services. The application shall then
                   be processed in the same manner as applications under Code
                   Section 21-2-221. Except as otherwise provided by this Code
                   section, the application shall be deemed to have been made as
                   of the date that the information was provided by the applicant
                   through the Internet website.

Electronic voter   The Secretary of State shall employ security measures to               O.C.G.A. § 21-2-   Category 3
registration       ensure the accuracy and integrity of voter registration                221.2(f)
                   applications submitted electronically pursuant to this Code
                   section.

Offices            In addition to the offices listed in subsection (b) of this Code       O.C.G.A. § 21-2-   Category2
designated as      section, the Secretary of State shall designate other offices          222(c)             Category 3
                   within the state as desie;nated voter ree:istration offices.

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voter registration
agencies

Offices              Each office shall transmit the completed voter registration            O.C.G.A. § 21-2-       Category3
designated as        application forms to the Secretary of State at least once per          222(i)
voter registration   week, except that, during the 15 days leading up to a
agencies             registration deadline for a primary or election, such applications
                     shall be transmitted to the Secretary of State at the conclusion
                     of each business day. The Secretary of State shall forward
                     the applications to the appropriate county board of
                     registrars to determine the eligibility of the applicant and, if
                     found eligible, to add the applicant's name to the list of
                     electors and to place the applicant in the correct precinct
                     and voting districts.

Offices              Each office shall maintain such statistical records on the             O.C.G.A. § 21-2-       Category3
designated as        number of registrations and declinations as requested by the           222G)
voter registration   Secretary of State.
agencies

Offices              The Secretary of State shall have the authority to                     O.C.G.A. § 21-2-       Category3
designated as        promulgate rules and regulations to provide for the                    222(1)
voter registration   transmission of voter registration applications and
agencies             signatures electronically from public assistance offices,
                     offices which provide state funded programs primarily
                     engaged in providing services to persons with disabilities,
                     and recruitment offices of the armed forces of the United
                     States located within this state. Such electronically
                     transmitted signatures shall be valid as signatures on the voter
                     registration application and shall be treated in all respects as a
                     manually written original signature and shall be recognized as
                     such in any matter concerning the voter registration application.

Mail voter           The Secretary of State shall design, publish, and distribute           O.C.G.A. § 21-2-       Category 1
registration         voter registration application forms with which a person               223(a)                 Category2
application          may apply to register to vote by completing and mailing the                                   Category3
forms                form to the Secretary of State or to the board of re2istrars

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                    of the person's county of residence. The Secretary of State
                    shall forward the applications that he or she receives to the
                    appropriate county board of registrars to determine the
                    eligibility of the applicant and, if found eligible, to add the
                    applicant's name to the list of electors and to place the applicant
                    in the correct precinct and voting districts.

Mail voter          The county boards of registrars shall obtain and maintain a             O.C.G.A. § 21-2-   Category 1
registration        supply of mail voter registration application forms for                 223(b)             Category2
application         distribution and for voter registration. In addition, each state,                          Category 3
forms               county, and municipal office, except an office which is a
                    designated voter registration office under Code Section 21-2-
                    222, which has regular contact with the public shall obtain a
                    supply of mail voter registration application forms from the
                    Secretary of State and make such applications available for
                    use by citizens to register to vote.

What data [sic]     It shall be the duty of the Secretary of State to furnish               O.C.G.A. § 21-2-   Category 1
available for       copies of such data as may be collected and maintained on               225(c)             Category2
public inspection   electors whose names appear on the list of electors                                        Category3
                    maintained by the Secretary of State pursuant to this
                    article, within the limitations provided in this article, on
                    electronic media or computer run list or both.
                    Notwithstanding any other provision oflaw to the contrary, the
                    Secretary of State shall establish the cost to be charged for such
                    data. The Secretary of State may contract with private vendors
                    to make such data available in accordance with this subsection.
                    Such data may not be used by any person for commercial
                    purposes.

Confidentiality     The Secretary of State shall provide by procedure, rule, or             O.C.G.A. § 21-2-   Category 1
of voter            regulation for the mechanism by which such information                  225.l(d)           Category2
addresses           shall be made confidential on the voter registration data                                  Category 3
                    base and may provide for forms for use in making such
                    requests and for the use of alternate addresses for electors
                    who file requests for the confidentiality of their residence
                    addresses.

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Duties of             Each elector found eligible to be registered to vote by the board     O.C.G.A. § 21-2-   Category2
registrars as to      of registrars shall be issued a card which shall contain the          226(e)             Category 3
determination of      elector's name and address, a block or space for the elector's
eligibility to vote   signature, the date of the elector's registration, the name and
and placement in      location of the elector's polling place or polling places if the
voting district       county and municipal polling places are not the same,
and precinct;         and the designation of the elector's congressional district; state
issuance of cards     Senate district; state House district; county commission district,
to electors           if any; county or independent board of education district, if any;
                      and municipal governing authority district, if any, and such
                      other voting districts, if any. On the reverse side of the card,
                      there shall be printed instructions which shall indicate the
                      procedure to be followed in the event of the change of address
                      of the elector. In the event an elector changes residences within
                      the county in which an elector is registered to vote, the elector
                      may change such elector's address by returning the card to the
                      board of registrars of such county indicating the new address.
                      Upon receipt of such card, the board of registrars shall make the
                      necessary changes in the elector's registration records and issue
                      a new card to the elector. In the event that an elector's precinct,
                      polling place, or voting district or districts change, a new card
                      shall be issued to the elector reflecting such changes. When the
                      boundaries of a precinct are changed, all affected electors shall
                      be sent a new card prior to the next primary or election. The
                      form of such cards shall be determined by the Secretary of
                      State. The issuance of such cards shall be sufficient as a
                      notification of the disposition of an application for voter
                      registration under this Code section, provided that such cards
                      are sent by nonforwardable, first~class mail.

Duties of           In the event that the registrars are required to issue voters new       O.C.G.A. § 21-2-   Category 3
registrars as to    cards under subsection (e) of this Code section due to changes          226(±)
determination of in districts or precincts as a result of reapportionment or court
eligibility to vote order, the registrars may apply to the Secretary of State prior to
and placement in June 30 of each year for reimbursement of the costs of postage
voting district     with respect to mailing such cards

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and precinct;       during the 12 month period ending on June 30 of that year. The
issuance of cards   Secretary of State shall receive all such applications and
to electors         shall, no later than June 30 of each year, reimburse the
                    counties for such costs from funds specifically appropriated
                    for that purpose. In the event that the total amount of the
                    requests for reimbursement exceeds the funds appropriated
                    for reimbursement, the Secretary of State shall reimburse
                    the counties on a pro rata basis. In the event that no funds
                    are specifically appropriated for reimbursement, no such
                    reimbursement shall be made.

Monthly             Unless otherwise notified by the Secretary of State, the       O.C.G.A. § 21-2-              Category 3
transmittal of      Georgia Crime Information Center shall, on or before the       231(a)
information to      tenth day of each month, prepare and transmit to the
Secretary of        Secretary of State and The Council of Superior Court Clerks
State and The       of Georgia a complete list of all persons, including dates of
Council of          birth, social security numbers, and other information as
Superior Court      prescribed by the Secretary of State or The Council of
Clerks of           Superior Court Clerks of Georgia, who were convicted of a
Georgia;            felony in this state since the preceding reporting period. The
removal of          Secretary of State or The Council of Superior Court Clerks
persons from list   of Georgia may, by agreement with the commissioner of
of electors         corrections and the commissioner of community
                    supervision, obtain criminal information relating to the
                    conviction, sentencing, and completion of sentencing
                    requirements of felonies. Additionally, the Secretary of State
                    and The Council of Superior Court Clerks of Georgia shall be
                    authorized to obtain such criminal information relating to
                    Georgia electors convicted of a felony in another state, if
                    such information is available.

Monthly             The clerk of the superior court of each county shall, on or           O.C.G.A. § 21-2-       Category 3
transmittal of      before the tenth day of each month, prepare and transmit to the       231(a.1)
information to      Secretary of State, in a format prescribed by the Secretary of
Secretary of        State, a complete list of all persons, including addresses, ages,
State and The       and other identifying information as prescribed by the
                    Secretary of State, who identify themselves as not being

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Council of          citizens of the United States during their qualification to serve
Superior Court      as a juror during the preceding calendar month in that county.
Clerks of
Georgia;
removal of
persons from list
of electors

Monthly             The judge of the probate court of each county shall, on or            O.C.G.A. § 21-2-   Category3
transmittal of      before the tenth day of each month, prepare and transmit to the       231(b)
information to      Secretary of State, in a format prescribed by the Secretary of
Secretary of        State, a complete list of all persons, including addresses, ages,
State and The       and other identifying information as prescribed by the
Council of          Secretary of State, who were declared mentally incompetent
Superior Court      during the preceding calendar month in the county and whose
Clerks of           voting rights were removed.
Georgia;
removal of
persons from list
of electors

Monthly             (1) Upon receipt of the lists described in subsections (a.I) and      O.C.G.A. § 21-2-   Category3
transmittal of      (b) of this Code, the Secretary of State shall transmit the           23 l(c)
information to      names of such persons whose names appear on the list of
Secretary of        electors to the appropriate county board of registrars who
State and The       shall remove all such names from the list of electors and
Council of          shall mail a notice of such action and the reason therefor to
Superior Court      the last known address of such persons by first-class mail.
Clerks of           (2) Upon receipt of the list described in subsection (a) of
Georgia;            this Code section and the lists of persons convicted of
removal of          felonies in federal courts received pursuant to 52 U.S.C.
persons from list   Section 20507(g), the Secretary of State shall transmit
of electors
                    the names of such persons whose names appear on the
                    lists of electors to the appropriate county board of
                    registrars who shall mail a notice to the last known
                    address of each such person by first-class mail, stating
                    that the board of ree;istrars has received information
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                    that such person has been convicted of a felony and will
                    be removed from the list of electors 30 days after the
                    date of the notice unless such person requests a hearing
                    before the board of registrars on such removal.

Monthly             Unless otherwise notified by the Secretary of State, the local          O.C.G.A. § 21-2-   Category 3
transmittal of      registrar of vital statistics of each county shall, on or before        23l(d)
information to      the tenth day of each month, prepare and transmit to the
Secretary of        Secretary of State, in a format prescribed by the Secretary
State and The       of State, a complete list of all persons, including addresses,
Council of          ages, and other identifying information as prescribed by the
Superior Court      Secretary of State, who died during the preceding calendar
Clerks of           month in the county. The Secretary of State may, by
Georgia;            agreement with the commissioner of public health, obtain such
removal of          information from the state registrar of vital statistics.
persons from list   Additionally, the Secretary of State is authorized to obtain such
of electors         lists of deceased Georgia electors, if possible, from other states.

Monthly             Upon receipt of the lists described in subsection (d) of this           O.C.G.A. § 21-2-   Category 3
transmittal of      Code section, the Secretary of State or his or her designated           23l(e)
information to      agent shall remove all such names of deceased persons from
Secretary of        the list of electors and shall notify the registrar in the
State and The       county where the deceased person was domiciled at the time
Council of          of his or her death.
Superior Court
Clerks of
Georgia;
removal of
persons from list
of electors

Monthly             The Secretary of State shall provide to The Council of       O.C.G.A. § 21-2-              Category 3
transmittal of ·    Superior Court Clerks of Georgia not later than the last day 231(g)
information to      of each month all information enumerated in subsections (b)
Secretary of        through (d) of this Code section and Code Section 21-2-232
State and The       and a list of voters who have failed to vote and inactive
                    voters, as identified pursuant to Code Sections 21-2-234 and
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Council of          21-2-235. Such data shall only be used by the council, the
Superior Court      council's vendors, superior court clerks, and jury clerks for
Clerks of           maintenance of state-wide master jury lists and county master
Georgia;            jury lists. Such data shall be provided to the council or its
removal of          vendors in the electronic format required by the council for
persons from list   such purposes.
of electors

Removal of          (1) When an elector of this state moves to another state and O.C.G.A. § 21-2-        Category 3
elector's name      registers to vote and the registration officials in such state    232(b)
from list of        send a notice of cancellation reflecting the registration of
electors            the elector in the other state, which includes a copy.of such
upon request of     elector's voter registration application bearing the elector's
elector or upon
                    signature, the Secretary of State or the board of
removal of
elector from        registrars, as the case may be, shall remove such
county              elector's name from the list of electors. It shall not be
                    necessary to send a confirmation notice to the elector in
                    such circumstances.

                    (2) When an elector of this state moves to another state and
                    the registration officials in such other state or a
                    nongovernmental entity as described in subsection (d) of
                    Code Section 21-2-225 sends a notice of cancellation or
                    other infonnation indicating that the elector has moved to
                    such state but such notice or information does not include
                    a copy of such elector's voter registration application in
                    such other state bearing the elector's signature, the
                    Secretary of State or the board of registrars, as the case
                    may be, shall send a confirmation notice to the elector
                    as provided in Code Section 21-2-234.

Comparison of       The Secretary of State is authorized to cause at his or her       O.C.G.A. § 21-2-   Category 3
official list of    discretion the official list of electors to be compared to the    233(a)
electors with       change of address information supplied by the United States
information         Postal Service through its licensees periodically for the purpose
supplied            of identifying those electors whose addresses have changed.
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by United States
Postal Service;
procedure where
elector has
moved

Comparison of         If it appears from the change of address information supplied by O.C.G.A. § 21-2-   Category2
official list of      the licensees of the United States Postal Service that an elector    233(c)         Category 3
electors with         whose name appears on the official list of electors has moved to
information           a different address outside of the boundaries of the county or
supplied              municipality in which the elector is presently registered, such
by United States      elector shall be sent a confirmation notice
Postal Service;       as provided in Code Section 21-2-234 at the old address of the
procedure where       elector. The registrars may also send a confirmation notice to
elector has           the elector's new address. If the elector confinns the change of
moved                 address to an address outside of the State of Georgia, the
                      elector's name shall be removed from the appropriate list of
                      electors. If the elector confirms the change of address to an
                      address outside of the boundaries of the county or municipality
                      in which the elector is presently registered, but still within the
                      State of Georgia, the elector's registration shall be transferred to
                      the new county or municipality. The Secretary of State or the
                      registrars shall forward the confirmation card to the
                      registrars of the county in which the elector's new address is
                      located and the registrars of the county of the new address
                      shall update the voter registration list to reflect the change
                      of address. If the elector responds to the notice and affirms that
                      the elector has not moved, the elector shall
                      remain on the list of electors at the elector's current address. If
                      the elector fails to respond to the notice within 30 days after the
                      date of the notice, the elector shall be transferred to the inactive
                      list provided for in Code Section 21-2-235.

Identification of .   In the first six months of each odd-numbered year, the          O.C.G.A. § 21-2-    Category3
electors with         Secretary of State shall identify all electors whose names      234(a)(2)
whom there has        appear on the list of electors with whom there has been no
been no contact       contact durin2 the precedin2 five calendar years and who

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for three years;    were not identified as changing addresses under Code
confirmation        Section 21-2-233. The confirmation notice described in this
notice              Code section shall be sent to each such elector during each odd-
                    numbered year. Such notices shall be sent by forwardable, first-
                    class mail.
Identification of   If the elector returns the card and shows that he or she has         O.C.G.A. § 21-2-     Category2
electors with       changed residence to a place outside of the State of Georgia, the 234(d)                  Category 3
whom there has      elector's name shall be removed from the appropriate list of
been no contact     electors. If the elector confirms his or her change of address to
for three years;    an address outside of the boundaries of the county or
confirmation        municipality in which the elector is currently registered, but still
notice              within the State of Georgia, the elector's registration shall be
                    transferred to the new county or municipality. The Secretary of
                    State or the registrars shall forward the confirmation card
                    to the registrars of the county in which the elector's new
                    address is located, and the registrars of the county of the
                    new address shall update the voter registration list to reflect
                    the change of address.

Inactive list of    In addition to the official list of electors, the Secretary of         O.C.G.A. § 21-2-   Category 3
electors            State shall also maintain an inactive list of electors.                235(a)
                    Notwithstanding any other provision of law to the contrary, the
                    names of electors on the inactive list of electors shall not be
                    counted in computing the number of ballots required for an
                    election, the number of voting devices needed for
                    a precinct, the number of electors required to divide or
                    constitute a precinct, or the number of signatures needed on any
                    petition. However, any elector whose name appears on the
                    inactive list shall be eligible to sign a petition and such petition
                    signature, if valid and regardless of the validity of the petition
                    as a whole, shall be sufficient to return the elector
                    to the official list of electors if the elector still resides at the
                    address listed on the elector's registration records and shall be
                    grounds to proceed under Code Section 21-2-234 to confinn the
                    change of address of the elector if the elector provides a
                    different address from the address which appears on the
                    elector's registration records.

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SOS on the SEB      There is created a state board to be known as the State              O.C.G.A. § 21-2-       Category 3
                    Election Board, to be composed of the Secretary of State, an         30(a)
                    elector to be elected by a majority vote of the Senate of the
                    General Assembly at its regular session held in each odd-
                    numbered year, an elector to be elected by a majority vote of
                    the House of Representatives of the General Assembly at its
                    regular session held in each odd-numbered year, and a member
                    of each political party to be nominated and appointed in the
                    manner provided in this Code section. No person while a
                    member of the General Assembly shall serve as a member of
                    the board.

sos                 The Secretary of State shall be the chairperson of the board.        O.C.G.A. § 21-2-       Category3
Chairperson of      Three members of the board shall constitute a quorum, and no         30(d)
theSEB              vacancy on the board shall impair the right of the quorum to
                    exercise all the powers and perform all the duties of the board.
                    The board shall adopt a seal for its use and bylaws for its own
                    government and procedure.

Superintendents     The Secretary of State is authorized to prescribe by rule or         O.C.G.A. § 21-2-       Category 3
to Election         regulation the type of electronic format for the provision of        77(c)
returns to be       such election returns.
provided to
Secretary of
State in
electronic format

Instruction of      The election superintendent shall provide adequate training to       O.C.G.A. § 21-2-       Category 3
poll officers and   all poll officers and poll workers regarding the use of voting       99(a)
poll workers in     equipment, voting procedures, all aspects of state and federal
election            law applicable to conducting elections, and the poll officers' or
procedures;         poll workers• duties in connection therewith prior to each
certifications;     general primary and general election and each
unqualified poll    special primary and special election; provided, however, such
officers and poll   training shall not be required for a special election held between

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workers not to       the date of the general primary and the general election. Upon
serve                successful completion of such instruction, the superintendent
                     shall give to each poll officer and poll worker a certificate to the
                     effect that such person has been found
                     qualified to conduct such primary or election with the particular
                     type of voting equipment in use in that jurisdiction.
                     Additionally, the superintendent shall notify the Secretary
                     of State on forms to be provided by the Secretary of State of
                     the date when such instruction was held and the number of
                     persons attending and completing such instruction. For the
                     purpose of giving such instructions, the superintendent shall
                     call such meeting or meetings of poll officers and poll workers
                     as shall be necessary. Each poll officer shall, upon notice,
                     attend such meeting or meetings called for his or her
                     instruction.

Training of local    The election superintendent and at least one registrar of the    O.C.G.A. § 21-2-         Category3
election officials   county or, in counties with boards of election or combined       IO0(a)
                     boards of election and registration, at least one member of the
                     board or a designee of the board shall attend a minimum of 12
                     hours' training annually as may be selected by the Secretary
                     of State. The election superintendent and at least one registrar
                     of each municipality shall attend a minimum of 12 hours'
                     training biennially as may be selected by the Secretary of
                     State.

Training of local    A waiver of the requirement of minimum training, either in             O.C.G.A. § 21-2-   Category 3
election officials   whole or in part, may be granted by the Secretary of State,            lO0(c)
                     in the discretion of the Secretary of State, upon the
                     presentation of evidence by the election superintendent,
                     registrar, or board that the individual was unable to complete
                     such training due to medical disability, providential cause, or
                     other reason deemed sufficient by the Secretary of State.

Certification of     All county and municipal election superintendents, chief             O.C.G.A. § 21-2-     Category 3
local election       registrars, and absentee ballot clerks or, in the case of a board of lOl(a)
officials            elections or a board of elections and registration, the desiimee

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                   of such board charged with the daily operations of such board
                   shall become certified by completing a certification program
                   approved by the Secretary of State by no later than December
                   31 of the year in which they are appointed. Such program may
                   include instruction on, and may require the superintendent to
                   demonstrate proficiency in, the operation of the state1s direct
                   recording electronic voting equipment, the operation of the
                   voting equipment used in such superintendent's jurisdiction, and
                   in state and federal
                   law and procedures related to elections. The local government
                   employing the superintendent or designee shall cover the costs,
                   if any, incurred by such superintendent's or designee's
                   participation in the certification program. Such certification
                   programs shall be offered by the Secretary of State on
                   multiple occasions before December 31 of the year in which
                   such superintendents or designees are appointed and shall not
                   exceed 64 hours of classroom, online, and practical
                   instruction as authorized and approved by the Secretary of
                   State.

Certification of   A full, partial, or conditional waiver of the certification           O.C.G.A. § 21-2-   Category3
local election     requirement may be granted by the Secretary of State, in              IOI(c)(l)
officials          the discretion of the Secretary of State, upon the presentation
                   of evidence by the election superintendent or board that the
                   individual was unable to complete such training due to medical
                   disability, providential cause, or other reason deemed sufficient
                   by the Secretary of State.

Certification of   In the event that a municipality authorizes a county to conduct       O.C.G.A. § 21-2-   Category3
local election     its elections pursuant to Code Section 21-2-45, the                   101(c)(2)
officials          municipality may be granted by the Secretary of State, in
                   the discretion of the Secretary of State, a waiver of the
                   certification requirement, provided that the superintendent in
                   charge of running the municipal election shall have previously
                   completed a certification program approved by the Secretary of
                   State and has demonstrated a proficiency in the operation of the
                   voting equipment used in said municipality.

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Form of ballots;    (2) Ballots for direct recording electronic voting systems         O.C.G.A. § 21-2-       Category 3
printing ballots;   shall be designed as prescribed by the Secretary of State to       286(b)
stubs; numbers      ensure easy reading by electors.
                    (3) Ballots printed by an electronic ballot marker shall be
                    designed as prescribed by the Secretary of State to ensure
                    ease of readin2 by electors.
Uniform election    (1) The equipment used for casting and counting votes in           O.C.G.A. § 21-2-       Category3
equipment           county, state, and federal elections shall be the same in each     300(a)
throughout state;   county in this state and shall be provided to each county by
education of        the state, as determined by the Secretary of State.
voters, election
officials, and      (2) As soon as possible, once such equipment is certified by
poll officers in    the Secretary of State as safe and practicable for use, all
operation of        federal, state, and county general primaries and general
election            elections as well as special primaries and special elections
equipment           in the State of Georgia shall be conducted with the use of
                    scanning ballots marked by electronic ballot markers and
                    tabulated by using ballot scanners for voting at the polls
                    and for absentee ballots cast in person, unless otherwise
                    authorized by law; provided, however, that such electronic
                    ballot markers shall produce paper ballots which are
                    marked with the elector's choices in a format readable by
                    the elector.

                    (3) The state shall furnish a uniform system of
                    electronic ballot markers and ballot scanners for use in
                    each county as soon as possible ...

                    (4) Notwithstanding any provision oflaw to the contrary,
                    the Secretary of State is authorized to conduct pilot
                    programs to test and evaluate the use of electronic
                    ballot markers and ballot scanners in primaries and
                    elections in this state.
                                                      ~




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Uniform election    The Secretary of State shall be responsible for the           O.C.G.A. § 21-2-          Category 1
equipment           development, implementation, and provision of a continuing 300(d)                       Category2
throughout state;   program to educate voters, election officials, and poll                                 Category3
education of        workers in the proper use of such voting equipment. Each
voters, election    county shall bear the costs, including transportation,
officials, and      subsistence, and lodging, incurred by its election and
poll officers in    registration officials in attending courses taught by or
operation of        arranged by the Secretary of State for instruction in the use
election            of the voting equipment.
equipment

Uniform election    Counties shall be authorized to contract with municipal              O.C.G.A. § 21-2-   Category 3
equipment           governments for the use of such voting equipment in municipal        300(e)(l)
throughout state;   elections under terms and conditions specified by the
education of        Secretary of State to assure that the equipment is properly
voters, election    used and kept secure.
officials, and
poll officers in
operation of
election
equipment

Uniform election    Each county shall, prior to being provided with voting               O.C.G.A. § 21-2-   Category 3
equipment           equipment by the state, provide or contract for adequate             300(c)
throughout state;   technical support for the installation, set up, and operation of
education of        such voting equipment for each primary, election, and special
voters, election    primary and special election as the Secretary of State shall
officials, and      determine by rule or regulation.
poll officers in
operation of
election
equipment

Examination and     Any person or organization owning, manufacturing, or selling,        O.C.G.A. § 21-2-   Category 1
approval of         or being interested in the manufacture or sale of, any voting        324(a)             Category2
voting machines     machine may request the Secretary of State to examine the                               Category3
                    machine. Any ten or more electors of this state may, at any

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by Secretary of   time, request the Secretary of State to reexamine any voting
State             machine previously examined and approved by him or her.
                  Before any such examination or reexamination, the person,
                  persons, or organization requesting such examination or
                  reexamination shall pay to the Secretary of State the reasonable
                  expenses of such examination; provided, however, that in the
                  case of a request by ten or more electors the examination fee
                  shall be $250.00. The Secretary of State may, at any time, in
                  his or her discretion, reexamine any voting machine.

Examination and   The Secretary of State shall thereupon require such                  O.C.G.A. § 21-2-   Category 3
approval of       machine to be examined or reexamined by three examiners              324(b)
voting machines   whom he or she shall appoint for the purpose, of whom one
by Secretary of   shall be an expert in patent law and the other two shall be
State             experts in mechanics, and shall require of them a written report
                  on such machine, attested by their signatures; and the
                  Secretary of State shall examine the machine and shall
                  make and file, together with the reports of the appointed
                  examiners, his or her own report, attested by his or her
                  signature and the seal of his or her office, stating whether,
                  in his or her opinion and in consideration of the reports of
                  the examiners aforesaid, the kind of machine so examined
                  can be safely and accurately used by electors at primaries
                  and elections as provided in this chapter. If his or her report
                  states that the machine can be so used, the machine shall be
                  deemed approved; and machines of its kind may be adopted for
                  use at primaries and elections as provided in this chapter.

Examination and   No kind of voting machine not so approved shall be used at any       O.C.G.A. § 21-2-   Category3
approval of       primary or election and if, upon the reexamination of any            324(c)
voting machines   voting machine previously approved, it shall appear that the
by Secretary of   machine so reexamined can no longer be safely or accurately
State             used by electors at primaries or elections as provided in this
                  chapter because of any problem concerning its ability to
                  accurately record or tabulate votes, the approval of the same
                  shall immediately be revoked by the Secretary of State; and


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                  no such voting machine shall thereafter be purchased for use or
                  be used in this state.

Examination and   At least ten days prior to any primary or election, including        O.C.G.A. § 21-2-   Category 3
approval of       special primaries, special elections, and referendum elections,      324(d)
voting machines   the election superintendent shall verify and certify in
by Secretary of   writing to the Secretary of State that all voting will occur on
State             equipment certified by the Secretary of State.

Examination and   The compensation of each examiner appointed under this               O.C.G.A. § 21-2-   Category 3
approval of       Code section shall be fixed and paid by the Secretary of             324(h)
voting machines   State.
by Secretary of
State

Form of ballots   If the construction of the machine shall require it, the ballot      O.C.G.A. § 21-2-   Category3
on voting         label for each candidate, group of candidates, political party or    325(b)
machines          body, or question to be voted on shall bear the designating letter
                  or number of the counter on the voting machine which will
                  register or record votes therefor. Each question to be voted on
                  shall appear on the ballot labels in brief form.
                  Unless otherwise provided by law, proposed constitutional
                  amendments so submitted shall be in brief form as directed by
                  the General Assembly and, in the failure to so direct, the
                  form shall be determined by the Secretary of State. Unless
                  otherwise provided by law, any other state-wide questions or
                  questions to be presented to the electors of more than one
                  county so submitted shall be printed in brief form as directed by
                  the General Assembly and, in the event of a failure to so
                  direct, the form shall be determined by the Secretary of
                  State and shall include a short title or heading in bold face at
                  the beginning of each such question on the ballot and any local
                  questions so submitted shall be printed in brief form as directed
                  by the General Assembly and, in the event of a failure to so
                  direct, the form shall be determined by the superintendent. In
                  the case of questions to be voted on by the electors of a


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                   municipality, the governing authority shall determine the brief
                   form of the questions.

Preparation of     The superintendent shall appoint one custodian of voting             O.C.G.A. § 21-2-   Category 3
voting machines    machines and such deputy custodians as may be necessary,             327(b)
by                 whose duty it shall be to prepare the machines to be used at the
superintendents;   primaries and elections to be held therein. Each custodian and
duties of          deputy custodian shall receive from the municipality such
custodians and     compensation as shall be fixed by the governing authority of the
deputy             municipality. Such custodian shall, under the direction of the
custodians         superintendent, have charge of and represent the superintendent
                   during the preparation of the voting machines as required by
                   this chapter, and he or she and the deputy custodians, whose
                   duty it shall be to assist him or her in the discharge of his or her
                   duties, shall serve at the pleasure of the superintendent. Each
                   custodian shall take an oath of office framed by the
                   Secretary of State, which shall be filed with the
                   superintendent.

Preparation of     In every primary or election, the superintendent shall              O.C.G.A. § 21-2-    Category 3
voting machines    furnish, at the expense of the municipality, all ballot labels,     327(f)
by                 forms of certificates, and other papers and supplies which
superintendents;   are required under this chapter and which are not
duties of          furnished by the Secretary of State, all of which shall be in
custodians and     the form and according to the specifications prescribed
deputy             from time to time by the Secretary of State. In a municipal
custodians         primary, ballot labels and other materials necessary for the
                   preparation of the voting machines shall be furnished free of
                   charge to the municipal superintendent by the political party
                   conducting such primary.
Examination and    Any person or organization owning, manufacturing, or                O.C.G.A. § 21-2-    Category 3
approval of        selling, or being interested in the manufacture or sale of,         368(a)
optical scanning   any optical scanning voting system may request the
voting systems     Secretary of State to examine the optical scanning voting
by Secretary of    system. Any ten or more electors of this state may, at any time,
State              request the Secretary of State to reexamine any optical scanning


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                   voting system previously examined and approved by him or
                   her. Before any such examination or reexamination, the person,
                   persons, or organization requesting such examination or
                   reexamination shall pay to the Secretary of State the reasonable
                   expenses of such examination. The Secretary of State may, at
                   any time, in his or her discretion, reexamine any optical
                   scanning voting system.

Examination and    The Secretary of State shall thereupon examine or                    O.C.G.A. § 21-2-   Category3
approval of        reexamine such optical scanning voting system and shall              368(b)
optical scanning   make and file in his or her office a report, attested by his or
voting systems     her signature and the seal of his or her office, stating
by Secretary of    whether, in his or her opinion, the kind of optical scanning
State              voting system so examined can be safely and accurately
                   used by electors at primaries and elections as provided in this
                   chapter. If this report states that the optical scanning voting
                   system can be so used, the optical scanning voting system shall
                   be deemed approved; and optical scanning voting systems of its
                   kind may be adopted for use at primaries and elections as
                   provided in this chapter.

Examination and    No kind of optical scanning voting system not so approved shall O.C.G.A. § 21-2-        Category3
approval of        be used at any primary or election and if, upon the               368(c)
optical scanning   reexamination of any optical scanning voting system previously
voting systems     approved, it shall appear that the optical scanning voting system
by Secretary of    so reexamined can no longer be safely or accurately used by
State              electors at primaries or elections as provided in.this chapter
                   because of any problem concerning its ability to accurately
                   record or tabulate votes, the approval of the same shall
                   immediately be revoked by the Secretary of State; and no
                   such optical scanning voting system shall thereafter be
                   purchased for use or be used in this state.

Examination and    Any vendor who completes a sale of optical scanning voting           O.C.G.A. § 21-2-   Category 3
approval of        system that has not been certified by the Secretary of State         368(e)
optical scanning   to a governmental body in this state shall be subject to a
voting systems     penalty of $100,000.00, payable to the State of Geor~ia, plus

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by Secretary of      reimbursement of all costs and expenses incurred by the
State                governmental body in connection with the sale. The State
                     Election Board shall have authority to impose such penalty
                     upon a finding that such a sale has occurred.

Form and             The form and arrangement of ballots shall be prescribed by           O.C.G.A. § 21-2-   Category3
arrangement of       the Secretary of State and prepared by the superintendent            369(c)
ballots for
optical scanning
voting systems

Write-in ballots     In elections, electors shall be permitted to cast write-in votes. O.C.G.A. § 21-2-      Category2
                     The design of the ballot shall permit the superintendents, in     373                   Category3
                     counting the write-in votes, to determine readily whether an
                     elector has cast any write-in vote not authorized by law. The
                     Secretary of State, in specifying the form of the ballot, and
                     the State Election Board, in promulgating rules and
                     regulations respecting the conduct of elections, shall provide
                     for ballot secrecy in connection with write-in votes.

Form and             The form and arrangement of ballots shall be prescribed by           O.C.G.A. § 21-2-   Category3
arrangement of       the Secretary of State and prepared by the election                  379.4
ballots for voting   superintendent
systems; write-in
votes
Appearance,          The form and arrangement of ballots marked and printed               O.C.G.A. § 21-2-   Category 1
form, and            by an electronic ballot marker shall be prescribed by the            379.23(b)          Category 2
arrangement of       Secretary of State.                                                                     Category 3
ballots

Examination          (a) Any person or organization owning, manufacturing, or             O.C.G.A. § 21-2-   Category 1
requests; sale of    selling, or being interested in the manufacture or sale of, any      379.24(a)-(d)      Category2
unapproved           electronic ballot marker may request that the Secretary of State                        Category3
devices              examine the device. Any ten or more electors of this state
                     may, at any time, request that the Secretary of State
                     reexamine any such device previously examined and
                     approved by him or her. Before any such examination or
                     reexamination, the person, persons, or organization requesting
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                such examination or reexamination shall pay to the Secretary of
                State the reasonable expenses of such examination or
                reexamination. The Secretary of State shall publish and
                maintain on his or her website the cost of such examination
                or reexamination. The Secretary of State may, at any time,
                in his or her discretion, reexamine any such device.

                (b) The Secretary of State shall thereupon examine or
                reexamine such device and shall make and file in his or her
                office a report, attested by his or her signature and the seal
                of his or her office, stating whether, in his or her opinion,
                the kind of device so examined can be safely and accurately
                used by electors at primaries and elections as provided in
                this chapter. If this report states that the device can be so used,
                the device shall be deemed approved, and devices of its kind
                may be adopted for use at primaries and elections as provided
                in this chapter.

                (c) Any device that is not so approved shall not be used at any
                primary or election and if, upon reexamination, a previously
                approved device appears to be no longer safe or accurate for use
                by electors at primaries or elections as provided in this chapter
                because of an inability to accurately record votes, the approval
                of the same shall immediately be revoked by the Secretary of
                State, and no such device shall thereafter be used or purchased
                for use in this state.

                (d) Any vendor who completes a sale of an electronic ballot
                marker that has not been certified by the Secretary of State to a
                governmental body in this state shall be subject to a penalty of
                $100,000.00, payable to the State of Georgia, plus
                reimbursement of all costs and expenses incurred by the
                governmental body in connection with the sale. The State
                Election Board shalJ have the authority to impose such penalty
                upon a finding that such a sale has occurred.

Programming     The superintendent may appoint, with the approval of the                O.C.G.A. § 21-2-   Category3
proper design   county or municipal governing authority, as appropriate, a              379.25(b)
                                                                    40
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and style of        custodian of the electronic ballot markers, and deputy
ballots;            custodians as may be necessary, whose duty shall be to prepare
custodian of        the devices to be used in the county or municipality at the
electronic ballot   primaries and elections to be held therein. Each custodian and
markers; testing    deputy custodian shall receive from the county or municipality
of electronic       such compensation as shall be fixed by the governing authority
ballot markers      of such county or municipality. Such custodian shall, under the
                    direction of the superintendent, have charge of and represent the
                    superintendent during the preparation of the devices as required
                    by this chapter. The custodian and deputy custodians shall
                    serve at the pleasure of the superintendent and each shall
                    take an oath of office prepared by the Secretary of State
                    before each primary or election, which shall be filed with
                    the superintendent.

Storage and         All electronic ballot markers and related equipment, when           O.C.G.A. § 21-2-    Category 3
security of         not in use, shall be properly stored and secured under              379.26(a)
electronic ballot   conditions as shall be specified by the Secretary of State.
markers
Application for     If found ineligible, the clerk or the board of registrars shall deny O.C.G.A. § 21-2-   Category2
ballot              the application by writing the reason for rejection in the proper    38l(b)(3)          Category 3
                    space on the application and shall promptly notify the applicant
                    in writing of the ground of ineligibility, a copy of which
                    notification should be retained on file in the office of the board
                    ofregistrars or absentee ballot clerk for at least one year.
                    However, an absentee ballot application shall not be rejected
                    due to an apparent mismatch between the signature of the
                    elector on the application and the signature of the elector on file
                    with the board of registrars. In such cases, the board of
                    registrars or absentee ballot clerk shall send the elector a
                    provisional absentee ballot with the designation
                    "Provisional Ballot" on the outer oath envelope and
                    information prepared by the Secretary of State as to the
                    process to be followed to cure the signature discrepancy. If
                    such ballot is returned to the board of registrars or absentee
                    ballot clerk prior to the closing of the polls on the day of the
                    primary or election, the elector may cure the signature

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                    discrepancy by submitting an affidavit to the board of registrars
                    or absentee ballot clerk along with a copy of one of the forms of
                    identification enumerated in subsection (c) of Code Section 21-
                    2-417 before the close of the period for verifying provisional
                    ballots contained in subsection (c) of Code Section 21-2-419. If
                    the board of registrars or absentee ballot clerk finds the affidavit
                    and identification to be sufficient, the absentee ballot shall be
                    counted as other absentee ballots. If the board ofregistrars or
                    absentee ballot clerk finds the affidavit and identification to be
                    insufficient, then the procedure contained in Code Section 21-2-
                    386 shall be followed for rejected absentee ballots.

State write-in      The Secretary of State shall design a state write-in absentee          O.C.G.A. § 21-2-   Category2
absentee ballots    ballot for federal offices and state offices that are voted upon       381.2(a)           Category3
                    on a state-wide basis for use in a primary runoff or election
                    runoff by an eligible absentee elector who lives outside the
                    county or municipality in which the election is held and who is:

State write-in      The Secretary of State shall establish a website which such            O.C.G.A. § 21-2-   Category2
absentee ballots    eligible absentee electors may access to determine if there is         381.2(d)           Category3
                    a primary runoff or election runoff for a federal office or a
                    state office that is voted upon on a state-wide basis. The
                    address of such website shall be included in the instructions for
                    voting such state write-in absentee ballot

Official absentee   The form for either ballot shall be determined and                     O.C.G.A. § 21-2-   Category3
ballots             prescribed by the Secretary of State, except in municipal              383(a)
                    primaries or elections, in which the form of absentee ballots
                    which follows the paper ballot format shall be determined and
                    prescribed by the superintendent.

Preparation and     Except for ballots voted within the confines of the registrar1s or     O.C.G.A. § 21-2-   Category 3
delivery of         absentee ballot clerk's office, in addition to the mailing             384(b)
absentee ballots;   envelope addressed to the elector, the superintendent, board of
mailing ballots     registrars, or absentee ballot clerk shall provide two
to absentee         envelopes for each official absentee ballot, of such size and
                    shape as shall be determined by the Secretary of State, in

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voters; oaths;      order to permit the placing of one within the other and both
assistance;         within the mailing envelope. On the smaller of the two
master list;        envelopes to be enclosed in the mailing envelope shall be
transmission to     printed the words "Official Absentee Ballot" and nothing else.
uniformed and       On the back of the larger of the two envelopes to be enclosed
overseas citizens   within the mailing envelope shall be printed the form of oath of
                    the elector and the oath for persons assisting electors, as
                    provided for in Code Section 21-2-409, and the penalties
                    provided for in Code Sections 21-2-568, 21-2-573, 21-2-579,
                    and 21-2-599 for violations of oaths; and on the face of such
                    envelope shall be printed the name and address of the board of
                    registrars or absentee ballot clerk. The larger of the two
                    envelopes shall also display the elector's name and voter
                    registration number. The mailing envelope addressed to the
                    elector shall contain the two envelopes, the official absentee
                    ballot, the uniform instructions for the manner of preparing
                    and returning the ballot, in form and substance as provided
                    by the Secretary of State, provisional absentee ballot
                    information, if necessary, and a notice in the form provided
                    by the Secretary of State of all withdrawn, deceased, and
                    disqualified candidates and any substitute candidates pursuant
                    to Code Sections 21-2-134 and 21-2-155 and nothing else. The
                    uniform instructions shall include infonnation specific to the
                    voting system used for absentee voting concerning the effect of
                    overvoting or voting for more candidates than one is authorized
                    to vote for a particular office and information concerning how
                    the elector may correct errors in voting the ballot before it is
                    cast including information on how to obtain a replacement
                    ballot if the elector is unable to change the ballot or correct the
                    error.

Voting by           The registrars or absentee ballot clerk, as appropriate, shall         O.C.G.A. § 21-2-   Category3
absentee            provide reasonable notice to the electors of their jurisdiction of     385(d)(2)
electors;           the availability of advance voting as well as the times, dates,
penalties           and locations at which advance voting will be conducted. In
                    addition, the registrars or absentee ballot clerk shall notify
                    the Secretary of State in the manner prescribed by the

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                     Secretary of State of the times, dates, and locations at which
                     advance voting will be conducted.

Pilot program        The Secretary of State shall develop and implement a pilot            O.C.G.A. § 21-2-       Category 3
                     program for the electronic transmission, receipt, and counting        387(a)
                     of absentee ballots by persons who are entitled to vote by
                     absentee ballot under the federal Uniformed and Overseas
                     Citizens Absentee Voting Act, 42 U.S.C. Section 1973ff, et
                     seq., as amended, for use in a primary or a general election.

Cards of             Prior to each primary and election, the superintendent shall          O.C.G.A. § 21-2-       Category3
instructions and     obtain from the Secretary of State a sufficient number of             400(a)
supplies; sample     cards of instruction for guidance of electors. Such cards of
ballots and ballot   instruction shall include such portions of this chapter as
labels               deemed necessary by the Secretary of State and shall be
                     printed for the type of voting equipment or ballots used in the
                     county or municipality. The superintendent shall also obtain
                     from the Secretary of State a sufficient number of blank
                     forms of oaths of poll officers, voter's certificates, voting
                     rights posters, notices of penalties, oaths of assisted electors,
                     numbered list of voters, tally sheets, return sheets, and such
                     other forms and supplies required by this chapter, in each
                     precinct of the county or municipality.

Delivery of          The superintendent shall provide at the polling place copies of       O.C.G.A. § 21-2-       Category3
ballots and          the sample or facsimile ballots for such primary or election as       40l(d)
supplies to          well as a list of the certified write-in candidates for such
managers             election in the form as provided by the Secretary of State or
                     appropriate municipal official pursuant to Code Section 21-
                     2-133.

Voter's              At each primary and election, the Secretary of State shall            O.C.G.A. § 21-2-       Category 3
certificates         prepare and furnish to each superintendent a suitable                 402(a)
                     number of voter's certificates which shall be in substantially
                     the following form:



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Voter              The Secretary of State shall provide each county board of              O.C.G.A. § 21-2-   Category 3
identification     registrars with the necessary equipment, forms, supplies,              417.l(g)
cards              and training for the production of the Georgia voter
                   identification cards and shall maintain such equipment.

Casting of         Such person voting a provisional ballot shall complete an              O.C.G.A. § 21-2-   Category2
provisional        official voter registration form and a provisional ballot voting       418(b)             Category 3
ballots            certificate which shall include information about the place,
                   manner, and approximate date on which the person registered to
                   vote. The person shall swear or affirm in writing that he or she
                   previously registered to vote in such primary or election, is
                   eligible to vote in such primary or election, has not voted
                   previously in such primary or election, and meets the criteria
                   for registering to vote in such primary or election. The form of
                   the provisional ballot voting certificate shall be prescribed
                   by the Secretary of State. The person shall also present the
                   identification required by Code Section 21-2-417.

Method of          The board of registrars shall complete a report in a form              O.C.G.A. § 21-2-   Category3
voting and         designated by the Secretary of State indicating the number             419(e)
counting           of provisional ballots cast and counted in the primary or
provisional        election.
ballots

Absentee ballots   Ballots in a precinct using optical scanning voting equipment          O.C.G.A. § 21-2-   Category 3
                   for use by absentee electors shall be prepared sufficiently in         482
                   advance by the superintendent and shall be delivered to the
                   board ofregistrars as provided in Code Section 21-2-384. Such
                   ballots shall be marked "Official Absentee Ballot" and shall be
                   in substantially the form for ballots required by
                   Article 8 of this chapter, except that in counties or
                   municipalities using voting machines, direct recording
                   electronic (DRE) units, or ballot scanners, the ballots may be in
                   substantially the fonn for the ballot labels required by Article 9
                   of this chapter or in such form as will allow the ballot to be
                   machine tabulated. Every such ballot shall have printed


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                    on the face thereof the following: "I understand that the offer or
                    acceptance of money or any other object of value to vote for
                    any particular candidate, list of candidates, issue, or list of
                    issues included in this election constitutes an act of voter fraud
                    and is a felony under Georgia law." The form for either ballot
                    shall be determined and prescribed by the Secretary of
                    State.

Consolidated        Each county and municipal superintendent shall prepare four      O.C.G.A. § 21-2-             Category 3
certified returns   copies of the consolidated return of the primary to be certified 496(a)
of primaries;       by the superintendent on forms furnished by the Secretary
returns             of State, such consolidated returns to be filed immediately upon
forwarded to        certification as follows
Secretary of
State; electronic
filing

Consolidated        The Secretary of State is authorized to provide a method by            O.C.G.A. § 21-2-       Category3
certified returns   which the election superintendent can file the results of              496(b)
of primaries;       primaries and elections electronically. Once the Secretary of
returns             State provides such a method of filing, the election
forwarded to        superintendent shall file a copy of the election returns
Secretary of        electronically in the manner prescribed by the Secretary of
State; electronic   State in addition to the filing provided in subsection (a) of this
filing              Code section. The Secretary of State is authorized to
                    promulgate such rules and regulations as necessary to
                    provide for such an electronic filing.
Consolidated        Each county and municipal superintendent shall, upon                   O.C.G.A. § 21-2-       Category 3
certified returns   certification, furnish to the Secretary of State in a manner           496(c)
of primaries;       determined by the Secretary of State a final copy of each
returns             ballot used for such primary.
forwarded to
Secretary of
State; electronic
filing



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Consolidated         Each county and municipal superintendent shall prepare four            O.C.G.A. § 21-2-   Category3
certified returns    copies of the consolidated return of the election to be certified      497(a)
of elections;        by the superintendent on forms furnished by the Secretary
returns              of State, such consolidated returns to be filed immediately upon
forwarded to         certification as foIIows
Secretary of
State

Consolidated         Each county and municipal superintendent shall, upon                   O.C.G.A. § 21-2-   Category 3
certified returns    certification, furnish to the Secretary of State in a manner           497(b)
of elections;        determined by the Secretary of State a final copy of each
returns              ballot used for such election.
forwarded to
Secretary of
State

Precertification     The Secretary of State shall conduct a risk-limiting audit             O.C.G.A. § 21-2-   Category 3
tabulation audits;   pilot program with a risk limit of not greater than 10                 498(e)
rules and            percent in one or more counties by December 31, 2021. The
regulations; risk-   Secretary of State shall review the results of the pilot
limiting audit       program and, within 90 days following the election in which
pilot program        such pilot program is used, shall provide the members of
                     the General Assembly with a comprehensive report,
                     including a plan on how to implement risk-limiting audits
                     state wide. If such risk-limiting audit is successful in achieving
                     the specified confidence level within five business days
                     following the election for which it was conducted, then all
                     audits performed pursuant to this Code section shall be
                     similarly conducted, beginning not later than November 1,
                     2024.

Secretary of         Upon receiving the certified returns of any election from the          O.C.G.A. § 21-2-   Category3
State to tabulate,   various superintendents, the Secretary of State shall                  499(a)
compute,             immediately proceed to tabulate, compute, and canvass the
canvass, and         votes cast for all candidates described in subparagraph·
certify certain      (a)(4)(A) of Code Section 21-2-497 and upon all questions
returns              voted for by the electors of more than one county and shall

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                     thereupon certify and file in his or her office the tabulation
                     thereof. In the event an error is found in the certified returns
                     presented to the Secretary of State or in the tabulation,
                     computation, or canvassing of votes as described in this Code
                     section, the Secretary of State shall notify the county
                     submitting the incorrect returns and direct the county to
                     correct and recertify such returns. Upon receipt by the
                     Secretary of State of the corrected certified returns of the
                     county, the Secretary of State shall issue a new certification of
                     the results and shall file the same in his or her office.

Secretary of         The Secretary of State shall also, upon receiving the                  O.C.G.A. § 21-2-       Category3
State to tabulate,   certified returns for presidential electors, proceed to                499(b)
compute,             tabulate, compute, and canvass the votes cast for each slate
canvass, and         of presidential electors and shall immediately lay them
certify certain      before the Governor. Not later than 5:00 P.M. on the
returns              seventeenth day following the date on which such election was
                     conducted, the Secretary of State shall certify the votes cast for
                     all candidates described in subparagraph (a)(4)(A) of Code
                     Section 21-2-497 and upon all questions voted for by the
                     electors of more than one county and shall no later than that
                     same time lay the returns for presidential electors before the
                     Governor. The Governor shall enumerate and ascertain the
                     number of votes for each person so voted and shall certify the
                     slates of presidential electors receiving the highest number of
                     votes. The Governor shall certify the slates of presidential
                     electors no later than 5 :00 P.M. on the eighteenth day following
                     the date on which such election was conducted.
                     Notwithstanding the deadlines specified in this Code section,
                     such times may be altered for just cause by an order of a judge
                     of superior court of this state.

Certificates of      Governor and other.constitutional officers. Upon completing            O.C.G.A. § 21-2-       Category 3
election;            the tabulation of any election for Governor, Lieutenant                502(a)
commissions;         Governor, Secretary of State, Attorney General, State School
proclamations        Superintendent, Commissioner of Insurance, Commissioner of


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                  Agriculture, or Commissioner of Labor, the Secretary of State
                  shall lay the same before the Governor
                  upon his or her oath of office as Governor; and the Governor,
                  upon the other constitutional officers taking their oaths of
                  office, shall issue a commission under the great seal of the State
                  of Georgia signed by the Governor and countersigned by the
                  Secretary of State, to each such person. The Secretary of State
                  shall issue the commission to the person elected Governor.

Certificates of   United States senators; representatives in Congress; members         O.C.G.A. § 21-2-       Category 3
election;         ofthe General Assembly.                                              502(b)
commissions;      (1) Upon completing the tabulation of any election for United
proclamations     States senator or representative in Congress, the Secretary of
                  State shall lay the same before the Governor, who shall
                  immediately issue certificates of election and commissions
                  under the seal of the state, duly signed by the Governor and
                  attested by the Secretary of State and deliver the same to the
                  candidates receiving the required number of votes to be elected
                  to the respective offices.
                  (2) The Secretary of State shall issue certificates of election
                  to the persons elected members of the Senate and the House
                  of Representatives of the General Assembly and, between the
                  hours of 12:00 Noon and 1:00 P .M. on the second Monday in
                  January of each odd-numbered year, present before the Senate
                  and the House of Representatives the
                  several returns of the elections of members of the respective
                  houses. In case of a special election the Secretary of State
                  shall issue a certificate of election to each person so elected,
                  and the Secretary of State shall present the returns of such
                  election to the proper house as soon as received and tabulated
                  by the Secretary of State. Immediately upon their taking the
                  oath of office, each member of the Senate and the House of
                  Representatives shall be issued a commission under the great
                  seal of the State of Georgia, signed by the Secretary of State.

Certificates of   Justices of the Supreme Court, Judges of the Court ofAppeals,        O.C.G.A. § 21-2-       Category 3
election;         Commissioners q.f the Georgia Public Service Commission,             502(c)

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comm1ss1ons;      judges of the superior court, judges of the juvenile court, and
proclamations     district attorneys. Upon completion of the tabulation the
                   Secretary of State shall certify the result of each election of
                  Justices of the Supreme Court, of Judges of the Court of
                   Appeals, of Commissioners of the Georgia Public Service
                   Commission, of judges of the superior court, of judges of the
                  juvenile court where elected, and of district attorneys to the
                   Governor and shall issue a certificate of election to each
                  person so elected. The Governor shall, upon each such person
                   taking the oath of office, immediately issue a commission under
                   the great seal of the State of Georgia, signed by the Governor
                   and countersigned by the Secretary of State, to each such
                  person.


Certificates of   Presidential electors. The Secretary of State, on receiving        O.C.G.A. § 21-2-       Category 3
election;         and computing the returns of presidential electors, shall lay      502(e)
commissions;      them before the Governor, who shall enumerate and ascertain
proclamations     the number




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                                                                i DEFENDANT'S
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50 YEARS OF THE VOTING RIGHTS ACT
The State of Race in Politics



Khalilah Brown-Dean, PhD
Zoltan Hajnal, PhD
Christina Rivers, PhD
Ismail White, PhD
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President's Message
                                This year marks the 50 t h anniversary of the historic " Bloody
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                                Sunday" on March 7, 1965, in Selma, Alabama, and the
                                enactment of the Voting Rights Act on August 6, 1965.
•
a     :;~::: .·:::              As black voters were added to the election rolls, their ballots
                                changed the composition of many legislatures, commissions,
•                               and councils. The Joint Center was founded five years after the
                                Voting Rights Act of 1965 to support those newly elected
                                officials of color.

How much progress have we made since 1965? How much more work is there to do?

These are contested questions, subject to ideology and opinion. A study published in
Perspectives on Psychological Science, for example, shows that on average whites and African
Americans differ on the amount of racial progress we have made, with whites now believing
anti-white bias is more prevalent than anti-black bias. We have elected an African American
president, but studies have shown that some government officials are less likely to respond to
inquiries from citizens with seemingly black or Latino names. The questions are also at the core
of many ongoing debates about voting rights in the U.S. Supreme Court and Congress, as well as
in many states, counties, and municipalities.

Four prominent political scientists-Professors Khalilah Brown-Dean, Zoltan Hajnal, Christina
Rivers, and Ismail White-provide empirical data that offer important answers in this report.
hope you enjoy it.

Regards,

Spencer Ove rton




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Executive Summary
This report examines minority voter registration and turnout, racially polarized voting, policy
outcomes by race, and the number and share of minority elected officials from the enactment
of the Voting Rights Act of 1965 until today. This information is essential in thinking about the
future of race, politics, and voting rights.

Key findings in this study show:


   •   Since 1965, the black/white racial gap in voter turnout has decreased
       dramatically in presidential elections. Turnout among black Southerners
       exceeded that of their white counterparts in four of the twelve presidential elections
       since 1965, and nationwide black turnout clearly exceeded white turnout in presidential
       elections in 2012 and perhaps in 2008.


   •   Local election turnout is lower and possibly less diverse. Presidential general
       election turnout is generally 60% of the voting-age population, but local election
       turnout averages 27% and in some cases is less than 10%. As overall turnout declines in
       local elections, the electorate may become less representative of the racial diversity of
       the community as a whole.


   •   Latino and Asian American turnout increased but remains low. Turnout
       rates among both Asian Americans and Hispanic Americans in presidential elections
       remain 10 to 15 percentage points below black Americans and 15 to 20 points below
       white Americans.


   •   Party politics is increasingly polarized by race. Since 1960, the party
       identification and partisan voting patterns of blacks and whites have become sharply
       divided.


   •   Race is the most significant factor in urban local elections. In urban local
       elections, race is a more decisive factor than income, education, political ideology,
       religion, sexual orientation, age, gender, and political ideology. The 38 point racial gap
       exceeds even the 33 point gap between Democratic and Republican voters.


   •   Based on available data from 1972 to 2010, blacks were the least
       advantaged group in America in terms of policy outcomes. Blacks were
       policy winners only 31.9% of the time, compared with 37.6% for whites. This difference




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       seems small, but it is ten times larger than the 0.5 point difference between high- and
       low-income earners.

   •   Since 1965, the number of elected officials of color has grown
       enormously. Over this period, African Americans went from holding fewer than 1,000
       elected offices nationwide to over 10,000, Latinos from a small number of offices to
       over 6,000, and Asian Americans from under a hundred documented cases to almost
       1,000.

   •   People of color remain underrepresented in elected office. Based on the
       most recent data, African Americans are 12.5% of the citizen voting age population, but
       they make up a smaller share of the U.S. House {10%), state legislatures {8.5%), city
       councils (5.7%), and the U.S. Senate (2%) . Latinos make up 11% of the citizen voting age
       population, but they are a smaller share of the U.S. House (7%), state legislatures (5%),
       the U.S. Senate (4%), and city councils (3 .3%). Asian Americans are 3.8% of the citizen
       voting age population but a smaller share of the U.S. House {2%), state legislatures {2%),
       the U.S. Senate (1%), and city councils (0.4%).




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Introduction: The Origins and Evolution of the
Voting Rights Act

In 1965, over half the population of Dallas County, Alabama, was African American, but only
156 of the county's 15,000 voting-eligible African Americans were registered. 1 In contrast, two-
thirds of the county's white population was registered . White politicians held all elected
positions and maintained their power by requiring that applicants for registration pass an oral
exam about the U.S. Constitution and possess "good character."

Four yea rs earlier, Justice Department lawyers had filed a lawsuit against the Dallas County
registrars, and after thirteen months of procedural wrangling, the case came to trial. By that
time, the county registrars had resigned and the trial judge refused to ban tests because the
newly hired county registrars had not yet discriminated against blacks . After an appeal, federal
courts finally ordered county registrars to stop requiring voters to interpret the federal
constitution . The county registrars then added a new test that required voters to demonstrate
an " understanding" of the state constitution. After additional legal filings by the Justice
Department, federal courts finally banned the new test . Yet during the four years the lawsuit
was working its way through the courts, only 383 of the 15,000 eligible black citizens registered.

Dallas County was not alone. Throughout Alabama, only 19.4% of African Americans were
registered, and in Mississippi only 6.4% of African
Americans were registered. Since the 1870s, white       In early 1965, the registration
elected officials in many parts of the South had          rate for African Americans
used violence, literacy tests, interpretation tests,    was less than 20% in Alabama
poll taxes, and other devices to exclude African                and less than 7% in
Americans. 2 The Justice Department filed 71 voting                Mississippi.
rights lawsuits in the Deep South before 1965, but
cases were typically complex, time-consuming, and
expensive. When a court struck down one type of discriminatory device, local officials simply
erected a different device that effectively excluded most African Americans.

On March 7, 1965, state troopers attacked a group of peaceful demonstrators on the Edmund
Pettus Bridge in Selma, Alabama (the seat of Dallas County government). Television networks
broadcast images of the attack around the world, attracting widespread attention and
demonstrations in support of the voting rights cause. These events-as well as the deaths of
activists Jimmy Lee Jackson, Viola Liuzza, and James Reeb in Selma-produced sufficient public
pressure for Congress to pass the Voting Rights Act, which President Lyndon Johnson signed
into law on August 6, 1965.




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The Act suspended literacy and interpretation tests, and it allowed fede ral officials to register
voters and monitor local elections in particular jurisdictions. The Act also had a nationwide,
permanent provision that allowed private parties or the Justice Department to bring lawsuits to
stop racially discriminatory election laws and electoral plans.

Further, the " preclearance" provision of the new Act required that jurisdictions with a history of
discrimination submit new election rules or plans to federal officials. State and local officials
could implement a proposed election rule or plan only after federal officials approved it. By
shifting the burden to states and localities to prove to federal officials that changes were not
discriminatory, the preclearance process avoided the delays and expenses of litigation, and it
stopped discriminatory laws before they were used in elections. The preclearance provision
applied to jurisdictions that had tests or devices and low turnout or registration in the 1964
presidential election (all or parts of 11 states), and it was originally scheduled to expire in five
years .

Congress extended the preclearance provision and updated the Act in other ways in 1970,
1975, 1982, and 2006. 3 In 1970, new states were added to the coverage formula, and the ban
on tests and devices was expanded nationwide.
During the 1975 renewal, Congress made t he ban on                 The Voting Rights Act's
tests and devices permanent. Congress also
                                                               preclearance process avoided
expanded preclearance to cover jurisdictions with
                                                                 the delays and expenses of
large numbers of language minority groups (e .g.,
speakers of Spanish, Asian, American Indian/Native
                                                                   litigation, and it stopped
Alaskan languages) that had English-only voting                 discriminatory election rules
materials and low registration or turnout. Further,                 before they were used.
the 1975 renewal required language assistance (e.g.,
bilingual ballots, registration forms) in jurisdictions with large numbers of language minority
groups with limited proficiency in English. 4 In 1982, Congress amended the Act to clarify that
discriminatory purpose was not required to bring a lawsuit t o invalidate election procedures
that result in discrimination.

In 2013, the U.S. Supreme Court struck down the coverage fo rmula that determined which
jurisdictions must preclear new election rules and plans, which effectively rolled back
preclearance.5 Writing for five members of the Court (four justices dissented), Chief Justice
John Roberts indicated that the coverage formula was outdated because flagrant discrimination
no longer persisted in covered jurisdictions and the "country has changed."

Subsequently, Representatives John Lewis (D-GA) and Jim Sensenbrenner (R-WI) co-sponso red
a bill to update the Act. The proposed legislation would apply preclearance to jurisdictions with
a record of voting rights violations within the previous 15 yea rs, would make it easier for courts




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to block discriminatory rules before they are used in elections and harm voters, and would
require disclosure of voting changes nationwide. 6

In a comprehensive report providing evidentiary support for updating the Act, the National
Commission on Voting Rights collected contemporary instances of structural dilution of
minority votes in the context of at-large elections and redistricting plans. 7 The Commission
also documented the emergence of various restrictions on voting, such as proof of citizenship,
voter purges, felony disenfranchisement, voter identification, voter challenges, and restrictions
on registration drives. Further, the Commission's report chronicled failures to provide
adequate language assistance materials, failures to provide registration at public assistance
agencies, and attempts to roll back early in-person voting and same-day registration.

Others have also written on contemporary election structures that adversely affect minority
voters. For example, many states disenfranchise former offenders after they have completed
their sentences, and as a result, 7.7% of black adults are disenfranchised nationally, including
22% of black adults in Kentucky and 23% in Florida. 8 By counting inmates as residents of the
jurisdiction where they are incarcerated rather than as residents of their home prior to
incarceration, many states inflate the voting strength of populations who live near prisons
(often rural areas) and diminish the voting strength of non-incarcerated people in the prisoners'
home communities. 9 Many states have adopted restrictive identification laws, and the General
Accounting Office reported that 84% of registered white voters possess a valid driver's license,
compared with only 63% of registered black voters. 10 North Carolina and other states have
attempted to roll back early voting on Sunday, and data show black voters accounted for 53%
of Sunday early voters in North Carolina and Georgia in the 2014 midterm election. 11

While analyzing contemporary election practices that diminish minority voting is critical, we
also need facts about minority turnout, racially polarized voting, policy outcomes, and the
number of minority elected officials to fully understand our progress since 1965 and to look
toward the future.




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Registration & Turnout
In this section we assess the Voting Rights Act's effectiveness in increasing rates of registration
and voter turnout among racial minorities in the United States. We examine changes in black,
Latino, and Asian American registration and turnout following the passage of the Voting Rights
Act in 1965. 12 Most notably, since the Voting Rights Act's 1965 passage, African Americans
residing in former Confederate states have gone from near total disenfranchisement to
registration and turnout rates that equal or surpass those of whites in the same states, at least
in presidential general election contests. Latino and Asian American registration and turnout
rates, however, continue to trail those of other groups significantly.


African American Registration and Voting Before and After the Voting Rights Act

Passage of the Voting Rights Act marked what political scientist Richard Valley has called the
"Second Reconstruction" -an active re-inclusion of African Americans into the American state
made necessary by nearly a century of Southern political suppression. To illuminate the
significance of the Voting Rights Act as a Second Reconstruction, this section uses official
registration data from the state of Louisiana, which has kept voting records by race since the
Reconstruction era. This section also uses survey data from both the U.S. Census and the
American National Election Study for coverage of registration and turnout patterns across the
former Confederacy. The data show that the Voting Rights Act was the most significant action
taken since the post-Civil War Reconstruction Acts to overcome Southern suppression of black
voters.

The first Reconstruction followed the Civil War, ushered in by Congress's 1867 passage of the
Reconstruction Acts. The Acts made readmission of former Confederate states to the Union
contingent upon redrafting their constitutions and ratification of the Fourteenth Amendment to
the U.S. Constitution, and placed Union troops in Southern jurisdictions to enforce compliance
with newly established black suffrage rights. This first Reconstruction produced a dramatic
increase in the number of black voters in the former Confederate states. In some Southern
states black male voter registration exceeded 90%, which resulted in the election of many of
the nation's first black federal officeholders and a large number of black state and local officials
throughout the South.

The political will of Reconstruction, however, ended with the disputed presidential election of
1876. Southern states freed from federal constraints reverted to active denial of the citizenship
and voting rights of African Americans within their borders. Between 1890 and 1910, nearly all
of the former Confederate states rewrote their constitutions to introduce voting restrictions




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that disenfranchised black voters.13 For example, in Louisiana, Reconstruction had brought
voter registration among black men in the state to over 90% by 1880. In 1898, a new
constitution instituted a statewide poll tax and literacy and property requirements, alongside a
"grandfather clause" that effectively exempted only whites from these requirements. Black
male voter registration in the state plummeted, falling to only 3% by the next major election
(see Figure 1 below).

For the next 30 years, blacks in most of the former Confederate states remained almost totally
excluded from electoral politics. Supreme Court decisions delivered some incremental
reprieve, outlawing first the grandfather clause in 1915 (Guinn v. United States) and the whites-
only primary in the 1940s (United States v. Classic in 1941 and Smith v. Al/right in 1944). As
Figure 1 illustrates with the case of Louisiana, black voter registration increased from virtually
non-existent to 20% of the adult population by the end of the 1940s.

Figure 1: Black and White Voter Registration Rates in Louisiana and Former Confederate States, 1878-201014

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                                                                                                                       Rights Act

   1096




            1878         1880           1890   1900    1910      1920        1930    1940     1950     1960     1970    1980        1990   2000       2010

             .. ••' • •· Blacks in Louisiana          Whiles in Louisiana      - Blacks in Confederate States    -     Whites in Confederate States

Data from 1970 to 2010 are from the United States Census, Current Population Survey, Voter Supplement File. 15




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Still, black voter registration in Louisiana and the rest of the South continued to lag significantly
behind that of white Southerners. As highlighted in Figure 2 below, the racial gap in self-
reported voter registration in the former Confederate states at the start of the 1960s was still
nearly 30 percentage points.

Only in the wake of the Voting Rights Act did black voter registration in the South begin to
approach that of whites. Five years after the passage of the Act, the racial gap in voter
registration in the former Confederate states had closed to single digits. By the start of the
1970s, the black/white registration gap across the Southern states was little more than 8
percentage points. In Louisiana, the gap between black and white voter registration rates
decreased by nearly 30 percentage points from 1960 to the end of 1970s, and it continued to
decrease over the next three decades. By 2010, black registration rates in the state of Louisiana
and many of the other former Confederate states had exceeded white registration rates for the
first time since Reconstruction. The Voting Rights Act had delivered a Second Reconstruction.



Figure 2: Black and White Presidential Election Voter Turnout in Former Confederate States, 1956-2012. (Percent
of Voting Age Population) 16

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  80




  70



  60



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                                    1.965
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        1956   1960   1964   1968    19n         1976   1980   1984   1988   1992    1995   2000   2004   2ooe   2012




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The Voting Rights Act enabled similar gains in African American voter turnout. Figure 2 tracks
self-reported turnout in presidential elections from 1952 to 2012 among blacks and whites
living in former Confederate states. At the time of the 1956 presidential election, turnout
among blacks who lived in former Confederate states was roughly 50 percentage points lower
than that of whites in these states.

However, the racial gap in turnout decreased dramatically following the passage of the Voting
Rights Act in 1965. Indeed, self-reported turnout among black Southerners exceeded that of
their white counterparts in four of the twelve presidential elections following the passage of
the Voting Rights Act. The 1988, 1992, and 2008 elections are particularly notable given that
nationwide black turnout rates in presidential elections did not appear to exceed white turnout
rates until the 2008 presidential election .17

Figure 3: Black and White Midterm Election Voter Turnout in Former Confederate States, 1998-2012 (Voting Age
Population) 18

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       1 958   1962   1966   1970    1974   1978   1982   1986   1990   199-1   l998   2002   2006    2010




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Since the passage of the Voting Rights Act, the racial gap in midterm elections has also
decreased significantly, though not to the point of black voters expressing higher turnout than
similarly situated whites. Figure 3 describes midterm election turnout (self-reported) from
1958 to 2010 among blacks and whites living in former Confederate states.

As we move from 1958 to 1970, we can see a sharp reduction in the turnout gap between
blacks and whites . Over this time period we can see the gap decline from roughly 33
percentage points to 10 percentage points following the passage of the Voting Rights Act.
While we can still observe a racial gap in most midterm elections, the gap is minimal and can
likely be accounted for by socio-economic differences between blacks and whites in these
states.

African American Turnout in Local Elections

While it is important that we focus on closing a black/white turnout gap in federal elections, 19
we should not ignore disparities in local elections. Local elections are fundamentally different.
Presidential general election turnout is typically 60% of the voting-age population, but local
election turnout averages 27% and in some cases is less than 10%. 20

Most local offices are non-partisan, and political parties generally lack incentives to invest
significant resources on turnout for local elections, most of which are held on different dates
than federal and state general elections. As overall turnout declines in local elections, the
electorate may become less representative of the racial diversity of the community as a
whole. 21

For example, in 2014, when there was great unrest over a police officer's killing of Michael
Brown, African Americans made up 67% of residents of Ferguson, Missouri. In 2012, a solid
100% of Ferguson precincts went for President Obama, 22 but during Ferguson's municipal off-
cycle elections voters selected Ferguson's Republican mayor and six city council members, all of
whom except one were white. Some have speculated that the drop in turnout from the 2012
November presidential election (54% turnout) to the 2013 April municipal election (12%
turnout) produced a much less diverse electorate, with lower turnout among African
Americans. 23

Questions of low turnout among African Americans in local elections deserve further study.
Local officials make up the vast bulk of all elected officials nationwide, and they oversee local
police, court systems, schools, economic development, and the allocation of over $1.6 trillion
per year. 24 As discussed below, African Americans are extremely underrepresented in local
offices (they account for 12.5% of the citizen voting age population but only 5.7% of city council
seats). 25




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§ 20507. Requirements with respect to administration of voter... , 52 USCA § 20507

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     ISubtitle II. Voting Assistance and Election Administration
        IChapter 205. National Voter Registration

                                                      52 U.S.C.A. § 20507
                                              Formerly cited as 42 USCA § 1973gg-6

                        § 20507. Requirements with respect to administration of vot er registration


                                                              Currentness




(a) In general


In the administration of voter registration for elections for Federal office, each State shall--



  (1) ensure that any eligible applicant is registered to vote in an election--




      (A) in the case of registration with a motor vehicle application under section 20504 of this title, if the valid voter
      registration form of the applicant is submitted to the appropriate State motor vehicle authority not later than the lesser of
      30 days, or the period provided by State law, before the date of the election;



      (B) in the case of registration by mail under section 20505 of this title, if the valid voter registration form of the
      applicant is postmarked not later than the lesser of 30 days, or the period provided by State Jaw, before the date of the
      election;



      (C) in the case of registration at a voter registration agency, if the valid voter registration form of the applicant is
      accepted at the voter registration agency not later than the lesser of 30 days, or the period provided by State law, before
      the date of the election; and



      (D) in any other case, if the valid voter registration form of the applicant is received by the appropriate State election
      official not later than the lesser of30 days, or the period provided by State law, before the date of the election;




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   (2) require the appropriate State election official to send notice to each applicant of the disposition of the application;



   (3) provide that the name of a registrant may not be removed from the official list of eligible voters except--



     (A) at the request of the registrant;



     (B) as provided by State law, by reason of criminal conviction or mental incapacity; or



     (C) as provided under paragraph (4);



  (4) conduct a general program that makes a reasonable effort to remove the names of ineligible voters from the official lists
  of eligible voters by reason of--



     (A) the death of the registrant; or



     (B) a change in the residence of the registrant, in accordance with subsections (b), (c), and (d);



  (5) inform applicants under sections 20504, 20505, and 20506 of this title of--



     (A) voter eligibility requirements; and



     (B) penalties provided by law for submission of a false voter registration application; and



  (6) ensure that the identity of the voter registration agency through which any particular voter is registered is not disclosed
  to the public.



(b) Confirmation of voter registration


Any State program or activity to protect the integrity of the electoral process by ensuring the maintenance of an accurate and
current voter registration roll for elections for Federal office--


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   (1) shall be uniform, nondiscriminatory, and in compliance with the Voting Rights Act of 1965 (42 U.S.C. 1973 et seq.);
   and



   (2) shall not result in the removal of the name of any person from the official list of voters registered to vote in an election
   for Federal office by reason of the person's failure to vote, except that nothing in this paragraph may be construed to
   prohibit a State from using the procedures described in subsections (c) and (d) to remove an individual from the official list
   of eligible voters if the individual--



     (A) has not either notified the applicable registrar (in person or in writing) or responded during the period described in
     subparagraph (B) to the notice sent by the applicable registrar; and then



     (B) has not voted or appeared to vote in 2 or more consecutive general elections for Federal office.



(c) Voter removal programs



(1) A State may meet the requirement of subsection (a)(4) by establishing a program under which--



  (A) change-of-address information supplied by the Postal Service through its licensees is used to identify registrants whose
  addresses may have changed; and



  (B) if it appears from information provided by the Postal Service that--



     (i) a registrant has moved to a different residence address in the same registrar's jurisdiction in which the registrant is
     currently registered, the registrar changes the registration records to show the new address and sends the registrant a
     notice of the change by forwardable mail and a postage prepaid pre-addressed return form by which the registrant may
     verify or correct the address information; or



     (ii) the registrant has moved to a different residence address not in the same registrar's jurisdiction, the registrar uses the
     notice procedure described in subsection (d)(2) to confirm the change of address.




(2)(A) A State shall complete, not later than 90 days prior to the date of a primary or general election for Federal office, any
program the purpose of which is to systematically remove the names of ineligible voters from the official lists of eligible
voters.

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(B) Subparagraph (A) shall not be construed to preclude--



  (i) tbe removal of names from official lists of voters on a basis described in paragraph (3)(A) or (B) or (4)(A) of subsection
  (a); or



  (ii) correction of registration records pursuant to this chapter.



(d) Removal of names from voting rolls



(1) A State shall not remove tbe name of a registrant from tbe official list of eligible voters in elections for Federal office on
the ground tbat tbe registrant has changed residence unless tbe registrant--



  (A) confmns in writing tbat tbe registrant has changed residence to a place outside the registrar's jurisdiction in which the
  registrant is registered; or




  (B)(i) has failed to respond to a notice described in paragraph (2); and



  (ii) has not voted or appeared to vote (and, if necessary, correct tbe registrar's record of the registrant's address) in an
  election during tbe period beginning on tbe date of tbe notice and ending on the day after tbe date of tbe second general
  election for Federal office tbat occurs after tbe date oftbe notice.



(2) A notice is described in tbis paragraph if it is a postage prepaid and pre-addressed return card, sent by forwardable mail,
on which the registrant may state his or her current address, together witb a notice to tbe following effect:



  (A) Iftbe registrant did not change his or her residence, or changed residence but remained in tbe registrar's jurisdiction,
  the registrant should return the card not later than tbe time provided for mail registration under subsection (a)(l)(B). Iftbe
  card is not returned, affmnation or confirmation of tbe registrant's address may be required before the registrant is
  permitted to vote in a Federal election during the period beginning on the date oftbe notice and ending on tbe day after tbe
  date oftbe second general election for Federal office that occurs after tbe date oftbe notice, and if the registrant does not
  vote in an election during tbat period tbe registrant's name will be removed from the list of eligible voters.



  (B) Iftbe registrant has changed residence to a place outside tbe registrar's jurisdiction in which tbe registrant is registered,

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  information concerning how the registrant can continue to be eligible to vote.



(3) A voting registrar shall correct an official list of eligible voters in elections for Federal office in accordance with change
ofresidence information obtained in conformance with this subsection.



(e) Procedure for voting following failure to return card



(1) A registrant who has moved from an address in the area covered by a polling place to an address in the same area shall,
notwithstanding failure to notify the registrar of the change of address prior to the date of an election, be permitted to vote at
that polling place upon oral or written affmnation by the registrant of the change of address before an election official at that
polling place.




(2)(A) A registrant who has moved from an address in the area covered by one polling place to an address in an area covered
by a second polling place within the same registrar's jurisdiction and the same congressional district and who has failed to
notify the registrar of the change of address prior to the date of an election, at the option of the registrant--



  (i) shall be permitted to correct the voting records and vote at the registrant's former polling place, upon oral or written
  affmnation by the registrant of the new address before an election official at that polling place; or




  (ii)(I) shall be permitted to correct the voting records and vote at a central location within the same registrar's jurisdiction
  designated by the registrar where a list of eligible voters is maintained, upon written affmnation by the registrant of the
  new address on a standard form provided by the registrar at the central location; or



  (II) shall be permitted to correct the voting records for purposes of voting in future elections at the appropriate polling
  place for the current address and, if permitted by State law, shall be permitted to vote in the present election, upon
  confirmation by the registrant of the new address by such means as are required by law.



(B) If State law permits the registrant to vote in the current election upon oral or written affmnation by the registrant of the
new address at a polling place described in subparagraph (A)(i) or (A)(ii)(II), voting at the other locations described in
subparagraph (A) need not be provided as options.                                                                '



(3) If the registration records indicate that a registrant has moved from an address in the area covered by a polling place, the
registrant shall, upon oral or written affmnation by the registrant before an election official at that polling place that the
registrant continues to reside at the address previously made known to the registrar, be permitted to vote at that polling place.



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(!) Change of voting address within a jurisdiction


In the case of a change of address, for voting purposes, of a registrant to another address within the same registrar's
jurisdiction, the registrar shall correct the voting registration list accordingly, and the registrant's name may not be removed
from the official list of eligible voters by reason of such a change of address except as provided in subsection (d).



(g) Conviction in Federal court



(1) On the conviction of a person of a felony in a district court of the United States, the United States attorney shall give
written notice of the conviction to the chief State election official designated under section 20509 of this title of the State of
the person's residence.



(2) A notice given pursuant to paragraph (I) shall include--



  (A) the name of the offender;



  (B) the offender's age and residence address;



  (C) the date of entry of the judgment;



  (D) a description of the offenses of which the offender was convicted; and



  (E) the sentence imposed by the court.



(3) On request of the chief State election official of a State or other State official with responsibility for determining the effect
that a conviction may have on an offender's qualification to vote, the United States attorney shall provide such additional
information as the United States attorney may have concerning the offender and the offense of which the offender was
convicted.



(4) If a conviction of which notice was given pursuant to paragraph (I) is overturned, the United States attorney shall give the
official to whom the notice was given written notice of the vacation of the judgment.



(5) The chief State election official shall notify the voter registration officials of the local jurisdiction in which an offender

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resides of the information received under this subsection.



{h) Omitted



(i) Public disclosure of voter registration activities



(1) Each State shall maintain for at least 2 years and shall make available for public inspection and, where available,
photocopying at a reasonable cost, all records concerning the implementation of programs and activities conducted for the
purpose of ensuring the accuracy and currency of official lists of eligible voters, except to the extent that such records relate
to a declination to register to vote or to the identity of a voter registration agency through which any particular voter is
registered.



(2) The records maintained pursuant to paragraph {l) shall include lists of the names and addresses of all persons to whom
notices described in subsection (d)(2) are sent, and information concerning whether or not each such person has responded to
the notice as of the date that inspection of the records is made.



(j) "Registrar's jurisdiction" defined


For the purposes of this section, the term "registrar's jurisdiction" means--



  (1) an incorporated city, town, borough, or other form of municipality;



  (2) if voter registration is maintained by a county, parish, or other unit of government that governs a larger geographic area
  than a municipality, the geographic area governed by that unit of government; or



  (3) if voter registration is maintained on a consolidated basis for more than one municipality or other unit of government
  by an office that performs all of the functions of a voting registrar, the geographic area of the consolidated municipalities
  or other geographic units.



                                                          CREDIT(S)


(Pub.L. 103-31, § 8, May 20, 1993, 107 Stat. 82; Pub.L. 107-252, Title IX, § 903, Oct. 29, 2002, 116 Stat. 1728.)



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